Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 1 of 114
Case 0:23-cv-61804-AHS Document
                        @       1-2 Entered on FLSD Docket 09/20/2023 Page 2 of 114
...z.:-. .                p                                    &
    ''
    , ,(
     ..:'
        z
        ;
        1.
         :
         1
         .i
          ,
          '
          1.1 4Case
            /.1
            .  :
               !.
                ,
                7$
                 ;
                 1
                 .
                  .)t
                    .
                    -
                    1
                    .
                    -;
                     .1
                     ?
                     ':
                      ,
                      h
                      .;10:23-cv-61804-AHS
                       j4
                        -:
                         .
                         1.
                          2
                          1-
                           q
                           132
                            -.
                             3
                             Jrs
                               .'
                               k,
                                ...
                                ' 3
                                  1
                                  .1
                                   L
                                   1-
                                    1
                                    .
                                    tq
                                     à.
                                      '
                                      b
                                      z
                                      .
                                      kj
                                       l
                                       4:
                                        .
                                        !
                                        '
                                        ;
                                        -b
                                         .
                                         ,
                                         'ç
                                          .
                                          2
                                          -
                                          ï1
                                           -t
                                            .'
                                            :9
                                             .
                                             6'
                                              $
                                              2
                                              9
                                              .1
                                               2
                                               .
                                               ,k
                                                ;!r
                                                  .
                                                  '
                                                  4
                                                  .
                                                  r
                                                  ë!1
                                                   .:;t
                                                      Il
                                                       ï
                                                       i
                                                       tt1-
                                                          /
                                                          4
                                                          :r
                                                           !
                                                           ')
                                                            .Document
                                                            C,
                                                             J
                                                             4
                                                             .
                                                             !8
                                                              .
                                                              E
                                                              !1
                                                               k
                                                               1.
                                                                rt
                                                                 f.
                                                                  :
                                                                  k
                                                                  -
                                                                  I.
                                                                   t'
                                                                    a
                                                                    f
                                                                    .
                                                                    ;
                                                                    t'.
                                                                     rl
                                                                      t
                                                                      .
                                                                      l.
                                                                       1
                                                                       -
                                                                       .k4
                                                                         ::
                                                                          $
                                                                          '
                                                                          :ïf
                                                                           .'-
                                                                             r
                                                                             !,1-2
                                                                              ï'
                                                                              'f
                                                                               k
                                                                               i
                                                                               -
                                                                               (:
                                                                                -
                                                                                10'
                                                                                  r
                                                                                  .
                                                                                  :
                                                                                  7
                                                                                  p1
                                                                                   .
                                                                                   Li41
                                                                                      t
                                                                                      ,-
                                                                                       t
                                                                                       'Entered
                                                                                        :
                                                                                        ;
                                                                                        -
                                                                                        r
                                                                                        -;'
                                                                                         .-
                                                                                          .
                                                                                          #
                                                                                          .4
                                                                                           r4
                                                                                            6:
                                                                                            . 42
                                                                                              ..
                                                                                               r:
                                                                                                l
                                                                                                !kl
                                                                                                  .!
                                                                                                   k .tjttslçon
                                                                                                   4);
                                                                                             x. . ...r ... J
                                                                                                             ,'k!/r
                                                                                                                  .k;rftt' FLSD
                                                                                                                         .1l
                                                                                                                           1,,t.lj'
                                                                                                                           )      j Docket 09/20/2023                                                                                                         Page 3 of 114




                                                                                                    @




 !.
  L
  h
  .-
   t-
    tp'
      .u
       t
       C
       ;
       ,
       . '3..-n--4.u1r'
        -'
         j
         l
         I
         .      '     $
                      .
                      l
                      !
                      .
                      k1,
                        :
                        1
                        .
                        f
                        ..-.
                           -
                           .
                           -.
                            id
                             i
                             .'t
                               r
                               det.
                                  -
                                  .. -.1r.n--<.-
                                      !' . ,v. 10
                                                ..1
                                                  4
                                                  'ïï
                                                    .3
                                                     3-
                                                      )'
                                                    w4:
                                                       ?'
                                                        -
                                                        j!
                                                        . iJ!
                                                         .a.
                                                            ;
                                                            -
                                                            .)
                                                             $
                                                             t
                                                             '
                                                             y
                                                             -
                                                             .,.
                                                               l
                                                               r
                                                               t
                                                               r
                                                               .,
                                                                ';
                                                                 f
                                                                 ;)
                                                                  '
                                                                  -
                                                                  dk
                                                                   r
                                                                   '
                                                                   jt
                                                                    ::
                                                                    . I
                                                                      '
                                                                      ;
                                                                      a'
                                                                       pm
                                                                        .rp.'
                                                                     .. gi
                                                                            .'
                                                                           ..a':
                                                                               ';t -tj!hJ,.
                                                                                 .4'
                                                                                 ..       ;'
                                                                                           ,5.
                                                                                             kjsw'
                                                                                                 ;,t;
                                                                                                    .h
                                                                                                     .'
                                                                                                     .xa.
                                                                                                      - ;
                                                                                                        tt
                                                                                                        ,.
                                                                                                         c..'
                                                                                                           )j
                                                                                                            r
                                                                                                            '
                                                                                                            t'
                                                                                                             d
                                                                                                             '
                                                                                                             .
                                                                                                             b
                                                                                                             4u
                                                                                                              ''
                                                                                                               r
                                                                                                               '
                                                                                                               .'
                                                                                                                e
                                                                                                                vj-
                                                                                                            ... .
                                                                                                             .
                                                                                                             '  q r:
                                                                                                                  .$
                                                                                                                   h
                                                                                                                   ';
                                                                                                                    i
                                                                                                                    .
                                                                                                                    '
                                                                                                                    /
                                                                                                                   .,?
                                                                                                                     .
                                                                                                                     f
                                                                                                                     4
                                                                                                                     -
                                                                                                                     ,,..
                                                                                                                        :.1
                                                                                                                          ,c
                                                                                                                           . .'
                                                                                                                              .
                                                                                                                              t.'
                                                                                                                             ...h  x.
                                                                                                                                    r
                                                                                                                                    '
                                                                                                                                    h.
                                                                                                                                     4
                                                                                                                                     :
                                                                                                                                     j-
                                                                                                                                      8
                                                                                                                                      v!
                                                                                                                                       ;
                                                                                                                                       :l
                                                                                                                                        .yg
                                                                                                                                          .
                                                                                                                                          ;'
                                                                                                                                           ù
                                                                                                                                           .
                                                                                                                                           k,
                                                                                                                                            -:
                                                                                                                                             ;.z
                                                                                                                                               .
                                                                                                                                               mq
                                                                                                                                                -
                                                                                                                                                v:
                                                                                                                                                 j.
                                                                                                                                                  ..k
                                                                                                                                                    .:
                                                                                                                                                     )
                                                                                                                                                     .k
                                                                                                                                                      kf
                                                                                                                                                       .,!
                                                                                                                                                         .r
                                                                                                                                                        u.
                                                                                                                                                         )
                                                                                                                                                         ')
                                                                                                                                                          ..
                                                                                                                                                           !
                                                                                                                                                           j$
                                                                                                                                                            jp
                                                                                                                                                             .,.
                                                                                                                                                               ..
                                                                                                                                                                p
                                                                                                                                                                4.
                                                                                                                                                                 .-
                                                                                                                                                                  !:.
                                                                                                                                                                    q ..
                                                                                                                                                                       :.
                                                                                                                                                                         k8rjtk.kr,4'm.4,.-,,4!j'
                                                                                                                                                                                   '    .          r!
                                                                                                                                                                                           gsxt.z.o1.'
                                                                                                                                                                                                     r
                                                                                                                                                                                                     .k
                                                                                                                                                                                                      .I
                                                                                                                                                                                                       :;
                                                                                                                                                                                                        .
                                                                                                                                                                                                        ,:
                                                                                                                                                                                                         ).
                                                                                                                                                                                                          7
                                                                                                                                                                                                          c:
                                                                                                                                                                                                           ,.
                                                                                                                                                                                                            1
                                                                                                                                                                                                            :
                                                                                                                                                                                                            z)
                                                                                                                                                                                                             ,
                                                                                                                                                                                                             jp.'
                                                                                                                                                                                                                .
                                                                                                                                                                                                                .;j
                                                                                                                                                                                                                  v'
                                                                                                                                                                                                                   jl
                                                                                                                                                                                                                     .. '
                                                                                                                                                                                                                    .g
                                                                                                                                                                                                                     vj
                                                                                                                                                                                                                      r
                                                                                                                                                                                                                      ;.
                                                                                                                                                                                                                       t
                                                                                                                                                                                                                       kl
                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                         ;'
                                                                                                                                                                                                                          x
                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                           j:j'
                                                                                                                                                                                                                         . .
                                                                                                                                                                                                                              :
                                                                                                                                                                                                                              .
                                                                                                                                                                                                                              r-
                                                                                                                                                                                                                               k.
                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                rt
                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                 r!
                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                  u'
                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                   u.
                                                                                                                                                                                                                                    .'
                                                                                                                                                                                                                                     w1
                                                                                                                                                                                                                                      .j'
                                                                                                                                                                                                                                        0 ';,
                                                                                                                                                                                                                                         ;,?
                                                                                                                                                                                                                                           rk
                                                                                                                                                                                                                                            ut
                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                             f
                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                             x'
                                                                                                                                                                                                                                              .;
                                                                                                                                                                                                                                               ;!
                                                                                                                                                                                                                                                .;
                                                                                                                                                                                                                                                 )c
                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                  .p'
                                                                                                                                                                                                                                                    .!
                                                                                                                                                                                                                                                     .j
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                      j1
                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                       t
                                                                                                                                                                                                                                                       s.
                                                                                                                                                                                                                                                        )
                                                                                                                                                                                                                                                        .e
                                                                                                                                                                                                                                                         s
                                                                                                                                                                                                                                                         r.
                                                                                                                                                                                                                                                          ..i,
                                                                                                                                                                                                                                                          ., u,
                                                                                                                                                                                                                                                             >jj
                                                                                                                                                                                                                                                               .,
                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                s-
                                                                                                                                                                                                                                                                 y.
                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                  ::
                                                                                                                                                                                                                                                                   j!
                                                                                                                                                                                                                                                                    :.
                                                                                                                                                                                                                                                                     (.
                                                                                                                                                                                                                                                                      4
                                                                                                                                                                                                                                                                      .:,jj,
                                                                                                                                                                                                                                                                         . .
                                                                                                                                                                                                                                                                           t2
                                                                                                                                                                                                                                                                            .)
                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                              .j
                                                                                                                                                                                                                                                                               oru
                                                                                                                                                                                                                                                                                 ...
                                                                                                                                                                                                                                                                                   .r
                                                                                                                                                                                                                                                                                    v.
                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                     p
                                                                                                                                                                                                                                                                                     .-..
                                                                                                                                                                                                                                                                                       '      .p.,
                                                                                                                                                                                                                                                                                                 :.
                                                                                                                                                                                                                                                                                                  ,a
                                                                                                                                                                                                                                                                                                   '.r
                                                                                                                                                                                                                                                                                                     py:g
                                                                                                                                                                                                                                                                                                        ...
                                                                                                                                                                                                                                                                                                          u..;-..ry
                                                                                                                                                                                                                                                                                                          ....,   ,v
                                                                                                                                                                                                                                                                                                                   .,..
                                                                                                                                                                                                                                                                                                                      E
               .
                               ;                                                                                    :s    .',
                                                                                                                            ;;..j.:(                  :
                                                                                                                                                      .   .     . .
                                                                                                                                                                  .,
                                                                                                                                                                   ...:.      >..,#..z.:..t.
                                                                                                                                                                        tëu:y..
                                                                                                                                                                             ...
                                                                                                                                                                                       .    .          .
                                                                                                                                                                                                          . , ;:   .  .. . .
                                                                                                                                                                                                                           .            -.
                                                                                                                                                                                                                                         .  .    .       .         ,    y.            ;....
                                                                                                                                                                                                                                                                                      .              .
 ..(                                        *

j'
 r,
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 4 of 114


               '

                    'p r
                    t
                    )  .
                       k @r
                          h
                          ! .
                          .:1
                              7'1.i.
                              '
                            ..:
                               .
                               1
                              .1
                   At....E.(....
                          .     h
                                '
                               ;'
                               .1
                                 .
                                 t
                                .,
                                  1
                                 x*
                                   j.
                                    n
                                   ;j
                                  .. ..
                                    rr
                                     ? l.
                                      .)'!
                                        ,
                                        .'j
                                         kR:4k
                                           ..'
                                              '.
                                             '.
                                             ; 't
                                                .
                                                i?
                                                 jE'':'j; ....
                                                  :!
                                                 r).:
                                                    f
                                                    'L
                                                    .'
                                                     ':
                                                     .à
                                                      k.
                                                       t
                                                       '
                                                       E
                                                       .u.:
                                                       '      'c...
                                                          .:t..   ....l
                                                                      k
                                                                      vj
                                                                      O!
                                                                       h
                                                                       .k
                                                                        !
                                                                        j
                                                                        .i
                                                                         :. '<
                                                                          31.bb.
                                                                             .
                                                                                . . .....
                                                                               %P'
                                                                                 'o
                                                                                 ........
                                                                                  M     j
                                                                                        'I
                                                                                        tq.
                                                                                         .n;
                                                                                          .'I
                                                                                           .'.
                                                                                             r
                                                                                             'q
                                                                                             .4.
                                                                                              .>
                                                                                               .n0..vn
                                                                                                '2
                                                                                                ;      ..
                                                                                                        u
                                                                                                        '
                                                                                                     ..w;
                                                                                                          '.y
                                                                                                            ..
                                                                                                        .z'';h'
                                                                                                               ;..
                                                                                                                 ,3
                                                                                                              .-'''
                                                                                                                   ;
                                                                                                                   :
                                                                                                                   .
                                                                                                                  :b
                                                                                                                    3;,
                                                                                                                      .
                                                                                                                   ?3ïa
                                                                                                                       j
                                                                                                                       .r':
                                                                                                                         .jn
                                                                                                                         '
                                                                                                                         q jr
                                                                                                                      'N....
                                                                                                                             ,
                                                                                                                            ;y
                                                                                                                             .
                                                                                                                             :,
                                                                                                                             l;,
                                                                                                                               y
                                                                                                                                $
                                                                                                                                :
                                                                                                                               l-
                                                                                                                                 ,
                                                                                                                                 :1, -!
                                                                                                                                     !    .dj,
                                                                                                                                             )
                                                                                                                                             :. d.
                                                                                                                                                 j
                                                                                                                                                 E
                                                                                                                                                 ;.I
                                                                                                                                                  :
                                                                                                                                                  q
                                                                                                                                                  )j.
                                                                                                                                                    L
                                                                                                                                                    '
                                                                                                                                                    ';
                                                                                                                                j..;J,'.',. ,..v;...:
                                                                                                                                              '. .   -'
                                                                                                                                                      :)
                                                                                                                                                       $b;
                                                                                                                                                         .
                                                                                                                                                      ...'
                                                                                                                                                         .
                                                                                                                                                          i
                                                                                                                                                          4
                                                                                                                                                          j
                                                                                                                                                          '
                                                                                                                                                          ï.
                                                                                                                                                         q!2,
                                                                                                                                                            p
                                                                                                                                                            >>.,',pk?
                                                                                                                                                            .
                                                 ,;:.;                                ;'.           ,,,.,                       : ,;
                                                                                                                                                               yE;);:




                   -
                   j
                   l
                   .
                   j
                   +!
                   .
                   '
                   'yl
                     j
                     ë
                     .
                     gjjj
                     ..,,,,
                            y
                            .
                          ë,,
                             kl r
                                .j.
                                j
                            ..,..
                                  y
                                  j,
                                   yjj
                                    .,
                                      )j.
                                        )
                                        ;
                                        ''j.j
                                            4
                                            :
                                            ,
                                            .)
                                             4,
                                              j
                                              rljjj--
                                ' .,.-....':. j    . ...
                                                         ,
                                                             ..
                                                       ... ...
                                                               .
                                     ...,
                                        ..




P
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 5 of 114




              *
              '
              fi:r' 3
              *
              '        1
                       63  .l
                          36
                           3
                           1
                           !I:i
                            !!
                            E1
                             (
                             i
                             t
                             1
                             .'E
                               .'!
                                 .;
                                  .
                                  :
                                  -    ;   i)r'pt'
                                                 s                   r         Iq
                                                                                '.'.Id'iI',i!-!''-'-':-.'è
                                                                                                         '
                                                                                                         ' ;.
                                                                                                            k/7 ,  -'
                                                                                                                    .6
                                                                                                                     3
                                                                                                                     :'
                                                                                                                      1
                                                                                                                      -
                                                                                                                      by.
                                                                                                                       '
              ''ï--1               ''. -
                                       :11-                                     !
                                                                                l
                                                                                I
                                                                                !
                                                                                '
                                                                                .
                                                                                -
                                                                                !i
                                                                                 l                       1
                                                                                                         k
                                                                                                         I
                   l
                   i
                   :
                   I:
                    :l
                   15
                   E
                   '11-'
                       -
                       -i
                        -'. ' .
                            .     is
                                    -----1
                                     ,.
                                     -
                                       '
                                          :'
                                         ..
                                           :
                                           2
                                           .
                                           1
                                           -
                                           '
                                           i-
                       .,.... .... .. .... ..
                    ...,                     .- .7,1:-;.::1,!.I-r-'(
                                             '
                                             !        ' ' .''
                                                     ...
                                                    .. .. .
                                                                   !4
                                                                    k
                                                                    (
                                                                    ë
                                                                    ;
                                                                    .
                                                                   v.
                                                                     1
                                                                     4
                                                                     j
                                                                     !
                                                                   - '
                                                                     -k
                                                                      I
                                                                      :
                                                                       '''' '''' ''.''' ''''' '' ' .' ' '' ''
                                                                       1
                                                                       ë
                                                                       !
                                                                       -E
                                                                        2
                                                                        !
                                                                        51
                                                                         -k
                                                                          -
                                                                          l
                                                                          E
                                                                          i
                                                                          -!
                                                                           '
                                                                           -
                                                                           !
                                                                           '
                                                                           -
                                                                           ,
                                                                           .1
                                                                            i
                                                                            .-2
                                                                              -i -
                                                                              . .
                                                                                 1
                                                                                 ;
                                                                                 !
                                                                                 I
                                                          .. ... .. .. . . ... ...i
                                                                                  E
                                                                                  I
                                                                                  ë
                                                                                  i
                                                                                  l.
                                                                                   k    '
                                                                                     E.,'      1
                                                                                               .
                                                                                               !.-::-1
                                                                                                E
                                                                                                !
                                                                                                5
                                                                                                1
                                                                                                !
                                                                                   ...... ... ,.,...
                                                                                           . ;
                                                                                                        ..
                                                                                                          IF
                                                                                                       ....
                                                                                                   ... .   ;
                                                                                                           :
                                                                                                           ;
                                                                                                           E
                                                                                                           :
                                                                                                           -1
                                                                                                            p
                                                                                                            ;
                                                                                                            l
                                                                                                            .1
                                                                                                             6
                                                                                                             ë
                                                                                                             -
                                                                                                             ,32
                                                                                                               36
                                                                                                                ,8--
                                                                                                                 .'.
                                                                                                                    7,-
                                                                                                                    .
                                                                                                              ----,--!
                                                                                                          .. ...
                                                                                                                      .
# -               it:bL
                      .. 'r y
                   i,'i..4'.''-1     '
                                     p
                                     g
                                     yt
                                      ..(
                                       .>.t-$;1'1.  y
                                                    .
                                                     .-ï.
                                                        E'-,
                                                        'y.Document
                                                           ..)'
                                                              )
                                                              :'
                                                              '.è.' :: y'
                                                                        ..
                                                                         /.t
                                                                           .>
                                                                            ..
                                                                             1
                                                                             ,
                                                                             y 'ë'.
                                                                                  ''.ï:
                                                                                      '?
                                                                                       ;
                                                                                       4  :
                                                                                          .      :
                        .
                                                                                  E
                  il   .
                          ,
      Case 0:23-cv-61804-AHS   .11:
                               1..
                                  11.1
                                     )
                                     ,
                                     -S
                                     .. ..
                             ,.. . .. . .. ....
                       .. . ..            .
                                                 7
                                                 -'
                                                  -
                                                  7
                                                  ,1
                                                  ..
                                                    i
                                                    l
                                                    .
                                                    .
                                                     M .
                                                        ,  ..'..' . .
                                                            -
                                                           ..
                                                                . ..
                                                                   -..,
                                                                   ....      1-2 -Entered
                                                                             .
                                                                          . . ,.
                                                                                .
                                                                               . . ..
                                                                                        .
                                                                                       .. :
                                                                                        . .
                                                                                         -. on FLSD Docket 09/20/2023 Page 6 of 114
                                                                                              '.
                                                                                                   .




=

œ
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 7 of 114




*




*
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 8 of 114


                       '
                            j
                      f$
                   '?.':6''-
                           'v'2li/f'. i.è1; . <. 2.''.''..'' .:. 1.. . . ' .'.aK...'''. ..'                                   r'
                        ,F3ë---:'
                       .i       .;
                                 --
                                  '*k   @
                                        .
                                        E1t
                                          -
                                          n         u         -........I.r
                                                           '$-a          '.-l-h4   e.--.-1'
                                                                                          ?
                                                                                          1      -..,.E
                                                                                                      I.E
                                                                                                        In
                                                                                                         ;                4
                                                                                                                          : :
                                                                                                                            10
                                                                                                              .-.1
                                                                                                                 .1
                                            ...,
                                               .!
                                                -i
                                                 .5
                                                  -1
                                                   ,;                          .1
                                                                                .:
                                                                                 2
                                                                                 .7        e,--W                 ,5
                                                                                                                  .$
                                                                                                                   4
                                                      .6
                                                        ,..t                              .
                                                                                          I
                                                                                          -
                                                                                          -.                        ,
                                                                                                                    1 'kç
                                                                                                                        -
                                                                                                         E-y            --
                                  g'.
                                          -.5
                                                           .                                               g,E'
                                                                                                              .     .
                      .-
                        s av..
                       ,-è          , t     .       ....-  ,                     .             ..,
                                                                                               ,        ..         :,
                                                                                                                    ..   .. .
                                                                                                                          ... (:-'.-.
                                                                                                                                    -
                                                                                                                                    '1.




    p




*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 9 of 114




                #.'...t      .,J:%';J. ';
                                        '''4p      ...
                                            :?i . 74:
               4)..-t-. .o-! ï
                             I
                             k
                             -
                             .
                             1
                             jtl
                               :
                               1
                               .k:j,.
                                  . ;:,
                                      r
                                      -
                                      6lJ
                                        .;
                                         .j
                                          r
                                          q
                                          .
                                          l
                                          r,
                                           j
                                           ,4
                                            (
                                            :
                                            ,,
                                            .-
                                             :.
                                              jj
                                               lk
                                                1
                                                E
                                                q
                                                jt
                                                 )r
                                                 ',
                                                  .
                                                  1
                                                  r
                                                  .y
                                                   1k    .'
                                                          . '     .       '.        .

                  lt.
                  '.;.':
                       I5:
                             :
                                 17
                               ::.
                                 .. .i:
                                    S               -'
                                                   ..
                                                     !;!
                                                     ...
                                                        lt
                                                       ,...'
                                                         .,!
                                                           ;
                                                           :
                                                           t
                                                           .
                                                           ;.
                                                            k
                                                            y;
                                                             .
                                                             1
                                                             '
                                                             :'
                                                              :
                                                              j
                                                              (1:1
                                                               . 4
                                                                 .
                                                                 m-
                                                                 ' ,:),fj.
                                                                   '  .  !k'
                                                                         t
                                                                         2 !
                                                                           (
                                                                           j
                                                                      . . ..
                                                                           f4
                                                                            g
                                                                            .
                                                                            j
                                                                           ;;
                                                                            ..
                                                                             (
                                                                             i
                                                                             rë
                                                                              .
                                                                              ç:
                                                                               ?
                                                                               .:
                                                                                j
                                                                                r:
                                                                                ,
                                                                                :'à
                                                                                  ,
                                                                                  :
                                                                                  ;y
                                                                                   ,
                                                                                   .
                                                                                   t
                                                                                   '
                                                                                   1.
                                                                                    !
                                                                                    g
                                                                                    y
                                                                                    7
                                                                                    ''
                                                                                     j
                                                                                     :
                                                                                     .)
                                                                                      ,
                                                                                      j.
                                                                                      .
                                                                                      t
                                                                                      .
                                                                                      7ëj
                                                                                        '
                                                                                        :
                                                                                        ,r
                                                                                        .
        Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 10 of 114




                           )
                           .(
                            i4'
                             $
                             k
                             E
                             x.
                              .
                              T
                              j
                              ;
                              '
                              E
                              fëE
                                H
                                vk
                               >.
                                :
                                t E
                                  R
                                  .z
                                 .:
                                  ..
                                   '
                                   9
                                   j
                                   c
                                   .
                                   n...
                                      r
                                      )R.
                                      :.jc
                                         '
                                         .
                                         a:
                                          t
                                          z
                                          '
                                          U
                                          :
                                          .
                                          ..
                                           (
                                           .
                                           R
                                           sr
                                            I
                                            *
                                            ,
                                            .
                                            )ûz
                                             r.,
                                               '
                                               (
                                               f
                                               .
                                               4,r
                                                 l
                                                 0
                                                 k
                                                 .
                                                 :
                                                 .
                                                 .
                                                 wt
                                                  .
                                                  sU
                                                   .
                                                   wr
                                                    ,
                                                    :
                                                    .
                                                    -
                                                    .
                                                    ?s
                                                     YT
                                                     y
                                                     J
                                                     .(
                                                      t.
                                                       vz
                                                        '
                                                        ;O
                                                       ..>s
                                                          ..
                                                           ;
                                                           ,
                                                           s
                                                           .F
                                                            .
                                                            ,
                                                            .
                                                            f,
                                                            '1
                                                             '
                                                             .
                                                             $
                                                             ..
                                                              j
                                                              H
                                                              ))
                                                               :
                                                               )
                                                               .
                                                               x
                                                               v
                                                               ïr
                                                                f
                                                                $
                                                                .;'
                                                                . .
                                                                  ,
                                                                  &u
                                                                  r(
                                                                   t.
                                                                    t
                                                                    (
                                                                    ,
                                                                    :
                                                                    E
                                                                    ,
                                                                    .
                                                                    <.'
                                                                      J
                                                                      '
                                                                      .
                                                                     ,.
                                                                      .a
                                                                       2
                                                                       z:
                                                                       ;
                                                                       .k
                                                                        .
                                                                        4
                                                                        N
                                                                        .;
                                                                         '.
                                                                         wzj
                                                                           -
                                                                           :
                                                                           .
                                                                           t
                                                                           .y
                                                                            .J
                                                                             '
                                                                             .
                                                                             1
                                                                             .
                                                                             ;
                                                                             ij
                                                                              .
                                                                              .
                                                                              '
                                                                              :t
                                                                               f
                                                                               )
                                                                               .
                                                                               $
                                                                               .J
                                                                                '
                                                                                b.
                                                                                .o
                                                                                 '
                                                                                 .-
                                                                                 ,.
                                                                                  '
                                                                                  j
                                                                                  .
                                                                                  :
                                                                                  ,ct
                                                                                   .,
                                                                                    '
                                                                                    ll
                                                                                    .
                                                                                    .:.
                                                                                     #'
                                                                                      .
                                                                                      :
                                                                                      4
                                                                                      :
                                                                                      t..
                                                                                        :
                                                                                        .
                                                                                        '
                                                                                        k-
                                                                                         .
                                                                                        c.
                                                                                        .g
                                                                                         ,.
                                                                                          '
                                                                                          j
                                                                                          ,
                                                                                          j
                                                                                          ,
                                                                                          R  '.
                                                                                           '..
                                                                                           . cJ'
                                                                                               .
                                                                                               U
                                                                                               ..
                                                                                                'pr
                                                                                                  ''
                                                                                                 I.
                                                                                                 ''
                                                                                                  :
                                                                                                  t
                                                                                                  r
                                                                                                  .xjf;
                                                                                                      4
                                                                                                      '..
                                                                                                      .
                                                                                                      . A
                                                                                                        :c:
                                                                                                          '
                                                                                                          N.;
                                                                                                            D
                                                                                                            (
                                                                                                            :'
                                                                                                             .g:
                                                                                                               rj.
                                                                                                               ' ?
                                                                                                                 '
                                                                                                                 /)..
                                                                                                                 .  R.t
                                                                                                                      $
                                                                                                        +>t.                              .
                                                                                                                                              E
                                                                                                                 -                     .'
                                                    1
                                                    l
                                                    h
                                                    k
                                                    ;/
                                                     .
                                                     r
                                                     lr
                                                      .
                                                      *..
                                                        -.1
                                                          r
                                                          .
                                                          -
                                                          1.
                                                           1
                                                           '
                                                           .
                                                           4r
                                                            1
                                                            ..
                                                            rs
                                                             D
                                                             .ï
                                                              .
                                                              -,
                                                               '
                                                               3
                                                               -
                                                               bi
                                                               '1(
                                                                .:
                                                                 .
                                                                 2
                                                                 -
                                                                 11
                                                                  E5
                                                                   q
                                                                   .
                                                                   :4(
                                                                    -:
                                                                     2
                                                                     '
                                                                     7.-
                                                                       .
                                                                       '
                                                                       -..-1
                                                                           '
                                                                           .1
                                                                            ,
                                                                            ..
                                                                             j..
                                                                             - '-
                                                                                ;
                                                                                1
                                                                                r:.
                                                                                 -1.
                                                                                   -1
                                                                                    :
                                                                                    ,2
                                                                                     c1
                                                                                      4
                                                                                       '
                                                                                       A.1
                                                                                         r
                                                                                         .
                                                                                         1(:
                                                                                           )
                                                                                           k
                                                                                           t
                                                                                           -
                                                                                           .
                                                                                          .G
                                                                                            A
                                                                                            '.
                                                                                             -
                                                                                             ..
                                                                                              t
                                                                                              E
                                                                                              :1
                                                                                               :.:
                                                                                                 4
                                                                                                 7
                                                                                              .. .
                                                                                              .1.'
                                                                                                  )
                                                                                                  .-
                                                                                                   '
                                                                                                   $
                                                                                                   i
                                                                                                   /'
                                                                                                    .
                                                                                                    ;
                                                                                                    l.
                                                                                                    .L-:
                                                                                                       '
                                                                                                       .:
                                                                                                       A
                                                                                                       .-1
                                                                                                         :
                                                                                                         '
                                                                                                         :.
                                                                                                          2
                                                                                                          -
                                                                                                          #1-
                                                                                                            .
                                                                                                            -.':li,.'...
                                                                                                            1
                                                                                                            .    .           ..       ,
                                                                                                                                        .L
                                                                                                                                        .-




                                                                                                    ' '         '
                                                                                                 .
                                                                                                 4
                                                                                                 -7:L
                                                                                                 ... '
                                                                                                     1.
                                                                                                     :
                                                                                                    :i
                                                                                                     '
                                                                                                     t:SL
                                                                                                        '
                                                                                                        ï
                                                                                                        ki-)
                                                                                                         1
                                                                                                         -
                                                                                                         i
                                                                                                         s
                                                                                                         : 1
                                                                                                           '
                                                                                                           ë
                                                                                                           ,h
                                                                                                            -
                                                                                                            '
                                                                                                            .2
                                                                                                             l
                                                                                                             7
                                                                                                             b
                                                                                                             :
                                                                                                              :
                                                                                                              ï
                                                                                                              '7::
                                                                                                              )   'î-j
                                                                                                                 2-   .
                                                                                                                        y
                                                                                                                        è2
                                                                                                                         )
                                                                                                                        t1
                                                                                                                     '-i; .1.-yil)jj
                                                                                                                          4
                                                                                                   . . . .... ... . ... ....-      .())j#-jq
                                                                                                                                           92y
                                                                                                                                          ,: j;.
                                                                                                                            . ...-....-. .. .. j,
                                                                                                                                                .
                                                                                                                                                '
                                                                                                                                                k
                                                                                                                                                y
                                                                                                                                                2
                                                                                                                                                .;y
                                                                                                                                                  jj:
                                                                                                                                                    jj               ,.-.--
                                                                                                                                                                .....-
                                                                                                                                                  ..,.,.... . . .

                     lti
                     q t
    @




*




                                                                   i
                                                                   q
                                                                   l
                                                                   y
                                                                   l
                                                                   ip
                                                                   .r
                                                                    lL
                                                                     U.-
                                                                     ) '.
                                                                        (
                                                                        :
                                                                        1:
                                                                         )
                                                                         1
                                                                         2
                                                                         1:
                                                                          ,
                                                                          :
                                                                          -1N.
                                                                            !.
                                                                             :
                                                                             )
                                                                             '.
                                                                             11(
                                                                               :
                                                                               1
                                                                               )
                                                                               (
                                                                               '
                                                                               F1
                                                                                4
                                                                                it
                                                                                 E
                                                                                 .
                                                                                 :D11
                                                                                  r'!
                                                                                    E
                                                                                    ;)i
                                                                                     !
                                                                                     k
                                                                                     .
                                                                                      t
                                                                                      ;
                                                                                      kr
                                                                                       l
                                                                                       I
                                                                                       .
                                                                                       qj4
                                                                                      . .!
                                                                                         5
                                                                                         ;
                                                                                         ;r
                                                                                          j
                                                                                          ;
                                                                                          .
                                                                                          .
                                                                                           jk
                                                                                            ë
                                                                                            .
                                                                                            '
                                                                                            r
                                                                                    -,. .. ,..
                                                                                         .;          ..
                                                                                                      ,.
                                                                                                       ,,,....
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ''' ''Z                      1 '
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page,. -
                                                                       '- 2 2  ..'r11
                                                                               '    r-..-: of
                                                                                            .''.,114
                                                                                            '      ...        .                                                                                                                                                                                                                                                                                                                                                                                             . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ' . '' '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ''                                                                    ''     ''
                                                                                      :
                                                                                        y?. . :.; . ?
                                                                      è
                                                                      '
                                                                      è
                                                                      .                                -.!;
                                                                                                     . :  j
                                                                                                          r
                                                                                                          ;)
                                                                                                           4
                                                                                                           l
                                                                                                           ;
                                                                                                           jt
                                                                      .;-        -.
                                                                                    ..

                                                                                                                                                                                                                                                                                                                                                                 Exh.20                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  . . .. .                      . ..                   ,.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .. o.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ;,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            q
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ,-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .        ..    ...   ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .




                 '




                              .2y ij .. ..                          ajE.
                             -h
                              .1  .,   1k   ë ' -.T ' ,'
                                                       .I 7
                                                          :
                                                          o1   1b
                                                               .    $t
                                                                     .1
                                                                        ,
                                                                         ...'    ;'.
                                                                                   .b
                                                                                    .3 .
                                                                                       .. t
                                                                                          ..;  y j. 1t.$.j.
                                                                                                          4 2.
                                                                                                            1     ;.  1-js!
                                                                                                                          .j,.
                                                                                                                             w
                                                                                                                             ,
                                                                                                                             -. ..t.j  r,
                                                                                                                                        .2
                                                                                                                                       .1   .-.
                                                                                                                                            1
                                                                                                                                          ' ,
                                                                                                                                      -. -'''.  5
                                                                                                                                                ,;
                                                                                                                                                 it-A.
                                                                                                                                                     --:  121
                                                                                                                                                            -4'
                                                                                                                                                              .:.
                                                                                                                                                                :
                                                                                                                                                 , '' .. . ... . '. :
                                                                                                                                                                   ik
                                                                                                                                                                 ..-  j
                                                                                                                                                                      E
                                                                                                                                                                      ...jE
                                                                                                                                                                          .1
                                                                                                                                                                           .r
                                                                                                                                                                            -7-:  . lr.   17  ,
                                                                                                                                                                                              k
                                                                                                                                                                                              -!1k.1r' j -'
                                                                                                                                                                                                         C     :..i
                                                                                                                                                                                                                  .;<;
                                                                                                                                                                                                                     -3.:-    j k.
                                                                                                                                                                                                                                .  : ..          t
                                                                                                                                                                                                                                                 ..3 .-j-
                                                                                                                                                                                                                                                     -   ..   y ji
                                                                                                                                                                                                                                                                 t.-...
                                                                                                                                                                                                                                                                      't
                                                                                                                                                                                                                                                                      ...'st.
                                                                                                                                                                                                                                                                       ...-...            ,
                                                                                                                                                                                                                                                                                          q
                                                                                                                                                                                                                                                                                          !y
                                                                                                                                                                                                                                                                                           2j.  2
                                                                                                                                                                                                                                                                                                tj   r
                                                                                                                                                                                                                                                                                                     .. q j
                                                                                                                                                                                                                                                                                                          jJ,jtk.-
                                                                                                                                                                                                                                                                                                          .              )
                                                                                                                                                                                                                                                                                                                         ' t
                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                            .-..;r.      'q
                                                                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                                                                          -...  '.:=lr:-.-.j             .
                                                                                                                                                                                                                                                                                                                                                                         ....:
                                                                                                                                                                                                                                                                                                                                                                         '       .-.-.- - 2
                                                                                                                                                                                                                                                                                                                                                                                                    .   E
                                                                                                                                                                                                                                                                                                                                                                                                        ..;
                                                                                                                                                                                                                                                                                                                                                                                                        ,   t ,.
                                                                                                                                                                                                                                                                                                                                                                                                               '.. jr :- ':
                                                                                                                                                                                                                                                                                                                                                                                                                          .-.;-?-..s.   :.
                                                                                                                                                                                                                                                                                                                                                                                                                                         ':..j       :
                                                                                                                                                                                                                                                                                                                                                                                                                                                     ;(
                                                                                                                                                                                                                                                                                                                                                                                                                                                      .t-.  .-.
                                                                                                                                                                                                                                                                                                                                                                                                                                                             '  jk  '-..      ,,-.  r...r-:  pèL: ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   -j... -  z.y;.r;.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .' ... '' ''   -.'  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .( .. z:  ; . a .ë...          y;:.Eli          d?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 'r
                                    :. -..
                                         ..                                                                                                                                                                                 --.                      - à-- '.                                                                                                                                                                                                                                                                                                                     -i'.:
                                                                                                                   .                                                                                                                                                                                                                                                         ..                                         ...
                            '     g'
                                   n;
                                   .     -                                                                                ;F'    .             '
                                                                                                                                                   :-.F ,''
                                                                                                                                                    .             -;' ;
                                                                                                                                                              .. .. . .   '. '- )                                                                                                                                                  . '          t          '-J ' '             '' '' '. '                                                                ,.               .                       ,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,'       ''.      . ..   &
                          -..
                           .'à
                             :
                            ..9
                              -41'
                                 !1
                                  2
                          . .. ....
                                 --
                                 k
                                   Ir
                                    '
                                   b.
                                       iIij
                                          -
                                          .
                                    -:;:-j-
                                            ; j
                                              .
                                              '   j g
                                                    '
                                                  jqr'
                                                      ,
                                                      :;
                                                       .)
                                                        y
                                                      ;t:
                                                         ,-
                                                          ;:
                                                           j   2
                                                               ' s
                                                                 r.
                                                                  3 i'
                                                                     .
                                                                     ,
                                                                     . ! ,
                                                                         .  7-
                                                                             p
                                                                             . $ .
                                                                                 ,
                                                                                 -.!
                                                                                   i
                                                                                   :
                                                                                   -j
                                                                                    ,:
                                                                                     !
                                                                                     -
                                                                                     ' j
                                                                                       j
                                                                                       - '
                                                                                         .t
                                                                                          -j
                                                                                           1
                                                                                           ,
                                                                                           .  yg
                                                                                               r
                                                                                               . y
                                                                                                 .-
                                                                                                  t
                                                                                                  j)
                                                                                                   kr
                                                                                                    ,
                                                                                                    t.
                                                                                                     ;
                                                                                                     .-.
                                                                                                       ;!
                                                                                                        l
                                                                                                        1j
                                                                                                         :
                                                                                                         :k
                                                                                                          7 .
                                                                                                            j
                                                                                                            r (
                                                                                                              . ; .
                                                                                                                  '
                                                                                                                  k .;
                                                                                                                     .
                                                                                                                      '
                                                                                                                      r
                                                                                                                      (
                                                                                                                      .
                                                                                                                      jtj!
                                                                                                                         jj-,
                                                                                                                            :
                                                                                                                           -.
                                                                                                                           .
                                                                                                                           ,
                                                                                                                           I y
                                                                                                                             ;
                                                                                                                             -
                                                                                                                             . j
                                                                                                                               .,
                                                                                                                                .Ijk
                                                                                                                                   jg
                                                                                                                                    ,
                                                                                                                            ,(. -...;-
                                                                                                                            E
                                                                                                                                       jj
                                                                                                                                        ..
                                                                                                                                         q j
                                                                                                                                           'y
                                                                                                                                            ï
                                                                                                                                            . î
                                                                                                                                              I
                                                                                                                                              j
                                                                                                                                             ..;
                                                                                                                                               t
                                                                                                                                               .;
                                                                                                                                                )r
                                                                                                                                                 ,
                                                                                                                                                 ',
                                                                                                                                                  .
                                                                                                                                       , . ., . . ,
                                                        ??!,..,:ç,âk;.:..-.yrï;.,......)-w..v.:?..-.?'.,.h,:.,,(,..-...,.- .. j...-.,r.E:..y..r..-
                                                                                                                                 .
                                                                                                                                                   .-
                                                                                                                                                    ,    ,. .
                                                                                                                                                            ..
                                                                                                                                                                 1
                                                                                                                                                                 gk
                                                                                                                                                                  .
                                                                                                                                                                  .'
                                                                                                                                                                   y
                                                                                                                                                                   .j
                                                                                                                                                               ,.. ..
                                                                                                                                                                ;...  !
                                                                                                                                                                      ,j
                                                                                                                                                                       !
                                                                                                                                                                       ;
                                                                                                                                                                       : .
                                                                                                                                                                    .... .j
                                                                                                                                                                          qr
                                                                                                                                                                           .r
                                                                                                                                                                            '
                                                                                                                                                                            . j
                                                                                                                                                                              . y
                                                                                                                                                                                j
                                                                                                                                                                                .:j
                                                                                                                                                                                  .
                                                                                                                                                                                  . i
                                                                                                                                                                                    p
                                                                                                                                                                                    .
                                                                                                                                                                                     j
                                                                                                                                                                                     .
                                                                                                                                                                                    ,,
                                                                                                                                                                                       j.
                                                                                                                                                                                        !)
                                                                                                                                                                                         .!
                                                                                                                                                                                          t
                                                                                                                                                                                          .
                                                                                                                                                                                          .
                                                                                                                                                                                            ,
                                                                                                                                                                                            j
                                                                                                                                                                                            -
                                                                                                                                                                                            Fk
                                                                                                                                                                                             s.k
                                                                                                                                                                                               ,,-
                                                                                                                                                                                                 L
                                                                                                                                                                                                 ;
                                                                                                                                                                                                 ,.,
                                                                                                                                                                                                   j
                                                                                                                                                                                               ,,-.s
                                                                                                                                                                                               .    t
                                                                                                                                                                                                    jj
                                                                                                                                                                                                     - '
                                                                                                                                                                                                       ï
                                                                                                                                                                                                       !
                                                                                                                                                                                                       j ql
                                                                                                                                                                                                       .. .
                                                                                                                                                                                                            E
                                                                                                                                                                                                            j -
                                                                                                                                                                                                              -. it k;
                                                                                                                                                                                                                     ,hik
                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                        ;   j j '
                                                                                                                                                                                                                                yj
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                 ' (
                                                                                                                                                                                                                                   ' y
                                                                                                                                                                                                                                 ...-y  q . .
                                                                                                                                                                                                                                          j '
                                                                                                                                                                                                                                       .., . ,
                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                              .. .
                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                 1 ) .
                                                                                                                                                                                                                                                     ,i.
                                                                                                                                                                                                                                                   , -, -,
                                                                                                                                                                                                                                                   .,
                                                                                                                                                                                                                                                            . - .33 ,
                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                    '.
                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                     jj:
                                                                                                                                                                                                                                                                       k , .
                                                                                                                                                                                                                                                                           , g
                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                             )  j
                                                                                                                                                                                                                                                                                ' - r
                                                                                                                                                                                                                                                                                    ' 4 ,
                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                        j .
                                                                                                                                                                                                                                                                                          ry
                                                                                                                                                                                                                                                                                           j'
                                                                                                                                                                                                                                                                                            rj
                                                                                                                                                                                                                                                                                             .  (  j
                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                 .. .
                                                                                                                                                                                                                                                                                                    ,I
                                                                                                                                                                                                                                                                                                     J
                                                                                                                                                                                                                                                                                                   . .
                                                                                                                                                                                                                                                                                                        j .
                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                            !-
                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                             j (
                                                                                                                                                                                                                                                                                                               ' .
                                                                                                                                                                                                                                                                                                                 k i
                                                                                                                                                                                                                                                                                                                   - (
                                                                                                                                                                                                                                                                                                                     . !
                                                                                                                                                                                                                                                                                                                       -'
                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                         k $'
                                                                                                                                                                                                                                                                                                                            r ;..1 jI q
                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                     ..1y
                                                                                                                                                                                                                                                                                                                                        -j
                                                                                                                                                                                                                                                                                                                                         .k;
                                                                                                                                                                                                                                                                                                                                           t,
                                                                                                                                                                                                                                                                                                                                            !
                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                            ;)
                                                                                                                                                                                                                                                                                                                                             ?E j ,
                                                                                                                                                                                                                                                                                                                                                  y;
                                                                                                                                                                                                                                                                                                                                                   .i
                                                                                                                                                                                                                                                                                                                                                    !'
                                                                                                                                                                                                                                                                                                                                                     yj
                                                                                                                                                                                                                                                                                                                                                      q
                                                                                                                                                                                                                                                                                                                                                      c'  1j t
                                                                                                                                                                                                                                                                                                                                                             ..p
                                                                                                                                                                                                                                                                                                                                                               1r  4
                                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                                                      (4
                                                                                                                                                                                                                                                                                                                                                                      !
                                                                                                                                                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                                                                                                                                                         '7
                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                           !,-
                                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                           j,
                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                             j  y
                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                ;-
                                                                                                                                                                                                                                                                                                                                                                                 t?
                                                                                                                                                                                                                                                                                                                                                                                  ' 1
                                                                                                                                                                                                                                                                                                                                                                              .......
                                                                                                                                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                                                      . '
                                                                                                                                                                                                                                                                                                                                                                                        , 1
                                                                                                                                                                                                                                                                                                                                                                                      .,.-,
                                                                                                                                                                                                                                                                                                                                                                                        ..  .
                                                                                                                                                                                                                                                                                                                                                                                            ;i
                                                                                                                                                                                                                                                                                                                                                                                             .''
                                                                                                                                                                                                                                                                                                                                                                                               j s
                                                                                                                                                                                                                                                                                                                                                                                                 ,k
                                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                  1-
                                                                                                                                                                                                                                                                                                                                                                                                   ;.
                                                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                                                     /
                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                                                                                      . 1
                                                                                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                                                        .j'!
                                                                                                                                                                                                                                                                                                                                                                                                           .k ,E
                                                                                                                                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                                                                                                               .14
                                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                               ,.-.
                                                                                                                                                                                                                                                                                                                                                                                                               i   k.
                                                                                                                                                                                                                                                                                                                                                                                                                    7
                                                                                                                                                                                                                                                                                                                                                                                                                    - ! '
                                                                                                                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                                                                                                                                        )ql
                                                                                                                                                                                                                                                                                                                                                                                                                          '.
                                                                                                                                                                                                                                                                                                                                                                                                                           r
                                                                                                                                                                                                                                                                                                                                                                                                                           -k
                                                                                                                                                                                                                                                                                                                                                                                                                            .12i
                                                                                                                                                                                                                                                                                                                                                                                                                               l y
                                                                                                                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                 )'17
                                                                                                                                                                                                                                                                                                                                                                                                                                    2
                                                                                                                                                                                                                                                                                                                                                                                                                                    .: j
                                                                                                                                                                                                                                                                                                                                                                                                                                       1:
                                                                                                                                                                                                                                                                                                                                                                                                                                        ;.'.!
                                                                                                                                                                                                                                                                                                                                                                                                                                            )
                                                                                                                                                                                                                                                                                                                                                                                                                                            ':
                                                                                                                                                                                                                                                                                                                                                                                                                                             .  !
                                                                                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                                                                                                -1
                                                                                                                                                                                                                                                                                                                                                                                                                                                 . I
                                                                                                                                                                                                                                                                                                                                                                                                                                                   '1,
                                                                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                     r
                                                                                                                                                                                                                                                                                                                                                                                                                                                     i7
                                                                                                                                                                                                                                                                                                                                                                                                                                                      .!. d
                                                                                                                                                                                                                                                                                                                                                                                                                                                          ' 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                            y j ' s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ;j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .I:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      s  . 't
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            y I.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               kl
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,1!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .'2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    I-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ',
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1  :.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Lr'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                . i-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      . ''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 . ... .... tl.'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1  F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .... 7 1  1k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '. .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         . . .: 11 k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   4 bî
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ' :''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .-.)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            t ! ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                is !
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   'tk
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     C.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      qi.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        p': 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            'lr!i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .6 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   :k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    )2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .1 :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        . 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          7 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . 1g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               '-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .(;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  iF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  t  è1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1     qk
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            iE'' 1E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               iïï
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               6  :
                               t'        '  '                                       .
                                                                                                                                            .                                         ,                   ..                              ...        .-...,..;.-      .ë.y.  yy-.     .r  ,,,-..-
                                                                                                                                                                                                                                                                                          jjj   .. . , .,.                                   :j
                                                                                                                                                                                                                                                                                                                                             ,.,y.,.-           ...
                                                                                                                                                                                                                                                                                                                                                               ..,       ,... :,,.: .-,j..-,.,
                                                                                                                                                                                                                                                                                                                                                                             ,.,.
                                                                                                                                                                                                                                                                                                                                                                                                                                   :.,   . , .  j.  .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                       4; . , ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                              3 j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                .  y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,j.  , j,  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                4,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 -j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  4.y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .r.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        y   y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .,k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .,y j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   , j à ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,  j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               gj             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    gj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,y
                          t.
                           ;'v
                             F.g.
                                +
                                ,(a
                                  b:..: >1.1
                                         .: .':
                                              . ,
                                                :4t'Er:'
                                                       11
                                                        :k
                                                         it
                                                           $ ..1
                                                               ;, k
                                                                  .$tL
                                                                     .2:?
                                                                      ...
                                                                         .2 ;f
                                                                             -
                                                                                 J7
                                                                             (,.-;..
                                                                                   ù
                                                                                   .tè
                                                                                     .'.
                                                                                       :t,J.' jN
                                                                                               f- t'-
                                                                                                   . dk
                                                                                                      E2
                                                                                                       kt
                                                                                                        :-
                                                                                                         . ' ''
                                                                                                         ;f
                                                                                                          :t'.  v
                                                                                                                -r
                                                                                                                     .
                                                                                                                     t,
                                                                                                                      ;-
                                                                                                                      .
                                                                                                                       .'
                                                                                                                       r
                                                                                                                       ';1
                                                                                                                        '
                                                                                                                        .
                                                                                                                          4'
                                                                                                                           k
                                                                                                                           .
                                                                                                                            o
                                                                                                                            t.-.-...
                                                                                                                                   f;  )%>
                                                                                                                                        '   , ')'il
                                                                                                                                                  sk
                                                                                                                                                   ,
                                                                                                                                                   .4
                                                                                                                                                    ...;1
                                                                                                                                                     -    ï2
                                                                                                                                                           '1
                                                                                                                                                            /2
                                                                                                                                                             ..
                                                                                                                                                              .t7-.
                                                                                                                                                                  :
                                                                                                                                                                  '    ' g
                                                                                                                                                                         .
                                                                                                                                                                         .:.
                                                                                                                                                                           '
                                                                                                                                                                           ,) 1
                                                                                                                                                                              . :1
                                                                                                                                                                                 L.
                                                                                                                                                                                  $.k$
                                                                                                                                                                                     'k j
                                                                                                                                                                                       '.
                                                                                                                                                                                        '.(
                                                                                                                                                                                          .
                                                                                                                                                                                          '
                                                                                                                                                                                          .1 :'.;it  .:.
                                                                                                                                                                                                       'ji''y     y
                                                                                                                                                                                                              ,.':ë  :
                                                                                                                                                                                                                     j
                                                                                                                                                                                                                     .--j
                                                                                                                                                                                                                    .J   g- j ;;
                                                                                                                                                                                                                              - yj
                                                                                                                                                                                                                                 7 4:
                                                                                                                                                                                                                                   , ji:      a-,j
                                                                                                                                                                                                                                              .       -;(j
                                                                                                                                                                                                                                                         k-,j     /
                                                                                                                                                                                                                                                                  .j-.y
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                       ..y ;j!:j  ,ryk
                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                        ;-.k.j
                                                                                                                                                                                                                                                                                            j,
                                                                                                                                                                                                                                                                                                ..j  -.,,  j..j
                                                                                                                                                                                                                                                                                                           s   ,   - a
                                                                                                                                                                                                                                                                                                                     .   .(
                                                                                                                                                                                                                                                                                                                         -   j
                                                                                                                                                                                                                                                                                                                             ,. :
                                                                                                                                                                                                                                                                                                                                ,j ,j
                                                                                                                                                                                                                                                                                                                                    .     ;t
                                                                                                                                                                                                                                                                                                                                           ,.,
                                                                                                                                                                                                                                                                                                                                             :k
                                                                                                                                                                                                                                                                                                                                              .g.J.
                                                                                                                                                                                                                                                                                                                                                  .ï,
                                                                                                                                                                                                                                                                                                                                          . .'..'.'  .J
                                                                                                                                                                                                                                                                                                                                                      .' k
                                                                                                                                                                                                                                                                                                                                                         .à  j ,J  :  l(1           1)        kt
                                                                                                                                                                                                                                                                                                                                                                                               . ;,   )
                                                                                                                                                                                                                                                                                                                                                                                                      ,  r:4j)
                                                                                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                                                                                   jk
                                                                                                                                                                                                                                                                                                                                                                                                                    , !
                                                                                                                                                                                                                                                                                                                                                                                                                      g rg
                                                                                                                                                                                                                                                                                                                                                                                                                         ,j
                                                                                                                                                                                                                                                                                                                                                                                                                          .;,y,
                                                                                                                                                                                                                                                                                                                                                                                                                              :g j
                                                                                                                                                                                                                                                                                                                                                                                                                ,..:n ,..ç-!'-,..:
                                                                                                                                                                                                                                                                                                                                                                                                                                  kgj  ;j!
                                                                                                                                                                                                                                                                                                                                                                                                                                   ,, , ,,,j,
                                                                                                                                                                                                                                                                                                                                                                                                                                           ,,   y
                                                                                                                                                                                                                                                                                                                                                                                                                                                .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                   jgj.
                                                                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                  .,, ,,(
                                                                                                                                                                                                                                                                                                                                                                                                                                                        , k :;....g
                                                                                                                                                                                                                                                                                                                                                                                                                                                 ....-,'.....:.;...t-.
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -t.j.    ...     ...:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       y g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         -yj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ,g j ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                yg j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,(
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     jy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ; j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ry
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         !y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          : j j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,.,,-.,     .:g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         t,,
                                                                                                                                  p.     :$                     : $#i:
                                                                                                                                                                  .
                                                                                                                                                                   ...     .                      ''';                                                   ?          ,        k                                                                                                                                                                                                                                                     .;
                              ' '                      '                                             ,.. .                                                                      .                             .
                                                                                                                                                                                                                                       ..                                               .                  .     ..j ; ;-    ;' '
                                                                                                                                                                                                                                                                                                                                k  .: ..,.   .                                  ,.
                                                                                                                                                                                                                                                                                                                                                                                 k...:  .:   -s#;. '..-.
                                                                                                                                                                                                                                                                                                                                                                                                       -'
                                                                                                                                                                                                                                                                                                                                                                                                        ;.;.::.
                                                                                                                                                                                                                                                                                                                                                                                                      ....            .    ..               .
                         .
                           ?'lk 't)t-1/1
                                     .            .k
                                                  E   1r
                                                       .
                                                       k.
                                                        -j'
                                                          :,
                                                           k
                                                           . ; :
                                                               '
                                                               . j
                                                                 -' j1
                                                                     . ; :
                                                                         r  1
                                                                            .
                                                                            ,.
                                                                             ;
                                                                             j ki;j;
                                                                                   y)
                                                                                    .r
                                                                                     j . f
                                                                                         '-
                                                                                          .
                                                                                          j'
                                                                                           !  g
                                                                                              .l r
                                                                                                 ',
                                                                                                  :;
                                                                                                   -j
                                                                                                    i(2,
                                                                                                       y--!--p
                                                                                                    .. . ,. ,,
                                                                                                              .          ;q
                                                                                                                          j
                                                                                                                          .)'
                                                                                                                            -
                                                                                                                            t
                                                                                                                            .g j
                                                                                                                               1
                                                                                                                               .
                                                                                                                               ï'
                                                                                                                                E.
                                                                                                                                 j--!j,
                                                                                                                                   y    ..
                                                                                                                                        ;  j$ 1r
                                                                                                                                              j'-
                                                                                                                                               -'.
                                                                                                                                                ..
                                                                                                                                                    .
                                                                                                                                                   yj.,
                                                                                                                                                 jr.
                                                                                                                                                   t    j
                                                                                                                                                        ;
                                                                                                                                                        ï  j.
                                                                                                                                                            ;jr .
                                                                                                                                                                E ;
                                                                                                                                                                  i
                                                                                                                                                                  ,
                                                                                                                                                                       -  1
                                                                                                                                                                          )
                                                                                                                                                                          -
                                                                                                                                                                          '4) - .E
                                                                                                                                                                                 j'  ,
                                                                                                                                                                                     ) g l
                                                                                                                                                                                         )
                                                                                                                                                                                         .
                                                                                                                                                                                         -r '
                                                                                                                                                                                            t1
                                                                                                                                                                                             :'
                                                                                                                                                                                              ,j
                                                                                                                                                                                               (.
                                                                                                                                                                                                y .
                                                                                                                                                                                                  -r!
                                                                                                                                                                                                 -,
                                                                                                                                                                                                      ,
                                                                                                                                                                                                     ,-
                                                                                                                                                                                                     I )4ljjr .f
                                                                                                                                                                                                               k-
                                                                                                                                                                                                                ;-
                                                                                                                                                                                                                g)1L, i:
                                                                                                                                                                                                                       k
                                                                                                                                                                                                                      ..;(.
                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                         ,  -,   ;
                                                                                                                                                                                                                                 ë
                                                                                                                                                                                                                                 r .
                                                                                                                                                                                                                                   : 1
                                                                                                                                                                                                                                     j  r j
                                                                                                                                                                                                                                          y j
                                                                                                                                                                                                                                            :. .
                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                              t  .
                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                 k p
                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                   ,..
                                                                                                                                                                                                                                                      ,j
                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                        q
                                                                                                                                                                                                                                                        .j  .
                                                                                                                                                                                                                                                            j ,
                                                                                                                                                                                                                                                              . :2: 2
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                    -E
                                                                                                                                                                                                                                                                     . ë ! j
                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                           ' ,
                                                                                                                                                                                                                                                                             k  .
                                                                                                                                                                                                                                                                                1 g
                                                                                                                                                                                                                                                                                  ; j t 2
                                                                                                                                                                                                                                                                                        j q
                                                                                                                                                                                                                                                                                          . ,
                                                                                                                                                                                                                                                                                            -;  g
                                                                                                                                                                                                                                                                                                '  : ;
                                                                                                                                                                                                                                                                                                     q  :
                                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                                    . ' ..
                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                                                                                          -:!i
                                                                                                                                                                                                                                                                                                             jj-       ,çy.,,
                                                                                                                                                                                                                                                                                                                 E.!-!.ù    i;i -
                                                                                                                                                                                                                                                                                                                                tr    .L
                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                        3  )l
                                                                                                                                                                                                                                                                                                                                            ;,j;r.!:
                                                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                                                   . j
                                                                                                                                                                                                                                                                                                                                                     '1  .r.
                                                                                                                                                                                                                                                                                                                                                         ; j ' ,
                                                                                                                                                                                                                                                                                                                                                               '3  L
                                                                                                                                                                                                                                                                                                                                                                   3
                                                                                                                                                                                                                                                                                                                                                                   .  )
                                                                                                                                                                                                                                                                                                                                                                      .  t
                                                                                                                                                                                                                                                                                                                                                                         . L
                                                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                                                            '    .  - , : :
                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                          / ;!
                                                                                                                                                                                                                                                                                                                                                                                             ,s
                                                                                                                                                                                                                                                                                                                                                                                               ' ,
                                                                                                                                                                                                                                                                                                                                                                                               1 j
                                                                                                                                                                                                                                                                                                                                                                                               . .         7
                                                                                                                                                                                                                                                                                                                                                                                                           ;1  ...
                                                                                                                                                                                                                                                                                                                                                                                                               )
                                                                                                                                                                                                                                                                                                                                                                                                               jE
                                                                                                                                                                                                                                                                                                                                                                                                                j,
                                                                                                                                                                                                                                                                                                                                                                                                                 - -
                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                 . ... . '. ' .
                                                                                                                                                                                                                                                                                                                                                                                                                    . ,.1 :.I
                                                                                                                                                                                                                                                                                                                                                                                                                            jl!
                                                                                                                                                                                                                                                                                                                                                                                                                              'l j6,
                                                                                                                                                                                                                                                                                                                                                                                                                                  j '
                                                                                                                                                                                                                                                                                                                                                                                                                                   iï.-; '.- !
                                                                                                                                                                                                                                                                                                                                                                                                                                    -b
                                                                                                                                                                                                                                                                                                                                                                                                                                     t         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                            4 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                              k '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                - !i. '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ï'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      :  ' ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           $.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ' !i(!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 :'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    '17
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      j-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       t,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        -  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           kk.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             kJ:- ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ' ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     - $ t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .  jIi
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              J1! 1  (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     . : 41s,. ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           !  -1   k.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ' -1 '. , - j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ' -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ri', :-.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        -   ,
                               st
                                     .
                                  .:, ;;(..jy..                      tl
                                                                     ,   ;m?4j.,.
                                                                         ï                 :. .': ç
                                                                                                   .       .                                 ... .
                                                                                                                                       v....s..,<:            ..,;Lq:.......,,...,;k.;....,,;y,y,4a                  .. .
                                                                                                                                                                                                                     ,;.;
                                                                                                                                                                                                                        .     r .
                                                                                                                                                                                                                                .- .       . , .,..,,
                                                                                                                                                                                                                                          ... . r.    .
                                                                                                                                                                                                                                                      g          .. ,
                                                                                                                                                                                                                                                                    rj .
                                                                                                                                                                                                                                                                             :. - , - .
                                                                                                                                                                                                                                                                                  . ..,.
                                                                                                                                                                                                                                                                                     . .  y
                                                                                                                                                                                                                                                                                          .y
                                                                                                                                                                                                                                                                                      ......
                                                                                                                                                                                                                                                                                       , .. -   k  -. ,.. ..,
                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                        -                   y;.       -
                                                                                                                                                                                                                                                                                                                                      ,-y,        v  )v..;3'?L.. . ay                       -,         y...,... . ... .
                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                      ..,,-
                                                                                                                                                                                                                                                                                                                                                                                                          ,,    ,-      . ,.. .. ..
                                                                                                                                                                                                                                                                                                                                                                                                                            .     .. ....
                                                                                                                                                                                                                                                                                                                                                                                                                                        .., .. . ....  ..          r     j -       :.         ,.                  ,  . - , ,        --.
                                 .
                                                                       .    .,                        . .                 ;fj.(..;                 .
                                                                                                                                                  ..                                                             j..,, rj               .   ;        ç   y    j ... ..jy
                                                                                                                                                                                                                                                                               . ... . , ,.                                                       :y                                                                           .. .ç.s... :u .
                                                                                                                                                                                                                                                                                                                                                                                                                        .. . , . .,. , .... .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   x
                          '','
                          '
                          y  ..:4   .
                                   ... ;.'. '
                                            t j;  q j1  j4
                                                         .'
                                                          k;
                                                           c 1
                                                             ( !
                                                               , sq ..   '.      -
                                                                                 :$,.
                                                                                  j      ;4
                                                                                          :
                                                                                          .
                                                                                          ,j  4
                                                                                              .; '
                                                                                                 yE
                                                                                                  :.;..kj.
                                                                                                        ; g k
                                                                                                            '
                                                                                                            r . ?
                                                                                                                j C
                                                                                                                  .  ;'
                                                                                                                      .E
                                                                                                                       2:.'.
                                                                                                                        .       LY
                                                                                                                                 ;:
                                                                                                                                  y
                                                                                                                                  v5
                                                                                                                                   .1
                                                                                                                                    :  4.; '
                                                                                                                                           .j
                                                                                                                                            ;
                                                                                                                                            . '
                                                                                                                                              t
                                                                                                                                              ,i
                                                                                                                                               j.j,
                                                                                                                                                 ?
                                                                                                                                                 , 1
                                                                                                                                                   .
                                                                                                                                                   ;7.
                                                                                                                                                    .
                                                                                                                                                    :     '
                                                                                                                                                          ,tl,j
                                                                                                                                                              r i)'
                                                                                                                                                                  .
                                                                                                                                                                  j.j d
                                                                                                                                                                      :
                                                                                                                                                                      .
                                                                                                                                                                      ,k
                                                                                                                                                                       '
                                                                                                                                                                       : jr
                                                                                                                                                                          '
                                                                                                                                                                          ,
                                                                                                                                                                          .h
                                                                                                                                                                           :p
                                                                                                                                                                            '
                                                                                                                                                                            . ; y
                                                                                                                                                                                .)
                                                                                                                                                                                 'j
                                                                                                                                                                                  , '. '
                                                                                                                                                                                       ,j:' j
                                                                                                                                                                                            ,g
                                                                                                                                                                                             j'.'
                                                                                                                                                                                                :g,.y  :
                                                                                                                                                                                                       , ,,   .
                                                                                                                                                                                                              :j:
                                                                                                                                                                                                               g
                                                                                                                                                                                                               . j,
                                                                                                                                                                                                                  2 jj1 jE
                                                                                                                                                                                                                         !
                                                                                                                                                                                                                         i; y@
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                              rirL
                                                                                                                                                                                                                                 jj  ;  '
                                                                                                                                                                                                                                        . Lb'      j (j!    t.  j   j
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                      j. y jy
                                                                                                                                                                                                                                                                           ;      jj.
                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                  .     ,
                                                                                                                                                                                                                                                                                       ,., y
                                                                                                                                                                                                                                                                                           ;,j
                                                                                                                                                                                                                                                                                            ,.  ,t   .
                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                        , r.j
                                                                                                                                                                                                                                                                                                           j   , .
                                                                                                                                                                                                                                                                                                                 , ;
                                                                                                                                                                                                                                                                                                                   . . r .j  y
                                                                                                                                                                                                                                                                                                                             z: .y
                                                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                                ,   :.j y
                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                       ,,j
                                                                                                                                                                                                                                                                                                                                         ,,j
                                                                                                                                                                                                                                                                                                                                           y rj g
                                                                                                                                                                                                                                                                                                                                            ,s,:,j  )j
                                                                                                                                                                                                                                                                                                                                                     . .
                                                                                                                                                                                                                                                                                                                                                      ,,
                                                                                                                                                                                                                                                                                                                                                       : a
                                                                                                                                                                                                                                                                                                                                                         y yj
                                                                                                                                                                                                                                                                                                                                                          ,.    ;
                                                                                                                                                                                                                                                                                                                                                                ,  y.,.
                                                                                                                                                                                                                                                                                                                                                                   ,  y.,j..
                                                                                                                                                                                                                                                                                                                                                                           j.j.,yy.r      j
                                                                                                                                                                                                                                                                                                                                                                                    yojyj:g  .y.. ,.,
                                                                                                                                                                                                                                                                                                                                                                                                  j  j,
                                                                                                                                                                                                                                                                                                                                                                                                      .jr
                                                                                                                                                                                                                                                                                                                                                                                                        y,
                                                                                                                                                                                                                                                                                                                                                                                                         u.,. sj
                                                                                                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                                                                                                               ,g,j
                                                                                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                                                                                                                                                                 s    y .,rt
                                                                                                                                                                                                                                                                                                                                                                                                                           .,r;
                                                                                                                                                                                                                                                                                                                                                                                                                              :y
                                                                                                                                                                                                                                                                                                                                                                                                                               ,,,j,g
                                                                                                                                                                                                                                                                                                                                                                                                                                    ,y
                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                                                                                                                     .j.,
                                                                                                                                                                                                                                                                                                                                                                                                                                        ..L
                                                                                                                                                                                                                                                                                                                                                                                                                                          .E,
                                                                                                                                                                                                                                                                                                                                                                                                                                            #
                                                                                                                                                                                                                                                                                                                                                                                                                                            .q.; :j.,(N.
                                                                                                                                                                                                                                                                                                                                                                                                                                                       .r
                                                                                                                                                                                                                                                                                                                                                                                                                                                        .j  ,sg ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,.,j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .,j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     y.,,   .kt,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ,.j..,j.,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ..vj  .l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4g      .,   .jy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .j.;   a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .y  j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .::, ).   s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .#   .y. y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .(.  2jjrj..,
                                                                                                                                                                                                                                                                                                                                                                                                                    ijj
                                  ..                                                                                                                                                                                   j,, .,
                                                                                                                                                                                                                                 t      <......         s..E.    jj,.. ...,, ..
                                                                                                                                                                                                                                                                    .yr.
                                                                                                                                                                                                                                                                       jyyy.    y..
                                                                                                                                                                                                                                                                                             . ,,,,
                                                                                                                                                                                                                                                                                                  . .  .
                                                                                                                                                                                                                                                                                                            yj
                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                 .ty .jfj;yj
                                                                                                                                                                                                                                                                                                                                                                                                      ,:    ,    ,            ,                      .      .               k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        . .,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,,
                          r        tj-f.
                                                                                                                                                                                                                                                                .    , ... . , ,, ,.       , .. ,,
                                                                                                                                                                                                                                                                                      yyyys,y,                                                                             r,
                                                                                                                                                                                                                                                                                                                                                                            j   j
                                                                                                                                                                                                                                                                                                                                                                                , j , ' , j:jy
                                                                                                                                                                                                                                                                                                                                                                                          .    ;j         .yk;y .. gj
                                                                                                                                                                                                                                                                                                                                                                                                                .,. ,   y y                            ;.       y,j;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   jj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    y,y j   .. .                   t                 ., .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .     '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,..,                    .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      j;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       j!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,gjj,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,
                          6.'jt;àhî                                                                                                                                                                                                                                                                            ,
                                .-
                                 '     yJ'
                                         j'4:1        :'.1e.w'   .j
                                                                  ' #,
                                                                     ' -
                                                                       g 1  I
                                                                            ') t -
                                                                                 '
                                                                                 k,1r
                                                                                    i1r'  )t-
                                                                                          i    (
                                                                                              .;  ij-
                                                                                                  .
                                                                                                  u
                                                                                                 :r   '
                                                                                                      T1
                                                                                                       .?     q k'
                                                                                                                  :  lt d    ,  k)p1
                                                                                                                                   '   k'
                                                                                                                                        -.
                                                                                                                                         ;  ï 'i7' t
                                                                                                                                                   . .
                                                                                                                                                     r :; !k'I
                                                                                                                                                             .@ 2
                                                                                                                                                                . y
                                                                                                                                                                  't
                                                                                                                                                                   ;' .  t1
                                                                                                                                                                          .
                                                                                                                                                                          'ky
                                                                                                                                                                            ' . ;
                                                                                                                                                                                ' j k' .
                                                                                                                                                                                       1.
                                                                                                                                                                                        i4:  :,'lt1 1?
                                                                                                                                                                                                     . d k
                                                                                                                                                                                                         .; ;
                                                                                                                                                                                                            ù .:
                                                                                                                                                                                                               !,
                                                                                                                                                                                                                9)ï  $k14
                                                                                                                                                                                                                        '
                                                                                                                                                                                                                         .      ?k 1
                                                                                                                                                                                                                                   . p    1   1      d-     .
                                                                                                                                                                                                                                                            + t                                           .
                                                                                                                                                                                                                                                                                                                                   sy
                                                                                                                                                                                                                                                                                                                                    , y
                                                                                                                                                                                                                                                                                                                                      jj
                                                                                                                                                                                                                                                                                                                                       ,y j
                                                                                                                                                                                                                                                                                                                                          ,g
                                                                                                                                                                                                                                                                                                                                           ,.yy
                                                                                                                                                                                                                                                                                                                                              j   .
                                                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                                                  y yy
                                                                                                                                                                                                                                                                                                                                                     ,j
                                                                                                                                                                                                                                                                                                                                                      yy
                                                                                                                                                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                                                                                                                                       , yy
                                                                                                                                                                                                                                                                                                                                                          yk
                                                                                                                                                                                                                                                                                                                                                           y ,
                                                                                                                                                                                                                                                                                                                                                             y;yj
                                                                                                                                                                                                                                                                                                                                                                .  y
                                                                                                                                                                                                                                                                                                                                                                   ,                             j,
                                                                                                                                                                                                                                                                                                                                                                                                  yy
                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                   ,yyy
                                                                                                                                                                                                                                                                                                                                                                                                      , y
                                                                                                                                                                                                                                                                                                                                                                                                        , y        ,
                                                                                                                                                                                                                                                                                                                                                                                                                          .j,jyj  ,:j
                                                                                                                                                                                                                                                                                                                                                                                                                                    ,  jy,
                                                                                                                                                                                                                                                                                                                                                                                                                                         yj
                                                                                                                                                                                                                                                                                                                                                                                                                                          ,.,
                                                                                                                                                                                                                                                                                                                                                                                                                                            yy   t
                                                                                                                                                                                                                                                                                                                                                                                                                                                 . j j                   4 .g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            , j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .,j,.gj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    r y,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ;j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .(g jy    .   yyg   j  y             yp,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .r  .  j y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               yj
                                 .
                                 z              .        ..       w         .
                                                                         ,..,,
                                                                        ..          ..       ,       , ..g..                 jile  j.j    . '
                                                                                                                                              (;
                                                                                                                                               .
                                                                                                                                           . . ..L ;.. ;.                :      .-;  . ,,
                                                                                                                                                                                        .
                                                                                                                                                                                         ,   ;
                                                                                                                                                                                                    .: y... .:.
                                                                                                                                                                                                                       .
                                                                                                                                                                                                                              .,     .. -
                                                                                                                                                                                                                                          ;.      ..
                                                                                                                                                                                                                                                     ay; y.    ..
                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                     t
                                                                                                                                                                                                                                                                ..,.;'       l  r
                                                                                                                                                                                                                                                                              ...
                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                7
                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                    1 t .
                                                                                                                                                                                                                                                                                        e    .  .  :
                                                                                                                                                                                                                                                                                        .'w .-.ty...
                                                                                                                                                                                                                                                                                                    ,.
                                                                                                                                                                                                                                                                                                     .  1 p
                                                                                                                                                                                                                                                                                                          .h 1 1
                                                                                                                                                                                                                                                                                                          ... , .  I r   :
                                                                                                                                                                                                                                                                                                                         . kt91  :r:.:.sr... . .
                                                                                                                                                                                                                                                                                                                                 ,                       ,:......;       s
                                                                                                                                                                                                                                                                                                                                                                      .. .,. -:       ,      yy  y
                                                                                                                                                                                                                                                                                                                                                                                        :yy; .;.u.z... .;.y,-.... y,    j
                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                                                                           , ,,..... .,,,.
                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                          yj y                         yj N
                                                                                                                                                                                                                                                                                                                                                                                                                                                          .          ;y  y      j  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        . , ..., , ,t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :  ..  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           , q
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             . :- .. g y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       j -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         y  ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             tN.:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .    . g j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     , .,,j;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .j , ;    .  .j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         yj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          . y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            k ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . ,y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 . j ,y     k.j     ..
                          .'
                           't.  '
                                .7.
                                  :
                                  .
                                  't.
                                    :  '
                                       (
                                       ',
                                        2:
                                         '$ k
                                            ' .
                                              a ; . ,  :
                                                       .,f
                                                         . z a
                                                             t   'j l' 1 !
                                                                         -  z< t
                                                                               ,  j
                                                                                  )
                                                                                  .y
                                                                                   ,!$
                                                                                     f J .4
                                                                                          .
                                                                                          'f   c   k. '  1           z
                                                                                                                     .i
                                                                                                                      '
                                                                                                                      .
                                                                                                                      i.
                                                                                                                       1-
                                                                                                                        '
                                                                                                                        t
                                                                                                                        .:
                                                                                                                         'L
                                                                                                                          i
                                                                                                                          -.
                                                                                                                           '
                                                                                                                           rl
                                                                                                                            k' t
                                                                                                                               vA E n  .    r .p r .x  .2  $ ,  - '   à  .;*        (  $ ,   .  .n ç                             *   .        >                            ; L  %                      ..
                                                                                                                                                                                                                                                                                                                                .... .. . .                                      gu   ,                .. . '      . '. ..                                                                  ys         .             ,   . .  .  .  s .   . y      u .   ax,,f s..
                                                                                         -,    î  's
                                                                                                   (ko
                                                                                                     '
                                                                                                     : '.                                                                -,3: / -                                                                     ''                                                                      -
                           -
                         ...
                              'rs ï')
                                    '(.   J ..
                                            j   s;    k
                                                      .
                                                      ':
                                                       '
                                                       J;
                                                        ?.
                                                         ;;      /j>g...k    ;sy
                                                                                                      ....  i !. .
                                                                                                                . :                          .
                                                                                                                                            ..  ,rr
                                                                                                                                                  .1r.
                                                                                                                                                     j ,  'r, .
                                                                                                                                                              , -
                                                                                                                                                                .      .
                                                                                                                                                                      ..
                                                                                                                                                                          ,    .
                                                                                                                                                                      ,,:,-s).t-.- $,p
                                                                                                                                                                              ... i .1 4:7
                                                                                                                                                                                         )      .,I. c.     -
                                                                                                                                                                                                            ) <.y :.  1r7
                                                                                                                                                                                                                        .,  . t 1
                                                                                                                                                                                                                                ...
                                                                                                                                                                                                                                      .          l
                                                                                                                                                                                                                                 - t :1rt5y.y?,.)-A
                                                                                                                                                                                                                                          t        p i
                                                                                                                                                                                                                                                     ;lk t  *     -
                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                     -   k q .  ' . , 0 .
                                                                                                                                                                                                                                                                          . .... . . .....;
                                                                                                                                                                                                         E'...r y.'';):'-.y,,,;;-yj.t..;.:;.:.r-.,-,''l' fjtY.):'y; r -....;' .Sg1:1:!Tj(j.
                                                                                                                                                                                                                                                    . ...
                                                                                                                                                                                                                                                                                                        ;  -t -
                                                                                                                                                                                                                                                                                                                         :.:11.           C2)
                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                 '' '''. ....,-
                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                              ' 1!  ,.@
                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                         E)t
                                                                                                                                                                                                                                                                                                                                                           . :
                                                                                                                                                                                                                                                                                                                                                             , i3  ï  q
                                                                                                                                                                                                                                                                                                                                                                      ,  ï
                                                                                                                                                                                                                                                                                                                                                                         y
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         ' s!   ''1
                                                                                                                                                                                                                                                                                                                                                                                  ' .
                                                                                                                                                                                                                                                                                                                                                                                    , 1 1 , -'
                                                                                                                                                                                                                                                                                                                                                                                               1t 6-
                                                                                                                                                                                                                                                                                                                                                                                                   .7!,1pr
                                                                                                                                                                                                                                                                                                                                                                                                         .'
                                                                                                                                                                                                                                                                                                                                                                                                          :1t  *
                                                                                                                                                                                                                                                                                                                                                                                                              73      4':
                                                                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                                                                             ':
                                                                                                                                                                                                                                                                                                                                                                                                                              t'
                                                                                                                                                                                                                                                                                                                                                                                                                               y,Ii2?---.' .. ,
                                                                                                                                                                                                                                                                                                                                                                                                                                           'f
                                                                                                                                                                                                                                                                                                                                                                                                                                            ë1L19-
                                                                                                                                                                                                                                                                                                                                                                                                                                            ,        '1td-.,.            ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ' i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '!.  t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :'-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 -  ;(
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .-.c
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      r)!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .  ';
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              :'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1y1i     ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .  r-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .lE1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                . (  -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     . 3 :IL,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .      i. :r5.     - ! r: '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     4-'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .:1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .' )1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .r'l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .   a..    '-;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .y.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                        ,.
                                                                                 tjt<....$ ;. r;.e:.,...,)u;..:.....                    :;'j.  '..'...j:.                                                                                                                                                                                   ,. . ''''.' . .. ,                                                              .,..... ..                                                               ....
                          :'' k'                          ,
                                                                            <1    .                                                                                                          ..k...j                                                                                                                                                                                                                                                                 '                '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1 1 F
                                                                                  -..      r
                             .
                             .. ,                        . . .                                                                                                            '.                                                                                                                                                                     .
                         ':; '
                             . r-,-
                                  '    :il  :
                                            .   , .
                                                  r    J
                                                       F
                                                       .)rd    :    l  s j
                                                                         l  y
                                                                            -                                                :i-T            .,
                                                                                                                                                    ij jj  jj,
                                                                                                                                                             j:
                                                                                                                                                              , ky,
                                                                                                                                                                  :r
                                                                                                                                                                   ;; ,p
                                                                                                                                                                       g l
                                                                                                                                                                         jjj.
                                                                                                                                                                            . q rE@
                                                                                                                                                                                 j;
                                                                                                                                                                                  j )
                                                                                                                                                                                    ry
                                                                                                                                                                                     . j
                                                                                                                                                                                       :y
                                                                                                                                                                                        . .                                                             ,                                                                       .. . ..          ,
                                                                                                                                                                                                                                                                                                                                                 ., . .,,                                                                        y. ,ry..v.yjt,jt;,.jy,gjga                     ,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               jt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                , yj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   , , .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       , :  y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ;:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               s,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                j j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E      j k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ,j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            s j .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ; ,j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .,  j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,:g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          , j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            t .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                yj  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,,x ,y .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            , :j : yj j   g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .j;j j.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                y:t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  jj kr  j.jj
                              ( )k;.; .k
                              7L.. .s 1.x .:o. -')i'           .
                                                                            .'
                                                          'k6 p:..1. p.: :EE.:.ç         :1
                                                                                          .   4
                                                                                              E3
                                                                                               .    .$ 1 k  J
                                                                                                            ' )
                                                                                                        ' ...v:.
                                                                                                                i t   t:
                                                                                                                       ''. .
                                                                                                                        '
                                                                                                                        !
                                                                                                                        .
                                                                                                                        -
                                                                                                                        .p
                                                                                                                         t;
                                                                                                                          -
                                                                                                                          ,-?
                                                                                                                        . .... . $
                                                                                                                               :..
                                                                                                                                  lll  1r1
                                                                                                                                         7 ;j
                                                                                                                                            ..).'
                                                                                                                                                t
                                                                                                                                                ,  '
                                                                                                                                                   (k  .
                                                                                                                                                       .  ,y.,
                                                                                                                                                          .
                                                                                                                                                                          ,
                                                                                                                                                                          , , ...
                                                                                                                                                             2..:,-..).$..-t
                                                                                                                                                                          ,   ..
                                                                                                                                                                                ,
                                                                                                                                  , r. jc...xwv.?p ''.J'.uj '. .:L.x..:... '.-n''..'>J'. . .
                                                                                                                                                                                            (j
                                                                                                                                                                                             .
                                                                                                                                                                                             '
                                                                                                                                                                                             t .,
                                                                                                                                                                                                :j
                                                                                                                                                                                                 ..
                                                                                                                                                                                                  .j
                                                                                                                                                                                                   ,
                                                                                                                                                                                                   ..
                                                                                                                                                                                                    ., j ,
                                                                                                                                                                                                         .  ,
                                                                                                                                                                                                          . ...,
                                                                                                                                                                                                               :
                                                                                                                                                                                                               .
                                                                                                                                                                                                               kj4
                                                                                                                                                                                                                z.  4;
                                                                                                                                                                                                                     ,j
                                                                                                                                                                                                                      ..;
                                                                                                                                                                                                                        .,
                                                                                                                                                                                                                         .    :
                                                                                                                                                                                                                              y
                                                                                                                                                                                                                              . j
                                                                                                                                                                                                                                .y
                                                                                                                                                                                                                                 , j
                                                                                                                                                                                                                                   . .  j
                                                                                                                                                                                                                                        . ,
                                                                                                                                                                                                                                          . y
                                                                                                                                                                                                                                            : j
                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                              ,  . y
                                                                                                                                                                                                                                                   . j j
                                                                                                                                                                                                                                                       . ,
                                                                                                                                                                                                                                                         .  N
                                                                                                                                                                                                                                                            . . .., j
                                                                                                                                                                                                                                                                    .,
                                                                                                                                                                                                                                                                     .;.
                                                                                                                                                                                                                                                                       <
                                                                                                                                                                                                                                                                       , . s .  j - N
                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                    , j ,
                                                                                                                                                                                                                                                                                        - j;:
                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                            .j
                                                                                                                                                                                                                                                                                             .  .
                                                                                                                                                                                                                                                                                                .    j  .
                                                                                                                                                                                                                                                                                                        . j
                                                                                                                                                                                                                                                                                                          . j
                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                            .    j
                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                 , :
                                                                                                                                                                                                                                                                                                                   . j
                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                     . . j ,j
                                                                                                                                                                                                                                                                                                                            .y
                                                                                                                                                                                                                                                                                                                             -E
                                                                                                                                                                                                                                                                                                                              . j  g
                                                                                                                                                                                                                                                                                                                                   jy
                                                                                                                                                                                                                                                                                                                                    . ;j.j
                                                                                                                                                                                                                                                                                                                                         t.
                                                                                                                                                                                                                                                                                                                                          k
                                                                                                                                                                                                                                                                                                                                          $ ,j
                                                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                                              . j g
                                                                                                                                                                                                                                                                                                                                                  .kj(o
                                                                                                                                                                                                                                                                                                                                                      j4
                                                                                                                                                                                                                                                                                                                                                       . ï
                                                                                                                                                                                                                                                                                                                                                         .g
                                                                                                                                                                                                                                                                                                                                                          .  . .   y
                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                   .  .  . j
                                                                                                                                                                                                                                                                                                                                                                           . j
                                                                                                                                                                                                                                                                                                                                                                             .  kj
                                                                                                                                                                                                                                                                                                                                                                                 .( .
                                                                                                                                                                                                                                                                                                                                                                                    ; j
                                                                                                                                                                                                                                                                                                                                                                                      )   ! t
                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                            ;j
                                                                                                                                                                                                                                                                                                                                                                                             . .
                                                                                                                                                                                                                                                                                                                                                                                               y ,
                                                                                                                                                                                                                                                                                                                                                                                                 jl
                                                                                                                                                                                                                                                                                                                                                                                                  .g.:.
                                                                                                                                                                                                                                                                                                                                                                                                      ...,
                                                                                                                                                                                                                                                                                                                                                                                                         :.j.  j j  .
                                                                                                                                                                                                                                                                                                                                                                                                                    j   j
                                                                                                                                                                                                                                                                                                                                                                                                                        / j
                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                          .  g
                                                                                                                                                                                                                                                                                                                                                                                                                             .j: ,
                                                                                                                                                                                                                                                                                                                                                                                                                                 .jr
                                                                                                                                                                                                                                                                                                                                                                                                                                   ,-
                                                                                                                                                                                                                                                                                                                                                                                                                                    .. j
                                                                                                                                                                                                                                                                                                                                                                                                                                       ,r
                                                                                                                                                                                                                                                                                                                                                                                                                                        ;y
                                                                                                                                                                                                                                                                                                                                                                                                                                         )j
                                                                                                                                                                                                                                                                                                                                                                                                                                        ..,
                                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                          , pj  -  j j
                                                                                                                                                                                                                                                                                                                                                                                                                                                     - j
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                 . . . . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                          ,   j . g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   y,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .  j  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . j..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ( u,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :  ,$,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ..,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   %
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     j j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         -  .. ,;!y  :ttr (.y..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            : .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .  .        :. . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ....
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ;j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       $ j.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            jy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                y. ,.,( .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .-. : ;:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              y.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ,;;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,
                         !.
                          .
                             j
                         .. ..1-1è
                                :
                                .  14                 ?
                                                      !'
                                                       : 'k1 #. . ''     t           -?--2    21 1.  1.- -      $
                                                                                                                .
                                                                                                                t    .1
                                                                                                                      - :4.                                                                                       '                   .                                                                                                                ;s /. -;.: -':                                                                                 ; .
                             ..         -
                                        .,-   ..
                                              '   rj---        0
                                                               ' .
                                                   . . .... ... . .          e - ' :       :       -            .. . .  -.-:!
                                                                                                                            'p ;tri
                                                                                                                                  .k
                                                                                                                                   ti
                                                                                                                                    '  .
                                                                                                                                       ,
                                                                                                                                       ;-, .
                                                                                                                                           '- ,:'
                                                                                                                                               - .kh
                                                                                                                                                   .k- '
                                                                                                                                                       .
                                                                                                                                                       .1 .1
                                                                                                                                                           -      :1
                                                                                                                                                                   .7
                                                                                                                                                            o'.).$. '
                                                                                                                                                                  .
                                                                                                                                                                  .   -1 r)
                                                                                                                                                                          -':
                                                                                                                                                                            . ,
                                                                                                                                                                              r .
                                                                                                                                                                                ' . '  Ikl
                                                                                                                                                                                         '
                                                                                                                                                                                         ;t
                                                                                                                                                                                          : fr'''
                                                                                                                                                                                             .,
                                                                                                                                                                                                 ..f.:$
                                                                                                                                                                                                 t
                                                                                                                                                                                                 : k1$-:
                                                                                                                                                                                                         --
                                                                                                                                                                                                          1t;,.1 r
                                                                                                                                                                                                              ....:
                                                                                                                                                                                                                 5-<
                                                                                                                                                                                                                    1.
                                                                                                                                                                                                                     8d.'.         , ;  -
                                                                                                                                                                                                                                        . d
                                                                                                                                                                                                                                          ' ! t
                                                                                                                                                                                                                                              .  - .
                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                   ' sE:l!-   t:r-I
                                                                                                                                                                                                                                                                  1 42
                                                                                                                                                                                                                                                                     .1t :   2
                                                                                                                                                                                                                                                                             'I .rL.1      1:r1;r1,nj!1.1i    '
                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                           '. .
                                                                                                                                                                                                                                                                                                                            'l:,z: ..
                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                    :-211r
                                                                                                                                                                                                                                                                                                                                         :'
                                                                                                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                                                                                          .r)
                                                                                                                                                                                                                                                                                                                                            7,
                                                                                                                                                                                                                                                                                                                                             .- t
                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                E-;:I
                                                                                                                                                                                                                                                                                                                                                    .l
                                                                                                                                                                                                                                                                                                                                                      --,
                                                                                                                                                                                                                                                                                                                                                         J4  :-:,  11r7E1
                                                                                                                                                                                                                                                                                                                                                                   .         l  .
                                                                                                                                                                                                                                                                                                                                                                                .ji
                                                                                                                                                                                                                                                                                                                                                                                  . ,
                                                                                                                                                                                                                                                                                                                                                                                    .t  2.r,1 '.,-'' ,?
                                                                                                                                                                                                                                                                                                                                                                                             'j                 ),ût),:s
                                                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                                                             t.-  '...JI(11.
                                                                                                                                                                                                                                                                                                                                                                                                                               .,.o
                                                                                                                                                                                                                                                                                                                                                                                                                                  .        ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                   -1
                                                                                                                                                                                                                                                                                                                                                                                                                                                     '. '. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                     r-1
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ..?   tI'L3  .,tIr-      .'ik@r-.-r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      t-.h  4(-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .!'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '- rd        .;;,j,'e.-ëIr               ..1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        -.      l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -r .1 -14
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,1t,)'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                !,'-.:.:,  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           dLl(:I.,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .;1Iq
                                                                                               jv' .'p               d''..e;                                                                                                                                         ) ;                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                .. .                                 . .... .                            . .... .      .                                                                              .. ........                                                                                                           .. .
                                                                                                                                                                                                                                                                   . ..               ;r ' 7-.,'                                                     ''
                                                                                                                                                                                                                                                                                                                                                            .. . .
                                                                                                                                                                                                                                                                                                                                                                v'                                                              .. . ... . . ...... ' .....
                                                                                                                                                                                                                                                                                                                                                                                                       p ..d.'            ,.
                                                                                                                                                                                                              .                                                                                                                                                                          . .
                                                                                                                                 .;>..i'                                                      .'                                                                         '@                                                                   '.                                                                          .
                             :...  :'.... ..r:                           g5y.:.:.J'                                              (            Ay#'L'          ,..     '' :. ...                                                                                                                                                                   .                            .'
                                                                                                                                                                                                                                                                                                                                                                                                                                    . l1''. ., :. ...h ,;- .                                                                                .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '- .-:';    !' -. -..
                         ;
                         .
                         '
                          :1  l
                              ))l
                                j .
                                  k
                                  '
                                 ?:t'  ;
                                       AF
                                        .t
                                         1
                                         r':...
                                              t
                                              '
                                              ' .'' i
                                                    .
                                                    . tr!k
                                                        ' '! l $ .
                                                                 -
                                                                 )!
                                                                  : j
                                                                    ,
                                                                    .l
                                                                     h
                                                                     : . 1;21..
                                                                         '
                                                                      ....
                                                                         .     1 .
                                                                                 kj
                                                                                  g
                                                                                  . .
                                                                                   7E
                                                                                   ; .
                                                                                     ! t
                                                                                       .  l
                                                                                         ;.
                                                                                          2r
                                                                                           i
                                                                                           E  kéj-!
                                                                                                  :
                                                                                                 .,
                                                                                                    (
                                                                                                   JJ.
                                                                                                     .j
                                                                                                      ,g4
                                                                                                        ,y
                                                                                                         .,
                                                                                                          .
                                                                                                       ! .:
                                                                                                            j
                                                                                                            '
                                                                                                            : : ,
                                                                                                                @
                                                                                                                . ;  .
                                                                                                                     ii:
                                                                                                                       .'Ij
                                                                                                                          '-
                                                                                                                           .:
                                                                                                                            -
                                                                                                                            .j
                                                                                                                             ' g 15
                                                                                                                                  k'
                                                                                                                                   s
                                                                                                                        ... -.. . ..
                                                                                                                .'......;p' . . --  ?
                                                                                                                                    .  1
                                                                                                                                       -i
                                                                                                                                       .   lB 2-'
                                                                                                                                   .. . ... . ...
                                                                                                                                           )p    . !p
                                                                                                                                                    ,  .
                                                                                                                                                       e
                                                                                                                                                     b.f '#-à
                                                                                                                                                            .:. ol
                                                                                                                                                                 :
                                                                                                                                                                 .k
                                                                                                                                                                  ;k
                                                                                                                                                                   :
                                                                                                                                                                   .l
                                                                                                                                                                    . kf
                                                                                                                                                                       L .'
                                                                                                                                                                          1
                                                                                                                                                                          '.
                                                                                                                                                                           ::
                                                                                                                                                                            ' 1
                                                                                                                                                                              ' k
                                                                                                                                                                                .!
                                                                                                                                                                                 '
                                                                                                                                                                                 ''
                                                                                                                                                                                  i :
                                                                                                                                                                                    ..
                                                                                                                                                                                     ' r-dr
                                                                                                                                                                                          ) 7
                                                                                                                                                                                            jL3
                                                                                                                                                                                              .
                                                                                                                                                                                              ç
                                                                                                                                                                                             x'
                                                                                                                                                                                               -
                                                                                                                                                                                               3
                                                                                                                                                                                               :;
                                                                                                                                                                                                 .
                                                                                                                                                                                                 (
                                                                                                                                                                                                 !,rN  : (
                                                                                                                                                                                                         A-
                                                                                                                                                                                                          . ) r
                                                                                                                                                                                                              .
                                                                                                                                                                                                              .f!
                                                                                                                                                                                                                .
                                                                                                                                                                                                                .
                                                                                                                                                                                                                :j
                                                                                                                                                                                                                 :
                                                                                                                                                                                                                 .h .
                                                                                                                                                                                                                    , 1
                                                                                                                                                                                                                      y1ç
                                                                                                                                                                                                                        .
                                                                                                                                                                                                                        .,
                                                                                                                                                                                                                         '  r
                                                                                                                                                                                                                            f
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                     . . ....   !,
                                                                                                                                                                                                                                 (
                                                                                                                                                                                                                                ','
                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                   ?
                                                                                                                                                                                                                                   ' i  4 ,
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                          . :.-
                                                                                                                                                                                                                                              '  .:
                                                                                                                                                                                                                                                 , f '
                                                                                                                                                                                                                                                     ;.
                                                                                                                                                                                                                                                      )
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                      ' )
                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                        '   ,
                                                                                                                                                                                                                                                            - .  ,s
                                                                                                                                                                                                                                                                  r .!
                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                     ';
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                                                       k   j
                                                                                                                                                                                                                                                                           . k
                                                                                                                                                                                                                                                                             E  '
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                y
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                - .
                                                                                                                                                                                                                                                                                  . ,
                                                                                                                                                                                                                                                                                    . -
                                                                                                                                                                                                                                                                                      j . :
                                                                                                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                          . .
                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                           ,.t     .
                                                                                                                                                                                                                                                                                                   : i
                                                                                                                                                                                                                                                                                                     k
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                        , p
                                                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                           k
                                                                                                                                                                                                                                                                                                           ,'
                                                                                                                                                                                                                                                                                                            (
                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                             )
                                                                                                                                                                                                                                                                                                             . 9
                                                                                                                                                                                                                                                                                                               . 1
                                                                                                                                                                                                                                                                                                                 . .ki .
                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                       - $
                                                                                                                                                                                                                                                                                                                         . .
                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                           f,-
                                                                                                                                                                                                                                                                                                                             (
                                                                                                                                                                                                                                                                                                                             q#.
                                                                                                                                                                                                                                                                                                                              .  t .
                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                   ()
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                      j;
                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                       .r
                                                                                                                                                                                                                                                                                                                                        >lk
                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                           ?
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                             Ir
                                                                                                                                                                                                                                                                                                                                            ;1-
                                                                                                                                                                                                                                                                                                                                                )
                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                ' gi;
                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                  .kr
                                                                                                                                                                                                                                                                                                                                                  .r k
                                                                                                                                                                                                                                                                                                                                                     ,'y
                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                       - !
                                                                                                                                                                                                                                                                                                                                                         z4
                                                                                                                                                                                                                                                                                                                                                          .'
                                                                                                                                                                                                                                                                                                                                                           )
                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                             y
                                                                                                                                                                                                                                                                                                                                                             , -
                                                                                                                                                                                                                                                                                                                                                               -j
                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                .  ;
                                                                                                                                                                                                                                                                                                                                                                   -j    j Nk-.
                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                . -   $ : ,
                                                                                                                                                                                                                                                                                                                                                                                          , 1 a
                                                                                                                                                                                                                                                                                                                                                                                            .$.
                                                                                                                                                                                                                                                                                                                                                                                             ' j ,  . s
                                                                                                                                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                                                                                                                                   t.; '
                                                                                                                                                                                                                                                                                                                                                                                                     ? ;l
                                                                                                                                                                                                                                                                                                                                                                                                        ns
                                                                                                                                                                                                                                                                                                                                                                                                         .k.
                                                                                                                                                                                                                                                                                                                                                                                                           .  ,k
                                                                                                                                                                                                                                                                                                                                                                                                             ''.
                                                                                                                                                                                                                                                                                                                                                                                                              è
                                                                                                                                                                                                                                                                                                                                                                                          ..,... .... .... .....
                                                                                                                                                                                                                                                                                                                                                                                                                (
                                                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                                                                   k
                                                                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                                                                   Fl
                                                                                                                                                                                                                                                                                                                                                                                                                    '   tj(
                                                                                                                                                                                                                                                                                                                                                                                                                          ,y,
                                                                                                                                                                                                                                                                                                                                                                                                                            . 9
                                                                                                                                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                                                                                                                                                             ''1  q
                                                                                                                                                                                                                                                                                                                                                                                                                                  '1t: )
                                                                                                                                                                                                                                                                                                                                                                                                                                       -j'
                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                          -.
                                                                                                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                                                                                                .ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                                                                                . .... ... ................ .. ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                                                                                                                                                      1'
                                                                                                                                                                                                                                                                                                                                                                                                                                                       El '
                                                                                                                                                                                                                                                                                                                                                                                                                                                          k r 1 '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                l .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  7'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    rkj  k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         . ;.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ' -' ! -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   tç
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    t-.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      -1.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        r   1t q  pr -J'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       . i   r121
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E l  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ,t  2 1.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ë2 ' '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1l  j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         î.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          . j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -  q
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    . -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      s'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       t-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,t  6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            : lt:% q;.: ' X. . :
                         j
                         k':
                           E /  .
                                '
                                i <
                                  . ;   ':
                                         '1
                                          r   ,
                                              ' t )
                                                  . h j
                                                      ''j
                                                        ,)'l)    .'
                                                                 '
                                                                 ,  Jk
                                                                     . h y
                                                                         '  .t
                                                                             ) I j1
                                                                                  ïj;
                                                                                    '
                                                                                    .
                                                                                    :
                                                                                    .1
                                                                                     ? r 1
                                                                                         j:I
                                                                                           ,  à
                                                                                              '
                                                                                              't
                                                                                               J
                                                                                               k .
                                                                                                 :
                                                                                                 .j1
                                                                                                   a!,
                                                                                                     E
                                                                                                     ..j
                                                                                                       :
                                                                                                       . j
                                                                                                         .
                                                                                                          '.

                                                                                                            . o
                                                                                                                r(
                                                                                                                     )..q:
                                                                                                                         'Foo  .
                                                                                                                               -p ;!
                                                                                                                                   '
                                                                                                                                   $j  .j
                                                                                                                                        ,  ;t
                                                                                                                                            '
                                                                                                                                            . .4
                                                                                                                                               x p'/ : j*
                                                                                                                                                        .
                                                                                                                                                        ; ?ij
                                                                                                                                                            .r
                                                                                                                                                             ct j
                                                                                                                                                                iq.
                                                                                                                                                                  t
                                                                                                                                                                  @)z)
                                                                                                                                                                    . s  ;  ..  .;' yc;  )r
                                                                                                                                                                                          .
                                                                                                                                                                                          ' .   .,'
                                                                                                                                                                                                 .t1
                                                                                                                                                                                                   - : t-c' F  .
                                                                                                                                                                                                               xi
                                                                                                                                                                                                                :'
                                                                                                                                                                                                                 .j t'
                                                                                                                                                                                                                     xt'i
                                                                                                                                                                                                                        h
                                                                                                                                                                                                                        .j  i ?
                                                                                                                                                                                                                              J .
                                                                                                                                                                                                                                s1 j
                                                                                                                                                                                                                                   : ,'
                                                                                                                                                                                                                                        u:.   ,
                                                                                                                                                                                                                                              .  .!
                                                                                                                                                                                                                                                 : . p;t:
                                                                                                                                                                                                                                                     >      :j'
                                                                                                                                                                                                                                                              . : ;.'.j( ' j l  . y ' y ( r,
                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                          k
                                                                                                                                                                                                                                                                                          '  '  (  @
                                                                                                                                                                                                                                                                                                   i j  :
                                                                                                                                                                                                                                                                                                        . j
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                          ?'
                                                                                                                                                                                                                                                                                                           y
                                                                                                                                                                                                                                                                                                           ' ' j
                                                                                                                                                                                                                                                                                                               . .
                                                                                                                                                                                                                                                                                                                 , h l
                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                     . r ; I
                                                                                                                                                                                                                                                                                                                           &
                                                                                                                                                                                                                                                                                                                           e
                                                                                                                                                                                                                                                                                                                           .r
                                                                                                                                                                                                                                                                                                                            !j
                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                             .  1
                                                                                                                                                                                                                                                                                                                                .:) - ,4 ;
                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                         '1
                                                                                                                                                                                                                                                                                                                                          yg't
                                                                                                                                                                                                                                                                                                                                             .' 1
                                                                                                                                                                                                                                                                                                                                                ' ,-
                                                                                                                                                                                                                                                                                                                                                   .!jr
                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                      --
                                                                                                                                                                                                                                                                                                                                                       4
                                                                                                                                                                                                                                                                                                                                                       . !
                                                                                                                                                                                                                                                                                                                                                         b
                                                                                                                                                                                                                                                                                                                                                         .;jt  '
                                                                                                                                                                                                                                                                                                                                                               .1
                                                                                                                                                                                                                                                                                                                                                                !  j  '  t
                                                                                                                                                                                                                                                                                                                                                                         .   i   :
                                                                                                                                                                                                                                                                                                                                                                                 .  , $
                                                                                                                                                                                                                                                                                                                                                                                      . j p r !j 'j
                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                   )t;!
                                                                                                                                                                                                                                                                                                                                                                                                      .4p1,t
                                                                                                                                                                                                                                                                                                                                                                                                           .1  q't .  ' Lp
                                                                                                                                                                                                                                                                                                                                                                                                                         '4!
                                                                                                                                                                                                                                                                                                                                                                                                                           ,i$j)
                                                                                                                                                                                                                                                                                                                                                                                                                               ;'
                                                                                                                                                                                                                                                                                                                                                                                                                               '*
                                                                                                                                                                                                                                                                                                                                                                                                                                  (.
                                                                                                                                                                                                                                                                                                                                                                                                                                   $'
                                                                                                                                                                                                                                                                                                                                                                                                                                    ;y
                                                                                                                                                                                                                                                                                                                                                                                                                                    .  )-
                                                                                                                                                                                                                                                                                                                                                                                                                                        jj G4
                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                            !k
                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                                                                                                                                                                                                .  E
                                                                                                                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                                                                                                                                   'r> 'l ' , b i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ' tf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ' E.  $ '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           t1 h
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              yj#
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :t1r#
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    t?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     jl
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '41  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -' z
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .:.,.. '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             (;.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ,j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ' ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $  ' i 6N-       k' ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      :  j  i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ' kf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '   j '1k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ;:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ' 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .j;q$
                           r .t@.;r-4     y   .   .    z  .         .'         -   .
                                                                                                         .
                                                                                                                      .
                                                                                                                       .
                                                                                                                       :        q                                .       )               ,-    ,.,. ,.
                                                                                                                                                                                                       w ,j   )             @   vu   ,,
                                                                                                                                                                                                                                     t               .
                                                                                                                                                                                                                                                     .. :             ù
                                                                                                                                                                                                                                                                      :j                                                                                                 ; !,   : .
                                                                                                                                                                                                                                                                                                                                                                                  '       . 't
                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                    ' ...11             '    -  .
                                                                                                                                                                                                                                                                                                                                                                                                                                     t     .'        . -        . .        .:    z     i   k  .   :'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .1-k1; 8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '  :  .'        C?%'   ..  ..f .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .t z ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ' 'e à>''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ..    ;r.4
                                                                                                                                                                                               .                                                              ..                                                                                                                                 .        .             .      . ...
                          -            #                                                                                                                                                                                                                                                                                                                        .            .      h     .              . :k y. E .
                                       1;;      .1     ,.
                                                        1:b
                                                          1.
                                                           1.1;   >! :           ,....-:       -.  .
                                                                                                   i. ;!fpç.'..'.)                      ..'''.:;.:.x.:..r):5.:
                                                                                                                                                                       ki--3t
                                                                                                                                                                            j     ,''-..-..   ... :             #?   -(E.                                                                                                                                                                                                                  .jy.....pxï:.?'.                     'ks   .f:..J.k'      i.E                              r:
                         i                                                                                                                                                                                                       ..
                         )'
                          ii                                                                                                                                                                                                                                                                                                                                                                                                                                                         ta                                                               :  ..:
                                                                                                                                                                                                                                                     .                                                                                                                                                   ..
                           'î.
                           r    12
                                 ,-1    !'
                                         )
                                         .'
                                          :'t-,'    !71
                                                    1
                               ?.3:,-:,-s--;.-...-,$r..      ; 1:.2  1-;-
                                                                     5   .! ':
                                                                            ?is-
                                                                             k      1,ë1-1
                                                                                  1j:
                                                                                  .
                                                                                      ''
                                                                                         Ip'  ..
                                                                                              I  -! -
                                                                                                    i
                                                                                                    ë'i .3' i1:      .147I
                                                                                                                         k.- 1.         r.
                                                                                                                                         -'dlk
                                                                                                                                           r  t!'kj
                                                                                                                                                  lri
                                                                                                                                                    E1 kl
                                                                                                                                                        à 1
                                                                                                                                                          .li
                                                                                                                                                            '
                                                                                                                                                            .:.
                                                                                                                                                              i li
                                                                                                                                                                 jc
                                                                                                                                                                  q
                                                                                                                                                                  -1
                                                                                                                                                                   !q ''
                                                                                                                                                                      t;   'q3ib-'
                                                                                                                                                                                 -î
                                                                                                                                                                                 i           jl'
                                                                                                                                                                                               -
                                                                                                                                                                                               L1
                                                                                                                                                                                                .iù
                                                                                                                                                                                                  .''
                                                                                                                                                                                                   2
                                                                                                                                                                                                   i:j !
                                                                                                                                                                                                       I
                                                                                                                                                                                                       .-
                                                                                                                                                                                                         ï.
                                                                                                                                                                                                          ';'')!
                                                                                                                                                                                                              ,
                                                                                                                                                                                                              r'iE-
                                                                                                                                                                                                                 .
                                                                                                                                                                                                                 'kr
                                                                                                                                                                                                                  ' -i
                                                                                                                                                                                                                    .    '' !'!-ik'--q
                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                     .j     s ;il
                                                                                                                                                                                                                                                   )1  Fk
                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                        '.
                                                                                                                                                                                                                                                        ,d
                                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                         .r
                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                              ! .
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                r.I''J   .)1-     5.-'r         ..      :.y
                                                                                                                                                                                                                                                                                                          '.
                                                                                                                                                                                                                                                                                                           .)
                                                                                                                                                                                                                                                                                                            -.   ... =:.'j.....          z!..'.   <vxyj.jjpi                .i-.        ky  ;'..jtt
                                                                                                                                                                                                                                                                                                                                                                                               .           ..îra;.11.
                                                                                                                                                                                                                                                                                                                                                                                                                   ..             ...
                                                                                                                                                                                                                                                                                -. :
                                                                                   .. ...        -E .,'                                                                                                                                                      ''  1. r
                                                                                                                                                                                                                                                                    -'11
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                     /
                                                                                                                                                                                                                                                                    ' '      ,:
                                                                                                                                                                                                                                                                             k  -
                                                                                                                                                                                                                                                                                ' .     -!  16  1  .
                                                                                                                                                                                                                                                                                                   k         1 h
                                                                                                                                                                                                                                                                                                               I ,
                                                                                                                                                                                                                                                                                                                 . y
                                                                                                                                                                                                                                                                                                                   7 r .                                                                  ,-i 1t 21
                                                                                                                                                                                                                                                                                                                                                                                                  #
                                                                                                                                                                                                                                                                                                                                                                                                  .r!                            --  11.'11
                                                                                                                                                                                                                                                                                                                                                                                                                                          ...
                                                                                                                                                                                                                                                                                                                                                                                                                                            1               q
                                                                                                                                                                                                                                                                                                                                                                                                                                                            b :
                                                                                                                                                                                                                                                                                                                                                                                                                                                              -'I p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ;I.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     l
                                                                                            .
                             . .,
                                ..,,                      ....
                                                             .k
                                                               .  ti
                                                                  .
                                                                     .
                                                                     . .
                                                                          . .....
                                                                         ,. .... ..
                                                                      . ..
                                                                             .
                                                                                  ..
                                                                                  .... ....
                                                                                    t' '  .;      ?.-     -.-.--?-.                    :    .  :
                                                                                                                                               rk. .
                                                                                                                                                   );
                                                                                                                                                    .ï fL .        .. . .                         .
                                                                                                                                                                                                    .
                                                                                                                                                                                                     ' .
                                                                                                                                                                                                       j
                                                                                                                                                                                                       -    h .. .. .... .      ' . .. .-,1 .$
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                 91.
                                                                                                                                                                                                                                 .. .... . .... .. . ...
                                                                                                                                                                                                                                                         '  f
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                              - .
                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                             .. . . .  : .          -
                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                            L.
                                                                                                                                                                                                                                                                                             '  ,
                                                                                                                                                                                                                                                                                                z
                                                                                                                                                                                                                                                                                                     tù   -
                                                                                                                                                                                                                                                                                                          ?
                                                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                                                           ..        : C
                                                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                                         y
                                                                                                                                                                                                                                                                                                                           2
                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                                                                                                             2
                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                             7.
                                                                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                                                                7
                                                                                                                                                                                                                                                                                                                                 r'
                                                                                                                                                                                                                                                                                                                                 l -'
                                                                                                                                                                                                                                                                                                                                    !
                                                                                                                                                                                                                                                                                                                                    .1 -)'t
                                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                             rq '
                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                C
                                                                                                                                                                                                                                                                                                                                                  ,.
                                                                                                                                                                                                                                                                                                                                                  I-
                                                                                                                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                                                                                                                    s-4k
                                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                                                         ;'
                                                                                                                                                                                                                                                                                                                                                         '-:
                                                                                                                                                                                                                                                                                                                                                           kl- k
                                                                                                                                                                                                                                                                                                                                                               --
                                                                                                                                                                                                                                                                                                                                                                E     t1
                                                                                                                                                                                                                                                                                                                                                                      .  - 1
                                                                                                                                                                                                                                                                                                                                                                           :r.
                                                                                                                                                                                                                                                                                                                                                                             '! i,33j..i  '
                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                          . ..... :
                                                                                                                                                                                                                                                                                                                                                                                                   . .
                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                   .  .
                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                      ,q
                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                       -1-
                                                                                                                                                                                                                                                                                                                                                                                                         )
                                                                                                                                                                                                                                                                                                                                                                                                         -(t   #k
                                                                                                                                                                                                                                                                                                                                                                                                                d:
                                                                                                                                                                                                                                                                                                                                                                                                             .. ...
                                                                                                                                                                                                                                                                                                                                                                                                                ,r
                                                                                                                                                                                                                                                                                                                                                                                                                 , ïù
                                                                                                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                                                                    y k
                                                                                                                                                                                                                                                                                                                                                                                                                      r
                                                                                                                                                                                                                                                                                                                                                                                                                      y
                                                                                                                                                                                                                                                                                                                                                                                                                    . ' ;
                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                                                                                                                                                                        1y
                                                                                                                                                                                                                                                                                                                                                                                                                         :q
                                                                                                                                                                                                                                                                                                                                                                                                                          .1I'12.
                                                                                                                                                                                                                                                                                                                                                                                                                  , .. . . ... .. . .
                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                      '. '
                                                                                                                                                                                                                                                                                                                                                                                                                                         -:.
                                                                                                                                                                                                                                                                                                                                                                                                                                           ,.
                                                                                                                                                                                                                                                                                                                                                                                                                                       . .. .:.  . 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                   ,:!
                                                                                                                                                                                                                                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                     -1
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                       àb
                                                                                                                                                                                                                                                                                                                                                                                                                                                        6 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                          , -   .     1lr  'q, -?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              'i-'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Ep
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    - ;E:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       r)? 't
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            'i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            --i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .k,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                - ,. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ' : .   ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     :;' !
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         11 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            - : -1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 . pI:k d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '-h - , 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -1 :!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ii$1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        r   r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ,'
                                                                                   r;'-a       )4.x 'q1'.'..(                'J1-.-i'.          '. -'-'--'$                 .;.         y: '           1k;-':ï g:'i
                                                                                                                                                                                                                  .'. .;           ' i'.                                                                                                                 j:
                                                                                                                                                                                                                                                                                                                                                          ;j
                                                                                                                                                                                                                                                                                                                                                           q::k(           r6.  :..       b..h..$       :.rk;                      .,.qtu.-'.   :    ë:t)j    El;ë lt;.    .,;(kr                            .,.'. .9j..j.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ;.:
                                                                                                                                                                                                                                                          .                                                                                   s                                                     , .       --
                                                                                                                                                                                                                                                                                                                                                                                                               ,..r-          -..h
                                                                                                                                                                                                                                                                                                                                                                                                                              4                                                      ,.:. .                                -                       -
                                                                                                                                   2 --6-'C1i
                                    ''' '                        ' ', .              .'   '                                                                                                                                                          .  .  .                                                                                                                                                                                                                                                         . . .                         :.tx.  1k.          . ..
                           -J'
                             i.
                              l
                              -
                              -'
                               !:i
                                 .jk                                                                                                                                                                                                                                                                                                              .i:';
                                   q
                                   r                                   L'1
                                                                         ,'  -s                                                                               '        :5 .
                                                                 h@';                                                                                                                                                            l11.14:                z
                                                                                                                                                                                                                                                        E?  +   u
                                                                                                                                                                                                                                                                ;.   if''    /
                                                                                                                                                                                                                                                                             '                  ?ê'. à      jjw            Ir);
                                                                                                                                                                                                                                                                                                                              ....  .: .k  :.
                                                                                                                                                                                                                                                                                                                                            j!.
                                                                                                                                                                                                                                                                                                                                              ';             . :                                            t'.                                             jj                 ' .
                                                             ' ''                .                                                                                                                                .
                         t)
                          -!
                           C       E. :         ppë'4t:.!f
                                                         -;'
                                                           '.'
                                                                    .1-     -r
                                                                             d
                                                                             i dij.
                                                                                 Lll       .. .     -
                                                                                                    '!,
                                                                                                      '.
                                                                                                       1
                                                                                                       -
                                                                                                       :4q
                                                                                                         .;
                                                                                                          5 ,
                                                                                                            - 1
                                                                                                              . I .
                                                                                                                  r  '
                                                                                                                     ,1j!'
                                                                                                                         ,,1
                                                                                                                           Ei                        'i
                                                                                                                                                     :    ë
                                                                                                                                                          7,
                                                                                                                                                           .
                                                                                                                                                           '           L( '
                                                                                                                                                                          :
                                                                                                                                                                          .15 .
                                                                                                                                                                              8
                                                                                                                                                                              :
                                                                                                                                                                              - 17
                                                                                                                                                                                 -;
                                                                                                                                                                                  i .
                                                                                                                                                                                    l
                                                                                                                                                                                    k
                                                                                                                                                                                    'i '-p-
                                                                                                                                                                                          .
                                                                                                                                                                                          k
                                                                                                                                                                                          4 '.(
                                                                                                                                                                                              i-
                                                                                                                                                                                               )
                                                                                                                                                                                               .î
                                                                                                                                                                                                ;t
                                                                                                                                                                                                 !':
                                                                                                                                                                                                   jë' k' '       ''       ' '
                                                                                                                                                                                                                                                                  i:.
                                                                                                                                                                                                                                                                                                                                                                                                                                          . ,                                                                                                                   ,.,,..%f.'iïX..'
                                                                                                                                                           ï1
                                                                                                                                                            -
                                                                                                                                                            :;
                                                                                                                                                             .:
                                                                                                                                                              j
                                                                                                                                                              E1 '                                                                                                     -
                                                         ' f,'.-1                ,
                                                                                 .  .  '
                                                                                                                             -1.!41                                                                               t'tI'
                                                                                                                                                                                                                      t
                                                                                                                                                                                                                      .?!
                                                                                                                                                                                                                        sI-
                                                                                                                                                                                                                        '   k!r ,L
                                                                                                                                                                                                                                '             ''                 '                  -!
                                                                                                                                                                                                                                                                                    C                                                                                                                                             . .
                                                                                                                                                                                                                                                                    .7
                                                                                                                                                                 t
                                                                                                                                                                 .6:t'ï
                                                                                                                                                                   3                                      '   .-
                                                                                                                                                                                                              .'
                                                                                                                                                                                                               ?-
                                                                                                                                                                                                                ;'
                                                                                                                                                                                                                ik
                                                                                                                                                                                                                 q;   k                                          rt   j-l  I                         .1                                   ë'                                              ''
                                                                                                                                                                                                                                                                                                                                                                                                                              li l.
                                                                                                                                                                                                                                                                                          -1              fI
                                                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                                                           :'
                                                                                                                                                                                                                                                                                                            '' j
                                                                                                                                                                                                                                                                                                               d t
                                                                                                                                                                                                                                                                                                                 : :r' .
                                                     .         .                                                                                                                                                         '
                                                                                                                                                                                                                                 j            1(.,'-
                                                                                                                                                                                                                                                   -i.k.
                                                                                                                                                                                                                                                       ,t
                                                                                                                                                                                                                                                        :.   ' ' '
                                                                                                                                                                                                                                                                 '  '
                                                                                                                                                                                                                                                                                             E'                        - C
                                                                                                                                                                                                                                                                                                                         ' 1                    l4-,i 1  h
                                                                                                                                                                                                                                                                                                                                                         .'.                                    .. ' .     ' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                $,i'-' 1.
                                                                                                                                                                                                                                                                                                                                                                                                                                                        E -   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                     @y.7                                                                                                                                                                                                      ;1  ): 1 '           .1 9
                                                                                           -                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                                                             ï1 ;l
                                 .                 ... . . . . .. ..                    ...                                                                   .. ..
                                                                                                                                                                  ,
                                                                                                                                                                                                                 ; -. :
                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                            -'
                                                                                                                                                                                                                                                         '' ' d
                                                                                                                                                                                                                                                              y
                                                                                                                                                                                                                                                              -yj '
                                                                                                                                                                                                                                                                  .'' '      8!
                                                                                                                                                                                                                                                                             7
                                                                                                                                                                                                                                                                             -  ki  !!k','                                    6G331tk 1
                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                      '1
                                                                                                                                                                                                                                                                                                                                         q                 :-
                                                                                                                                                                                                                                                                                                                                                                         -ë'l                               :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      JtYt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .'ik-.
                                                                                                                                                                                                                                                                                                                                                                                                    t,:
                                               ''
                                                                                .. . ....
                                                                               ..
                                                                                                                                                            .              l
                                                                                                                                                                                       .
                                                                                                                                                                                       .
                                                                                                                                                                                                    .?
                                                                                                                                                                                                                 .
                                                                                                                                                                                                      . . .,. ,. ....    .. .. .
                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                               .. ..',.. ....... . . ..               )
                                                                                                                                                                                                                                                        . .. . .... .....
                                                                                                                                                                                                                                                                 c::
                                                                                                                                                                                                                                                                                                                   -.
                                                                                                                                                                                                                                                                                                                         ';,X 2          sL.-:        E'r    -1 1.,:d
                                                                                                                                                                                                                                                                                                                                                                '     .-
                                                                                                                                                                                                                                                                                                                                                                      ,  l       .,j
                                                                                                                                                                                                                                                                                                                                                                                 -      ,sl.:
                                                                                                                                                                                                                                                                                                                                                                                          ï
                                                                                                                                                                                                                                                                                                                                                                                          :  1l:'11
                                                                                                                                                                                                                                                                                                                                                                                                  r!1q;
                                                                                                                                                                                                                                                                                                                                                                                                      'ik
                                                                                                                                                                                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                                                        ,1-!
                                                                                                                                                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                                                                                                                ....''. . ..
                                                                                                                                                                                                                                                                                                                                                                                          ... ...        .
                                                                                                                                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                                                                                                                                            . . .
                                                                                                                                                                                                                                                                                                                                                                                                            -k,,    -   '
                                                                                                                                                                                                                                                                                                                                                                                                                        .I
                                                                                                                                                                                                                                                                                                                                                                                                                         t2
                                                                                                                                                                                                                                                                                                                                                                                                                          l1
                                                                                                                                                                                                                                                                                                                                                                                                                           .4
                                                                                                                                                                                                                                                                                                                                                                                                                           ..!
                                                                                                                                                                                                                                                                                                                                                                                                                             5.
                                                                                                                                                                                                                                                                                                                                                                                                                                ..!
                                                                                                                                                                                                                                                                                                                                                                                                                                  7!-   11#)
                                                                                                                                                                                                                                                                                                                                                                                                                                         . ï.
                                                                                                                                                                                                                                                                                                                                                                                                                                            d-:.:
                                                                                                                                                                                                                                                                                                                                                                                                                             .. . ... . ... . .         1
                                                                                                                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                              - i:1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1. ;'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '        '(-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                k''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ' 1.ù
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .#
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      !4
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       'è
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ;i)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             2!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              t6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -1-:.).1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .          Ir'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ,'!   'L 21ïb..   74.:-ï!'-1 -' f7t  1 F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   i-'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      t'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       kl!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          J: l.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               )4
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        . ... ..,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ..        .r-11
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ; :.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      -1  2112ii   t-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               k.-!j  !11
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '    :71
                          - è                                                                                          -
                          ,;1 47                                                                              .-.-.--.;.-.y'    E'
                                                                                                                                ;?Il114.
                                                                                   '' '         '           F '
                                                                                                              i -
                              t;
                               iy
                                1
                                2l
                                 yr
                                  1
                                  ,1:1
                                   .1
                                    I  LIr'
                                         i  kt2
                                            I
                                         . .'
                                               .
                                                ! #f,    ':r
                                                          .  ! '!
                                                               -
                                                               :  .
                                                                  - ,'
                                                                     . l(r.
                                                                         I  's-?
                                                                            i  -
                                                                                 .lril
                                                                                     .   'l
                                                                                          ëk  dt.).
                                                                                                  :.
                                                                                                   b
                                                                                                   '-i.
                                                                                                      !i
                                                                                                       ;7
                                                                                                        '1
                                                                                                         éù-
                                                                                                          '.         -        '''''      1'
                                                                                                                                         - 1t )i
                                                                                                                                               ' ;'
                                                                                                                                                  )t
                                                                                                                                                   ?i;
                                                                                                                                                     ,
                                                                                                                                             ' '' ' ' '
                                                                                                                                                       (:'k
                                                                                                                                                        -   ;
                                                                                                                                                            .
                                                                                                                                                            '2l
                                                                                                                                                              i IL1Ir
                                                                                                                                                                    :
                                                                                                                                                                    ' -
                                                                                                                                                                      !
                                                                                                                                                                      ''
                                                                                                                                                                       i '-
                                                                                                                                                                         ki'
                                                                                                                                                                           ïr'-'.1I #
                                                                                                                                                                                    E
                                                                                                                                                                                    .: )
                                                                                                                                                                                       .'
                                                                                                                                                                                        -1.
                                                                                                                                                                                          :
                                                                                                                                                                                          ' tl'1 ,
                                                                                                                                                                                                 : 17)
                                                                                                                                                                                                     l   -
                                                                                                                                                                                                         rl   l
                                                                                                                                                                                                              ' '
                                                                                                                                                                                                                k!
                                                                                                                                                                                                                 1
                                                                                                                                                                                                                 -r
                                                                                                                                                                                                                 t. 1
                                                                                                                                                                                                                    ' h'
                                                                                                                                                                                                                       r
                                                                                                                                                                                                                       - '
                                                                                                                                                                                                                       E -'
                                                                                                                                                                                                                         '  '
                                                                                                                                                                                                                            - '
                                                                                                                                                                                                                              i --
                                                                                                                                                                                                                                 --$      $
                                                                                                                                                                                                                                          k ' h
                                                                                                                                                                                                                                              )  k
                                                                                                                                                                                                                                                 i F
                                                                                                                                                                                                                                                   - '
                                                                                                                                                                                                                                                     .1!11
                                                                                                                                                                                                                                                         i  t '
                                                                                                                                                                                                                                                              . !
                                                                                                                                                                                                                                                                .#
                                                                                                                                                                                                                                                                 I'
                                                                                                                                                                                                                                                                  l 1i
                                                                                                                                                                                                                                                                     l ':,;l
                                                                                                                                                                                                                                                                      i1     1  L .
                                                                                                                                                                                                                                                                                  ! : î-l
                                                                                                                                                                                                                                                                                        :.':,#
                                                                                                                                                                                                                                                                                             '' k
                                                                                                                                                                                                                                                                                                -  kt1
                                                                                                                                                                                                                                                                                                   '    .'-'.
                                                                                                                                                                                                                                                                                                            :8.-.1
                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                             -           7
                                                                                                                                                                                                                                                                                                                         I !Il) 1t 2
                                                                                                                                                                                                                                                                                                                                   5' tlL
                                                                                                                                                                                                                                                                                                                                        l-l
                                                                                                                                                                                                                                                                                                                                          1'1 4
                                                                                                                                                                                                                                                                                                                                              ''
                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                '-
                                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                                  d.
                                                                                                                                                                                                                                                                                                                                                   l'!
                                                                                                                                                                                                                                                                                                                                                    ' -
                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                       - ;
                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                         -1. l i
                                                                                                                                                                                                                                                                                                                                                               4.'
                                                                                                                                                                                                                                                                                                                                                                         i '-t
                                                                                                                                                                                                                                                                                                                                                                             k  IL: '-J           -1
                                                                                                                                                                                                                                                                                                                                                                                                   ,!
                                                                                                                                                                                                                                                                                                                                                                                                    h
                                                                                                                                                                                                                                                                                                                                                                                                    -111
                                                                                                                                                                                                                                                                                                                                                                                                       --1 !.-'i
                                                                                                                                                                                                                                                                                                                                                                                                               .-
                                                                                                                                                                                                                                                                                                                                                                                                                ''
                                                                                                                                                                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                                                                                                                                                                 .i.!
                                                                                                                                                                                                                                                                                                                                                                                                                ' '.' ''                -L
                                                                                                                                                                                                                                                                                                                                                                                                                                        ï'k
                                                                                                                                                                                                                                                                                                                                                                                                                                          ''7
                                                                                                                                                                                                                                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                                                                                                                                                                                                                            tb
                                                                                                                                                                                                                                                                                                                                                                                                                                             '  ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                :-
                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                 : k
                                                                                                                                                                                                                                                                                                                                                                                                                                                   i.
                                                                                                                                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                                                                                                    k                       ''''
                             .     2      2
                                         . ... .- c          f       ...
                                                                     ...
                                                                             y  ,. .
                                                                               ..
                                                                               : ..>yL . .. . .. . .
                                                                                       J ?-'  .; 'tr   .k:..
                                                                                                            ,               ,
                                                                                                                            . . .. . . .,.
                                                                                                                               :y
                                                                                                                                .. :.  .   .
                                                                                                                                           ..
                                                                                                                                            ) )
                                                                                                                                              .  . ..
                                                                                                                                                  . .      3
                                                                                                                                                    . ......t
                                                                                                                                                            ..: );EJ
                                                                                                                                                tjivug:..u...j.hq...
                                                                                                                                                . .k                . :
                                                                                                                                                                      E' ;    . ; '            .
                                                                                                                                                                                         ry'.y.' k)  .h  L    ië:
                                                                                                                                                                                                       ,;;';j'..t)ë -    ;
                                                                                                                                                                                                                         -  -   Jp      : . i    .   $k kk
                                                                                                                                                                                                                                                         ,  -
                                                                                                                                                                                                                                                            . -
                                                                                                                                                                                                                                                              .  ,
                                                                                                                                                                                                                                                                 -.             , . ! -
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                      :    :. - .y
                                                                                                                                                                                                                                                                                                -  . .
                                                                                                                                                                                                                                                                                                     ,  . ,
                                                                                                                                                                                                                                                                                                          .;:          ë .
                                                                                                                                                                                                                                                                                                                         r -
                                                                                                                                                                                                                                                                                                                           2          .
                                                                                                                                                                                                                                                                                                                                      r .          :
                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                          ........ ..
                                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                                           -. . -    ;.
                                                                                                                                                                                                                                                                                                                                                    .,.... .
                                                                                                                                                                                                                                                                                                                                                           ......
                                                                                                                                                                                                                                                                                                                                                                .. d
                                                                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                                                   -  i  . -                   ! l  $ ' ..
                                                                                                                                                                                                                                                                                                                                                                                                      .. . .
                                                                                                                                                                                                                                                                                                                                                                                                        -     . .
                                                                                                                                                                                                                                                                                                                                                                                                           .. . . . . .. r         '
                                                                                                                                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                                                                                                                   :'
                                                                                                                                                                                                                                                                                                                                                                                                                                    -1
                                                                                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                                                                                     - ;  ,-.       - -.            '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    -i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .  k  1 I-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .It
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,1I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ..... ...t:@
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .'i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .  !;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .7. @ 1  2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1          2 ''1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ... . . ...              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 - l -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      . '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i1' k 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ... 17 1.'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .t:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       'iIL   y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .!F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 p -I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1k'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      . 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ! id1:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             2?'
                              '.
                               '.
                                -(
                                 'jj..J;>;7t'q..,-:.i.'
                                                                               1!;.-'-,o'!-.;.i.-j, I J:Tjj'i)ky:-:j                   .q:.                                                                                                                                                                                                                                                                                                                       ,  .     'yj     .' .,. $' <                  ..         ; :                t' p',.!.;1.              .      :  .
                                                                                         ,,, .                   .                                    ,. .                                                                                                                                                                                                     :                                   ,
                         t2
                          .k
                           I-I;
                              !
                              -t  tt
                                   .,
                                ..'.
                                j
                                ,k  '  1
                                       .;
                                        kt,
                                          -:'
                                            ! tù-.;    lk
                                                        hr!
                                                         -
                                                         '.@ t .
                                                               F
                                                               E;
                                                                 '
                                                                 'I
                                                                  -t
                                                          ...... . .
                                                                     .
                                                                    .z
                                                                     l
                                                                   . . i
                                                                       r 1.
                                                                         .                        1p'
                                                                                                    y,
                                                                                                     .
                                                                                                     .
                                                                                                          -:
                                                                                                             .
                                                                                                              1,
                                                                                                                ! 1  .-
                                                                                                                      y
                                                                                                                      rt,ë
                                                                                                                         '
                                                                                                                         -1r!.
                                                                                                                             1
                                                                                                                             7
                                                                                                                             -1 -:;:
                                                                                                                                 .-.:ë ...).
                                                                                                                                           .E.   'f-ë2-1,--'
                                                                                                                                                           .
                                                                                                                                                           -k
                                                                                                                                                            .r
                                                                                                                                                             !
                                                                                                                                                             -j
                                                                                                                                                             -    jh,
                                                                                                                                                              l)!'! '1krësl
                                                                                                                                                                          .ë.
                                                                                                                                                                            ' ; -'.
                                                                                                                                                                                  h i;
                                                                                                                                                                                     . h
                                                                                                                                                                                       !i;-j
                                                                                                                                                                                         ï. ..ik'
                                                                                                                                                                                                -.r-
                                                                                                                                                                                                ,# 1q
                                                                                                                                                                                                    l
                                                                                                                                                                                                    .'
                                                                                                                                                                                                     - 1
                                                                                                                                                                                                       . g.
                                                                                                                                                                                                          * '
                                                                                                                                                                                                            t
                                                                                                                                                                                                            -,k
                                                                                                                                                                                                              .r
                                                                                                                                                                                                               :
                                                                                                                                                                                                              -i.
                                                                                                                                                                                                                .
                                                                                                                                                                                                                -ji
                                                                                                                                                                                                                  L j
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                    -
                                                                                                                                                                                                                    E1!
                                                                                                                                                                                                                      Ir.
                                                                                                                                                                                                                        ;:  - .
                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                              ik,.   ë. 1-rrrht. j
                                                                                                                                                                                                                                                 ,rtj
                                                                                                                                                                                                                                                   , r,k
                                                                                                                                                                                                                                                       ,.
                                                                                                                                                                                                                                                       -dj
                                                                                                                                                                                                                                                         -;
                                                                                                                                                                                                                                                         E        :
                                                                                                                                                                                                                                                                  . 4.!.
                                                                                                                                                                                                                                                                     ;;
                                                                                                                                                                                                                                                                     . 1k. ..t
                                                                                                                                                                                                                                                                             l,.r7  .
                                                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                                    , : :
                                                                                                                                                                                                                                                                                        4 ;
                                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                                          k
                                                                                                                                                                                                                                                                                          .1 )
                                                                                                                                                                                                                                                                                             !  '
                                                                                                                                                                                                                                                                                                .  ' p
                                                                                                                                                                                                                                                                                                     .  -
                                                                                                                                                                                                                                                                                                        ) ta
                                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                                                           rk
                                                                                                                                                                                                                                                                                                            .)
                                                                                                                                                                                                                                                                                                             ' .
                                                                                                                                                                                                                                                                                                               . r .
                                                                                                                                                                                                                                                                                                                   .     . j
                                                                                                                                                                                                                                                                                                                           ;1 -
                                                                                                                                                                                                                                                                                                                              1 j
                                                                                                                                                                                                                                                                                                                                .  (
                                                                                                                                                                                                                                                                                                                                   .:
                                                                                                                                                                                                                                                                                                                                    - '
                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                      . '
                                                                                                                                                                                                                                                                                                                                        -,
                                                                                                                                                                                                                                                                                                                                         .kj r
                                                                                                                                                                                                                                                                                                                                             --.j '. y
                                                                                                                                                                                                                                                                                                                                                     E::
                                                                                                                                                                                                                                                                                                                                                      '  ',r )
                                                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                                             . j;  ': :g   'Tq   .
                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                 '' ';1L  r .'1.
                                                                                                                                                                                                                                                                                                                                                                                               -E , '.
                                                                                                                                                                                                                                                                                                                                                                                                     )i.
                                                                                                                                                                                                                                                                                                                                                                                                       -'.'
                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                            : 4.A
                                                                                                                                                                                                                                                                                                                                                                                                                1E  :
                                                                                                                                                                                                                                                                                                                                                                                                                 4i''
                                                                                                                                                                                                                                                                                                                                                                                                                    j '
                                                                                                                                                                                                                                                                                                                                                                                                                      t '
                                                                                                                                                                                                                                                                                                                                                                                                                        h
                                                                                                                                                                                                                                                                                                                                                                                                                        2i
                                                                                                                                                                                                                                                                                                                                                                                                                         .;
                                                                                                                                                                                                                                                                                                                                                                                                                          i'
                                                                                                                                                                                                                                                                                                                                                                                                                           .1
                                                                                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                            /  s'h2
                                                                                                                                                                                                                                                                                                                                                                                                                                  :.
                                                                                                                                                                                                                                                                                                                                                                                                                                  ''ë
                                                                                                                                                                                                                                                                                                                                                                                                                                   p
                                                                                                                                                                                                                                                                                                                                                                                                                                   . k-kr
                                                                                                                                                                                                                                                                                                                                                                                                                                    9!   iIr'!'  a PJ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                     '    '       ).':.  t----. 1,b
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .é?
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    -k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     àg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      'E                             ' # .8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         !:.-.-'jk.'!,,ï-,br                                     '-$    I      y:
                                                                                                                                                                                                                                                                                                                                                                                                                             -1
                             .. .
                                ..,. .                         .         -             . .   .       ---'
                                                                                                        -.4           '     .       .         ë-
                                                                                                                                               .s-            ..                          ;  'ï
                                                                                                                                                                                             -   -                          k
                                                                                                                                                                                                                            r d  1p
                                                                                                                                                                                                                                 . !.                       ê,'-Ei                                                                        . ' .      -      .
                                                                                                                                                                                                                                                                                                                                                                         1  :.  1r      ':  ,
                                                                                                                                                                                                                                                                                                                                                                                            '. 1  ,
                                                                                                                                                                                                                                                                                                                                                                                                  ?
                                                                                                                                                                                                                                                                                                                                                                                                  r!
                                                                                                                                                                                                                                                                                                                                                                                                   ..   2.
                                                                                                                                                                                                                                                                                                                                                                                                         ;1
                                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                                          -27 )          '     i ' '
                                                                                                                                                                                                                                                                                                                                                                                                                           . . .' . .
                                                                                                                                                                                                                                                                                                                                                                                                                                      '     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                     r1 r ,-2
                                                                                                                                                                                                                                                                                                                                                                                                                                                            1 .1-.k                    r    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        !:.i' i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Ik
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                î
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                i -.                                                                         I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             -r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              :'
                              (.-. ;.--,..s.-- .--.r. k ..2:it                                                                                                                                                                                                                                                                                                                                                                                          '
                          -                                                                                                     .                          -                                                                                                                                                                                                                                                   .
                                     .                          .. .   ,. . ........ . . .. .... ..... . .. . ........... ..
                                                                                                                           .. . . ....,........
                                                                                                                                    c          éky':
                                                                                                                                               :           . ..
                                                                                                                                                              .                                                -
                                                                                                                                                                                                                                                 -     :                                                                              .. .      .-- ..-:
                                                                                                                                                                                                                                                                                                                                         . . .......... ... .....
                                                                                                                                                                                                                                                                                                                                            -.                                              -      :        - :.,
                                                                                                                                                                                                                                                                                                                                                                                                           . ....
                                                                                                                                                                                                                                                                                                                                                                                                               - . ... ....,
                                                                                                                                                                                                                                                                                                                                                                                                                           . . .      . -:
                                                                                                                                                                                                                                                                                                                                                                                                                                         -- -
                                                                                                                                                                                                                                                                                                                                                                                                                                            .        -            .'i:!r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     r                  -    .-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .   7ç'rj!.                .;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          't'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ; ,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              - -: !.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    r'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ?.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      /1;1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,    -.-E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      . .. ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .   !
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ti .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   !12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .ë-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       :i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .k- .,.r-s   d,'. 19
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          -:4 , ..
                                                                                                                                  rt'                                                                                                                                                                                                                                                                    % '                   , '                                              '           '                               '                                               '
                         %ël r l
                               ë)il:'  I'l
                                         /r ..  â
                                                .'.l  i
                                                      ..u1
                                                         .(? 'tv.:d  '                                                                         --%$
                                                                                                                                                  5î'
                              q   r   .v        ' '        ..:    .fl
                                                                    .  vt'- .k
                                                                             ''1 .,
                                                                                  :L
                                                                                   k$
                                                                                    .-
                                                                                     ; b
                                                                                       .
                                                                                       .(..
                                                                                          '4  L
                                                                                              .T .'nr
                                                                                                  '..k
                                                                                                     .9
                                                                                                     .  p
                                                                                                        .!
                                                                                                         '1A
                                                                                                         .      r 1   ,
                                                                                                                     ''
                                                                                                                     . t
                                                                                                                       -
                                                                                                                       'k.
                                                                                                                        ' ,'
                                                                                                                           .
                                                                                                                           .I-  i-;-    t'
                                                                                                                                         L
                                                                                                                                         '1 ï':k..
                                                                                                                                                 '., .- t
                                                                                                                                                        . :.1-l
                                                                                                                                                              '. r
                                                                                                                                                                 .'
                                                                                                                                                                  -t,
                                                                                                                                                                    ' .9
                                                                                                                                                                       :.-;'.
                         :. '..:         ..waz >..,,trv.                           :.. ..p '                           .'szqr'.zh                          ' : .< '';ë ' vt
                                                                                                                                                           .
                          :
                          .. k
                             -.  (j
                                  .
                                -;- j  '
                                       !4.
                                         p(
                                          ' E ,
                                              2
                                              .
                                              ' )
                                                j !
                                                  - 1
                                                    . j1
                                                       :
                                                       .k u
                                                         -'
                                                         ù   -.' k
                                                                 !; '
                                                                    .i .
                                                                       l r
                                                                         :
                                                                         '  jI-''.
                                                                                 '
                                                                                 Ep:
                                                                                   Ij
                                                                                    ;
                                                                                    :
                                                                                    ?. j
                                                                                     .- '' j
                                                                                           l  !t
                                                                                               i
                                                                                               .
                                                                                               I !
                                                                                                 .
                                                                                                 tF  !
                                                                                                   'à1I.
                                                                                                       k!.
                                                                                                         1  k
                                                                                                            ! ;   -'  è
                                                                                                                     s: >
                                                                                                                       1'
                                                                                                                        11 pl
                                                                                                                          0-p
                                                                                                                          1 Ik.h
                                                                                                                               t;
                                                                                                                                !l
                                                                                                                                 ;
                                                                                                                                 (1 L  1
                                                                                                                                       ,1
                                                                                                                                         # -  $)
                                                                                                                                            4.-(
                                                                                                                                 ..'.. ' .'. .
                                                                                                                                         k-,1  :
                                                                                                                                               ..v
                                                                                                                                                 ,;
                                                                                                                                                  'j
                                                                                                                                                   - .
                                                                                                                                                     ?
                                                                                                                                                    !-
                                                                                                                                                    .   . '1
                                                                                                                                                           -2 '
                                                                                                                                                             ,ï
                                                                                                                                                              i
                                                                                                                                                              :i
                                                                                                                                                                 :
                                                                                                                                                                 .
                                                                                                                                                                  ' ;
                                                                                                                                                                  $d-ë!
                                                                                                                                                                 :l    '  '
                                                                                                                                                                          :
                                                                                                                                                                          2
                                                                                                                                                                          .!
                                                                                                                                                                            '. '
                                                                                                                                                                              1 '!'
                                                                                                                                                                                  r
                                                                                                                                                                                  r
                                                                                                                                                                                  à .  i '--, 1.2
                                                                                                                                                                                               '  '
                                                                                                                                                                                                 .@
                                                                                                                                                                                             ''.'.
                                                                                                                                                                                                  -il)d
                                                                                                                                                                                                     1 -;-.
                                                                                                                                                                                                         rE:
                                                                                                                                                                                                          ; ,.E'
                                                                                                                                                                                                              k  -
                                                                                                                                                                                                                :.
                                                                                                                                                                                                                 '1         -k,':
                                                                                                                                                                                                                       à!it'i
                                                                                                                                                                                                                    ('11
                                                                                                                                                                                                                    1            dd- krï             !.             .kr
                                                                                                                                                                                                                                                                      ?
                                                                                                                                                                                                                                                                      -'   11.      '.j.LJ;>-1
                                                                                                                                                                                                                                                                                             ;l
                                                                                                                                                                                                                                                                                                '  h
                                                                                                                                                                                                                                                                                                   k ;
                                                                                                                                                                                                                                                                                                     o
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                     ,  .      1.1...            !.f5    .
                                                                                                                                                                                                                                                                                                                                         ' 1.   v     ?.  .
                                                                                                                                                                                                                                                                                                                                                          1'
                                                                                                                                                                                                                                                                                                                                                           4 t
                                                                                                                                                                                                                                                                                                                                                             - L
                                                                                                                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                                                                1  '     8.     .t.       ..,.   !. .
                                                                                                                                                                                                                                                                                                                                                                                                    12.r. k.   41.      %:11;:   . t.'-'7.,'ù'
                                                                                                                                                                                                                                                                                                                                                                                                                                             ?:  ;--.             ' '    '    .'.'. . -.'  .'        .:.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       7     ' .'        -'      .  .;   :;      ' :.         .'.;.
                                                                                                                                                                                  y?                                                                                                                                                                            -l    '
                                                                         ....       L
                                                                            .. . ....
                                                                                    .,
                                                                               . ...... .....                   -;
                                                                                                     ' . .,.. .. .
                                                                                                                        .
                                                                                                                           LLï
                                                                                                                             1 ï .p.:   .                   ,
                                                                                                                                                            ..
                                                                                                                                             ,. . . .... . .. ..          , .   .    t
                                                                                                                                                                                     i
                                                                                                                                                                                     s2
                                                                                                                                                                              .. . .. ..
                                                                                                                                                                                        !7
                                                                                                                                                                                        (       ;:,
                                                                                                                                                                                              ...... . ''
                                                                                                                                                                                                            - t!;
                                                                                                                                                                                                               ; i
                                                                                                                                                                                                              ....
                                                                                                                                                                                                                        ...
                                                                                                                                                                                                                  ',:', :.E
                                                                                                                                                                                                                   ..... .... .. . .. .
                                                                                                                                                                                                                                       .. b
                                                                                                                                                                                                                                          gi..
                                                                                                                                                                                                                                            . '
                                                                                                                                                                                                                                              .-lk.;'
                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                      k
                                                                                                                                                                                                                                                      yâ
                                                                                                                                                                                                                                                       .T
                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                        .t
                                                                                                                                                                                                                                                        ..  j(r
                                                                                                                                                                                                                                                      .. .. . ..
                                                                                                                                                                                                                                                                7y
                                                                                                                                                                                                                                                                 :t
                                                                                                                                                                                                                                                                  .! ( -:-.
                                                                                                                                                                                                                                                                       ,.. .    '-?-i
                                                                                                                                                                                                                                                                                r         .. .
                                                                                                                                                                                                                                                                          ... . .. . ..... ...            --
                                                                                                                                                                                                                                                                                                           12'
                                                                                                                                                                                                                                                                                                             . ,
                                                                                                                                                                                                                                                                                                              ''
                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                               - :
                                                                                                                                                                                                                                                                                                                 .   1:r-1 -!
                                                                                                                                                                                                                                                                                                                            :5t'.. p   1
                                                                                                                                                                                                                                                                                                                                       -11
                                                                                                                                                                                                                                                                                                                                         ;1
                                                                                                                                                                                                                                                                                                                                ' .... . '.
                                                                                                                                                                                                                                                                                                                                         .  -
                                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                                            -1
                                                                                                                                                                                                                                                                                                                                             -1 ,
                                                                                                                                                                                                                                                                                                                                                ë,jb
                                                                                                                                                                                                                                                                                                                                                   :ï
                                                                                                                                                                                                                                                                                                                                                   ;?'
                                                                                                                                                                                                                                                                                                                                                    ;:'.j i        -7 -1   4:k
                                                                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                                                                             -1 .1ë t
                                                                                                                                                                                                                                                                                                                                                                                  . -1
                                                                                                                                                                                                                                                                                                                                                                                     .k
                                                                                                                                                                                                                                                                                                                                                                                      1 .        !
                                                                                                                                                                                                                                                                                                                                                                                                 :)
                                                                                                                                                                                                                                                                                                                                                                                                  .,: ;,
                                                                                                                                                                                                                                                                                                                                                                                                      1 .
                                                                                                                                                                                                                                                                                                                                                                                                        7.
                                                                                                                                                                                                                                                                                                                                                                                                         -1;:-:1 31y-1  :.
                                                                                                                                                                                                                                                                                                                                                                                                                        .    ,;
                                                                                                                                                                                                                                                                                                                                                                                                                             t .
                                                                                                                                                                                                                                                                                                                                                                                                                               k 'IEr?     !;   k
                                                                                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                                                                                                -!   ;k)-
                                                                                                                                                                                                                                                                                                                                                                                                                                                        r r1      lk!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,--q ; r,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            - p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              q.d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ,2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  t)-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .hk
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       I-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '  l-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            k'ê
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                é r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ë! )-.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1   1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '  #'p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              :L!'--ï
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  9    -t ,'h 1I.)-'!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ;   ,y.i1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         !-.!''-)!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            t    -j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 i  k7
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    i .2'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     !  EJ  lùt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            q il';
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 !tr,t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     i-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      !:;,k'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           r'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ,ji
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              j
                           ..
                         ,-.    -.:--5.
                                  .       .
                                        ët. : ' r , ,
                                                    . k. .r+   E  E
                                                                  . J.
                                                                     )   '
                                                                         .  .
                                                                            -.
                                                                             - 4 :
                                                                                 1.7.i
                                                                                     s.
                                                                                      .j
                                                                                       .
                                                                                       .
                                                                                       . j
                                                                                         .:    s
                                                                                               . ,   , . ,
                                                                                                         ;.
                                                                                                          . : k
                                                                                                              , ,    .. .L
                                                                                                                         .. ir i.
                                                                                                                                -  .     : 1
                                                                                                                                           ),  - .,l
                                                                                                                                                   j
                                                                                                                                                   .i
                                                                                                                                                    ;j.:   ..   -. .
                                                                                                                                                                   :j
                                                                                                                                                                    r ,!
                                                                                                                                                                       . .
                                                                                                                                                                         -'
                                                                                                                                                                          . ' -        ..    ..
                                                                                                                                                                                         , , . . ..: . j '
                                                                                                                                                                                                         /'      1!             .                                                                          ::
                                                                                                                                                                                                                                                                                                            i..
                                                                                                                                                                                                                                                                                                             :         5 E
                                                                                                                                                                                                                                                                                                                         ' ....... ..
                                                                                                                                                                                                                                                                                                                           1     '    .
                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                  p   (
                                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                                     . ,... .
                                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                                                       E r
                                                                                                                                                                                                                                                                                                                                                         ;(.        .       i        .
                                                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                                                     .. ...   .          . .  ,, .
                                                                                                                                                                                                                                                                                                                                                                                                                                        .                                                                                                   -                              j
                                                                                 t!'   k :l.i%
                                                                                                                                                                .         .                                                                                                                             ) :
                                                                                                                                                                                                                                                                                                          ; :
                                                                                                         k;,1t1
                                     .                                             *                                                                                                                                            .                                                                                                                                                                                                                               :   ,           : ,  ,      .:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             . ., .. p   ;  ..    k              .  .   .   .        .   .       z,,;'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      à'.. .;....:
                                                                                                                                                                .1
                                                                                                                                                                 .,4
                         .
                         :                    1.Lr;l   .r1L-1
                         t,.. -.
                               '
                               ..,.l
                                   tc   j
                                        .
                                        'k                                                                                                                                                          .
                                                                                                                                                                                                    :-.: .-,  (î-.
                                                                                                                                                                                                                 t  ,
                                                                                                                                                                                                                    )  ;
                                                                                                                                                                                                                       .j.  4   t
                                                                                                                                                                                                                                (  . t    .   ,
                                                                                                                                                                                                                                              .  N    k
                                                                                                                                                                                                                                                      .  r  - j  ;
                                                                                                                                                                                                                                                                 q.
                                                                                                                                                                                                                                                                  i ,F., t ,
                                                                                                                                                                                                                                                                           . ;
                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                             .j   k
                                                                                                                                                                                                                                                                                  . ) $y  ,
                                                                                                                                                                                                                                                                                          ...
                                                                                                                                                                                                                                                                                            j..j   ..   .j.y
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                           .,j -rj
                                                                                                                                                                                                                                                                                                                 ..  ; .
                                                                                                                                                                                                                                                                                                                       j   j
                                                                                                                                                                                                                                                                                                                           .-.1.   1- .r.-
                                                                                                                                                                                                                                                                                                                                         s ' .      .,   .   .        .  - !;,  -,.   ? .    . -  .-
                                                                                                                                                                                                                                                                                                                                                                                                   ,      .r   ) - ,        j,r
                                                                                                                                                                                                                                                                                                                                                                                                                              -..?   .     . .  t;   . .,     .   .-. .    -. , . .  .':(
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .         .    , .     ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ;         ,  .   ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .  .;',   ; j k  .     -  -   .-        . L . ...
                                                                                '         -
                                                                                                                          11J:'         . '                                                    . .  ,                                                                                             .
                                          tik         .r9    :.s    :-s
                                                                                               '
                                                                                                     ,r...              ,,
                                                                                                                         -                                             tk'       %   '
                                                      '    :                                     -                                .                                                                                                                                                                                                                                               ..
                                               ...
                                                                   '    .              .      .
                                                                                              '   '
                                                                                                  .
                                                                                                                                -;.t;4,*J
                                                                                                                                '
                                                                                                                               jk .
                                                                                                                               . .....
                                                                                                                                                  :,l1       t             -t
                                                                                                                                                                            ''t  k-1 .   .-t;   1/
                                                                                                                                                                                                 ,               k
                                                                                                                                                                                                                 -  i
                                                                                                                                                                                                                    k                                          '                                   '
                                                                                                                                                                                                                                                                                                                            ;.
                                                                                                                                                                                                                                                                                                                             -     .  'It1'
                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                          ..    1  -t ?
                                                                                                                                                                                                                                                                                                                                                      ., '-
                                                                                                                                                                                                                                                                                                                                                          1  ) ,   j
                                                                                                                                                                                                                                                                                                                                                                   ,  g
                                                                                                                                                                                                                                                                                                                                                                      '  r
                                                                                                                                                                                                                                                                                                                                                                         c lt-  e'      r    .-- t    1
                                                                                                                                                                                                                                                                                                                                                                                                      1 .,       1 k: , .
                                                                                                                                                                                                                                                                                                                                                                                                                        -l
                                                                                                                                                                                                                                                                                                                                                                                                                         ' ki-    o      19:1t                                                                                                                  1  '.Jl ' n.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .. .-.-. .). .y. d
                                                                                           -
                                                                                           ,                                                                                                                          t...  !
                                                                                                                                                                                                                            . p -. .    -          . - ..   .   ... -
                                     .      j
                               . ' . ,... .. '
                                              .
                                              )
                                              .
                                              >
                                                                   -   ;s.    ...
                                                                                 -.
                                                                                  .
                                                                                  $.
                                                                                     , : :;
                                                                                . . .. . . ,,      ,-.
                                                                                                     .
                                                                               <( . s . .--'.-'.yr..j.t.
                                                                                                               .   . . . .
                                                                                                                         .
                                                                                                                          ;.
                                                                                                                           j  .             .
                                                                                                                                                    (k
                                                                                                                                                        .
                                                                                                                                                          :
                                                                                                                                                           ,.,
                                                                                                                                                             -,     4 .    -    ;
                                                                                                                                                                                :     .                  -
                                                                                                                                                                                                           , .
                                                                                                                                                                                                              . .
                                                                                                                                                                                                             .. . ., .  .                    .                 . ,.  -
                                                                                                                                                                                                                                                                                    ..      . . ..
                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                    .,. ... .
                                                                                                                                                                                                                                                                                                                             ;              .-  '
                                                                                                                                                                                                                                                                                                                                      .... . ..... .
                                                                                                                                                                                                                                                                                                                                                     '    '      '
                                                                                                                                                                                                                                                                                                                                                                 . '
                                                                                                                                                                                                                                                                                                                                                             . . ...
                                                                                                                                                                                                                                                                                                                                                                J
                                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                                   .... .
                                                                                                                                                                                                                                                                                                                                                                                                           ?p k-.       y
                                                                                                                                                                                                                                                                                                                                                                                                                         : ;.
                                                                                                                                                                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                                                                                                                                                                  'yt, .  / .
                                                                                                                                                                                                                                                                                                                                                                                                                                            :        ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,.,. k
                                                                                                                                                                                                                                                                                                                                                                                                                                                          j .
                                                                                                                                                                                                                                                                                                                                                                                                                                                            t o
                                                                                                                                                                                                                                                                                                                                                                                                                                                              ; .     )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     r,. t k1 !I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               -E-'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ;!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ;I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    -.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ' ':  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ë.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            k  .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                : .e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   - ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         -'  1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             -k-  #    '  ' r            :) ! $     1  ,iï
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         -? b
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            jb
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             . .                     3
                         -
                         ë1
                          .( :1!'1
                                 tkJ
                                   ;l  .-
                                        1
                                        :
                                        , :
                                        . .
                                            -
                                            . :i: 1 I k1i:
                                                         .1:
                                                           . : F
                                                               !
                                                               t
                                                               '
                                                        .. ..... .
                                                                 rl i1   E
                                                                         :  -
                                                                            L.   ,t'
                                                                                  ..
                                                                                  ..ï
                                                                                    .l
                                                                                     5 k ti
                                                                                          k1  pd
                                                                                               - l:
                                                                                                  Ll!t:
                                                                                                      ï,
                                                                                                       L
                                                                                                       ',
                                                                                                        '
                                                                                                        ,,
                                                                                                         ,.
                                                                                                          .
                                                                                                           . ..
                                                                                                            d i
                                                                                                              r ! ,  '-  -!
                                                                                                                          '
                                                                                                                   . .... .ip
                                                                                                                            i-
                                                                                                                             ê .
                                                                                                                               r
                                                                                                                               ? 'k@
                                                                                                                                   -
                                                                                                                                   'I  ' 1  'b-,'
                                                                                                                                                .'-
                                                                                                                                                  :1
                                                                                                                                                  . r' 1  .
                                                                                                                                                          2'
                                                                                                                                                           ,k!-
                                                                                                                                                              k
                                                                                                                                                              i ; tp
                                                                                                                                                                   kj
                                                                                                                                                                    ë tj . y
                                                                                                                                                                           .j    '
                                                                                                                                                                                 it
                                                                                                                                                                                  2
                                                                                                                                                                                  . 1.
                                                                                                                                                                                     p
                                                                                                                                                                                     1'y.
                                                                                                                                                                                        11.
                                                                                                                                                                                          :
                                                                                                                                                                                          1 J.
                                                                                                                                                                                             ii1.
                                                                                                                                                                                                rv
                                                                                                                                                                                                 i
                                                                                                                                                                                                 :<
                                                                                                                                                                                                  p'
                                                                                                                                                                                                   .
                                                                                                                                                                                                   -k<
                                                                                                                                                                                                     :
                                                                                                                                                                                                     j 2
                                                                                                                                                                                                       . !
                                                                                                                                                                                                         )o
                                                                                                                                                                                                          t
                                                                                                                                                                                                          . :
                                                                                                                                                                                                            ) .
                                                                                                                                                                                                              #j  6
                                                                                                                                                                                                                  . x-
                                                                                                                                                                                                                     .F.
                                                                                                                                                                                                                       1:.  '
                                                                                                                                                                                                                            , . 1  1
                                                                                                                                                                                                                                   .    .
                                                                                                                                                                                                                                        !   .
                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                            l    I
                                                                                                                                                                                                                                                 d l :t
                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                      1F.
                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                        iI
                                                                                                                                                                                                                                                         1  u
                                                                                                                                                                                                                                                            j r .
                                                                                                                                                                                                                                                                '(- :
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                    1 !. 1 r '
                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                             C  '
                                                                                                                                                                                                                                                                                2 1
                                                                                                                                                                                                                                                                                  i ! '
                                                                                                                                                                                                                                                                                      i ,
                                                                                                                                                                                                                                                                                        1 :1 :     ' .
                                                                                                                                                                                                                                                                                                     1  2 :.
                                                                                                                                                                                                                                                                                                           4s
                                                                                                                                                                                                                                                                                                            4
                                                                                                                                                                                                                                                                                                            !  '       .   q.
                                                                                                                                                                                                                                                                                                                            33s
                                                                                                                                                                                                                                                                                                                              î -t *  :
                                                                                                                                                                                                                                                                                                                                      !N
                                                                                                                                                                                                                                                                                                                                       i.
                                                                                                                                                                                                                                                                                                                                        l,
                                                                                                                                                                                                                                                                                                                                         rf  54
                                                                                                                                                                                                                                                                                                                                            ';    t. . r   .
                                                                                                                                                                                                                                                                                                                                                           ' o
                                                                                                                                                                                                                                                                                                                                                             7  k  e  i
                                                                                                                                                                                                                                                                                                                                                                      C
                                                                                                                                                                                                                                                                                                                                                                      v  ) !4j  ;.  .       dr.
                                                                                                                                                                                                                                                                                                                                                                                              '- :.  ' '. :!'  '.' k
                                                                                                                                                                                                                                                                                                                                                                                                                   i.   :                       :!  y   .   .     '        s          ,     . k        :                         . # '   .       .   $   E'  >   '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .  'k  q
                         .;J 'f
                                  ..
                                   -.
                                 . ...      -
                                       . . . .....  , -;: -- -..y
                               C.:.......-,s,t:... ;-..-,a           - .       ..b
                                                                                 -
                                                                                 .   . .. . ......... ..
                                                                                                   , :
                                                                                                    $!p.-..,.
                                                                                                                      . ..E
                                                                                                                          !  -
                                                                                                                             .
                                                                                                                       ..---t.
                                                                                                                              ... .,   -.
                                                                                                                                 ..-v.,..      ,;,.iE.:x::y,.,      .  ..  -  . .      -     .-
                                                                                                                                                                                                    .                                      .        .   .'
                                                                                                                                                                                                                                                         '          '' ' ''.
                                                                                                                                                                                                                                                                      -. :
                                                                                                                                                                                            ..y,;.E..k..xsrr.s-s..s 4:.....! 8:,,jqr.;.L.u-..,.-,,.,.,<q.,:,.,t-. ..,. -..îï.,.t;.:j..; .:;.,.   . - ..
                                                                                                                                                                                                                                                                                                   ,. : .      :
                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                   3 ç
                                                                                                                                                                                                                                                                                                                     ' ;
                                                                                                                                                                                                                                                                                                                       . ï
                                                                                                                                                                                                                                                                                                                         . '
                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                           -ï    1 9
                                                                                                                                                                                                                                                                                                                                   .)      -
                                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                                              k L ,'.
                                                                                                                                                                                                                                                                                                                                                    f'(; r
                                                                                                                                                                                                                                                                                                                                                         ;'-   (
                                                                                                                                                                                                                                                                                                                                                               4,
                                                                                                                                                                                                                                                                                                                                                                .  .
                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                      ,  , ,
                                                                                                                                                                                                                                                                                                                                                                           -k,  -'1
                                                                                                                                                                                                                                                                                                                                                                                  4 k : 7
                                                                                                                                                                                                                                                                                                                                                                                        :     :, ;
                                                                                                                                                                                                                                                                                                                                                                                                 1,
                                                                                                                                                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                                                                                                                                                                  '-'
                                                                                                                                                                                                                                                                                                                                                                                                    .1
                                                                                                                                                                                                                                                                                                                                                                                                     8 7'      --   ! !
                                                                                                                                                                                                                                                                                                                                                                                                                      . i
                                                                                                                                                                                                                                                                                                                                                                                                                        ll.
                                                                                                                                                                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                                                                                                                                                                                          -,
                                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                           :78     .
                                                                                                                                                                                                                                                                                                                                                                                                                                   ?!
                                                                                                                                                                                                                                                                                                                                                                                                                                    k4 ;
                                                                                                                                                                                                                                                                                                                                                                                                                                       !d
                                                                                                                                                                                                                                                                                                                                                                                                                                        1l'1:
                                                                                                                                                                                                                                                                                                                                                                                                                                            '-  1
                                                                                                                                                                                                                                                                                                                                                                                                                                                71 2'k
                                                                                                                                                                                                                                                                                                                                                                                                                                                     4E!
                                                                                                                                                                                                                                                                                                                                                                                                                                                       t
                                                                                                                                                                                                                                                                                                                                                                                                                                                       --
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ' E   - 3           6 i3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ?:t.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1:1kj1p  !'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            11!1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               41 7I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ï l E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       E r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         /  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            'r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ),
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                - .  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ' ' i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         1)-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           !,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . ''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1 I;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    i 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I 7'1 î
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            : '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 . 6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .3 1 1l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .:t 7t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          . z
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ;.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             i't
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 : ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   'L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    k',
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      l   -

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      : dt.
                               . -                                      .
                                                                                                     .                                                                             . .. ... .                     .... .              . ......,      ..... .....       . .. .
                                                                                                                                                                                                                                                                     ...          -   .        . . .. ...    ;
                                                                                                                                                                                                                                                                                                             . .       ,...... ... .-  .   .
                                                                                                                                                                                                                                                                                                                                           ,        :;;j ..
                                                                                                                                                                                                                                                                                                                                                ........ ... ..
                                                                                                                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                                                                                                                                                  -.ë             .-
                                                                                                                                                                                                                                                                                                                                                                   .. -
                                                                                                                                                                                                                                                                                                                                                                      .               ,      k.               -E                         ;.. j  E-
                                                                                                                                                                                                                                                                                                                                                                                                                                                 . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                   - -
                                                                                                                                                                                                                                                                                                                                                                                                                                                     k-                                                                              -.; ,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      , -            -               q. i -
                                                                                                                                                                                                        . .,.,. . ...                                       .                                                                                                                                                                                                       ,-j  -:':.rj,.                   ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     p,f,.y:t-.z.
                                                                                                                                                                                                                                                                               ..                                                                                               .
                                                                                      '' '''
                                                                                                                                                                                         :.
                                                                                                                                                                                          t..'                                                                                                                                                                                                                                                                                                         :-.;...;-.,v. k
                                                                                                                                                           .
                          t   .
                              '   aCIr
                                  .
                                  r           I.    1 li
                                                       -t
                                                        ?
                                                        ',
                                                         kr. t ; .
                                                                 s,.
                                                                  A    k '
                                                                         .  :.'
                                                                             '   .?.t3 t
                                                                                       ' k1
                                                                                          .:$
                                                                                     . ..... .   T.y  .!
                                                                                                       61
                                                                                                         t;
                                                                                                          s ..
                                                                                                            '   ! (
                                                                                                                  k
                                                                                                                  .
                                                                                                                   . ;
                                                                                                                     't
                                                                                                                      .-
                                                                                                                       yj
                                                                                                                        .p'
                                                                                                                          -k!
                                                                                                                 .. .. . . . ..
                                                                                                                                 '
                                                                                                                             i,-;;,41. ,thd   r.)à
                                                                                                                                                 .
                                                                                                                                                 C12
                                                                                                                                                   :
                                                                                                                                                   v.
                                                                                                                                                   '
                                                                                                                                                   .
                                                                                                                                                    1.;.k
                                                                                                                                                        t
                                                                                                                                                        '.F
                                                                                                                                                          .:jl
                                                                                                                                                             11 :1h
                                                                                                                                                                 è
                                                                                                                                                                 E:.:
                                                                                                                                                                  j
                                                                                                                                                                     .
                                                                                                                                                                      7:j
                                                                                                                                                                     ..  A.
                                                                                                                                                                     . . .. -à.1
                                                                                                                                                                              '
                                                                                                                                                                                 1
                                                                                                                                                                                 .l 1r
                                                                                                                                                                                     . ql
                                                                                                                                                                                       .:r
                                                                                                                                                                                     .;.;t
                                                                                                                                                                                          f
                                                                                                                                                                                               v';(
                                                                                                                                                                                                 k 3.1
                                                                                                                                                                                                   ' /r
                                                                                                                                                                                                     6    .
                                                                                                                                                                                                          ..h
                                                                                                                                                                                                           .E.
                                                                                                                                                                                                               (
                                                                                                                                                                                                               ' 'J
                                                                                                                                                                                                                 f  .k
                                                                                                                                                                                                                     .r:
                                                                                                                                                                                                                       '.
                                                                                                                                                                                                                        yyj
                                                                                                                                                                                                                         .
                                                                                                                                                                                                                         . .  y.'
                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                .k
                                                                                                                                                                                                                                 : .
                                                                                                                                                                                                                                   ,.
                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                     ;  ('       -1  ,r
                                                                                                                                                                                                                                                      )jl
                                                                                                                                                                                                                                   . ... ..,.. .... . . .
                                                                                                                                                                                                                                     t             ;v .( )  1
                                                                                                                                                                                                                                                            ' :
                                                                                                                                                                                                                                                              ; j1
                                                                                                                                                                                                                                                                 Ll4 k
                                                                                                                                                                                                                                                                     x.
                                                                                                                                                                                                                                                                      'i
                                                                                                                                                                                                                                                                       . I è'It
                                                                                                                                                                                                                                                                        ... . .
                                                                                                                                                                                                                                                                         t
                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                  r
                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                   ... ...,., . ., .
                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                    /'
                                                                                                                                                                                                                                                                                    . .v
                                                                                                                                                                                                                                                                                      . ''ï
                                                                                                                                                                                                                                                                                        . ,.z'
                                                                                                                                                                                                                                                                                            '.
                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                   1 .
                                                                                                                                                                                                                                                                                              . ..... .
                                                                                                                                                                                                                                                                                               .    .
                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                        '.
                                                                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                                                          -4
                                                                                                                                                                                                                                                                                                          >  ,
                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                             S
                                                                                                                                                                                                                                                                                                               .-,.
                                                                                                                                                                                                                                                                                                                 .-: j
                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                     . ;
                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                       x 1
                                                                                                                                                                                                                                                                                                                         ? .1.;jil ,
                                                                                                                                                                                                                                                                                                                                   :j
                                                                                                                                                                                                                                                                                                                                    '  1
                                                                                                                                                                                                                                                                                                                                       'k-
                                                                                                                                                                                                                                                                                                                                         ;':.
                                                                                                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                             ets :,  . ,
                                                                                                                                                                                                                                                                                                                                                         j,k
                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                         p
                                                                                                                                                                                                                                                                                                                                                         .   ,
                                                                                                                                                                                                                                                                                                                                                             . 8t
                                                                                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                                                   ,  y  , ;'
                                                                                                                                                                                                                                                                                                                                                                            71-r/1;
                                                                                                                                                                                                                                                                                                                                                                            k         :1u(j,4r1   , .
                                                                                                                                                                                                                                                                                                                                                                                                   ;,1jt.;-y
                                                                                                                                                                                                                                                                                                                                                                                                         -  jj
                                                                                                                                                                                                                                                                                                                                                                                                            -    y
                                                                                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                                                                                i, kL.2..j
                                                                                                                                                                                                                                                                                                                                                                                                                   -       jgj1Ir3g ï4j
                                                                                                                                                                                                                                                                                                                                                                                                                                    r      ,)j
                                                                                                                                                                                                                                                                                                                                                                                                                                            -.
                                                                                                                                                                                                                                                                                                                                                                                                                                             '  -yt-
                                                                                                                                                                                                                                                                                                                                                                                                                                                 -    j
                                                                                                                                                                                                                                                                                                                                                                                                                                                     jh,
                                                                                                                                                                                                                                                                                                                                                                                                                                                       k;
                                                                                                                                                                                                                                                                                                                                                                                                                                                        - .
                                                                                                                                                                                                                                                                                                                                                                                                                                                          - ; .r-
                                                                                                                                                                                                                                                                                                                                                                                                                                                              y
                                                                                                                                                                                                                                                                                                                                                                                                                                                              j       j  .g (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .,.;j y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -..-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      4 t  j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .4),L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                . f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  bj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   . .y  -  .-x...F       ëy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :j,   j yjj.k    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ,- -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                j,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,   j
                         Je  j  !  :.  d.     ' ' '   #
                                                      :;Y f          :
                                                                     . . i
                                                                         .  4' . ..' . ' .
                                                                                         71   ï. TL'. '.. ;
                                                                                                          ,   ) .    .
                                                                                                                     : 'j  'h5
                                                                                                                             r g
                                                                                                                               ::j;.'  j
                                                                                                                                       'j'  . .
                                                                                                                                              'é                w                   '                                       i      .                        .            >      . :                          .             Z     - l.                                                       x     '
                               ?-1 e/-
                                   -
                             ,14                       kikl                                                                                                .
                                                                                                                                                           q.                                                          t    . ' k
                         ;
                         .1k'
                          ...               i(
                                        @J.,.
                                             .
                                            .-.
                                                !ik'ç
                                            î,î''.ï..u
                                               ..            -   11  !!t-
                                                                     .   .  ï'.ù#aI'
                                                             '.'''.'.'-è- '-):-r
                                                              . .'.. ', .. .... ..
                                                             .'
                                                                                       '
                                                                                                   d
                                                                                                 . .
                                                                                                  ù 2l?-$'.'èig2i,;')'t
                                                                                                    t               .
                                                                                             ... ' .,.. ... .,.. . ..
                                                                                                                       .
                                                                                                                        -.t!;k--?kk-t.tv-rk';t
                                                                                                                                    ' '
                                                                                                                      <.s' ''-'œ-...:.'-k .                      -'
                                                                                                                                                                  .!
                                                                                                                                                                   .;
                                                                                                                                                                  ...k
                                                                                                                                                                         u
                                                                                                                                                                       3,C
                                                                                                                                                                       -   -'
                                                                                                                                                                            .t
                                                                                                                                                                                ,
                                                                                                                                                                                 :-1q1kF
                                                                                                                                                                                k,    .
                                                                                                                                                                                            -:t!.
                                                                                                                                                                                                 t,!k'-'
                                                                                                                                                                                                       :!
                                                                                                                                                                                                         i:
                                                                                                                                                                                                         '!
                                                                                                                                                                                                          '!
                                                                                                                                                                                                            '!
                                                                                                                                                                                                             '.
                                                                                                                                                                                                            G,
                                                                                                                                                                                                               .
                                                                                                                                                                                                              ''
                                                                                                                                                                                                               ,
                                                                                                                                                                                                               '$
                                                                                                                                                                                                                .
                                                                                                                                                                                                                u;
                                                                                                                                                                                                                  . . .
                                                                                                                                                                                                                  :,!t1.         - 111k-1
                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                   ri  t1I  1 $
                                                                                                                                                                                                                                                              ,.,:
                                                                                                                                                                                                                                                                 ,'
                                                                                                                                                                                                                                                                  ,. -ikt..::k$,:rx-).
                                                                                                                                                                                                                                                                    j-
                                                                                                                                                                                                                                                                     )           .
                                                                                                                                                                                                                                                                                             'w.-..7.1.-;j.';....:-..-t
                                                                                                                                                                                                                                                                                                 .                           ')' j.k'-'
                                                                                                                                                                                                                                                                                                                                -w::
                                                                                                                                                                                                                                                                                                                              .'.
                                                                                                                                                                                                                                                                                                                              s;
                                                                                                                                                                                                                                                                                                                                 .         .i..vy'tl....$..j..y..;.pI - ':; ...z.;p$'.sp)...jE. .g ()
                                                                                                                                                                                                                                                                                                                                          ,......1
                                                                                                                                                                                                                                                                                                                                           .. .'       i-4..,b?t-!k.?'-1.rik-IIi;''-A-- -.lt-'-;-;.j!td.t-k.1.k1..-1;?:,'',-rlr:tsi$;r:,tr1I6rl                                                          k  7.:.:.tjj.:@
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            :1p        1lr--c.,,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .(.8p.;..,'d.t...:.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         gp k   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -  .l-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     'd        t-.'t:t!rr''-b
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,p   i.
                         '
                         ,'t:'
                         ë
                         ;
                         ',. -
                             :r
                               .'
                               '
                               .-
                                y(
                                  'CIE
                                  il
                                   .ë  ;
                                       -
                                       ,
                                       .
                                        I
                                        ?!
                                         ',
                                          C 5
                                            d
                                            ; p ; '
                                                      ''
                                                       i.
                                                        ;'
                                                         .:
                                                          >.
                                                           '.
                                                    . '' .. '2                                                      ' . . .. . ''.. ..
                                                                                                                                                        .. .. . ....
                                                                                                                                                              '.3'
                                                                                                                                                                 ii
                                                                                                                                                                  '?'-,'.,;:'-''LF--3
                                                                                                                                                                             '- . . . ...                 . k
                                                                                                                                                                                                                  .
                                                                                                                                                                                                              ...... .
                                                                                                                                                                                                                 ... .k... . .q
                                                                                                                                                                                                                                 ....- . .. . . .-. . ... ..                                  .... . .   ..               .... ... ..        . ...
                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                               ,. . .
                                                                                                                                                                                                                                                                                                                                                                                                                               j  rq . :!jtj :
                                                                                                                                                                                                                                                                                                                                                                                                                                             .       j
                                                                                                                                                                                                                                                                                                                                                                                                                                                     '  h
                                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                        .   N      .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2('     . d:,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ék,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  . y.4
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      !,:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E  , p t' ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .k z   E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .  r-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ' -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :    '     r. ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              r    ;  .---'   L  . f)q'' .'-.       '.  - -.  z   .:,',f$ir--
                                                    1rI
                                                      :-                     - 1?     ''''
                                                                                               ,
                                                                                               ' ';  . . '
                                                                                                          d
                                                                                                          ' 1 .
                                                                                                              :   1  :                          .              ''                                                                                               :
                                                                                                                                                                                                                                                                .'?    .   g      '   < 7  :
                                                                                                                                                                                                                                                                                           .         .  .        . . . : .  E ..-,.r;t
                                                                                                                                                                                                                                                                                                                                                                    .          .
                                                                                                                                         ..:, ë$
                                                                                                                                               'I
                                                                                                                                                t2 ::2-.'
                                                                                                     -'
                                                       .1(J1 .
                                                           ' .
                                                               : 3
                                                                 ,
                                                                 .3 31
                                                                     t
                                                                     .
                                                                     ' t j
                                                                         b  i)                    -';
                                                                                                    t-!'1:
                                                                                                         - -. -
                                                                                                                      11'
                                                                                                                        t1
                                                                                                                         -(.
                                                                                                                           k
                                                                                                                           '!#
                                                                                                                             i    l
                                                                                                                                  'll
                                                                                                                                 Lyy-d.1:
                                                                                                                                        2      :-!
                                                                                                                                                 ..r,. .. .
                                                                                                                                                          ï,
                                                                                                                                                           6
                                                                                                                                                           'i
                                                                                                                                                            'ï-    1ts'/1!  r.1  1               .'-
                                                                                                                                                                                                   .        - '1-
                                                                                                                                                                                                                ,i'    '
                                                                                                                                                                                                                       i'i                                       d
                                                                                                                                                                                                                                                                 'ù 5
                                                                                                                                                                                                                                                                    k-
                                                                                                                                                                                                                                                                     4     i i  -                          7 r                ,              .    m
                                                                                                                                                                                                                                                                                                                                                  .  #.   .:
                                                                                                                                                                                                                                                                                                                                                           ,   ,         E z.;  .   . .   .  o , .  .. r .    ::
                                                                                                                                                                                                                                                                                                                                                                                                               .,.  . j ;   j
                                                                       i-:(; -2
                                                                               <::,
                                                                                  1
                                                                                  J,-- .                                       d1$                                        :i             ,,
                                                                                                                                                                                          .,.
                                                                                                                                                                                            ?biï
                                                                                                                                                                                               '--:                           r-i.
                                                                                                                                                                                                                                 r-i.k
                                                                                                                                                                                                                                     -.-;r'!!i   --i
                                                                                                                                                                                                                                                 j -.''#!ë
                                                                                                                                                                                                                  , . .                                                             .
                                                                  .      .          .                                       .            t :.
                                                                                                                                                                ;p
                                                                                                                                                                .
                                                                                                                                                                  ,'                8..i
                                                                                                                                                                                    ,   k-          !$ '
                                                                                                                                                                                                       !
                                                                                                                                                                                                       . ,i
                                                                                                                                                                                                          ktC.L.-ër  !
                                                                                                                                                                                                                     tL--
                                                                                                                                                                                                                        ,.l
                                                                                                                                                                                                                        ?.                               !-.k.-.d
                                                                                                                                                                                                                                                                --.,!.   ;-Lr.-.-ë
                                                                                                                                                                                                                                                                         k         ,
                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                        1qi ':  I
                                                                                                                                                                                                                                                                                                ;  ' dry  2-1
                                                                                                                                                                                                                                                                                                            9-.l-!--'-
                                                                                                                                                                                                                                                                                                                     -r  l di-
                                                                                                                                                                                                                                                                                                                             -dlk:r--:1
                                                                                                                                                                                                                                                                                                                             k
                                                                                                                                                                                                                                                                                                                             :          2:. 4t:
                                                                                                                                                                                                                                                                                                                                             ''.
                                                                                                                                                                                                                                                                                                                                                ) :-:  .
                                                                                                                                                                                                                                                                                                                                                           t,F
                                                                                                                                                                                                                                                                                                                                                           .   ji.      ' . .
                                                                                                                                                                                                                                                                                                                                                                                  ) I r ! !
                                                                                                                                                                                                                                                                                                                                                                                          )                 1 i
                                                                                                                                                                                                                                                                                                                                                                                                              p                                                                                              '-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Eli
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               -i i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -.
                             '
                              it.?..      ..            . . . . ..... .
                                   ;''.......?,t.--.-'%jkpè-::                      :    ..
                                                                                               p;'.y.-                                   ,      ... . .            .
                                                                                                                                                                   --
                                                                                                                                                                                   . . .... ...... .. .
                                                                                                                                                                                  -,                   :y-.-.
                                                                                                                                                                                                                                                                                          .        :                    .
                                                                                                                                                                                                                                                                                                                                                  .,!  ëyùi        s  k
                                                                                                                                                                                                                                                                                                                                                                      i  : r-
                                                                                                                                                                                                                                                                                                                                                                            '               11L
                                                                                                                                                                                                                                                                                                                                                                                              -.
                                                                                                                                                                                                                                                                                                                                                                                               p l!1,
                                                                                                                                                                                                                                                                                                                                                                                                   t .!1;
                                                                                                                                                                                                                                                                                                                                                                                                        .?
                                                                                                                                                                                                                                                                                                                                                                                                         p
                                                                                                                                                                                                                                                                                                                                                                                                         -l   E'
                                                                                                                                                                                                                                                                                                                                                                                                               Tppdlk - . g
                                                                                                                                                                                                                                                                                                                                                                                                                          -r
                                                                                                                                                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                                                                                                                                                                           . ---.: -;
                                                                                                                                                                                                                                                                                                                                                                                                                                    Ep
                                                                                                                                                                                                                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                     - .:-
                                                                                                                                                                                                                                                                                                                                                                                                                                         ?-...
                                                                                                                                                                                                                                                                                                                                                                                                                                             y.--..  -yë-.,,                     r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 -E !,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ;-id
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .-t  d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .'1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               -. -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ' r i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       k ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .  ?        ;;-:'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     :     dj ' qI ! :1 -     ,1 r  dy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     tE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .$
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        -r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .p !
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ,,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              'rdk.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .     Cd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      i 2 --1  t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               -.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .-;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ,k.
                                                                                                     - '                     .s:   r:       k                                                                                                                                                                                                                                                                                                                   ,.-.g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .-.    .  .j
                                                                                                                            .
                                                                                                                            -                                             ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               -,
                         ..                                                                                             .. .     ...                                                                                             ..                                                                                                                                                                                                                         ;.-.;
                                                                             kz
                                                            ...'' '' . '.' ''''  J            1  '
                                                                                                 ..             .
                                                                                                                .  ..       .         . .
                                                                                                                                           j
                                                                                                                                            .
                                                                                                                                            E   ;;j:'.     .,
                                                                                                                                                             '.  .
                                                                                                                                                                 ;  . .v
                                                                                                                                                                         .
                                                                                                                                                                         ':'
                                                                                                                                                                           ,
                                                                                                                                                                            .
                                                                                                                                                                              ' :
                                                                                                                                                                                 .
                                                                                                                                                                                --
                                                                                                                                                                                 t
                                                                                                                                                                                 :
                                                                                                                                                                                  .
                                                                                                                                                                                  4
                                                                                                                                                                                   .
                                                                                                                                                                                     1    . :  .... .  .
                                                                                                                                                                                                    ' ' .   .  .
                                                                                                                                                                                                                   . .
                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                     .,.
                                                                                                                                                                                                                       -.
                                                                                                                                                                                                                        .
                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                   .    .
                                                                                                                                                                                                                                        h
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                          '     . , ,,,.,..,. ..
                                                                                                                                                                                                                                                 .    .
                                                                                                                                                                                                                                                      ' .
                                                                                                                                                                                                                                                        :'    '
                                                                                                                                                                                                                                                              , yt
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                    y    ,   +   , .
                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                        k ja        ..
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                     , ..
                                                                                                                                                                                                                                                                                                                           -    .       , ....   .. .... . . .. .,
                                                                                                                                                                                                                                                                                                                                                          .j       y  ,  .  ,g
                                                                                                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                                                                                                           . ..
                                                                                                                                                                                                                                                                                                                                                                           :    :.f
                                                                                                                                                                                                                                                                                                                                                                                  - , , -
                                                                                                                                                                                                                                                                                                                                                                                        . . . j  j  s
                                                                                                                                                                                                                                                                                                                                                                                                    ,r.,  -::  2tt  t . .. .        .       ;   y    :                             y-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ::          .                           ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            - -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              j -   --           - ,         î       .. -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                --
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   -#..y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      k
                         14
                          -
                          .; .
                             #
                             -
                             '  ('..'
                             ... .
                              .- -.,    1tb 1 ! ' r    l
                                                       'i
                                                        '
                                              -.- .-... t
                                     ... - v. .       ...tr
                                                          y
                                                          '-
                                                           :   .  ' '
                                                                . .  i   -
                                                                                  s,...-k
                                                                                          it  :
                                                                      ,....... . .... ....... .'
                                                                               .-
                                                                                                   '
                                                                                               ''e1t2, 1      E
                                                                                                              ..
                                                                                                                i '  i
                                                                                                                     fzydl I'
                                                                                                                            ùE
                                                                                                                             1l.t';
                                                                                                                                  It
                                                                                                                                   '1- 1 7
                                                                                                                                         s -!    -:'
                                                                                                                                                   .t&  '   1'
                                                                                                                                                            . 7r
                                                                                                                                                              l
                                                                                                                                                              ë   ?
                                                                                                                                                                  i
                                                                                                                                                                  ;-
                                                                                                                                                                   ';
                                                                                                                                                                    1 r
                                                                                                                                                                      -.3 t
                                                                                                                                                                          .1.'
                                                                                                                                                                    . , ..... ..-ri  . k1-
                                                                                                                                                                                       t
                                                                                                                                                                                      . ..
                                                                                                                                                                                            '1
                                                                                                                                                                                             .'j
                                                                                                                                                                                               :. .','..
                                                                                                                                                                                                14.-.l-  .;
                                                                                                                                                                                                     ..... .:
                                                                                                                                                                                                       .... .
                                                                                                                                                                                                              r'
                                                                                                                                                                                                              .   . -i-',
                                                                                                                                                                                                                        lq
                                                                                                                                                                                                                         p '
                                                                                                                                                                                                                            .f
                                                                                                                                                                                                                            t
                                                                                                                                                                                                                            ?   -' .
                                                                                                                                                                                                                              ,. . .
                                                                                                                                                                                                                                     -î   f '
                                                                                                                                                                                                                                            î-y)
                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                   -:
                                                                                                                                                                                                                                                  ' ' '
                                                                                                                                                                                                                                         .. . . .. .  a....;
                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                              .-. -:'ô,
                                                                                                                                                                                                                                                                   .. .
                                                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                                       ' ,'' !
                                                                                                                                                                                                                                                                             - .i '
                                                                                                                                                                                                                                                                          ... . .. ... ..
                                                                                                                                                                                                                                                                                          p
                                                                                                                                                                                                                                                                                          kj@#  ,  . 4
                                                                                                                                                                                                                                                                                                     .  r -'
                                                                                                                                                                                                                                                                                                           -j)
                                                                                                                                                                                                                                                                                                             F
                                                                                                                                                                                                                                                                                                             --
                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                               -1
                                                                                                                                                                                                                                                                                                                 ''
                                                                                                                                                                                                                                                                                                .... .. . . . . . .:I
                                                                                                                                                                                                                                                                                                                   h )   '
                                                                                                                                                                                                                                                                                                                         . '':7 j
                                                                                                                                                                                                                                                                                                                       (,y').;Lt.
                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                       .            .
                                                                                                                                                                                                                                                                                                                                    L
                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                    h '
                                                                                                                                                                                                                                                                                                                                      . (
                                                                                                                                                                                                                                                                                                                                       y?
                                                                                                                                                                                                                                                                                                                                         :j
                                                                                                                                                                                                                                                                                                                                          q
                                                                                                                                                                                                                                                                                                                                         -'
                                                                                                                                                                                                                                                                                                                                          ,r
                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                                                                  l
                                                                                                                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                                                                                                                   b
                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                     jk'
                                                                                                                                                                                                                                                                                                                                                       . :
                                                                                                                                                                                                                                                                                                                                                   ', .. '' '
                                                                                                                                                                                                                                                                                                                                                     k,,- 1
                                                                                                                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                                                                                                                             (
                                                                                                                                                                                                                                                                                                                                                         ... ..
                                                                                                                                                                                                                                                                                                                                                               ùI  I  E  ! 1,
                                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                             )
                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                                --,,-1E!l,
                                                                                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                                                                                              ,k
                                                                                                                                                                                                                                                                                                                                                                                               -- f
                                                                                                                                                                                                                                                                                                                                                                                                   '   . .
                                                                                                                                                                                                                                                                                                                                                                                                    :.''-h
                                                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                                                         -.4-   )
                                                                                                                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                                                                                                   :t i ,-t.I
                                                                                                                                                                                                                                                                                                                                                                                                                                 i/
                                                                                                                                                                                                                                                                                                                                                                                                                              -11,Li
                                                                                                                                                                                                                                                                                                                                                                                                                              k      ,L,'
                                                                                                                                                                                                                                                                                                                                                                                                                                     ; ,
                                                                                                                                                                                                                                                                                                                                                                                                                                       . ,
                                                                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                                                                                                                                                                                           'l
                                                                                                                                                                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                                                                                                                                             -  à
                                                                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                                                                                                                                   $
                                                                                                                                                                                                                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                                                                                                                                                                                                    .t
                                                                                                                                                                                                                                                                                                                                                                                                                                                     '  l
                                                                                                                                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                        '     i(.' ;b
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    -ê
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .,i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         - tr
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            t ;,h
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                qt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 4)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  . j-.ë-'''  f'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             )-ik- r'1l1     '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ,1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . ' ç  ' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       A  k!I 2 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 $
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ' :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   -,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    . i:t2,-''i'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                r':!'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     v,     .
                                                                                                                                                                                                                                                               .                                                                                  .$
                                                                                                                                                                                                                                                                                                                                                   ..                 ;  , .ë.  -                                   . -                                 ..-   .
                             r..942,
                                   :.. .11r'1
                                            . ; . ,
                                                  : - 2
                                                      .6:-
                                                         '
                                                           1-,.-.:.-t1;.)ik$
                                                           .                 .'
                                                                                         ...v.-..     k(
                                                                                                       ':?.  .    -- k!
                                                                                                                      )1
                                                                                                                       yk
                                                                                                                        '  -j
                                                                                                                            ..-,  --
                                                                                                                                   ?-
                                                                                                                                    f-1    i
                                                                                                                                           .;
                                                                                                                                            1
                                                                                                                                            -k
                                                                                                                                               ' .
                                                                                                                                               ,1
                                                                                                                                                -4 l
                                                                                                                                                   ql
                                                                                                                                                    .i'    çf1l.,'
                                                                                                                                                                 ?'
                                                                                                                                                                 .t
                                                                                                                                                                  :$
                                                                                                                                                                  r,$
                                                                                                                                                                   .
                                                                                                                                                                   'q7 ;;1
                                                                                                                                                                      .,
                                                                                                                                                                        '
                                                                                                                                                                           i. 1:210p
                                                                                                                                                                            .-:,
                                                                                                                                                                                   .'
                                                                                                                                                                                         g'
                                                                                                                                                                                          ,'q1  -
                                                                                                                                                                                              :.)
                                                                                                                                                                                                '
                                                                                                                                                                                                 ;r1
                                                                                                                                                                                                   ',,-b '  i  -Q       '1''1#-k'-,2.:.1:,.,'-$i:tr-ti:.'i.r:-'l.-i;.,.t1è'ï?..'--ï,.':ï.ï-%,-)-
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                   '                                        '
                                                                                                                                                                                                                                                                                                                                :. '.1      '14
                                                                                                                                                                                                                                                                                                                                             .    ;-7 t'
                                                                                                                                                                                                                                                                                                                                                       k!.;;ti        -7h                        -.1(1.,'
                                                                                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                                                        .è.*-
                                                                                                                                                                                                                                                                                                                                                                                                           x   l'.e--.-lhrsi             i- ':t.
                                                                                                                                                                                                                                                                                                                                                                                                                                            7                                 e'    d:'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .lt  '
                                                                                                                                                                                                               .,,,.:.),.,.-.--.ëp                                                                                                  a                                           i..,  .1  7 7.
                                                                                                                                                                                                                                                                                                                                                                                             $-
                                                                                                                                                                                                                                                                                                                                                                                              .il
                           . . ...                                                                                                                       .
                                                                                                                                   . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                        b4dpJ)        ;l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                  '                                      .'
                                                 ..         ..             .. , .
                                                                                                                        y,.                                                                     .                .                                                                                                                 r                           i,
                                                                                                                                                                                                                                                                                                                                                                'r.                       (
                                                                                                                                                                                                                                                                                                                                                                                          ,,                                                            -                                  ' 7''-e.'     ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         :                       s .,, ?               '127.-$  -lk1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :       1'-'  tf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               kr'f
                                                                                                                                                                                                                                                                                                                                                                                                                                       .);-1 )p  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                 .1.l.,,,:.:...'.,yk
                                                                                                             ..                                                                                                    . . .. '. ....
                         j'
                         1;l
                           Lk;i         ..,   .,...ç.jsss... .                        .              .  i.'qt!j       :     ; ,..
                                                                                                                        .. . , ... . . ..   :
                                                                                                                                         z-..;, .-
                                                                                                                                                    -   . .
                                                                                                                                                           .;-.
                                                                                                                                                              . .),
                                                                                                                                                                              . .... '...       ,.
                                                                                                                                                                                               !: ?.L
                                                                                                                                                                                                  .  .,  ,- ;,.                                              .             . ... ..-........... .... ......' .
                                                                                                                                                                                                                                                                                                                     ,;,.gà-.-y,.t;.'       :'k      -,;-,--
                                                                                                                                                                                                                                                                                                                                                  . .... .. . .         . ...
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                .-. ...)'.;.,:.:.,,,.:/.:,,;E                                                         zgp.E.....        .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ,.,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           l:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .,t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ....-,    .,-.;.!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -    t)- ,'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ,':
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ...-....zpk9...;        t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ...        .;...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '.:    #1,' -.:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '
                                r':18  '1
                                        :   ' 4 ! . l
                                                    ' j):jt
                                                          '    b )p .1      jë
                                                                             r .  E  N
                                                                                     s '      @.  L                                                                 .. .. ...... '
                                                                                                                                                                                                                                                                                                ,,   , .,.                                      ;..,.-.><                            .

                         .
                         .
                          ..
                               '. 82
                                   .,'s .
                                        .#.       r
                                                  !
                                                  .
                                                    .
                                                      '   .'.. .z.:..
                                                                   .
                                                                        ''
                                                                       . ...
                                                                            ;.   .
                                                                                 . ;
                                                                                   j(
                                                                                        .
                                                                                              .:1 ..
                                                                                                    '1,:t
                                                                                                        .
                                                                                                        ,
                                                                                                         .(
                                                                                                          :
                                                                                                          : :
                                                                                                            ,
                                                                                                            .
                                                                                                            . .
                                                                                                              t k
                                                                                                                ' ;  .:
                                                                                                                      t
                                                                                                                      E#
                                                                                                                       .t
                                                                                                                        -
                                                                                                                        j,k
                                                                                                                          :t;
                                                                                                                            .
                                                                                                                            ty .
                                                                                                                               ..
                                                                                                                               jk<
                                                                                                                                 -
                                                                                                                                 . x
                                                                                                                                   T
                                                                                                                                   ,.
                                                                                                                                    J  ç
                                                                                                                                       '   .
                                                                                                                                           &1
                                                                                                                                            j 4
                                                                                                                                              . '  .
                                                                                                                                                   E
                                                                                                                                                   .j  j
                                                                                                                                                       g:
                                                                                                                                                        .
                                                                                                                                                        d k)
                                                                                                                                                           .
                                                                                                                                                           ..$?
                                                                                                                                                              . q
                                                                                                                                                                . C
                                                                                                                                                                  .
                                                                                                                                                                  )
                                                                                                                                                                  ;
                                                                                                                                                                  .yj
                                                                                                                                                                    .  t
                                                                                                                                                                       . jk '
                                                                                                                                                                            c
                                                                                                                                                                            . ) ).
                                                                                                                                                                                 ,j
                                                                                                                                                                                  $
                                                                                                                                                                             ,., . .
                                                                                                                                                                                    k
                                                                                                                                                                                    ;  '
                                                                                                                                                                                       .
                                                                                                                                                                                       L
                                                                                                                                                                                       :t,t
                                                                                                                                                                                          û k!
                                                                                                                                                                                             .
                                                                                                                                                                                             .j
                                                                                                                                                                                              ;
                                                                                                                                                                                              ,
                                                                                                                                                                                               .

                                                                                                                                                                                               .I
                                                                                                                                                                                                çk
                                                                                                                                                                                                 . lr
                                                                                                                                                                                                    .
                                                                                                                                                                                                    ,
                                                                                                                                                                                                    ,g j
                                                                                                                                                                                                       . r
                                                                                                                                                                                                         tl
                                                                                                                                                                                                          : t i
                                                                                                                                                                                                              yy
                                                                                                                                                                                                               jq
                                                                                                                                                                                                                ly
                                                                                                                                                                                                                 i
                                                                                                                                                                                                                 gj
                                                                                                                                                                                                                  i s
                                                                                                                                                                                                                    f.
                                                                                                                                                                                                                     ;-
                                                                                                                                                                                                                      'l
                                                                                                                                                                                                                       .
                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                       ,1
                                                                                                                                                                                                                        !(
                                                                                                                                                                                                                           ..

                                                                                                                                                                                                                            j
                                                                                                                                                                                                                            ; ) t; )
                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                   .    . t
                                                                                                                                                                                                                                          ' : t
                                                                                                                                                                                                                                              ,  i
                                                                                                                                                                                                                                                 E . '),
                                                                                                                                                                                                                                                       .y   i.
                                                                                                                                                                                                                                                              kh;.
                                                                                                                                                                                                                                                            . .
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                j y
                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                     g y
                                                                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                                                       : l j -
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                             .  q
                                                                                                                                                                                                                                                                                E l ! ;
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                       .i
                                                                                                                                                                                                                                                                                        . ;
                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                          6g;i:
                                                                                                                                                                                                                                                                                                :  q ,  . k
                                                                                                                                                                                                                                                                                                          .:
                                                                                                                                                                                                                                                                                                           'a  .
                                                                                                                                                                                                                                                                                                               .   .
                                                                                                                                                                                                                                                                                                                   . ! k
                                                                                                                                                                                                                                                                                                                       p k
                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                         ;  jj,. :
                                                                                                                                                                                                                                                                                                                                    . l r
                                                                                                                                                                                                                                                                                                                                        .,
                                                                                                                                                                                                                                                                                                                                         Lj.lj
                                                                                                                                                                                                                                                                                                                                             =  q
                                                                                                                                                                                                                                                                                                                                                k lj )
                                                                                                                                                                                                                                                                                                                                                     .l. .
                                                                                                                                                                                                                                                                                                                                                         r - w ... -z       ya
                                                                                                                                                                                                                                                                                                                                                                             z      k < <   :'
                                                                                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                                                                             -           j
                                                                                                                                                                                                                                                                                                                                                                                                         't
                                                                                                                                                                                                                                                                                                                                                                                                          :.: tj
                                                                                                                                                                                                                                                                                                                                                                                                               kyj
                                                                                                                                                                                                                                                                                                                                                                                                                 .    î
                                                                                                                                                                                                                                                                                                                                                                                                                      .  )  .j   :,
                                                                                                                                                                                                                                                                                                                                                                                                                                  .i t  q ,
                                                                                                                                                                                                                                                                                                                                                                                                                                          .jt
                                                                                                                                                                                                                                                                                                                                                                                                                                            .f  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                .,  .. :  , . ! k ljr.   j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,    g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .r,jp, j ;.  )  , à
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,  . ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     - ) .  6t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             . ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .) j  : j $.jg j :  j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .I.j (j  k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . 2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .. i.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,.,j (!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ,j y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ..j .t
                          .;g     j.
                                   y-        .,j
                                                    . j ... -.;J-'-;Cr, . j
                                                        j                          -. . ' '                              -. yy.-,.. !jk:                  ..y..-.r .y;,:...,...jj.,--..
                                                                                                                                                            .                                         .
                                                                                                                                                                                                      .       )ë.EEj),,j,.  jt...    ,,,ç,.,.
                                                                                                                                                                                                                                            . .. .,...-:.j. k.:''
                                                                                                                                                                                                                                                       .. ... . .   k
                                                                                                                                                                                                                                                                  ..;    .;. ,.-..    ,,q g:yy:,...<..
                                                                                                                                                                                                                                                                                                                       .                                 .
                                                                                                                                                                                                                                                                                                                                                                -..-
                                                                                                                                                                                                                                                                                                                                                                 .    .
                                                                                                                                                                                                                                                                                                                                                                                                                         i         .        .:       .               ..    ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .  : ,   ;   t  . ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      /; $gr..y,: .    .       .     )     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ..)..g;.(.yij          ); -
                         !
                         i
                         !.
                         >9
                          ?1.
                         JJ.1
                            k
                            ë
                            lit)
                               .4
                                1
                                q
                                l2
                                 :
                                 '.
                                  A
                                  1
                                  i4
                                   pr
                                   !1ti1r)1
                                          .I
                                           ;j
                                            '.
                                             iI
                            :'.1'Jw<:u.;.');fJ
                                           j  .:
                                               ..1
                                               1
                                               k .l
                                                  .
                                                  .i
                                                   1
                                                   k1
                                                    !
                                                    ).
                                                     1h;
                                                     , t#..
                                                       .:
                                                          ;'
                                                         ..
                                                         . k
                                                           .)1
                                                            .
                                                           ..
                                                            . 11:t.j(112
                                                             1.
                                                             E.:E.
                                                            ...
                                                                       jJj'
                                                                        !.6;
                                                                           jr
                                                                            .f
                                                                             .k
                                                                              J
                                                                              .
                                                                              l
                                                                              21
                                                                               .1        11
                                                                                         :     -3
                                                                                          L1.!1;t2.
                                                                                                  !?'js1L
                                                                                                        )1
                                                                                                         471k!
                                                                                                             i
                                                                                                             j
                                                                                                             1
                                                                                                             .I
                                                                                                              1
                                                                                                              t)
                                                                                                               :
                                                                                                               ,;
                                                                                                               .qllr1It.4
                                                                                                                        @t5j
                                                                                                                           a.j'ev
                                                                                                                                .vj
                                                                                                                                  .,
                                                                                                                                   .u
                                                                                                                                   -44
                                                                                                                                     1..
                                                                                                                                     '
                                                                                                                                        n-.
                                                                                                                                       ;x
                                                                                                                                        .j
                                                                                                                                          w
                                                                                                                                          '.I.
                                                                                                                                           '.,:
                                                                                                                                              .:
                                                                                                                                               ,...vr,.
                                                                                 ..x.:-.;.-...:..2:...., .. '. ,... .........E... .. ., . ... - .. ...:t
                                                                                ,1,t?,,1:.                          '                           '       ,.E
                                                                                                                                                          ,,y :.. s- y-
                                                                                                                                              I33d(;;1hj:jl:Iàrï 1;1rj
                                                                                                                                             ..                      -..
                                                                                                                                                                     , 1.
                                                                                                                                                                           .
                                                                                                                                                                        't,(1j
                                                                                                                                                                        ,    i..-
                                                                                                                                                                                ,!k-g
                                                                                                                                                                                j   ;y
                                                                                                                                                                                     ..
                                                                                                                                                                                     '1;)
                                                                                                                                                                                        ,.
                                                                                                                                                                                        :b.
                                                                                                                                                                                          .!
                                                                                                                                                                                                     t.
                                                                                                                                                                                           t:2àlrr111:
                                                                                                                                                                                                     1;;
                                                                                                                                                                                                            jk!
                                                                                                                                                                                                      tj;:.st
                                                                                                                                                                                                         :).k;
                                                                                                                                                                                                       .2'
                                                                                                                                                                                                              .q
                                                                                                                                                                                                '............ w.k tj               . .q       u.. .--. .... -:.--.. ..z.
                                                                                                                                                                                                                cn-;.:. . . .-...;z..-..;.c......-ï.....k
                                                                                                                                                                                                              .,hjk;Ikpll!;<                                 u .... . .. x.        ....
                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                         .....;jj,,.
                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                   ., :
                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                           .. .,  j,;;
                                                                                                                                                                                                                                                                                                                     ,,j.,.. -,.
                                                                                                                                                                                                                                                                                                                               ,,;.jja,,-
                                                                                                                                                                                                                                                                                                                           .. ..'
                                                                                                                                                                                                                                                                                                                                        .i.j.$,.jk.... . .
                                                                                                                                                                                                                                                                                                                                       . ,,....                    . ..,  .
                                                                                                                                                                                                                                                                                                                                                                                                   .,..
                                                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ;-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ,jj,y,3à
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      -j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       j-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        j.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ;Ii;.
                       ;. .q .j,    ... ...                         n... . .                                                                  . . . . . .;                                        (                     . c.. '                           y.3...      -.. ..t. .., ... .... ...,               .....j-j..,--..s. ........-...,       .,,,. ..., ...                                                                                                       itt1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             qj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ;;)fj.ç:3i,ëbbs.>1;ë9u
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .-                   k
                     ,i       1r'
                           .. -,'        ?
                                         :;j1
                                          '   '.k,
                                            ,Ik   .   . . .. .
                                                             ëiy.):
                                                           .-.y.
                                                                  ù-j.         . r  - .j(.'yr j. f)  %
                                                                                                     .  .q .h t:w; .tr   yF,'
                                                                                                                            t. j' jy  j.  j'..   y;. :.    .Jy.E  .zt
                                                                                                                                                                    ..q k'
                                                                                                                                                                         <
                                                                                                                                                                         ;-.-j   ..
                                                                                                                                                                                 '   ) jfj  t
                                                                                                                                                                                            p'  -.
                                                                                                                                                                                                 !J
                                                                                                                                                                                                  :!z ).
                                                                                                                                                                                                       -rm   lï 33
                                                                                                                                                                                                                 t'
                                                                                                                                                                                                                  l        )  l' tz st
                                                                                                                                                                                                                                                    .:.   ,   .;iL.
                                                                                                                                                                                                                                                                  .;  .'p!d1;L?(. ë.14s
                                                                                                                                                                                                                                                                                      .. , ,.   6b.;        ly   1.
                                                                                                                                                                                                                                                                                                                  .y
                                                                                                                                                                                                                                                                                                                   -1. ;.
                                                                                                                                                                                                                                                                                                                                    t.
                                                                                                                                                                                                                                                                                                                          ,,
                                                                                                                                                                                                                                                                                                                           hr
                                                                                                                                                                                                                                                                                                                            r2.
                                                                                                                                                                                                                                                                                                                              )s
                                                                                                                                                                                                                                                                                                                               tj      . s;
                                                                                                                                                                                                                                                                                                                                          4,
                                                                                                                                                                                                                                                                                                                                           j.:.  .,.
                                                                                                                                                                                                                                                                                                                                                   t3.    .
                                                                                                                                                                                                                                                                                                                                                          ., s1q  ,  <
                                                                                                                                                                                                                                                                                                                                                                     ?.
                                                                                                                                                                                                                                                                                                                                                                      kj )11:
                                                                                                                                                                                                                                                                                                                                                                            r.
                                                                                                                                                                                                                                                                                                                                                                             ):
                                                                                                                                                                                                                                                                                                                                                                              Ik
                                                                                                                                                                                                                                                                                                                                                                               ,  .t:;..  7
                                                                                                                                                                                                                                                                                                                                                                                          j :
                                                                                                                                                                                                                                                                                                                                                                                            .I;s-,
                                                                                                                                                                                                                                                                                                                                                                                                 '  ,u
                                    .
                       -t1I:
                           ;l'   !'k
                                 y ;:1p
                                    -.'1
                                      .-
                                       . t    .E..1 . 71
                                                       q
                                                       -:
                                                        -.
                                                         .j'
                                                           -b
                                                           i
                                                           .  . .  .   . jk;:   r-
                                                                                1711'd;
                                                                                      .
                                                                                      -     ,
                                                                                            -Eï
                                                                                             .,;ïpi
                                                                                                  r!
                                                                                                   -./1r
                                                                                                      -  y
                                                                                                         'ç.
                                                                                                           ï
                                                                                                           iï
                                                                                                            ' -
                                                                                                              ,
                                                                                                              .'
                                                                                                               .@
                                                                                                                i
                                                                                                                -.
                                                                                                                 '
                                                                                                                 ..-
                                                                                                                  .-
                                                                                                                   si
                                                                                                                    n
                                                                                                                    i.
                                                                                                                     .-;k'
                                                                                                                       -
                                                                                                                       .
                                                                                                                       - j,
                                                                                                                          -.:
                                                                                                                            .t.                       k
                                                                                                                                                      1l!pd
                                                                                                                                                     .... . .
                                                                                                                                                            l
                                                                                                                                                            ,. k;b
                                                                                                                                                                 ,é
                                                                                                                                                                  ,'
                                                                                                                                                                   ,f ï!         ë    7;
                                                                                                                                                                                      '  d-!
                                                                                                                                                                                         k   k1!
                                                                                                                                                                                               '- I :$ 1I'-
                                                                                                                                                                                                         y :1  j,  '-b
                                                                                                                                                                                                                  ï.
                                                                                                                                                                                                                  .  -')'
                                                                                                                                                                                                                        d-
                                                                                                                                                                                                                         i6
                                                                                                                                                                                                                          '
                                                                                                                                                                                                                          .t
                                                                                                                                                                                                                           '
                                                                                                                                                                                                                           .-
                                                                                                                                                                                                                            .-  l  ltkt
                                                                                                                                                                                                                                   ?
                                                                                                                                                                                                                                   .  d15
                                                                                                                                                                                                                                        i!l;!Ii
                                                                                                                                                                                                                                              q-
                                                                                                                                                                                                                                               !!t
                                                                                                                                                                                                                                               ' E4-
                                                                                                                                                                                                                                                   r7
                                                                                                                                                                                                                                                   '  .;.
                                                                                                                                                                                                                                                      , ?,' y. ,
                                                                                                                                                                                                                                                           ',
                                                                                                                                                                                                                                                            r:,ë' -  ih
                                                                                                                                                                                                                                                                      l                   '
                                                                                                                                                                                                                                                                                          .k
                                                                                                                                                                                                                                                                                           !.j1
                                                                                                                                                                                                                                                                                              i    jk1
                                                                                                                                                                                                                                                                                                     ,I @Jp
                                                                                                                                                                                                                                                                                                          i  .)1                                     L!
                                                                                                                                                                                                                                                                                                                                                      .4-
                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                        21r 2
                                                                                                                                                                                                                                                                                                                                                            $t  'k
                                                                                                                                                                                                                                                                                                                                                                 1:12          rl
                                                                                                                                                                                                                                                                                                                                                                                1r
                                                                                                                                                                                                                                                                                                                                                                                 r'
                            .-
                             .
                      .,       .  ..    ,-!  ..
                                           , --..         . ,  .   .  .   .
                                                                          ..
                                                                           ...    .   .    . .                .         .
                                                                                                                        ..       ..     .
                                                                                                                                   ,.... . :      .
                                                                                                                                                   -- .- ë....
                                                                                                                                                 y).         ,-     ...t,
                                                                                                                                                                   --   -.;-
                                                                                                                                                                          --,. .-
                                                                                                                                                                              CE -. .,. ..- i
                                                                                                                                                                                                it..j.:.,2
                                                                                                                                                                                                         .,.--
                                                                                                                                                                                                                 .         .
                                                                                                                                                                                                              ,...E....,---,.
                                                                                                                                                                                                             ,L              gJ
                                                                                                                                                                                                                              ,..
                                                                                                                                                                                                                              . h--
                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                   ....
                                                                                                                                                                                                                                    . C,-.j2
                                                                                                                                                                                                                                           E   .
                                                                                                                                                                                                                                               ...
                                                                                                                                                                                                                                                  .-...,...... ..,...,.. -
                                                                                                                                                                                                                                              . . , .---.-,.. . .-..,. ..        l(
                                                                                                                                                                                                                                                                                - -,-.
                                                                                                                                                                                                                                                                                   .. .  -     j)
                                                                                                                                                                                                                                                                                               ;   F k
                                                                                                                                                                                                                                                                                                     ..t.
                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                      ..  i1 r
                                                                                                                                                                                                                                                                                                             . ... j ::
                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                      .  ,)
                                                                                                                                                                                                                                                                                                                         .  .   #ï1
                                                                                                                                                                                                                                                                                                                                ,   I.
                                                                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                                                                      k
                                                                                                                                                                                                                                                                                                                                      .r,
                                                                                                                                                                                                                                                                                                                                       !
                                                                                                                                                                                                                                                                                                                                       .  .$2.
                                                                                                                                                                                                                                                                                                                                             r.!
                                                                                                                                                                                                                                                                                                                                               #.
                                                                                                                                                                                                                                                                                                                                              '.' .
                                                                                                                                                                                                                                                                                                                                              .  .;  ;                j;,.
                                                                                                                                                                                                                                                                                                                                                                         -  p     t
                                                                                                                                                                                                                                                                                                                                                                                  , y-:
                                                                                                                                                                                                                                                                                                                                                                                    !b   i1
                                                                                                                                                                                                                                                                                                                                                                                          .0Ii : .k
                                                                                                                                                                                                                                                                                                                                                                                                 :l!tt!,i.è:
                      @k%
                        .'..
                          -   -
                              :.-
                               1  .
                                  2
                                  's-
                                    .I1.
                                       L,
                                        :1
                                         .h1
                                           -.(1
                                              i
                                              '
                                              rp1
                                                .4L -
                                                    ' 1
                                                      .
                                                      yj' '4 1 ' . .E
                                                                    '     )
                                                                          '
                                                                          -1k j
                                                                              'L
                                                                               .t1)
                                                                                  . I:.,
                                                                                       '( L.'k        :--tLïJ   g'l
                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                  ,                               .,r
                     .
                     ;<!'''t..$       4a xf'' -t .'   tz'! t 7                     . ..       1(711:1t             kr
                                                                                                                    -1 ;q
                                                                                                                        .h #  -
                                                                                                                        ., ..r..
                                                                                                                               E
                                                                                                                               ' -
                                                                                                                                 $.
                                                                                                                                  '
                                                                                                                                   r
                                                                                                                                   j-.  q
                                                                                                                                        r    '
                                                                                                                                             @'. ''
                                                                                                                                             1   2 !kd(7rr/1
                                                                                                                                        --.-.,.- --. .-     171;;1 k21  t;$ -         t
                                                                                                                                                                                      a    1'
                                                                                                                                                                                            k 1)l pi
                                                                                                                                                                                                   '
                                                                                                                                                                                                  -.t Fék.     o
                                                                                                                                                                                                               î
                                                                                                                                                                                                               t  &   -ta-#      '. ''
                                                                                                                                                                                                                               k-.h'    c        q)1
                                                                                                                                                                                                                                              kIk.-I
                                                                                                                                                                                                                                           ïiiI    '-
                                                                                                                                                                                                                                                     p->
                                                                                                                                                                                                                                                       - .
                                                                                                                                                                                                                                - , . .....,.- .-... . .'
                                                                                                                                                                                                                                                              C
                                                                                                                                                                                                                                                       .$.,;k '         aC   '
                                                                                                                                                                                                                                                                             1   )  1k,d'p
                                                                                                                                                                                                                                                                                         ,-,
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                    1 -)  -
                                                                                                                                                                                                                                                                                                          'i
                                                                                                                                                                                                                                                                                                           f
                                                                                                                                                                                                                                                                                                           .t2
                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                             :'i7:
                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                 -1k-tA',4!it
                                                                                                                                                                                                                                                                                                                  -           .?lp7 l
                                                                                                                                                                                                                                                                                                                                    7 k ' ' -'
                                                                                                                                                                                                                                                                                                                                         li:!t    :4tk
                                                                                                                                                                                                                                                                                                                                                     .,4-
                                                                                                                                                                                                                                                                                                                                                        N  -
                                                                                                                                                                                                                                                                                                                                                           k p
                                                                                                                                                                                                                                                                                                                                                             l l  1i
                                                                                                                                                                                                                                                                                                                                                                   -)
                                                                                                                                                                                                                                                                                                                                                                    '1k2
                                                                                                                                                                                                                                                                                                                                                                       .7
                                                                                                                                                                                                                                                                                                                                                                        zlk-. .?)...rik:k:.r,$t1t'
                                                                                                                                                                                                                                                                                                                                                                                 -:
                                                                                                                                                                                                                                                                                                                                                                                  # )h         ;''C
                                                             'k'
                                                               i7 - y
                                                                    ' J.z'; ' '. 'k ....         'à.  E.      z..J   y ,p,  t:.'-1.
                                                                                                                                  (
                                                                                                                                  1j  (.: é.r.     ;7k- .
                                                                                                                                                        ()k.
                                                                                                                                                           -: ;. r.:
                                                                                                                                                                   a!..         a.:k   :tx:z)Fy(y,:yj;k:
                                                                                                                                                                                                  .      k ..(       !c..   -                                                                                                                                                                        .1
                                                                                                                                                                                                                                                                                                                                                                                                      -. 1'
                                                                                             ... .
                                                                                                                                                                               . . .. ..             . ..: ) :
                                                                                                                                                                                                            -..
                                                                                                                                                                                                               r... : . ..:
                                                                                                                                                                                                                   ..                                                                               .
                                                                                                                                                                                                                                                                                         .....-........  ..                                   ;
                                                                                                                                                                                                                                                                                                                                              .1
                                                                                                                                                                                                                                                                                                                                               .:1t..
                                                         )      ;)r4)       .:;                                             .  y                                                                  .                                                                                                                           y....r;. .tj                    s...; :T ja      .
                                                                                                                                                                                                                                                                                                                                                                                                  j..1'1.!r't2','K'?
                                                                                                                     -                                                                            ..( :                                                                                                                                  ,    ... . -
                       t1                                      :
                                                               '                                                   '                    ' '
                                                                                                                                                       ,!
                                                                                                                                                        r                      :       yk    .. .          .                                                                             .
                         .1
                          ;1 i2
                              L-
                               1E.
                                 :
                                 :'
                                  1
                                  ;'1
                                    ;i
                                     ï'
                                      ':
                                       t
                                       -
                                       ;'
                                        ,
                                        r
                                        ë1
                                         $.
                                          4-1 :
                                              7.
                                               ':lk t r
                                                      ;
                                                      .-
                                                       .,.
                                                         rp
                                                          ,!
                                                           -
                                                           '
                                                           .t                                                                                                                                                                                                                            .r  . r r      .jg.         J.. kc  .   y; t              .   ;          -'kl.          jd. $. ï        ;
                                                           '
                                                                                                       .9;
                                                                                                         4
                                                                                                         'k'
                                                                                                           -  t .
                                                                                                                A              ;    -ë1
                                                                                                                                      '..
                                                                                                                                        q'
                                                                                                                                         1'
                                                                                                                                          :/                                                                                           .... : .:        s,.
                                                                                                                 .y1   .
                                                                                                                       pfr.t
                                                                                                                          C                                                                                         -:.'.'..'
                         ;  .. :: .   . . ',
                                          .  .
                                             qJ
                                              .j;.
                                                      . -
                                                          .
                                                             q)!:
                                                             '  .:z
                                                                  $î
                                                                    ;k.
                                                           ... . - ..
                                                                   :,
                                                                    !k
                                                                    . Jf'
                                                                          /4r'
                                                                            ;j11:
                                                                          .'':1
                                                                                '1
                                                                                ê.
                                                                                  I
                                                                                  $
                                                                                , .'
                                                                                   i 1
                                                                                   'r.
                                                                                   J
                                                                                      2
                                                                                      l!'
                                                                                       j! '1:
                                                                                          .
                                                                                        '?t
                                                                                            1'
                                                                                             :;
                                                                                              !;
                                                                                              'k-r
                                                                                                #
                                                                                               î.
                                                                                                 -r.
                                                                                                   'r!  t
                                                                                                        2.b4;
                                                                                                             .
                                                                                                              ?
                                                                                                              '
                                                                                                              :;f
                                                                                                             .- .
                                                                                                                    . - '
                                                                                                                     .2..
                                                                                                                    .. . 7- ..!;;k'
                                                                                                                                 '  '
                                                                                                                              .......     :r
                                                                                                                                           :vj1    1é5,-
                                                                                                                                                       .   ..'
                                                                                                                                                             r.
                                                                                                                                                              -
                                                                                                                                                              .1
                                                                                                                                                               .,
                                                                                                                                                                '
                                                                                                                                                                ..
                                                                                                                                                                 :k'
                                                                                                                                                                  .   .:':.-
                                                                                                                                                                          ç 4
                                                                                                                                                                            -
                                                                                                                                                                            k
                                                                                                                                                                         . -.;'.'
                                                                                                                                                                                I -
                                                                                                                                                                                  '
                                                                                                                                                                                 ..
                                                                                                                                                                               . .,n*.
                                                                                                                                                                                    -
                                                                                                                                                                                   '.
                                                                                                                                                                                    .'
                                                                                                                                                                                     ',.'
                                                                                                                                                                                      . 4
                                                                                                                                                                                    .....t
                                                                                                                                                                                         .:
                                                                                                                                                                                          .l,'
                                                                                                                                                                                          #--   -ëyr.1jtE'j9;i.t'.1;-'4!ëdjk't
                                                                                                                                                                                                .
                                                                                                                                                                                                t                    .... ., ..  :
                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                             . ..:r
                                                                                                                                                                                                                                  .,.'îB'  ... ;
                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                   r . ......, ..!):1:
                                                                                                                                                                                                                                                     .,!ll
                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                    z...   9db
                                                                                                                                                                                                                                                             kF-$14;Qitisy
                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                     , .
                                                                                                                                                                                                                                                                         -?
                                                                                                                                                                                                                                                                          -. ï   ':
                                                                                                                                                                                                                                                                                  s.
                                                                                                                                                                                                                                                                                   .1.' '
                                                                                                                                                                                                                                                                                       -,-
                                                                                                                                                                                                                                                                                       ..  .,
                                                                                                                                                                                                                                                                                           (
                                                                                                                                                                                                                                                                                           :  '1
                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                               .,r19' f
                                                                                                                                                                                                                                                                                                      $i
                                                                                                                                                                                                                                                                                                    ...,.
                                                                                                                                                                                                                                                                                                       .4)
                                                                                                                                                                                                                                                                                                    . .. . ;.
                                                                                                                                                                                                                                                                                                               b--
                                                                                                                                                                                                                                                                                                               ? .-
                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                   . '
                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                    ''
                                                                                                                                                                                                                                                                                                                        r , ,-;
                                                                                                                                                                                                                                                                                                                              1  j4 ,
                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                    y jr'.
                                                                                                                                                                                                                                                                                                                                        .-j9,41,-  1
                                                                                                                                                                                                                                                                                                                                                   742-
                                                                                                                                                                                                                                                                                                                                                      .'-
                                                                                                                                                                                                                                                                                                                                                        q1
                                                                                                                                                                                                                                                                                                                                                         i7!'1..
                                                                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                                             k   t''
                                                                                                                                                                                                                                                                                                                                                                   .  y1
                                                                                                                                                                                                                                                                                                                                                                       yr.
                                                                                                                                                                                                                                                                                                                                                                         ),.
                                                                                                                                                                                                                                                                                                                                                                           .'
                                                                                                                                                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                            ;.!
                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                              .,
                                                                                                                                                                                                                                                                                                                                                                               ..  t,
                                                                                                                                                                                                                                                                                                                                                                                    ..,j'
                                                                                                                                                                                                                                                                                                                                                                                        2l
                                                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                                                         ..d
                                                                                                                                                                                                                                                                                                                                                                                           ,-
                                                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                                                            a. ..1
                                                                                                                                                                                                                                                                                                                                                                                                 .r
                                                                                                                                                                                                                                                                                                                                                                                                  .<
                                                                                                                                                                                                                                                                                                                                                                                                   v'C
                                                                                                                                                                                                                                                                                                                                                                                                     qL
                                                                                                                                                                                                                                                                                                                                                                                                      . k
                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                        :1:
                                                                                                                                                                                                                                                                                                                                                                                                          .h
                                                                                                                                                                                                                                                                                                                                                                                                           l
                                                                                                                                                                                                                                                                                                                                                                                                           .z....
                                                                                                                                                                                                                                             .;:..g., ,.  ',hkti.                           . r.:  .g  ..$(.p
                                                                                                                                                                                                                                                                                           : .,....,..,,,.tyy    .r,2.   ...  ....    ï.  :. . ; . . .
                                                                                                                                                                                                                                                                                                                                                     : .    .,   ,
                                                                                                                                                                                                                                                                                                                                                                ..    à  ,,.,.
                                                                                                                                                                                                                                          ,,:
                                                                                                                             ..  ..  .                ,j   ; ... ..:        .   ....  .           .     .: j.i         ;   .t,jgy  :.,
                                                                                                                                                                                                                                   .   ,,
                                                                                                                                                                                                                                       .q  .g
                                                                                                                                                                                                                                          j,.  .tà:,,    g..s,, .i .   ,
                                                                                                                                                                                                                                                                       :!                                                   ,:
                                                                                                                                                                                                                                                                                                                            :
                     .i
                      C
                      rF
                       !
                       .@
                        r,j
                          ,;
                          r E
                            -
                            :j'
                              .r
                               g
                               ;
                               .j
                                s
                                .'.
                                  è.f
                                    .-,.'
                                        .'.1j
                                            ki
                                             ;j
                                              .te
                                                '
                                                ;.  ; ;
                                                      .g
                                                       '
                                                       ,j
                                                        .y
                                                         :
                                                         é'
                                                          .: ;
                                                             .<
                                                              '
                                                              .,.
                                                                .,
                                                                 '
                                                                 :y.
                                                                   :
                                                                   .E:
                                                                     .
                                                                     ..   .
                                                                          ;.'r
                                                                             :
                                                                             ...  :.'.
                                                                                  .        .,
                                                                                            '
                                                                                            .;'
                                                                                              ,.',
                                                                                                 .:x .i
                                                                                                      ,.
                                                                                                       ,
                                                                                                       .j:.
                                                                                                          h;
                                                                                                           E
                                                                                                           .:
                                                                                                            f ..;'
                                                                                                                 y.'x
                                                                                                                    .z
                                                                                                                     ! '
                                                                                                                       .
                                                                                                                       -
                                                                                                                       rj
                                                                                                                        ;
                                                                                                                        .'
                                                                                                                         .-j
                                                                                                                           ,
                                                                                                                           :'
                                                                                                                            .-j:.j
                                                                                                                                 ('.r
                                                                                                                                    ?
                                                                                                                                    .
                                                                                                                                    ':ç
                                                                                                                                      r
                                                                                                                                      ,
                                                                                                                                      -.:j:,
                                                                                                                                           6$z
                                                                                                                                             r
                                                                                                                                             .
                                                                                                                                             4 j r
                                                                                                                                                 .lj
                                                                                                                                                   .y
                                                                                                                                                    k
                                                                                                                                                    ',
                                                                                                                                                     4
                                                                                                                                                     :'. '
                                                                                                                                                         ,
                                                                                                                                                         ..
                                                                                                                                                          sr
                                                                                                                                                           .#
                                                                                                                                                            jt
                                                                                                                                                             .
                                                                                                                                                             -
                                                                                                                                                             :j;
                                                                                                                                                               .,
                                                                                                                                                                :
                                                                                                                                                                ;. .  E
                                                                                                                                                                      .
                                                                                                                                                                      L
                                                                                                                                                                      . p
                                                                                                                                                                        ;
                                                                                                                                                                        ':
                                                                                                                                                                         .' . J
                                                                                                                                                                              :
                                                                                                                                                                              .j ..jgyj
                                                                                                                                                                                      '
                                                                                                                                                                                      .?
                                                                                                                                                                                       :,
                                                                                                                                                                                        S
                                                                                                                                                                                        !r
                                                                                                                                                                                         .q
                                                                                                                                                                                          $I
                                                                                                                                                                                           .
                                                                                                                                                                                           ; F'
                                                                                                                                                                                              èj
                                                                                                                                                                                               :
                                                                                                                                                                                               .
                                                                                                                                                                                               ' j
                                                                                                                                                                                                 ;.
                                                                                                                                                                                                  :J
                                                                                                                                                                                                   ïr
                                                                                                                                                                                                    t
                                                                                                                                                                                                    ' '
                                                                                                                                                                                                      .#:,
                                                                                                                                                                                                        .    .y  ,sj
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                   4.
                                                                                                                                                                                                                    i:
                                                                                                                                                                                                                     k
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                     ,4
                                                                                                                                                                                                                      :,
                                                                                                                                                                                                                       .97
                                                                                                                                                                                                                         .
                                                                                                                                                                                                                         t.;
                                                                                                                                                                                                                           6
                                                                                                                                                                                                                           '
                                                                                                                                                                                                                           .17
                                                                                                                                                                                                                             ;)9
                                                                                                                                                                                                                               ;$rz
                                                                                                                                                                                                                                ,   .:
                                                                                                                                                                                                                                    ' 1 ,
                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                        . '
                                                                                                                                                                                                                                          -%,.,
                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                              .g
                                                                                                                                                                                                                                               1,)-k h
                                                                                                                                                                                                                                                     .j'
                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                        CEI.
                                                                                                                                                                                                                                                           ,:
                                                                                                                                                                                                                                                            :Jr,
                                                                                                                                                                                                                                                               '  j
                                                                                                                                                                                                                                                                  .yj
                                                                                                                                                                                                                                                                    .i
                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                     -j
                                                                                                                                                                                                                                                                      j4
                                                                                                                                                                                                                                                                       .j.  yi j y j:
                                                                                                                                                                                                                                                                                    .g
                                                                                                                                                                                                                                                                                     ,j(
                                                                                                                                                                                                                                                                                       .u
                                                                                                                                                                                                                                                                                        :a  ,
                                                                                                                                                                                                                                                                                            .:
                                                                                                                                                                                                                                                                                             rj
                                                                                                                                                                                                                                                                                              F;
                                                                                                                                                                                                                                                                                               .juo
                                                                                                                                                                                                                                                                                                  . .j.J. y
                                                                                                                                                                                                                                                                                                          g  j gj ,
                                                                                                                                                                                                                                                                                                                  .  j
                                                                                                                                                                                                                                                                                                                     . g j
                                                                                                                                                                                                                                                                                                                         yr j,.
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                              g(
                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                 qj
                                                                                                                                                                                                                                                                                                                                  .   .  .
                                                                                                                                                                                                                                                                                                                                         rp
                                                                                                                                                                                                                                                                                                                                          ,  ,
                                                                                                                                                                                                                                                                                                                                             .  .,j
                                                                                                                                                                                                                                                                                                                                                  g  r
                                                                                                                                                                                                                                                                                                                                                     .  t
                                                                                                                                                                                                                                                                                                                                                        , .,g$
                                                                                                                                                                                                                                                                                                                                                             jj.j
                                                                                                                                                                                                                                                                                                                                                                zy y ! .
                                                                                                                                                                                                                                                                                                                                                                       , g.,..
                                                                                                                                                                                                                                                                                                                                                                         j  j
                                                                                                                                                                                                                                                                                                                                                                            , j:,
                                                                                                                                                                                                                                                                                                                                                                                4, :.... .: ;:,z,
                                                                                                                                                                                                                                                                                                                                                                           .<.. ..
                                                                                                                                                                                                                                                                                                                                                                                 )
                                                                                                                                                                                                                                                                                                                                                                                 .Lj
                                                                                                                                                                                                                                                                                                                                                                                   ,f
                                                                                                                                                                                                                                                                                                                                                                                    .,..
                                                                                                                                                                                                                                                                                                                                                                                     tr , :
                                                                                                                                                                                                                                                                                                                                                                                          ,. :
                                                                                                                                                                                                                                                                                                                                                                                             ë j;
                                                                                                                                                                                                                                                                                                                                                                                                .:jkt
                                                                                                                                                                                                                                                                                                                                                                                                    :j
                                                                                                                                                                                                                                                                                                                                                                                                     .  yj.j
                                                                                                                                                                                                                                                                                                                                                                                                           .j
                                                                                                                                                                                                                                                                                                                                                                                                            4,j.%.
                                                                                                                                                                                                                                                                                                                                                                                                             r    -j.  j.,q
                                                                                                                                                                                                                                                                                                                                                                                                                          $
                                                                                                                                                                                                                                                                                                                                                                                                                          .(yj.
                                                                                                                                                                                                                                                                                                                                                                                                                             .j.
                                                                                                                                                                                                                                                                                                                                                                                                                               ; y(
                                                                                                                                                                                                                                                                                                                                                                                                                                  . g  j ;  , .
                                                                                                                                                                                                                                                                                                                                                                                                                                              y
                                                                                                                                                                                                                                              .,                                ç
                              .   .  . .   x .:o  .     .          .x       .    v '. .       .x .;
                                                                                                  u. .r  .;     .          <., r  :.        ,  s k !.c . .   .    .:.       .       ! j  f .   .                                                                                                                              .
                                                                                                                                                                                                                                                                                                                              à .., ; ,  :    u-
                                                                                                                                                                                                                                                                                                                                               .s ..,
                                                                                                                                                                                                                                                                                                                                                    . .:
                                                                                                                                                                                                                                                                                                                                                       . ..:.:.:.  r
                                                                                                                                                                                                                                                                                                                                                                   .,      4  ....  .,.  .  .
                                                                                                                                                                                                                                                                                                                                                                                            .    .. . . ë  ,
                                                                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                                .. . z .P                                 .    :2 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                  .    . r
                                                                                                                                                                                     . ...                                             r                                  y.
                                                                                                                                                                                                                                                                          . -. ..,... .
                                                                                                                                                                                                                                                           !' p.' .'J' rr. ?.zf . y                                                                                .
                     '
                     .kï
                       .,
                        ..
                          4-4.
                             ;-
                               *
                               .s
                                 A,.'f
                                   .:!..
                                          eal
                                        ,..    :',. Lo,
                                                         cb
                                                          ,t.hv
                                                          ,b.-. ... .'
                                                                    ..
                                                                       t .-
                                                                           ' C
                                                                            7,1
                                                                              ..!
                                                                                ,:::.  s1',
                                                                                             '
                                                                                             1
                                                                                             .)   yar
                                                                                                  .. ), .f t-  x$è .
                                                                                                                   .''
                                                                                                                   :7s.
                                                                                                                         a.at  cj;.s   w,.
                                                                                                                                         j' '
                                                                                                                                           .w
                                                                                                                                           - i ,o
                                                                                                                                               .   vxk.t..'
                                                                                                                                                        .
                                                                                                                                                          kef.'
                                                                                                                                                           -    .
                                                                                                                                                                l
                                                                                                                                                                . l-l
                                                                                                                                                                  .
                                                                                                                                                                 .,     .,t    p
                                                                                                                                                                              -.
                                                                                                                                                                                x -nf-i
                                                                                                                                                                                 .....;w.
                                                                                                                                                                                 ,           l.r.-'.o
                                                                                                                                                                                                    ,..4        y  bl      c' .,.
                                                                                                                                                                                                                                ' f    r  ,o    l
                                                                                                                                                                                                                          ,;,.,.. .-. ......- . w
                                                                                                                                                                                                                                                  .l' jpll-      y>  t7rl
                                                                                                                                                                                                                                                                    . ,. !.k%'
                                                                                                                                                                                                                                                                           ...    t'n'
                                                                                                                                                                                                                                                                                     !'  .1 1.95
                                                                                                                                                                                                                                                                                               ..'     ',Ek. -: à'
                                                                                                                                                                                                                                                                                                                 t..t
                                                                                                                                                                                                                                                                                                               .: .....k  p.:l,1..r-   t'
                                                                                                                                                                                                                                                                                                                                         jI
                                                                                                                                                                                                                                                                                                                                           I.1' l'f'1      t '
                                                                                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                                                                                             . I
                                                                                                                                                                                                                                                                                                                                                               '  l '
                                                                                                                                                                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                                                                                                                                                    . ,1.'- c  ,
                                                                                                                                                                                                                                                                                                                                                                               ' ft
                                                                                                                                                                                                                                                                                                                                                                                  r i.  1'i
                                                                                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                                                                                          -.'
                                                                                                                                                                                                                                                                                                                                                                                            3
                                                                                                                                                                                                                                                                                                                                                                                            .'
                                                                                                                                                                                                                                                                                                                                                                                             . e' ',k     '
                                                                                                                                                                                                                                                                                                                                                                                                          .-
                                                                                                                                                                                                                                                                                                                                                                                                           a
                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                           ,,  .k
                                                                                                                                                                                                                                                                                                                                                                                                                4 vj
                                                                                                                                                                                                                                                                                                                                                                                                                   . a
                                                                                                                                                                                                                                                                                                                                                                                                                     .  .vl
                                                                                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                                                                                          .. i l
                                                                                                                                                                                                                                                                                                                                                                                                                               . .
                                                                                                                                                                                                                                                                                                                                                                                                                                 ,'
                                                                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                  . ;
                                                                                                                                                                                                                                                                                                                                                                                                                                    .    .
                                                                                                                                                                                                                                                                                                                                                                                                                                         .  1
                                                                                                                                                                                                                                                                                                                                                                                                                                            ; .;.
                     '
                      t  '1j   ,
                               .;:.z  :j:
                                        1y
                                         k;97!   .
                                                 -      - .           :.
                                                                      .    ..   .            ;       .,.                   .                                    ,           .. .                           t . ,-   ,
                                                                                                                                                                                                                    . -.
                                                                                                                                                                                                                      .,
                                                                                                                                                                                                                      .,:. . . . -. , . .  ; ),  -j                                                                   ........ .,     .,                           <     'c: hs.
                                                                                                                                                                                                                                                                                                                                                   r;t. . .. .7)' ...,'.;;) q                   :. ;.:        .
                     '
                     -
                       ;.s .-1
                         '::''
                              2t  '
                                 ;L  '
                                  ;. ..
                             .:7:7:
                                       .  .Fr'
                                     E!'''J. .
                                              1
                                              -4
                                               ,7;1 . I
                                                      u,1!
                                                         E
                                                       ., .,t't-
                                                           X
                                                           : .: .;
                                                      j -.Ir.. i .'
                                                               .,
                                                                    7:;1:.
                                                                   .-
                                                                 ..,      1,:j.j
                                                                            0
                                                                         ..,,--,k  zjpr.1.
                                                                                    :..,.,..:
                                                                                  .;.        -j3kt. E.
                                                                                            -... ,..:  ).
                                                                                                        .E P,
                                                                                                           -.
                                                                                                           ,  .-'
                                                                                                                ,)
                                                                                                                 ï.?'
                                                                                                                    ï
                                                                                                                    .d
                                                                                                                     : k$11.
                                                                                                                           .1.
                                                                                                                             $
                                                                                                                             .:
                                                                                                                               .
                                                                                                                              ..
                                                                                                                               141
                                                                                                                                 s
                                                                                                                                 .t,
                                                                                                                                   h
                                                                                                                                   .)
                                                                                                                                    -.
                                                                                                                                    .,np..
                                                                                                                                          .'
                                                                                                                                         ..
                                                                                                                                            .
                                                                                                                                            gN
                                                                                                                                            'j:
                                                                                                                                             m
                                                                                                                                                 .;,
                                                                                                                                                  ,
                                                                                                                                                 j..
                                                                                                                                                 ;    4jî
                                                                                                                                                        .
                                                                                                                                                        '
                                                                                                                                                        .:
                                                                                                                                                          j
                                                                                                                                                          -.r,
                                                                                                                                                            .
                                                                                                                                                           .'
                                                                                                                                                           .
                                                                                                                                                               j
                                                                                                                                                             vj.
                                                                                                                                                                ;
                                                                                                                                                                .k
                                                                                                                                                                :.
                                                                                                                                                                  ql
                                                                                                                                                                  h
                                                                                                                                                                 k;
                                                                                                                                                                      j -
                                                                                                                                                                        .
                                                                                                                                                                      ...
                                                                                                                                                                         jt
                                                                                                                                                                          .
                                                                                                                                                                          - e
                                                                                                                                                                            . ..
                                                                                                                                                                                ,.
                                                                                                                                                                                ..
                                                                                                                                                                                 ?j
                                                                                                                                                                                  Er
                                                                                                                                                                                   .:
                                                                                                                                                                                     r
                                                                                                                                                                                     . .
                                                                                                                                                                             . ..,,....:
                                                                                                                                                                                 .''
                                                                                                                                                                                   ux'
                                                                                                                                                                                    . .2
                                                                                                                                                                                     ;'
                                                                                                                                                                                      7
                                                                                                                                                                                        !
                                                                                                                                                                                        .p
                                                                                                                                                                                        ,,
                                                                                                                                                                                         .g
                                                                                                                                                                                          .
                                                                                                                                                                                         ..
                                                                                                                                                                                           j
                                                                                                                                                                                           .I
                                                                                                                                                                                            :
                                                                                                                                                                                            ,-
                                                                                                                                                                                             t
                                                                                                                                                                                            .,
                                                                                                                                                                                           ..
                                                                                                                                                                                           : .J
                                                                                                                                                                                              :j
                                                                                                                                                                                               .
                                                                                                                                                                                               -;k-
                                                                                                                                                                                                  E
                                                                                                                                                                                                y..
                                                                                                                                                                                             .. ..;tj
                                                                                                                                                                                                   .t
                                                                                                                                                                                                      .
                                                                                                                                                                                                      l
                                                                                                                                                                                                      .
                                                                                                                                                                                                     ..
                                                                                                                                                                                                       jiJk.
                                                                                                                                                                                                        ?      -
                                                                                                                                                                                                               -
                                                                                                                                                                                                               E r
                                                                                                                                                                                                                !kj.
                                                                                                                                                                                                                  -  /
                                                                                                                                                                                                                     ''rr:
                                                                                                                                                                                                                      k!
                                                                                                                                                                                                      ..,.. , . .. ......
                                                                                                                                                                                                                          .);ç'
                                                                                                                                                                                                                            -
                                                                                                                                                                                                                            1  q
                                                                                                                                                                                                                               .j1. '
                                                                                                                                                                                                                                   t@-
                                                                                                                                                                                                                                     $.
                                                                                                                                                                                                                                      lt?:. -
                                                                                                                                                                                                                                           ';t
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                             ,!
                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                              ?j
                                                                                                                                                                                                                                               ,k
                                                                                                                                                                                                                                                ,ç
                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                 ,-
                                                                                                                                                                                                                                                  .:
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                   :j y
                                                                                                                                                                                                                                                     ..j
                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                       .!
                                                                                                                                                                                                                                                        .r(
                                                                                                                                                                                                                                                          .y
                                                                                                                                                                                                                                                           -2
                                                                                                                                                                                                                                                            :g..    Eg
                                                                                                                                                                                                                                                                     .jj
                                                                                                                                                                                                                                                                      !  y.
                                                                                                                                                                                                                                                                         . .
                                                                                                                                                                                                                                                                               r.,
                                                                                                                                                                                                                                         :.-. .!... .., ë....:.......'... .,.2,.   Jj.
                                                                                                                                                                                                                                                                                    . r!j;..j
                                                                                                                                                                                                                                                                                          y    -
                                                                                                                                                                                                                                                                                               .j,)k
                                                                                                                                                                                                                                                                                                   .yj.  q
                                                                                                                                                                                                                                                                                                         -.jkt:-
                                                                                                                                                                                                                                                                                                              j .j:
                                                                                                                                                                                                                                                                                                                  .!:- . j,(.
                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                            ...
                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                               .h
                                                                                                                                                                                                                                                                                                                                ;.1 .
                                                                                                                                                                                                                                                                                                                                      .1 r
                                                                                                                                                                                                                                                                                                                                         ,.
                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                           '(;
                                                                                                                                                                                                                                                                                                                                           '',
                                                                                                                                                                                                                                                                                                                                           yry
                                                                                                                                                                                                                                                                                                                                             .i
                                                                                                                                                                                                                                                                                                                                              rà
                                                                                                                                                                                                                                                                                                                                               y.,.
                                                                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                                                  #
                                                                                                                                                                                                                                                                                                                                                  . j
                                                                                                                                                                                                                                                                                                                                                    -,
                                                                                                                                                                                                                                                                                                                                                     )
                                                                                                                                                                                                                                                                                                                                                      .:
                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                       y  '. '-
                                                                                                                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                               )
                                                                                                                                                                                                                                                                                                                                                               jq.
                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                                 ,$
                                                                                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                                                                                   .

                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                     17.
                                                                                                                                                                                                                                                                                                                                                                       1'
                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         t. ..
                                                                                                                                                                                                                                                                                                                                                                             :t
                                                                                                                                                                                                                                                                                                                                                                              ji
                                                                                                                                                                                                                                                                                                                                                                               J
                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                                                                                                                <1
                                                                                                                                                                                                                                                                                                                                                                                 $t.
                                                                                                                                                                                                                                                                                                                                                                                ,. :-7
                                                                                                                                                                                                                                                                                                                                                                                 ..' '
                                                                                                                                                                                                                                                                                                                                                                                    !
                                                                                                                                                                                                                                                                                                                                                                                    . 14
                                                                                                                                                                                                                                                                                                                                                                                       .:
                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                     ,.,,1
                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                                                                                                          u
                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                                           1,  4 ;
                                                                                                                                                                                                                                                                                                                                                                                                 .j
                                                                                                                                                                                                                                                                                                                                                                                                  .â: ? )'
                                                                                                                                                                                                                                                                                                                                                                                                         : t
                                                                                                                                                                                                                                                                                                                                                                                                           k
                                                                                                                                                                                                                                                                                                                                                                                                           .h.r ..j
                                                                                                                                                                                                                                                                                                                                                                                                                  i4
                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                    !.
                                                                                                                                                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                                                                                                                      .1
                                                                                                                                                                                                                                                                                                                                                                                                                       .k
                                                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                         1:9
                                                                                                                                                                                                                                                                                                                                                                                                                           .k
                                                                                                                                                                                                                                                                                                                                                                                                                            .:,
                                                                                                                                                                                                                                                                                                                                                                                                                              4
                                                                                                                                                                                                                                                                                                                                                                                                                              yf
                                                                                                                                                                                                                                                                                                                                                                                                                               q 9û
                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                           .. e.. . <,                           ,,....                                                                                         y.. -.. ..
                                                                                                                                                                                                                                                                                                                .          !,j                                                      .s
                     .,
                      :t
                     ..l,1'
                          ..y
                            .s)j
                            :.
                            4. k.y.j
                                ... k.r:j
                                      .k
                                      ; ay
                                        .  r..h
                                             lqk
                                               d
                                               -.j  -N.
                                                    i
                                                    . :.
                                                       .ï.
                                                         ;-;j
                                                           ' :.(
                                                             :
                                                                 j
                                                                 .'
                                                                  .j
                                                                   ?'
                                                                       t,k
                                                                     l..     .;.'
                                                                             .  .e.4
                                                                                 .  i:
                                                                                     .j:.
                                                                                        s o
                                                                                          -y%j
                                                                                            ., .
                                                                                               j.
                                                                                                 $
                                                                                                 ,i;
                                                                                                   .;  .p:.jik'
                                                                                                       :jy
                                                                                                       .
                                                                                                              y
                                                                                                              .v;k'..,:ç j
                                                                                                                        ,. '
                                                                                                                          .-,
                                                                                                                            -t
                                                                                                                             .&'$-.,'
                                                                                                                                    .j
                                                                                                                                     ...:.'.t.j
                                                                                                                                          q
                                                                                                                                          ...  ;  '
                                                                                                                                                 ;..
                                                                                                                                                   &
                                                                                                                                                   .'#
                                                                                                                                                   .;.
                                                                                                                                                     .
                                                                                                                                                      . -
                                                                                                                                                      k  rrlj4'
                                                                                                                                                       Cr;
                                                                                                                                                       .
                                                                                                                                                       .....        k
                                                                                                                                                                    $ t:k'f(.
                                                                                                                                                            -.....:. .... -..
                                                                                                                                                                      .. ..
                                                                                                                                                                                  s;. jks'j     J:
                                                                                                                                                                                                  p
                                                                                                                                                                                                  .t  '
                                                                                                                                                                                                      1
                                                                                                                                                                                                        'ojj
                                                                                                                                                                                                         ;; x::
                                                                                                                                                                                                                     k
                                                                                                                                                                                                                     .a(.
                                                                                                                                                                                                                      .   z'
                                                                                                                                                                                                                         ,:. .,
                                                                                                                                                                                                                               F..,k'
                                                                                                                                                                                                                                    .x  '
                                                                                                                                                                                                                                        .l
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                          .'
                                                                                                                                                                                                                                          .4 .2.'
                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                             :...
                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                  ..t/
                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                  ., ...
                                                                                                                                                                                                                                                     .; ;1
                                                                                                                                                                                                                                                        (
                                                                                                                                                                                                                                                        .:,
                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                           :j.,
                                                                                                                                                                                                                                                            ..I
                                                                                                                                                                                                                                                               <,.
                                                                                                                                                                                                                                                                 .w
                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                   ..ur
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                      ?!4
                                                                                                                                                                                                                                                                      . .
                                                                                                                                                                                                                                                                        .à.
                                                                                                                                                                                                                                                                          j.
                                                                                                                                                                                                                                                               k..,.y.......-..
                                                                                                                                                                                                                                                                        v
                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                               ).ëb?yj
                                                                                                                                                                                                                                                                                   j   p;,
                                                                                                                                                                                                                                                                                         jr'l. fj.   jtj  >y:..  ;
                                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                                                  s
                                                                                                                                                                                                                                                                                                                  ...
                                                                                                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                         ') .
                                                                                                                                                                                                                                                                                                                            ,j.jvj.y
                                                                                                                                                                                                                                                                                                                       j;))?j#-.;.:.
                                                                                                                                                                                                                                                                                                                                  .,:,:.
                                                                                                                                                                                                                                                                                                                                            .y.jjo.
                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                             ;.-
                                                                                                                                                                                                                                                                                                                                           qj....;:!rç.u..
                                                                                                                                                                                                                                                                                                                                                           4k ,.l
                                                                                                                                                                                                                                                                                                                                                               j ;a
                                                                                                                                                                                                                                                                                                                                                              :...
                                                                                                                                                                                                                                                                                                                                                                    kx   .tt
                                                                                                                                                                                                                                                                                                                                                                         t     ;;
                                                                                                                                                                                                                                                                                                                                                                      :ry; hyëkij
                                                                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                                   'g,)Ni ,
                                                                                                                                                                                                                                                                                                                                                                                          #...
                                                                                                                                                                                                                                                                                                                                                                                                   L
                                                                                                                                                                                                                                                                                                                                                                                                   :.':)!'
                                                                                                                                                                                                                                                                                                                                                                                                   ,...-1
                                                                                                                                                                                                                                                                                                                                                                                               jr-.'          ,k@l1' k.
                     ï y
                     '( i
                      . -  '. u
                              ,
                              .   .
                                :11k  .  .
                                      q1ti(.à1.   .   y   x
                                                 r1124rJ12,.
                                                t.
                             .-........,..,- .. ... .::,
                                                             j . j
                                                                 ï
                                                                 'z
                                                                  .
                                                                  r
                                                                  'l
                                                                   ,
                                                                   -
                                                                   ïs
                                                                    k:
                                                                     .t
                                                                      ,h ij
                                                                          '
                                                                          .st  j  r
                                                                                ,,k4 .
                                                                                     4;
                                                                                      :.    s
                                                                                       1tS.-.yjl9 )
                                                                                                  '
                                                                                                 ,-. .
                                                                                                   91,1q
                                                                                                  ,-      4 ; .   ,
                                                                                                        1rlfA11t!,bN
                                                                                                             i-
                                                                                                              ''    ;   < ;
                                                                                                               t:......--. ,'
                                                                                                                            .  : .
                                                                                                                                k-y ):
                                                                                                                                     !.
                                                                                                                                      ,
                                                                                                                                      -j
                                                                                                                                       ;.   w  t y
                                                                                                                                                 ,
                                                                                                                                                 .1; i
                                                                                                                                                     --
                                                                                                                                                      '.   . .
                                                                                                                                                             g
                                                                                                                                                       11.k.))i
                                                                                                                                                   .'' '--     r.k c
                                                                                                                                                                   'T    <  j  ..
                                                                                                                                                                                ':j p .
                                                                                                                                                                                  . .. 'hr
                                                                                                                                                                                         I1. .
                                                                                                                                                                                             q; .,
                                                                                                                                                                                                 '&   g
                                                                                                                                                                                                      . !y
                                                                                                                                                                                                         r
                                                                                                                                                                                                         .
                                                                                                                                                                                                           t , .
                                                                                                                                                                                                               l,3.
                                                                                                                                                                                                                  3ï. b    ;.
                                                                                                                                                                                                                            ;?
                                                                                                                                                                                                                             7.
                                                                                                                                                                                                                              ,li')
                                                                                                                                                                                                                                  l'
                                                                                                                                                                                                                                   1j ; .  .        =     .
                                                                                                                                                                                                                                                             .   ?$k
                                                                                                                                                                                                                                                                   '.
                                                                                                                                                                                                                                                                    ,k.
                                                                                                                                                                                                                                                                      ;'    ,.          .
                                                                                                                                                                                                                                                                                        :,
                                                                                                                                                                                                                                                                                          )'   .  P
                                                                                                                                                                                                                                                                                             . , -.
                                                                                                                                                                                                                                                                        t4r:,.gklp:'s1141t #.111y1
                                                                                                                                                                                                                                                                                                   J    . .
                                                                                                                                                                                                                                                                                                       '.m .
                                                                                                                                                                                                                                                                                                           f
                                                                                                                                                                                                                                                                                                            .    5
                                                                                                                                                                                                                                                                                                                 .  .q   '
                                                                                                                                                                                                                                                                                                                                  .     ..                      ., .   ..
                                                                                                                                                                                                                                                                                                                                                     y.à..: ..y y.jr.g..c.
                                                                                                                                                                                                                                                                                                                                                                          . ...
                                                                                                                                                                                                                                                                                                                                                                                                j ...
                      .;
                     :.
                        .. . :
                       .?:. :.r.,       .:.,
                                                                  .-... . .... ...... -. . -,                                  ...,..,
                                                                                                                                 -    . ..       .-.,-....;
                                                                                                                                                          ,;.,,..
                                                                                                                                                             ..t-.
                                                                                                                                                                -.,
                                                                                                                                                                  ...-.-.. .-.......--.-,. . .. .,.....i,?. -        .
                                                                                                                                                                                                                     j                ;1
                                                                                                                                                                                                                                       .1,
                                                                                                                                                                                                                                    k;.,  1.
                                                                                                                                                                                                                                           41:1411v 'v
                                                                                                                                                                                                                                        ï-.-,:.-.,.,.
                                                                                                                                                                                                                                                    ....--  -T!' .      ;
                                                                                                                                                                                                                                                           :..-... ..- ....,..ù.,       ..... . ,..
                                                                                                                                                                                                                                                                                                       . '
                                                                                                                                                                                                                                                                                                      ..,
                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                                                                                              4
                                                                                                                                                                                                                                                                                                                              :18!(
                                                                                                                                                                                                                                                                                                                                  tC-.-;1
                                                                                                                                                                                                                                                                                                                                      '  :'-  1eï1:y:&t'!
                                                                                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                                         $.. .. ...! .,..--''-,;- ..., .... .../.                        k''ikt
                                                                                                                                                                                                                                                                                                                                                                              k.-$ .1,
                                                                                                                                                                                                                                                                                                                                                                                   1    11;'-i1y,-!k11,1.,ik;
                     :1k.1
                      ''.:
                      .....-!é!2-L'tin.-
                            '
                            ..
                             .. .   .
                                    -   ,. ,
                                           i-
                                            .J.j .,.4,
                                               .,.; . j.
                                                      12fi
                                                         .
                                                         ..#..
                                                           .   sï...
                                                                   #
                                                                   -Er!h  *
                                                                          .-,
                                                                            .t.j..
                                                                            ...,  9
                                                                                  .r
                                                                                   k.
                                                                                    ;
                                                                                    -;
                                                                                     .;-'71.
                                                                                           kfc
                                                                                             1k.
                                                                                  .. ..... .....1.
                                                                                                '
                                                                                                --j.
                                                                                                 !ë!y
                                                                                                   .t;
                                                                                                     j.
                                                                                                   . ,
                                                                                                      t
                                                                                                      .a
                                                                                                      ',(
                                                                                                       '
                                                                                                       .
                                                                                                        j.
                                                                                                        '
                                                                                                        ,
                                                                                                        -r.
                                                                                                          :.    .:
                                                                                                                '
                                                                                                                : -...
                                                                                                                     4,. t) k;
                                                                                                                           it
                                                                                                                          d' .
                                                                                                                             ',F
                                                                                                                              t
                                                                                                                              '(..>:é...y..
                                                                                                                               .4'
                                                                                                                                  -
                                                                                                                         ....... .s
                                                                                                                                   '
                                                                                                                                   :
                                                                                                                                   ,
                                                                                                                                   'j
                                                                                                                                    .;pp:;....
                                                                                                                            . . . '. .  '                 t:.
                                                                                                                                                             tj.
                                                                                                                                                                  . :...ji:.
                                                                                                                                                                  ,k.
                                                                                                                                                                      .'    ,'
                                                                                                                                                                            .  .?-.,48.14:.:'
                                                                                                                                                                                 4    ,
                                                                                                                                                                                                   -.
                                                                                                                                                                                                    i l
                                                                                                                                                                                                      -
                                                                                                                                                                                                       :. j.,.,)yq,
                                                                                                                                                                                                       4)h     . itj
                                                                                                                                                                                                                 ,',!,
                                                                                                                                                                                                                     . - t
                                                                                                                                                                                                                         -N.-
                                                                                                                                                                                                                            ,. . t.f?
                                                                                                                                                                                                                                 ,k
                                                                                                                                                                                                                                  -)
                                                                                                                                                                                                                                   ).
                                                                                                                                                                                                                                    h
                                                                                                                                                                                                                                    .,4
                                                                                                                                                                                                                                      .1r -
                                                                                                                                                                                                                                          e
                                                                                                                                                                                                                                          k   . ...:5sdk;qa:j.. .....k(
                                                                                                                                                                                                                                                  11:f  !
                                                                                                                                                                                                                                                        .   ,1 5-
                                                                                                                                                                                                                                                                :. 1y (
                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                      -:g
                                                                                                                                                                                                                                                                        .I
                                                                                                                                                                                                                                                                       . .
                                                                                                                                                                                                                                                                          pv
                                                                                                                                                                                                                                                                           '4   .@
                                                                                                                                                                                                                                                                                 -1r!
                                                                                                                                                                                                                                                                                    .k!t
                                                                                                                                                                                                                                                                                       . .
                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                         - !q,
                                                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                             .r
                                                                                                                                                                                                                                                                                              !.
                                                                                                                                                                                                                                                                                               '-.'!.:).y:
                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                        y
                                                                                                                                                                                                                                                                                                         ........,.k
                                                                                                                                                                                                                                                                                                            p
                                                                                                                                                                                                                                                                                                            'r,-      s       ï
                                                                                                                                                                                                                                                                                                                              tji.!;.  t;
                                                                                                                                                                                                                                                                                                                                      !'
                                                                                                                                                                                                                                                                                                                                      L   ,.:
                                                                                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                                                         :t -:.k
                                                                                                                                                                                                                                                                                                                                            '  -j
                                                                                                                                                                                                                                                                                                                                                q;
                                                                                                                                                                                                                                                                                                                                                 .e:. ,.r;2(...k., ..              :,p,Es.:.t.yg; i.)..                      ,..<E:
                     .'
                     j    )z
                          ' E . . . ..
                                        ..          3 /LL    iL. .a   ,,  .     ...
                                                                                       . ='.  ' .. . .
                                                                                                c,:
                                                                                                  .     .
                                                                                                                   t ' . . .-.
                                                                                                                    )  .  k
                                                                                                                          . :   %              ..          ..,....
                                                                                                                                                       'q'' ,#. .t ..         .
                                                                                                                                                                                         gl<k..
                                                                                                                                                                                              b.       . .. t-. . .
                                                                                                                                                                                               ' ... .. :......
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                       'jg.c:....t                    .r ..             . ...
                                                                                                                                                                                                                                                                                              ...         .
                                                                                                                                                                                                                                                                                                         ..     a.
                                                                                                                                                                                                                                                                                                           .. ....- t .  k
                                                                                                                                                                                                                                                                                                                      ., -    ,
                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                              ,,
                                                                                                                                                                                                                                                                                                                            . ..j , )
                                                                                                                                                                                                                                                                                                                                    r .. ,..         1k;1k ,   dC.  )..'
                                                                                                                                                                                                                                                                                                                                                                       ,dt,
                                                                                                                                                                                                                                                                                                                                                                          -!k
                                                                                                                                                                                                                                                                                                                                                                            'r
                                                                                                                                                                                                                                                                                                                                                                             J '
                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                                                                                                                                Ip)d.!k.tk
                                                                                                                                                                                                                                                                                                                                                                                         .h
                                                                                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                                                                                          )'!
                                                                                                                                                                                                                                                                                                                                                                                            k
                                                                                                                                                                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                                                                                                                                                                             ? l
                                                                                                                                                                                                                                                                                                                                                                                               ',
                                                                                                                                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                                                                                                                                : ;
                                                                                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                                                                                  .è!$w .-.
                                                                                                                                                                                                                                                                                                                                                                                                          r
                                                                                                                                                                                                                                                                                                                                                                                                          y..
                                                                                                                                                                                                                                                                                                                                                                                                           ' t:1'.
                                                                                                                                                                                                                                                                                                                                                                                                                 .y
                                                                                                                                                                                                                                                                                                                                                                                                                  '#Av'.('.t'r.ti',.'t2'$.t.,-'
                               -r
                                '.
                                 ,7
                                  .6
                                   1L:...   r.3.t.     .i:
                                                         -2    :r:
                                                                 ë1.
                                                                   r,k.   .+
                                                                           11.
                                                                             ::'...:.                                      . .i.   . ..'       ;    p.:                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                                                                 .                                                                      .. .
                       '
                      t:
                       ë!i '
                        ' .:
                            ?Ili-/i
                                  '  !
                                     tI-1
                                        'ipk
                                           ,p.'63f-1  :F .
                                                         ''1 L,
                                                              .
                                                              ') ' l
                                                                   .71.1
                                                                      1 7
                                                                         r2.
                                                    -.. . .. ....,- . ..-. .-;1    .1:'
                                                                                      .4.
                                                                                        k  !
                                                                                           .,4
                                                                                             .121 ë
                                                                                                  -I
                                                                                                   'L
                                                                                                    t4
                                                                                                    ;   '' '
                                                                                                     '1l! 2'!t
                                                                                                        h4'    ,L
                                                                                                              '-
                                                                                                              q     63 ï
                                                                                                                       :
                                                                                                                       ,3:ï.-' '
                                                                                                                           '
                                                                                                                           t!i  (1'- ' .
                                                                                                                                  !
                                                                                                                                  9;
                                                                                                                                   (1t1
                                                                                                                                      .'
                                                                                                                                       --
                                                                                                                                        'd
                                                                                                                                         !
                                                                                                                                         -:    ::)'ii            11,
                                                                                                                                                                   :
                                                                                                                                                                   'j f
                                                                                                                                                                      $
                                                                                                                                                                      '' '. ' '' ''
                                                                                                                                                                        '
                                                                                                                                                                        i'
                                                                                                                                                                         Iy
                                                                                                                                                                          I .                   t
                                                                                                                                                                                                ,;
                                                                                                                                                                                                 '
                                                                                                                                                                                                 tt
                                                                                                                                                                                                  'r
                                                                                                                                                                                                   !E
                                                                                                                                                                                                            . .. .x
                                                                                                                                                                                                             :
                                                                                                                                                                                                             i '!
                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                          zq .j(tl:..       ..     ) ,1r:.   1(..jrj (          :.. .J y
                                                                                                                                                                                                                                                                                                                       ;   .
                                                                                                                                                                                                                                                                                                                           .hj
                                                                                                                                                                                                                                                                                                                             ;.
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                              ,L. . q
                                                                                                                                                                                                                                                                                                                                    t  f
                                                                                                                                                                                                                                                                                                                                       . . r..
                                                                                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                                                                                                                               '2
                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                ,:' .
                                                                                                                                                                                                                                                                                                                                                    '>
                                                                                                                                                                                                                                                                                                                                                     s:     ..       .n i          .'I(
                                                                                                                                                                                                                                                                                                                                                                             ,, .,...
                                                                                                                                                                                                                                                                                                                                                                                        t   .      (.   J  .
                       .... .. .. . . -         ...,                                               .,,..-.,i-:   .
                                                                                                                                           ij- ;      (1h .'
                                                                                                                                                           ,;.j.1j            1I-,ï
                                                                                                                                                                                  .
                                                                                                                                                                                  '!i
                                                                                                                                                                                    l
                                                                                                                                                                                    .-
                                                                                                                                                                                     :!ù
                                                                                                                                                                                       i;.
                                                                                                                                                                                        ,  1( ,) !
                                                                                                                                                                                             'l       14:
                                                                                                                                                                                                        11! !   .''k
                                                                                                                                                                                                                   i'ï'
                                                                                                                                                                                                                      tt'
                                                                                                                                                                                                                        ;..-.
                                                                                                                                                                                                                         ,1
                                                                                                                                                                                                                         -  1;k
                                                                                                                                                                                                                              -I
                                                                                                                                                                                                                               .ë'
                                                                                                                                                                                                                                 i!
                                                                                                                                                                                                                                  Cj
                                                                                                                                                                                                                                   .1:
                                                                                                                                                                                                                                     kt1.
                                                                                                                                                                                                                                        ' !
                                                                                                                                                                                                                                          ,(-
                                                                                                                                                                                                                                            ïk
                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                             hi
                                                                                                                                                                                                                                              .;'
                                                                                                                                                                                                                                                .,1:
                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                  .  qi
                                                                                                                                                                                                                                                      lq1
                                                                                                                                                                                                                                                        -ji
                                                                                                                                                                                                                                                          .$-
                                                                                                                                                                                                                                                            k
                                                                                                                                                                                                                                                            '!.'
                                                                                                                                                                                                                                                              , .
                                                                                                                                                                                                                                                                -,:
                                                                                                                                                                                                                                                                  .!i),
                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                      .ëi
                                                                                                                                                                                                                                                                       t    t
                                                                                                                                                                                                                                                                            .7
                                                                                                                                                                                                                                                                             ; '
                                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                                               .4lL
                                                                                                                                                                                                                                                                                  :.'?
                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                     .r'11  .,.-
                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                               :?$
                                                                                                                                                                                                                                                                                                 ,-;t
                                                                                                                                                                                                                                                                                                    l-
                                                                                                                                                                                                                                                                                                     F,d-
                                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                                        2
                                                                                                                                                                                                                                                                                                     ....
                                                                                                                                                                                                                                                                                                         '.
                                                                                                                                                                                                                                                                                                          fh
                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                           d;
                                                                                                                                                                                                                                                                                                            lë,
                                                                                                                                                                                                                                                                                                              1r.
                                                                                                                                                                                                                                                                                                                ji:
                                                                                                                                                                                                                                                                                                                  r'?
                                                                                                                                                                                                                                                                                                                    ., .
                                                                                                                                                                                                                                                                                                                       - ';
                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                          k.
                                                                                                                                                                                                                                                                                                                           :, t
                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                              y!.
                                                                                                                                                                                                                                                                                                                                r           ..--j lh
                                                                                                                                                                                                                                                                                                                                                   2:
                                                                                                                                                                                                                                                                                                                                                    kl
                                                                                                                                                                                                                                                                                                                                                     ,7.  1..1
                                                                                                                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                                                                                                                                             k1
                                                                                                                                                                                                                                                                                                                                                             ,  ;
                                                                                                                                                                                                                                                                                                                                                                '-
                                                                                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                                                                                                 .4
                                                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                                                                                                                   .j:
                                                                                                                                                                                                                                                                                                                                                                     .y
                                                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                                      ?1r'
                                                                                                                              -.                                           .
                                                                                                                                                                                                                                                                                                                                 j1
                                                                                                                                                                                                                                                                                                                                  :.E't:1ëyrj
                       ''
                        '1
                         ',.j-'-    J ip'i               '''' j                                kèn                                                                                                                                                                                                                                                                                                                  !I1p,
                                                                                                                                                                                                                                                                                                                                                                                                                        !
                                                                                                                                                                                                                                                                                                                                                                                                                        ';..' '
                                                                                                                                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                              -  -.
                                                                                                                                                                                                                                                                                                                                                                                    .j
                                                                                                                                                                                                                                                                                                                                                                                     Ik-,
                                                                                                                                                                                                                                                                                                                                                                                       . t6
                                                                                                                                                                                                                                                                                                                                                                                         l '
                                                                                                                                                                                                                                                                                                                                                                                           r!
                                                                                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                            i'
                                                                                                                                                                                                                                                                                                                                                                                             . ;
                                                                                                                                                                                                                                                                                                                                                                                               IL
                                                                                                                                                                                                                                                                                                                                                                                                ''-
                                                                                                                                                                                                                                                                                                                                                                                                  .f.
                                                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                                                    .1
                                                                                                                                                                                                                                                                                                                                                                                                     '( 1
                                                                                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                                                        .51;
                                                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                                                           '.
                                                                                                                                                                                                                                                                                                                                                                                                            !
                                                                                                                                                                                                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                                                                                                                                                                                            Fë1
                                                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                                                              .;1r:1
                                                                                                                                                                   .... .......;                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                                         fk.r l.
                                                                                                                                                                                                                                                                                                                                                                               r-'..
                                                                                                                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                                                                                                                                                         .-.';
                                                                                                                   .    .  .                                                       .   .
                                                                                                                                                                                                                                                                                                                                         ::.lt;
                                                                                                             . ... . .. -                    .
                                                                                                                                          ...... ..                                  .. ..   -                                                                                                      -..
                                                                                                                                                                                                                                                                                                    .
                     '''E  '
                           !'                                                           . '.'?.%''. ....                                                                                                                                                                                     . ..                            .                                        ..
                                                                                                                                     /'''z'jjr.....!
                                                                                                                                         F                                                                                                            ..rj :          t,#:.y.=.'...''mt'        y'
                                                                                                                                                                                                                                                                                                 : '..      'ï.
                                                                                                                                                                                                                                                                                                              ''r.J.     'quk,,? ,''J
                                                                                                                                                                                                                                                                                                                             . .. .
                                                                                                                                                                                                                                                                                                                                      ''.                       .  :                            ,.          :
                                                                                                                                                    u-..411..e.F'-.;'e..:..<..,i   ç .:::...L,<z.'             .)
                                                                                                                                                                                                                :j
                                                                                                                                                                                                                 ;1 t.  :.!'     k
                                                                                                                                                                                                                                t,:   .   .;:j. r4..r
                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                  ';'
                       'E
                            .
                        .1..' :
                            ;;@ ,
                                -
                               !i(y
                                   #
                                   j .1Eî  q3
                                            :':1
                                               .5;1
                                                  )'r
                                                    ;l .'
                                                        t '
                                                          rl  ë,.-pl
                                                                   $;
                                                                    t
                                                                    -
                                                                    .il
                                                                      jk
                                                                       y'-
                                                                         j+
                                                                          :' -!<
                                                                               -$'..'
                                                                                    t
                                                                                    +;
                                                                                     .?
                                                                                      i,
                                                                                       ..'4
                                                                                          .j
                                                                                           k.
                                                                                            -/
                                                                                             '
                                                                                             j
                                                                                             .t
                                                                                              ...
                                                                                                .-
                                                                                                 .a
                                                                                                  '.'
                                                                                                    ;1.'
                                                                                                       .r'
                                                                                                         .
                                                                                                         1yë,
                                                                                                            '
                                                                                                            ,4 )
                                                                                                               -
                                                                                                               .'),
                                                                                                                  ..
                                                                                                              . : !
                                                                                                                   9,
                                                                                                                    4- $
                                                                                                                       1-
                                                                                                                        :.-'
                                                                                                                           .,kl' t-
                                                                                                                                  ,E
                                                                                                                                   iê
                                                                                                                                    ,'
                                                                                                                                     ..,
                                                                                                                                          ' ''
                                                                                                                                        t:l..r !
                                                                                                                                               . f.k
                                                                                                                                                   ,''
                                                                                                                                                                               '!t
                                                                                                                                                                                 r  l
                                                                                                                                                                                    . ., d
                                                                                                                                                                                         1'. . l
                                                                                                                                                                                               1r' ti .
                                                                                                                                                                                                      '
                                                                                                                                                                                                      tk
                                                                                                                                                                                                       - .
                                                                                                                                                                                                         E 1
                                                                                                                                                                                                           ë ! t              ,,
                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                               j
                                                                                                                                                                                                                               :bfL
                                                                                                                                                                                                                                 .    .'     :
                                   ::.                                                                                                                                                                           t,iE
                                                                                                                                                                                                                  :                                                                         -''
                     fd
                      .         .'
                                ' .  ,!.. .
                                       ::
                                      .pi:0k
                                          .
                                         .. .     .   ;.
                                                       ,
                                                       ....  !         .          :   .    . -                .. . ... ..........E               t. .'                          .
                                                                                                                                                                                .... .
                                                                                                                                                                                   ..  .
                                                                                                                                                                                       . .. ( . ,L.   ,
                                                                                                                                                                                  fL ...... ....c,. ,.y.         .
                                                                                                                                                                                                                 -   :.
                                                                                                                                                                                                                      ;,
                                                                                                                                                                                                                       .
                                                                                                                                                                                                                      .L
                                                                                                                                                                                                                      : j
                                                                                                                                                                                                                        .
                                                                                                                                                                                                                        .r
                                                                                                                                                                                                                         .I
                                                                                                                                                                                                                          'l
                                                                                                                                                                                                                           .
                                                                                                                                                                                                                           .1
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            g,ù-. .4; .
                                                                                                                                                                                                                                  ;.. .ly .tj
                                                                                                                                                                                                                                            :y
                                                                                                                                                                                                                                              -r
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                              ;'.
                                                                                                                                                                                                                                              g.
                                                                                                                                                                                                                                                dk.
                                                                                                                                                                                                                                                  -/.,
                                                                                                                                                                                                                                                     :4-k.,1  1
                                                                                                                                                                                                                                                              ..)
                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                    r;
                                                                                                                                                                                                                                                                     )t.
                                                                                                                                                                                                                                                                       %,.     o..r .
                                                                                                                                                                                                                                                                                    .I
                                                                                                                                                                                                                                                                                     yl
                                                                                                                                                                                                                                                                                      y,
                                                                                                                                                                                                                                                                                       )$
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                        .i
                                                                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                         .,q
                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                           .'
                                                                                                                                                                                                                                                                                            p:-
                                                                                                                                                                                                                                                                                             .,
                                                                                                                                                                                                                                                                                              -1
                                                                                                                                                                                                                                                                                               ..-1
                                                                                                                                                                                                                                                                                                  c )!
                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                     . .
                                                                                                                                                                                                                                                                                                       4
                                                                                                                                                                                                                                                                                                       .91
                                                                                                                                                                                                                                                                                                         ,E
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                          ,k
                                                                                                                                                                                                                                                                                                           12
                                                                                                                                                                                                                                                                                                            q'
                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                             bIt
                                                                                                                                                                                                                                                                                                               .y
                                                                                                                                                                                                                                                                                                                yr
                                                                                                                                                                                                                                                                                                                 )
                                                                                                                                                                                                                                                                                                                 a't
                                                                                                                                                                                                                                                                                                                   d
                                                                                                                                                                                                                                                                                                                   .y
                                                                                                                                                                                                                                                                                                                    .!
                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                     . t '
                                                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                                         -   $'
                                                                                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                              ,            .r
                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                            .l
                                                                                                                                                                                                                                                                                                                                             -yd
                                                                                                                                                                                                                                                                                                                                               .y
                                                                                                                                                                                                                                                                                                                                                .z
                                                                                                                                                                                                                                                                                                                                                 .2
                                                                                                                                                                                                                                                                                                                                                  .,
                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                   ï9
                                                                                                                                                                                                                                                                                                                                                    :-
                                                                                                                                                                                                                                                                                                                                                     i1q.
                                                                                                                                                                                                                                                                                                                                                        ,ï.
                                                                                                                                                                                                                                                                                                                                                          .t
                                                                                                                                                                                                                                                                                                                                                           ;(
                                                                                                                                                                                                                                                                                                                                                            .r
                                                                                                                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                                             ;,d
                                                                                                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                                                                                                                                               .j
                                                                                                                                                                                                                                                                                                                                                                ;,.
                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                  .- ,
                                                                                                                                                                                                                                                                                                                                                                     r
                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                     .; 5'
                                                                                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                                                                                         .;'
                                                                                                                                                                                                                                                                                                                                                                           ..'
                                                                                                                                                                                                                                                                                                                                                                             ..:
                                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                                               ..nI
                                                                                                                                                                                                                                                                                                                                                                                  . r!
                                                                                                                                                                                                                                                                                                                                                                                    .<;k
                                                                                                                                                                                                                                                                                                                                                                                       -...
                                                                                                                                                                                                                                                                                                                                                                                        ,E
                                                                                                                                                                                                                                                                                                                                                                                         r
                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                        .:
                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                                          ï
                                                                                                                                                                                                                                                                                                                                                                                          à
                                                                                                                                                                                                                                                                                                                                                                                          Lk.
                                                                                                                                                                                                                                                                                                                                                                                           Sr
                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                            ?h.
                                                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                                             .  kp
                                                                                                                                                                                                                                                                                                                                                                                                 'E
                                                                                                                                                                                                                                                                                                                                                                                                  .L.
                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                   . -
                                                                                                                                                                                                                                                                                                                                                                                                     :,
                                                                                                                                                                                                                                                                                                                                                                                                      r
                                                                                                                                                                                                                                                                                                                                                                                                      7
                                                                                                                                                                                                                                                                                                                                                                                                      . k
                                                                                                                                                                                                                                                                                                                                                                                                        ','
                                                                                                                                                                                                                                                                                                                                                                                                         : t
                                                                                                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                            .1)
                                                                                                                                                                                                                                                                                                                                                                                                              ..'
                                                                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                                                                               .  ,
                                                                                                                                                                                                                                                                                                                                                                                                                  ë
                                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                                  .;t;
                                                                                                                                                                                                                                                                                                                                                                                                                     .:4
                                                                                                                                                                                                                                                                                                                                                                                                                      . r.
                                                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                                                                                          u..'..
                                                                                                                                                                                                                                                                                                                                                                                                                              .- 'é'     -  i
                      i
                      's:..x.... .
                       -     .1k.L
                                 i;I
                                   j1- î: 1:.j1..j1       8.
                                                           0 s
                                                             l
                                                             ,
                                                             .p.
                                                               ;'
                                                                I
                                                                kl
                                                                 -
                                                                 .y
                                                                  .
                                                                  k'
                                                                   E
                                                                   d:
                                                                    .
                                                                    k.
                                                                     .1
                                                                     j
                                                                     :6k
                                                                      .-. k:
                                                                         ii
                                                                         j  :'
                                                                           ,'
                                                                           :
                                                                           k ,'
                                                                             't:
                                                                              .
                                                                              F
                                                                                 ,
                                                                                  :''.
                                                                               k'ik
                                                                               l       'i'
                                                                                      ';
                                                                                      ï   .
                                                                                          i'
                                                                                          99j
                                                                                            -E
                                                                                             ...
                                                                                               j
                                                                                               i)
                                                                                                .)
                                                                                                 ,'
                                                                                                  I.
                                                                                                              ..
                                                                                                       :.aa'x,;:'jl     .
                                                                                                                             !
                                                                                                                             1!$g
                                                                                                                               ti.       .p ,
                                                                                                                                       ?'..!.!3g       ,.
                                                                                                                                                        1-. (t .r        k.j...>(
                                                                                                                                                                          .j ....:
                                                                                                                                                                                 ..z.:...  ksy.:   ;.t y..y.gjL ;:                     ),L j   .    .                                                .                                  .                                                 .
                                             ;l
                                              .k
                     LC
                     i                                                                                                     -            .. ,                                                                                                       ,,.y. -'' '-      ' $.    ' . zs
                      d
                      - i1
                         k.1
                           I'
                            2'
                          . ,.. .    ..... .. .'
                                        -      ï-
                                                i:.
                                                  -.
                                                   ;,       .             . '' '
                                                                         ..                  -   .
                                                                                                 - t
                                                                                                   .
                                                                                                   k1 -
                                                                                                      tik
                                                                                                        ii
                                                                                                         kr
                                                                                                          ,t1.l-
                                                                                                               r'11 1
                                                                                                                    .2''
                                                                                                                       :
                                                                                                                       ,.  ::jr  tj
                                                                                                                                  7
                                                                                                                                  ,.2
                                                                                                                                    1:12:
                                                                                                                                        59-lr: 1 ''
                                                                                                                                                 -14-1
                                                                                                                                                     rk      :
                                                                                                                                                           ' ,
                                                                                                                                                              y
                                                                                                                                                              '-,
                                                                                                                                                                '
                                                                                                                                                                ëtF
                                                                                                                                                                  E
                                                                                                                                                                  ,i,
                                                                                                                                                                    j '
                                                                                                                                                                      .
                                                                                                                                                                      $ '.;
                                                                                                                                                                          - (
                                                                                                                                                                            . !
                                                                                                                                                                              .Ikl
                                                                                                                                                                                 ')L
                                                                                                                                                                                   .
                                                                                                                                                                                    l
                                                                                                                                                                                    ti;1
                                                                                                                                                                                       yù(
                                                                                                                                                                                         .!
                                                                                                                                                                                          1-
                                                                                                                                                                                           F'1I-
                                                                                                                                                                                               r-''t    .
                                                                                                                                                                                                         i
                                                                                                                                                                                                         j.
                                                                                                                                                                                                           t 2 I
                                                                                                                                                                                                               j;)
                                                                                                                                                                                                                 1Ir1r
                                                                                                                                                                                                                     I.     -lL
                                                                                                                                                                                                                              d.t?
                                                                                                                                                                                                                                 6;
                                                                                                                                                                                                                                  ,:
                                                                                                                                                                                                                                   .       ..' -
                                                                                                                                                                                                                                               .-
                                                                                                                                                                                                                                                f--jy
                                                                                                                                                                                                                                                    I:
                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                     .I!:
                                                                                                                                                                                                                                                        )Il -'b'r
                                                                                                                                                                                                                                                                j:;;
                                                                                                                                                                                                                                                                   i.
                                                                                                                                                                                                                                                                    ,;
                                                                                                                                                                                                                                                                     '-
                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                      :12                     .
                                                                                                                                                                                                                                                                                              - ''
                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                 ,q
                                                                                                                                                                                                                                                                                                  r
                                                                                                                                                                                                                                                                                                  -.
                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                   tk :
                                                                                                                                                                                                                                                                                                      .,
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                       .'
                                                                                                                                                                                                                                                                                                        -i
                                                                                                                                                                                                                                                                                                         4
                                                                                                                                                                                                                                                                                                         ï                                 .u. .. a.r tjs.
                                                                                                                                                                                                                                                                                                                                                         ,,.,.
                                                                                                                                                                                                                                                                                                                                                             ...
                                                                                                                                                                                                                                                                                                                                                               : x
                                                                                                                                                                                                                                                                                                                                                                 . ., .. z
                                                                                                                                                                                                                                                                                                                                                                      ....,.tjy..kr
                                                                                                                                                                                                                                                                                                                                                                             r..
                                                                                                                                                                                                                                                                                                                                                                               .y           ...;r
                     .
                     ...... ,.. .....-....,. ...-.. .
                      zazJycvzk...'J'.
                     '. '
                                                                      . -,
                                                                       . . -. .-  .
                                                                      :t.tk.7''2'',.
                                                                                        -......,
                                                                                        .
                                                                                                 .
                                                                                                  ... . .. ..
                                                                                                a..
                                                                                                  $+.  >.'J.e..âç
                                                                                                                 . -
                                                                                                                    ;S
                                                                                                                     ;t
                                                                                                                     . : >-''-jky pk: oï
                                                                                                                     çL.- .-.. :t;.-,   .-
                                                                                                                                     --.-.. ..-
                                                                                                                                          . -
                                                                                                                                          -
                                                                                                                                                          7,.
                                                                                                                                                            j
                                                                                                                                                :. .-.,-.,..:    .--.-,..i
                                                                                                                                                           ' p) ''7; ''
                                                                                                                                                                         q
                                                                                                                                                                            .
                                                                                                                                                                         ....
                                                                                                                                                                            -.
                                                                                                                                                                                 .
                                                                                                                                                                                    .r .. h.;'.>
                                                                                                                                                                               --E..-.. -t
                                                                                                                                                                                                ;
                                                                                                                                                                                                -.  :
                                                                                                                                                                                                    1 )i
                                                                                                                                                                                                       1
                                                                                                                                                                                                ..--....
                                                                                                                                                                                              s,-       2    -
                                                                                                                                                                                                           . ..
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                      'lt
                                                                                                                                                                                                                        1.:à
                                                                                                                                                                                                                           I
                                                                                                                                                                                                                '''. rrs'(' '
                                                                                                                                                                                                                .   . ..,...-
                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                      rI:
                                                                                                                                                                                                                                        k
                                                                                                                                                                                                                                   );,.--(
                                                                                                                                                                                                                                  ..      11
                                                                                                                                                                                                                                           ':
                                                                                                                                                                                                                                            ':
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                            .-1.
                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                             ....--,
                                                                                                                                                                                                                                                    .      1
                                                                                                                                                                                                                                                           kk;.
                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                       ...,...-..-
                                                                                                                                                                                                                                                   .,..-
                                                                                                                                                                                                                                                                      . !.  ik -,
                                                                                                                                                                                                                                                                                .'
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                   -- ...,... . --8
                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                  .:.
                                                                                                                                                                                                                                                                                    -111::
                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                   -..-.,... -.
                                                                                                                                                                                                                                                                                          -1
                                                                                                                                                                                                                                                                                           '1
                                                                                                                                                                                                                                                                                       .....-r,
                                                                                                                                                                                                                                                                                              .11
                                                                                                                                                                                                                                                                                               . .. j
                                                                                                                                                                                                                                                                                                          ',
                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                       ' #:'t
                                                                                                                                                                                                                                                                                                            :1@:
                                                                                                                                                                                                                                                                                                               ;l.
                                                                                                                                                                                                                                                                                                                 -,8
                                                                                                                                                                                                                                                                                                                   !1
                                                                                                                                                                                                                                                                                                                    -?
                                                                                                                                                                                                                                                                                                                     ' -     .
                                                                                                                                                                                                                                                                                                                            .-.       ry . . r
                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                        ........ - .. ......-. . . . '-'.v.'..
                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                              11:'r
                                                                                                                                                                                                                                                                                                                                                  ,(:4
                                                                                                                                                                                                                                                                                                                                                     j,-I
                                                                                                                                                                                                                                                                                                                                                        tr.. .
                                                                                                                                                                                                                                                                                                                                                           lr,
                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                             r
                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                             :t:I
                                                                                                                                                                                                                                                                                                                                                                ;(titE 1i:1st
                                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                             .r.
                                                                                                                                                                                                                                                                                                                                                                               --.;    ,-.)
                                                                                                                                                                                                                                                                                                                                                                                  1r7:,9 '
                                                                                                                                                                                                                                                                                                                                                                                         I-
                                                                                                                                                                                                                                                                                                                                                                                          k--h
                                                                                                                                                                                                                                                                                                                                                                                             J :41.tlpri1E
                                                                                                                                                                                                                                                                                                                                                                                                  !         r.11.
                                                                                                                                                                                                                                                                                                                                                                                                              ,   .:
                                                                                                                                                                                                                                                                                                                                                                                                                ::, 11.)kt
                                                                                                                                                                                                                                                                                                                                                                                                                         llë.:
                     ;'
                      ji1'ç.1
                            4                 mtr     1
                                                      ,4: ..
                                                           kS   '.'
                                                       :''.''-.-.'' ï '. ' . -fï. .'--' -.'. - ' .'                                                                                                                                                                                                                                                    '...nj.'.,
                                                                                                                                                                                                                                                                                                                                                                t:
                                                                                                                                                                                                                                                                                                                                                                 r,
                                                                                                                                                                                                                                                                                                                                                                  :j
                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                   :i...qEi.    ,.:)...' . .
                            tè:
                              ).
                               ,
                               1
                               -ér
                                 .4
                                  9
                                  #.
                                                - .'                                                                                                                                              ... r '''' '.''... .><..
                                                    .:  ti
                                                        -.i
                                                         :                                                                                               k-f
                          .'
                     j
                     '                                                                                                                                                                                                                                v ..';'.'.'Ji...- -'''i                                   ;ë.-          t.c.yy;q,k'y.                                    ,
                                                                                                                                                                                                                                                                                                                                                                               ?;
                                   t11
                                     é2
                                      -1
                                       .1
                                        .                                                                                                                                                                                                                                             ' ...- :.. '.' ,' '- '
                                                                                                                                                                   '                 ''
                                        Eq,I
                      ..-. .- .. .. . ....ër'.
                                             'c
                                             CIlu
                                              1 $1
                                                 ..
                                                  -.         .?.2...'
                                                               )      kq
                                                                       -j,
                                                                       k  f-711
                                                                              -7 ':11#t
                                                                                1!
                                                                  g-<...-..-. ....-...--lë,
                                                                                       -,
                                                                                        .j
                                                                                         . $211.1q
                                                                                          r.       !..
                                                                                                 Iki '3ï
                                                                                                     ;  '1:.rjr!
                                                                                                            !
                                                                                                            '   ).:ï
                                                                                            --. ... . .. . . . --  :'.
                                                                                                                     t.!i'
                                                                                                                       :   L.à
                                                                                                                         t')
                                                                                                                         i    i-3
                                                                                                                              ' -f
                                                                                                                                 L
                                                                                                                                 .::
                                                                                                                                   k1
                                                                                                                                    r,r it,.
                                                                                                                                      ;t!   t:j,,-!ik
                                                                                                                                            1          ;!p   I
                                                                                                                                                      . .. . .iq
                                                                                                                                                               .!.
                                                                                                                                                                 ytk)
                                                                                                                                                                  ' t?Ii.-    $'
                                                                                                                                                                              ;k-
                                                                                                                                                                                .1g.
                                                                                                                                                                                i    î
                                                                                                                                                                                   t:,
                                                                                                                                                                                   l ''
                                                                                                                                                                                      #flt-.
                                                                                                                                                                                      . .; ..r
                                                                                                                                                                                            s.
                                                                                                                                                                                             I'
                                                                                                                                                                                             ',)
                                                                                                                                                                                              I-.
                                                                                                                                                                                               ' d
                                                                                                                                                                                                 '
                                                                                                                                                                                                i:2
                                                                                                                                                                                                  It
                                                                                                                                                                                                   -q l
                                                                                                                                                                                                      I2.-1  . 1 ;)t:)
                                                                                                                                                                                                                )I   i;.
                                                                                                                                                                                                                     .k
                                                                                                                                                                                                                     - :I
                                                                                                                                                                                                                        lr:kë?1
                                                                                                                                                                                                                              .2-l
                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                 .-.1
                                                                                                                                                                                                                                    :.1     '
                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                            rCl
                                                                                                                                                                                                                                              i!:,:;!  k,
                                                                                                                                                                                                                                                    'EtI-i
                                                                                                                                                                                                                                                         -'l  15$-
                                                                                                                                                                                                                                                                 ,!'
                                                                                                                                                                                                                                                                 ?   ;:;
                                                                                                                                                                                                                                                                   !ri i-(.1-    k;ttil;-
                                                                                                                                                                                                                                                                                        ï;
                                                                                                                                                                                                                                                                                         '..dt:r'','l
                                                                                                                                                                                                                                                                                                 7  ;(
                                                                                                                                                                                                                                                                                                     ii1
                                                                                                                                                                                                                                                                                                       :,;
                                                                                                                                                                                                                                                                                                         .-
                                                                                                                                                                                                                                                                                                          l'
                                                                                                                                                                                                                                                                                                           jr
                                                                                                                                                                                                                                                                                                            '7ly7'bii.E.;.k
                                                                                                                                                                                                                                                                                                                          'i(L
                                                                                                                                                                                                                                                         si k.2                                                 1:                                                 1
                                          .                                                                                                         .-                                                 t     . ... . . --                                                       h,                                           :;
                                                                                                                                                                                                                                                                                                                              g
                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                              1.
                                                                                                                                                                                                                                                                                                                              . !:.
                                                                                                                                                                                                                                                                                                                                  1,ù,-
                                                                                                                                                                                                                                                                                                                                      71.4   ik
                                                                                                                                                                                                                                                                                                                                              ilLë  t
                                                                                                                                                                                                                                                                                                                                                    'T1                                        ,
                                                                                                                                                                                                                                                                                                                                                                                               '$
                                                                                                                                                                                                                                                                                                                                                                                                -.i
                                                                                                                                                                                                                                                                                                                                                                                                  l
                                           '.          .,
                                                        .;
                                                         $.L   ..ë                                                                                                                                                                                                                                                                        2
                                                                                                                                                                                                                                                                                                                                          :1:          $;?,
                                                                                                                                                                                                                                                                                                                                                          3.
                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                           ,1:
                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                             1jk4$;
                                                                                                                                                                                                                                                                                                                                                                  L   1)
                                                                                                                                                                                                                                                                                                                                                                       ls
                                                           .. .-                           .;
                                                                                            .                                                                                     ..,                                                                          .-
                                                                 ..                        .
                                                                                         ,-. .-  , . ,,       .i
                                                                                                               -.-.,--E.-. ..
                                                                                                                            ...    .
                                                                                                                                   -..: .w.
                                                                                                                                          ..... -.-:    .
                                                                                                                                                        ... . -   J   ..-
                                                                                                                                                                        ' ...
                                                                                                                                                                            .   .
                                                                                                                                                                                -.   ...
                                                                                                                                                                                       . , ..-          .  ..
                                                                                                                                                                                                          ... . . ........ ... .. .-                .. ...       .- ..            .
                                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                               .... .... .. .,- .,-.-..--,-..---
                                                                                                                                                                                                                                                               t                                                .:
                                                                                                                                                                                                                                                                                                          ...-... ,     . ..
                                                                                                                                                                                                                                                                                                                           ,,.
                                                                                                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                                                                                                             ,  ,,
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                          .:
                                                                                                                                                                                                                                                                                                                                           .     .;
                                                                                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                                                                            -- ,. .
                                                                                                                                                                                                                                                                                                                                            yq;    ...
                                                                                                                                                                                                                                                                                                                                                      .;     .  ..    .:ë
                                                                                                                                                                                                                                                                                                                                                                        -1
                                                                                                                                                                                                                                                                                                                                                                         a
                                                                                                                                                                                                                                                                                                                                                                         Et
                                                                                                                                                                                                                                                                                                                                                                          'it,-
                                                                                                                                                                                                                                                                                                                                                                              ;1
                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                               ;I
                                                                                                                                                                                                                                                                                                                                                                                :k
                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                 .r. :
                                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                                     .,
                                                                                                                                                                                                                                                                                                                                                                                      kt
                                                                                                                                                                                                                                                                                                                                                                                       p
                                                                                                                                                                                                                                                                                                                                                                                       .1
                                                                                                                                                                                                                                                                                                                                                                                        ?t
                                                                                                                                                                                                                                                                                                                                                                                         p
                                                                                                                                                                                                                                                                                                                                                                                         ,p
                                                                                                                                                                                                                                                                                                                                                                                          ?
                                                                                                                                                                                                                                                                                                                                                                                          .))
                                                                                                                                                                                                                                                                                                                                                                                            r
                                                                                                                                                                                                                                                                                                                                                                                            1. a :. yë-
                                                                                                                                                                                                                                                                                                  ' ' ' .-               .,.-: ,-   .. -             - 2:
                                                                                                  ''                                                                                                                                                                                                                 .,..                4. .r 7 <!
                      r' ''i1'.   ''T'>'''.
                                           .q1w*t'F'.'$:tjts'y4tt-,I'''j                          e.. ., :'':#''                                                                                                                                   k'.'a'.   6. ç.'' $:<E :                     /?.'':.'
                                                                                                                                                                                                                                                                                                       .<
                                                                                                                                                                                                                                                                                                        .w''..'i.':L'
                                                                                                                                                                                                                                                                                                                    L.;:.'''''                                          '2..''
                     -?  ' ,: - '' .                       . J.            'V:J''..'.                                        î''': .t'':< j.'' . :....:...:                            ''                                                  '
                                                                                                                                                                                                                                             ...: d sEp ''' ' ' .19                              7      :                        '
                                                                                                                                                                                                                                   , !2                                                          .'
                                                                                                                                                                                                                 '11),...l1!.t:F-11!(L-.t.i;-t 1
                                                                                                                                                                                         .é                                                                                                                                         2. .7: ,*''
                          $(@9(:
                               u!1,,
                                 ;-
                                  f  .f1
                     . . .... ' '' . .: '-
                                     '    '              ..
                                                       ... .
                                                          -.               I':
                                                                            i  à-
                                                                                .111-1.1kb3:t-11r.) <t1k t-.t :':..'114ë1.
                                                                                    ,,           .-  7'                          . .-                   1)- .r
                                                                                                                                                             2tf'l  ' -
                                                                                                                                                                        .kl t
                                                                                                                                                                            p s.r
                                                                                                                                                                               d  ;?f,
                                                                                                                                                                                     .!
                                                                                                                                                                                      -5!
                                                                                                                                                                                        .j
                                                                                                                                                                                         l-.
                                                                                                                                                                                           k!?-          ,.,.,.., . .                                          '.. .
                                                                                                                                                                                                                                                                        1e.     -.-;  '11 ..
                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                          4  ;
                                                                                                                                                                                                                                                                                             'k,  .:  :. ..             -           .          . :J'E    ér '! r.:
                                                                                                                                                                                                                                                                                                                                                      :.;....
                                                                                                                                                                                                                                                                                                                                                      '
                                 .
                                 -
                     .-.. ..,.-.,:          -,..,..-; .,.....--; ....-. .,. -.:-.--r...-.,,--,-:,--.. .. -                    . .
                                                                                                                                        . :
                                                                                                                                    .. ...     .L-               -. -                     -
                                                                                                                                                                       .........-... .. .. ...  @'
                                                                                                                                                                                                 k'kj(.
                                                                                                                                                                                                  k'   tt
                                                                                                                                                                                                        y1
                                                                                                                                                                                                         -
                                                                                                                                                                                                           1r:        .
                                                                                                                                                                                                                     ..- . - .....                           ..-     -;.          î'. .
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                    ':
                                                                                                                                                                                                                                                                                                   .'
                                                                                                                                                                                                                                                                                                    .  ., .
                                                                                                                                                                                                                                                                b.... -..$.-.., ,,,-..-.-..k.... .. . :,                    i1:
                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                              ' (
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                                                                                     ..- . .. .,.--,,ë-..,.1jili
                                                                                                                                                                                                                                                                                                                                             , .    (
                                                                                                                                                                                                                                                                                                                                                   '.
                                                                                                                                                                                                                                                                                                                                                   . '
                                                                                                                                                                                                                                                                                                                                                    .' .:
                                                                                                                                                                                                                                                                                                                                                     -,
                                                                                                                                                                                                                                                                                                                                                      .i
                                                                                                                                                                                                                                                                                                                                                       'lk!
                                                                                                                                                                                                                                                                                                                                                          ,sF)14j1-
                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                          -..,.-r.     7;
                                                                                                                                                                                                                                                                                                                                                                        )#
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         :;.--j1
                                                                                                                                                                                                                                                                                                                                                                          '         ji4  .1           .
      Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 12 of 114
                                                                  1
                                                                  '
                                                                  1
                                                                  '
                                                                  -'1!
                                                                   1 ;
                                                                     ï
                                                                     k
                                                                     ;;
                                                                      l
                                                                      I
                                                                      '
                                                                      1
                                                                      p
                                                                      !.'
                                                                        .
                                                                        ,
                                                                        .
                                                                        '
                                                                        ,
                                                                        -
                                                                        .6
                                                                         :E
                                                                         .
                                                                         ''-
                                                                           .-
                                                                            .
                                                                            ''
                                                                             ë
                                                                             -
                                                                             .
                                                                             '
                                                                             :è
                                                                              '-
                                                                               ''
                                                                                ,
                                                                                --
                                                                                . .
                                                                                  '
                                                                                  -
                                                                                  '
                                                                                  :
                                                                                  (;
                                                                                   4
                                                                                   j
                                                                                   5
                                                                                   :
                                                                                   '
                                                                                   ,
                                                                                   -
                                                                                   1
                                                                                   j
                                                                                   !4
                                                                                    2
                                                                                    1
                                                                                    :
                                                                                    ,
                                                                                    .
                                                                                    '
                                                                                    t
                                                                                    :j
                                                                                    ((
                                                                                     .
                                                                                     j
                                                                                     .
                                                                                     'j
                                                                                      -
                                                                                      ,
                                                                                      !
                                                                                      l
                                                                                      ,
                                                                                      j
                                                                                      '-
                                                                                       '
                                                                                       -




oj:




                               1
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 13 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 14 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 15 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 16 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 17 of 114
        Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 18 of 114




            '
            7q
             ..
             W
             )  !
                g
                jjjjj
                    .
                    j
                    h
                    ..
                    s I
                      j
                      .
                      4j
                       4
                       1'
                       '4
                        .
                        ;
                        ,
                        jj.
                          j
                          ,j
                           .
                           ,
                           j
                           y
                           (jj
                            :(
                             ,jj:,pijr!jj
                                ,..
                                .
                               .. ,,, . .
                                        ,
                                        g
                                        jA
                                         j,
                                         jj
                                          yj
            j:è
            D  rf.kàd
                   ' > i (t.
                           c
                           '
                           @
                           t
                           :
                           ,
                            ;!j
                              !
                              ).'.
                              .. '
                                 :
                              Ey!
                                i.Eh.
                                    ;.(




*




                                                                                    . ..,-.. --,.:
                                                                                    ''
                                                                                     !
                                                                                     (
                                                                                     '
                                                                                     4I
                                                                                      L'
                                                                                      ï
                                                                                      f.,
                                                                                        j.
                                                                                       r.
                                                                                        :,
                                                                                         '
                                                                                         .
                                                                                         t-
                                                                                          .
                                                                                         ..
                                                                                          4
                                                                                          ;
                                                                                          '
                                                                                          :.
                                                                                           jy
                                                                                           3
                                                                                           .
                                                                                           --
                                                                                            q
                                                                                            ,
                                                                                            .
                                                                                            y
                                                                                            .j
                                                                                      ï. .. ,
                                                                                    -.;
                                                                                     :       ,
                                                                                             t
                                                                                             ,
                                                                                             j
                                                                                             i
                                                                                             L
                                                                                             :
                                                                                             -
                                                                                             3
                                                                                             .b

    *
                Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 19 of 114

  ..
  :    zk.   ..gkk.F.    +.k..:0
                         '     ''
                                t  .'.
:
iv
 tç.
   ,.     t*.
       ';Lt
    ..<.    ùY'.'   -..*
                ptl..  .
                       4   ,..
                       ..A.:    .
                                .?
                                 ,'-i
                                 '  ..
                                     '




                                                                                                       *
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 20 of 114




                                                                                                           *




                                                                                                       *




                                                               ,:.
                                                                 êk
                                                               ë
                                                               (
                                                               i
                                                               é
                                                               é
                                                               )
                                                               :
                                                               .
                                                               !
                                                               .'
                                                                ,
                                                                r
                                                                E
                                                                l
                                                                .
                                                                ;
                                                                I!
                                                                 7
                                                                 :
                                                                 t
                                                                 1
                                                                 I7
                                                                  :
                                                                  .
                                                                  '
                                                                  -
                                                                  .
                                                                  -
                                                                  .1
                                                                   -
                                                                   .)
                                                                   .1
                                                                    9
                                                                    -
                                                                    . :
                                                                     it
                                                                      '
                                                                      1
                                                                      ,l
                                                                      .I
                                                                       -
                                                                       k
                                                                       '
                                                                       :k
                                                                        ;
                                                                        E1
                                                                         -I
                                                                         'r
                                                                          è
                                                                          ii
                                                                          -1
                                                                           !
                                                                           l
                                                                           .1
                                                                            .I:
                                                                              j
                                                                             .d
                                                                             '
                                                                              1
                                                                              .8'
                                                                               1-
                                                                               .;
                                                                                1
                                                                                :
                                                                                *
                                                                                r
                                                                                .
                                                                                i
                                                                                -
                                                                                h
                                                                                :
                                                                                .,
                                                                                 <.
                                                                                 -
                                                                                 s
                                                                                 .
                                                                      .. ,-....-.-
                                                                      .t
                                                                       -   .- ?
                                                                              -
                                                                              ë   -
                                                                                  ,
                                                                                  11
                                                                                  .
                                                                                  -
                                                                                 ,-)
                                                                                   :xy
                                                                                   1:
                                                                                   .-
                                                                                    .
                                                                                    q-
                                                                                     .
                                                                                     -..-
                                                                                      .   :
                                                                                          1
                                                                                          ,
                                                                                          !
                                                                                          -
                                                                                        ....
                                                                                           !j
                                                                                            )
                                                                                            1
                                                                                            :
                                                                                            .<
                                                                                             )
                                                                                            -.
                                                                                           ..
                                                                                           . ,
                                                                                             -
                                                                                             C
                                                                                             :,
                                                                                              2
                                                                                              -
                                                                                              .
                                                                                              -l
                                                                                               d
                                                                                               .
                                                                                               ,
                                                                                               -
                                                                                               i
                                                                                               r
                                                                                               . g:
                                                                                                l.
                                                                                                 r.-
                                                                                                   .
                                                                                                   k
        Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 21 of 114




    o




*




                                 1
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 22 of 114




*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 23 of 114




                                                             .. L
                                                                n'
                                                             + ::




 *
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 24 of 114




                                                                                                                                                                        x.                                                          4.:.K4                                                                  zt'w.                                                        Nr
                                                                                                                                                                                                                                                                                                                                                                         :
            'r
             L '    ' '.9
                   ''           )':Y.eT;7*:d .
                                 ..                           :M''.;(    .''z:q- 'rvY@;a). 7'.r..xJ.t.'i      'ö/
                                                                                                                IYXJE
                                                                                                                    JG'9j
                                                                                                                        ''
                                                                                                                         . ''
                                                                                                                            .1zvz.>'             *J.9.''r:'4'   r.z:.t''.5'L.+<'.           '')'  t'..'
                                                                                                                                                                                                      31'...>!.'.'''x*1     :;<#'
                                                                                                                                                                                                                             -      v'  .':M.
           -
           '
           .
           ''-
             è     -Pl
             ?,r-: 9
             '     .-i
                          '
                        s-.17.--.,,;('1!.R,.e-.----1--k.--...e
                          ..
                              .
                              .
                            .. .
                                             '           .
                                                                r.-I-2-7I.'
                                                               ' ' '.
                                                             --,-.        /l
                                                                          ..t
                                                                            :
                                                                            ,
                                                                            '
                                                                            .,l
                                                                 ..... ..... .,
                                                                            f  L
                                                                               .
                                                                               ?;. $1
                                                                                      !'
                                                                                       .E
                                                                                      ' .
                                                                                         7'.1: 2
                                                                                               1
                                                                                              --
                                                                                               ..
                                                                                                b'Ir-'e-.p ..-
                                                                                                             0,.-.
                                                                                                               -   -;.-.
                                                                                                                       ,..-,-
                                                                                                                            .-1
                                                                                                                              . 2'.i-;.:-'C.-?.-'r '
                                                                                                                                                    '(ktr; IC
                                                                                                                                                            ;:
                                                                                                                                                             ;I
                                                                                                                                                              .k
                                                                                                                                                               r
                                                                                                                                                               1l
                                                                                                                                                                C7
                                                                                                                                                        . . . . ..)
                                                                                                                                                                  - :
                                                                                                                                                                    '
                                                                                                                                                                    ....-,   )u
                                                                                                                                                                             .
                                                                                                                                                                                   '
                                                                                                                                                                                ---r -$
                                                                                                                                                                                          - %m '
                                                                                                                                                                                           ''
                                                                                                                                                                                                    -... .-
                                                                                                                                                                                                      -.;à -i
                                                                                                                                                                                                           '
                                                                                                                                                                                                          -.ït1-1.:.:1
                                                                                                                                                                                                             .-
                                                                                                                                                                                                              .
                                                                                                                                                                                              . . . . ..... .. ...-..
                                                                                                                                                                                             -.                      :'
                                                                                                                                                                                                                      I2-----.--,-3-3.,-3-br)r'-j
                                                                                                                                                                                                                       t
                                                                                                                                                                                                                       s  ' ..
                                                                                                                                                                                                                                                 .y
                                                                                                                                                                                                                                                --'J
                                                                                                                                                                                                                                                   $
                                                                                                                                                                                                                                                   Ci
                                                                                                                                                                                                                                                    I  L 3 1R.
                                                                                                                                                                                                                                                             11.i
                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                       .- - ., t- '
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                   E':
                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                     'v
                                                                                                                                                                                                                                                                      C.
                                                                                                                                                                                                                                                                       2'é
                                                                                                                                                                                                                                                                         F
                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                         c*t16 ' 2 t
                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                   . :
                                                                                                                                                                                                                                                                                     ' :P.o'
                                                                                                                                                                                                                                                                                           -za.'J'.:. n'    ....
                                                                                                                                                                                                                                                                                                               ,<
                                                                                                                                                                                                                                                                                                                -.-
                                                                                                                                                                                                                                                                                                                  '(.
                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                    t.
                                                                                                                                                                                                                                                                                                                     ï
                                                                                                                                                                                                                                                                                                                     r
                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                     !J
                                                                                                                                                                                                                                                                                                                      1'
                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                       i.
                                                                                                                                                                                                                                                                                                                        ''
                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                        t
                                                                                                                                                                                                                                                                                                                        - -:
                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                            >
                                                                                                                                                                                                                                                                                                                            .'. 'jy
                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                                                                                                  -v-1
                                                                                                                                                                                                                                                                                                                                    .      i
                                                                                                                                                                                                                                                                                                                                           -  '
                                                                                                                                                                                                                                                                                                                                              11  '
                                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                                  ;;
                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                   '''
                                                                                                                                                                                                                                                                                                                                                    e .'
                                                                                                                                                                                                                                                                                                                                                       f
                                                                                                                                                                                                                                                                                                                                                       X
                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                       ' /
                                                                                                                                                                                                                                                                                                                                                         '.   P''.:
                                                                                                                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                   1.
                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                    7
                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                    1'
                                                                                                                                                                                                                                                                                                                                                                     s'*
                                                                                                                                                                                                                                                                                                                                                                     . '
                                                                                                                                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                       E
                                                                                                                                                                                                                                                                                                                                                                       t.'
                                                                                                                                                                                                                                                                                                                                                                         t
                                                                                                                                                                                                                                                                                                                                                                         !
                                                                                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                                                                                                                                         '(
                                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                                                                                                                          't
                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                           ')
                                                                                                                                                                                                                                                                                                                                                                            1.
                                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                                                                             E'
                                                                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                                                                              2
                                                                                                                                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                                                                                              .-
                                                                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                                                                               rj
                                                                                                                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                                                                                                                                Y
                                                                                                                                                                                                                                                                                                                                                                               12
                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                                .jt
                                                                                                                                                                                                                                                                                                                                                                                 .
                   -'
                                        .
                           ''''' '' ' '''''''''''''
                                                    .    . .   .. .
                                                               @?
                                                          ' '' '' ''   .,
                                                                        u.
                                                                         t     -   . ' '''
                                                                                          -
                                                                                         ...      -k  2
                                                                                                      -                       -...              . ... . .
                                                                                                                                                 ,... q
                                                                                                                                            '''' '''    '' ' '
                                                                                                                                                                .
                                                                                                                                                                -.   ... .
                                                                                                                                                                    ..
                                                                                                                                                                     ''
                                                                                                                                                                           . . ... .....
                                                                                                                                                                             -
                                                                                                                                                                              -x.
                                                                                                                                                                                i      '      - ---- .    ' .        -
                                                                                                                                                                                                                     d
                                                                                                                                                                                                                     F.
                                                                                                                                                                                                                      .z   '... .
                                                                                                                                                                                                                           -            '       ';-E2                                          ''
                                                                                                                                                                                                                                                                                                k;k:t.                         ''. f:''' - '<''                     L' !.'.
                                                                                                                                                                                                                                                                                                                                                                          ''''
                   -- ë '
                   ,      '        . .?
                                      .
                                      .t
                                       'k
                                        b
                                        -i'3
                                           '
                                          b.
                          -. ... . .. . ... tt3. ;'
                                                  .     '
                                                        '
                                                         ?
                                                         à
                                                         ,
                                                        -'
                                                       .-.b
                                                          -
                                                          .
                                                           ;
                                                           ' L
                                                             :
                                                             -?
                                                              .
                                                              'b
                                                               ,
                                                               'L
                                                                '
                                                             '.. '
                                                          . ..     ï''' -'. .
                                                                     '(
                                                                     . :
                                                                       .-.
                                                               ... ..... .4
                                                                          '1'
                                                                            ,
                                                                            -j
                                                                             .;
                                                                              k,.i:
                                                                                  I
                                                                                  '
                                                                                  i
                                                                                  k
                                                                                  ;t
                                                                                   '
                                                                                   ri
                                                                                    -k
                                                                                     '
                                                                                     .
                                                                                     ,
                                                                                     9l
                                                                                      .
                                                                                       :
                                                                                       i.
                                                                                       --'
                                                                                         1::,
                                                                                            1-
                                                                                             :
                                                                                             .3
                                                                                              ,:
                                                                                               ,
                                                                                               -
                                                                                               .
                                                                                  .,....... ....'
                                                                                                ?-
                                                                                                 .4
                                                                                                  1;::
                                                                                                    -
                                                                                                      (
                                                                                                      -
                                                                                                      'Ih'
                                                                                                         1-4
                                                                                                           i
                                                                                                           Ib
                                                                                                            '
                                                                                                            1t
                                                                                                            ! 1
                                                                                                              !rs
                                                                                                                -
                                                                                                                :
                                                                                                                :
                                                                                                                '1
                                                                                                                 t!
                                                                                                                  'ë
                                                                                                                   j!
                                                                                                                    '
                                                                                                                    I;
                                                                                                                     d
                                                                                                                     '.k
                                                                                                                       t
                                                                                                                       i
                                                                                                                       .:
                                                                                                                        ',
                                                                                                                         1
                                                                                                                         .
                                                                                                                         ii
                                                                                                                         ' ;
                                                                                                                           L
                                                                                                                           '.
                                                                                                                            '
                                                                                                                            ;
                                                                                                                            .L
                                                                                                                             :3
                                                                                                                              ï
                                                                                                                              'àb
                                                                                                                                '
                                                                                                                                -t - 'I
                                                                                                                                     . :E.: )-I-!1
                                                                                                                                                 2,1
                                                                                                                                                   2   ' 1.
                                                                                                                                                    .ip-.... !
                                                                                                                                             ' . '. ' ..
                                                                                                                                                                 i;-:
                                                                                                                                                                    t:'     ,,:
                                                                                                                                                                      ;-1.;.1
                                                                                                                                                                         .
                                                                                                                                               , .... ...-.... .... . ..... ..,11i
                                                                                                                                                                                 2ï
                                                                                                                                                                                 ' . '
                                                                                                                                                                              .....     p';
                                                                                                                                                                                  '-.'i.' -d2
                                                                                                                                                                                            1
                                                                                                                                                                                            ;
                                                                                                                                                                                            r:
                                                                                                                                                                                             !
                                                                                                                                                                                              '
                                                                                                                                                                                              L
                                                                                                                                                                                  ... .. ...,,.d
                                                                                                                                                                                               y
                                                                                                                                                                                               ,l
                                                                                                                                                                                                '#
                                                                                                                                                                                                 2
                                                                                                                                                                                                 .lI
                                                                                                                                                                                                   .;
                                                                                                                                                                                                   -
                                                                                                                                                                                                   - (1
                                                                                                                                                                                                    -'  1:!1L
                                                                                                                                                                                                            I
                                                                                                                                                                                                            l
                                                                                                                                                                                                            -
                                                                                                                                                                                                            -i.
                                                                                                                                                                                                              .j
                                                                                                                                                                                                               1
                                                                                                                                                                                                             - .2
                                                                                                                                                                                                                - -1
                                                                                                                                                                                                                  1
                                                                                                                                                                                                                  ..,
                                                                                                                                                                                                                  -
                                                                                                                                                                                                                  .  :
                                                                                                                                                                                                                     -1
                                                                                                                                                                                                                     - 2
                                                                                                                                                                                                                       11:-
                                                                                                                                                                                                                       (  11.C i
                                                                                                                                                                                                                               p
                                                                                                                                                                                                                    ...... . .. ..! ;,
                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                        i :-
                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                 -... . ....1t E
                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                               .i
                                                                                                                                                                                                                                                -I
                                                                                                                                                                                                                                                 --
                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                  .!
                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                   L
                                                                                                                                                                                                                                                   -i          - '
                                                                                                                                                                                                                                                           ,,:-'ï--;'...D3
                                                                                                                                                                                                                                                    '.-k.2.:
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                             - -
                                                                                                                                                                                                                                                                         1-.ki
                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                           : 2-,.t-d
                                                                                                                                                                                                                                                                                   .-'   ;4
                                                                                                                                                                                                                                                                                     ;.::) (
                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                           E
                                                                                                                                                                                                                                                                                          --1,.
                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                              :1:
                                                                                                                                                                                                                                                                                                7
                                                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                , 1Ii'111-7.1-1-'
                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                                        . .' '
                                                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                                                                1i!
                                                                                                                                                                                                                                                                                                                 ! -'
                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                   ;,
                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                    kj
                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                     $
                                                                                                                                                                                                                                                                                                                     L'L
                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                       ?
                                                                                                                                                                                                                                                                                                                       -ï
                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                                                        l
                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                        El
                                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                                         .,
                                                                                                                                                                                                                                                                                                                          -r
                                                                                                                                                                                                                                                                                                                           .1-.-
                                                                                                                                                                                                                                                                                                                            !
                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                          .''
                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                            .   1
                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                -k
                                                                                                                                                                                                                                                                                                                                 -2
                                                                                                                                                                                                                                                                                                                                  )
                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                  .,1.1-.1
                                                                                                                                                                                                                                                                                                                                    -           -,d
                                                                                                                                                                                                                                                                                                                                         .,:-.1.: :
                                                                                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                                  -i
                                                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                   .r
                                                                                                                                                                                                                                                                                                                                                    $
                                                                                                                                                                                                                                                                                                                                                    -1
                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                    ,:5
                                                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                                                     .-
                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                       L
                                                                                                                                                                                                                                                                                                                                                       q.'-ït'
                                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                                       .     --,'L
                                                                                                                                                                                                                                                                                                                                                                 3
                                                                                                                                                                                                                                                                                                                                                                 .(
                                                                                                                                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                                                                                                                                                                  'i
                                                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                                                                   d
                                                                                                                                                                                                                                                                                                                                                                   k
                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                   ï
                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                   2
                                                                                                                                                                                                                                                                                                                                                                   -:
                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                    ,.
                                                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                                                     -.
                                                                                                                                                                                                                                                                                                                                                                     . ë
                                                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                       ï
                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                                                                       !
                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                       j)-
                                                                                                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         51
                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                                          2
                                                                                                                                                                                                                                                                                                                                                                          1.
                                                                                                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                                                                                                                           ',
                                                                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                                                                            .'
                                                                                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                             f
                                       t71ti.
                                            tt...
                                 ..u... , --'' 'z;*:.'i.   j'f2Lï  .LL '-'
                                                                       . r.:
                                                                 ' ' . ...  .
                                                                            ?
                                                                            L''-'  ..'
                                                                                     :'''
                                                                                        L-s:.
                                                                                            q'
                                                                                             ;..r
                                                                                                ;pr4:-
                                                                                                 .     '     1.:?.
                                                                                                        ):'.t.
                                                                                                             .   :..Fë
                                                                                                                     . .'    :é.s::
                                                                                                                             '       ...:jrd'        '-'-''.): ö '                ''r.''
                                                                                                                                                                                  :        :.:
                                                                                                                                                                                             '.
                                                                                                                                                                                              :.
                                                                                                                                                                                               '!.
                                                                                                                                                                                                 ''.
                                                                                                                                                                                                 :    !:
                                                                                                                                                                                                       .'.:'.
                                                                                                                                                                                                            '.
                                                                                                                                                                                                             :.
                                                                                                                                                                                                              j:'.'j'  '  .t'(
                                                                                                                                                                                                                            --h
                                                                                                                                                                                                                               ;: :'' :0'...       ' w'l.
                                                                                                                                                                                                                                                !'':            .. #'.-q '-k:':      ;.::
                                                                                                                                                                                                                                                                                        ''
                                                                                                                                                                                                                                                                                         r-t.7,.
                                                                                                                                                                                                                                                                                               ).-::.1''.      :'
                                                                                                                                                                                                                                                                                                                ''''
                                                                                                                                                                                                                                                                                                                i: -:
                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                     '' :
                                                                                                                                                                                                                                                                                                                    . --'':l''.  !:j
                                                                                                                                                                                                                                                                                                                                -: :'t'  ..       '
                                                                                                                                                                                                                                                                                                                                                  ' '
                                                                                                                                                                                                                                                                                                                                                    R :
                                                                                                                                                                                                                                                                                                                                                      S        8             '
                   r-
                   ':
                    Ir
                     E
                     -
                     -
                     -dI
                      .
                      .k;;.-!
                          ,-,.
                             1
                             I
                             ,
                             '
                             .:
                              E
                              !
                              ë
                              .. -'' '
                               I. r I -
                                      k:1
                                        .
                                         -
                                         k
                                         -
                                          t
                                          i
                                          'I:
                                            ?
                                            -1:
                                              -,
                                               7
                                               -
                                               -i
                                                'ï
                                             ... '
                                               .
                                               -
                                               .- :
                                                  ,.
                                                   -.-
                                                    -    r
                                                         .
                                                          -' '
                                                  ''. . . '
                                                          ,
                                                          .-
                                                           t
                                                           k 5I@
                                                               tl
                                                                9
                                                                '
                                                               ....
                           ..... . . ..... .., .. .... .. ......-
                                         -                    --
                                                               -.
                                                                -
                                                                -  .
                                                                   -
                                                                 . ..?. .- ;
                                                                           --
                                                                            .
                                                                     -,,-- -.,--1
                                                                              .. .
                                                                           .....-
                                                                                  h-    -. .. . ..
                                                                                       . .
                                                                                       .   .
                                                                                           -:,
                                                                                             2-
                                                                                          . - .
                                                                                            ---:
                                                                                               1
                                                                                               -:
                                                                                                r
                                                                                                .1
                                                                                                 ,:
                                                                                                  ë
                                                                                                  t
                                                                                                  .
                                                                                                 ,-!
                                                                                                  ..
                                                                                                  -.
                                                                                                    p
                                                                                                    -
                                                                                                     ;
                                                                                                     I
                                                                                                     ,
                                                                                                     .
                                                                                                      '
                                                                                                      -t
                                                                                                       :
                                                                                                       -.
                                                                                                        -?
                                                                                                         4
                                                                                                         .
                                                                                                         .
                                                                                                         -1!
                                                                                                           :
                                                                                                           1
                                                                                                           ;
                                                                                                           ,
                                                                                                           -4
                                                                                                            .
                                                                                                            -
                                                                                                            .
                                                                                                            .
                                                                                                            :
                                                                                                             -
                                                                                                             '
                                                                                                             -
                                                                                                             .;ë,
                                                                                                                .  1
                                                                                                                   .:
                                                                                                                    .-
                                                                                                                     '1
                                                                                                                      .'
                                                                                                                       :
                                                                                                                       i
                                                                                                                       .
                                                                                                                       ,!;
                                                                                                                         p
                                                                                                                         .
                                                                                                                         (
                                                                                                                         -
                                                                                                                         'F1
                                                                                                                           y
                                                                                                                           .
                                                                                                                           i
                                                                                                                           ,-
                                                                                                                            .
                                                                                                                            '
                                                                                                                            .
                                                                                                                            ;
                                                                                                                            : ;
                                                                                                                              -i
                                                                                                                               s
                                                                                                                               .;k
                                                                                                                                 1
                                                                                                                                 .
                                                                                                                                 - : 1
                                                                                                                                     -
                                                                                                                                     .   2
                                                                                                                                         -  1 . ,
                                                                                                                                                -1
                                                                                                                                                 :
                                                                                                                                                 .
                                                                                                                                                 ,/.
                                                                                                                                                  -i
                                                                                                                                                   -1
                                                                                                                                                    -
                                                                                                                                                       .
                                                                                                                                                       j :
                                                                                                                                                         .
                                                                                                                                                         r3
                                                                                                                                                          -6
                                                                                                                                                           3
                                                                                                                                                       . ...
                                                                                                                                                           -
                                                                                                                                                           -
                                                                                                                                                            ï
                                                                                                                                                            .
                                                                                                                                                             1
                                                                                                                                                             2
                                                                                                                                                             -,
                                                                                                                                                              .
                                                                                                                                                              -.'  ....
                                                                                                                                                               .. ..
                                                                                                                                                             . .
                                                                                                                                                               .
                                                                                                                                                               -,
                                                                                                                                                                --
                                                                                                                                                                 ..
                                                                                                                                                                  ..-.
                                                                                                                                                                   ...-
                                                                                                                                                                      (
                                                                                                                                                                      .. .'.
                                                                                                                                                                             2
                                                                                                                                                                             - . ''
                                                                                                                                                                               --
                                                                                                                                                                         ... . -.
                                                                                                                                                                             - --.
                                                                                                                                                                                 -
                                                                                                                                                                                 .
                                                                                                                                                                                  -  .
                                                                                                                                                                                     ,
                                                                                                                                                                                     -
                                                                                                                                                                                     )
                                                                                                                                                                                   . . .
                                                                                                                                                                                    .   .'
                                                                                                                                                                                         -
                                                                                                                                                                                         ,:;
                                                                                                                                                                                           -
                                                                                                                                                                                           'o
                                                                                                                                                                                            -
                                                                                                                                                                                            '
                                                                                                                                                                                            ë
                                                                                                                                                                                            )
                                                                                                                                                                                            k --.:
                                                                                                                                                                                                 .
                                                                                                                                                                                                 -
                                                                                                                                                                                                 -
                                                                                                                                                                                                 ,6:
                                                                                                                                                                                                   ï
                                                                                                                                                                                                   -
                                                                                                                                                                                                   .
                                                                                                                                                                                                   -
                                                                                                                                                                                                   .'
                                                                                                                                                                                                    -
                                                                                                                                                                                                     .-
                                                                                                                                                                                                     -
                                                                                                                                                                                                     .,
                                                                                                                                                                                                     ; 1
                                                                                                                                                                                                       - :
                                                                                                                                                                                                         -1
                                                                                                                                                                                                          'I
                                                                                                                                                                                                           .:
                                                                                                                                                                                                            i
                                                                                                                                                                                                            q
                                                                                                                                                                                                            -
                                                                                                                                                                                                            .
                                                                                                                                                                                                            -.
                                                                                                                                                                                                             1
                                                                                                                                                                                                             --1
                                                                                                                                                                                                               -, 2
                                                                                                                                                                                                                  ; ,b
                                                                                                                                                                                                                     :
                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                      -
                                                                                                                                                                                                                      .
                                                                                                                                                                                                                      -.
                                                                                                                                                                                                                       -
                                                                                                                                                                                                                       -
                                                                                                                                                                                                                       .-
                                                                                                                                                                                                                         5
                                                                                                                                                                                                                         -
                                                                                                                                                                                                                         -
                                                                                                                                                                                                                          :
                                                                                                                                                                                                                          -
                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                           . . . '.. .
                                                                                                                                                                                                                             .    - .. . .   -
                                                                                                                                                                                                                             .. -. . . .... . .
                                                                                                                                                                                                                             , .- - - ( .
                                                                                                                                                                                                                                        , -.    .;2
                                                                                                                                                                                                                                               .. .
                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                              ,.-  :
                                                                                                                                                                                                                                                   ;-
                                                                                                                                                                                                                                                 .. .....
                                                                                                                                                                                                                                                 , .
                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                   .     . t
                                                                                                                                                                                                                                                           - :
                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                               ...,
                                                                                                                                                                                                                                                . . ... .. '. ..
                                                                                                                                                                                                                                                               2 1
                                                                                                                                                                                                                                                               . ..
                                                                                                                                                                                                                                                        . .. ...
                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                               - -
                                                                                                                                                                                                                                                                 . ,
                                                                                                                                                                                                                                                                   )
                                                                                                                                                                                                                                                                   -:
                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                    -I
                                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                     t
                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                     -q
                                                                                                                                                                                                                                                                      ï'
                                                                                                                                                                                                                                                                       -)
                                                                                                                                                                                                                                                                        .t
                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                         i)
                                                                                                                                                                                                                                                                          k
                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                          -I
                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                           -'
                                                                                                                                                                                                                                                                            r
                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                            -1
                                                                                                                                                                                                                                                                             - -
                                                                                                                                                                                                                                                                               - ;
                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                 . 1
                                                                                                                                                                                                                                                                                   . k .
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                       y
                                                                                                                                                                                                                                                                                       -I;
                                                                                                                                                                                                                                                                                         -j
                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                          tI
                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                           l
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                           ,j1
                                                                                                                                                                                                                                                                                             -t
                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                              -,
                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                               .d
                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                (
                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                   .:
                                                                                                                                                                                                                                                                                                  --
                                                                                                                                                                                                                                                                                                  )t,. . .
                                                                                                                                                                                                                                                                                                     1r
                                                                                                                                                                                                                                                                                                      . ..
                                                                                                                                                                                                                                                                                                       . .. ..
                                                                                                                                                                                                                                                                                                      -- -- .  -
                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                          . ... .
                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                . -
                                                                                                                                                                                                                                                                                                                  t
                                                                                                                                                                                                                                                                                                                  -  :
                                                                                                                                                                                                                                                                                                                     --
                                                                                                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                       -.
                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                         .1
                                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                                         --
                                                                                                                                                                                                                                                                                                                           4
                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                            ,- :
                                                                                                                                                                                                                                                                                                                               .4
                                                                                                                                                                                                                                                                                                                                7
                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                ,1
                                                                                                                                                                                                                                                                                                                                 ,,
                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                  ,;
                                                                                                                                                                                                                                                                                                                                   4:
                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                      -1
                                                                                                                                                                                                                                                                                                                                      -..  E    .
                                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                                  L
                                                                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                                                   q
                                                                                                                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                                                                                                   j:
                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                    -:
                                                                                                                                                                                                                                                                                                                                                     .1
                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                      ,C
                                                                                                                                                                                                                                                                                                                                                       ; - k .
                                                                                                                                                                                                                                                                                                                                                             -
                               ,--2-
                                 ..                                                             ..-
                                                                                                                                                                 ......
                                                                                                                                                                                 .                                  ,




 *
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 25 of 114




     @'




                             %




o
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 26 of 114


                                                                                           *




                                                                                       *




                                                                                           *
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 27 of 114
                                                                                  *




                                                                                       @




                                                                                               *




                                                                                           *
        Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 28 of 114



         *




    @




*




*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 29 of 114
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 30 of 114




*
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 31 of 114

*




     *




                                                                              ).r
                                                                                !sIr
                                                                                   i.''
                                                                                      ;;
                                                                              .   -,
                                                                                   jpgj,jd)
                                                                                   ,k
                                                                                    ..
                                                                                     ,,r  j,..-
                                                                                        k..
                                                                                  .
                                                                                  Ey
                                                                                   $:'.,
                                                                                  ...'  di
                                                                                       Eth'
                                                                                         h 'y
                                                                                          ..):
                                                                                            ,
                                                                                            1
                                                                                            L .
                                                                                             j:
                                                                                              ;
                                                                                  t'.
                                                                                  , t,?jv..
                                                             G >.j:;u. ;;k.?>.....
                                                           .'s            '
                                                                          .
    *'                                                     .'
                                                                        t
                                                                        $
                                                                        L.
                                                                         j
                                                                         '
                                                                         ,
                                                                         y
                                                                         j.
                                                                         .d
                                                                          j
                                                                          1
                                                             fsts.t)p.;:h.:
                                                           .. . .
                                                                :..â.. .z.!
                                                                          j
                                                                          t:
                                                                           ï
                                                                           j
                                                                           rw
                                                                           t
                                                                           t
                                                                           .
                                                                           '.R
                                                                             '
                                                                             1
                                                                             .
                                                                             <
                                                                             .?
                                                                              (j
                                                                               k
                                                                               o
                                                                               ,
                                                                               .j;
                                                                                '
                                                                                &j
                                                                                 .
                                                                                 #p
                                                                                  k
                                                                                  .
                                                                                  ;
                                                                                  )
                                                                                  ,j
                                                                                   p
                                                                                   .
                                                                                   q k
                                                                                     t
                                                                                    ,.
                                                                                     . s
                                                                                       n
                                                                                       p
                                                                                       .
                                                                                      !;
                                                                                       :j
                                                                                        ?
                                                                                        x
                                                                                        .y
                                                                                         )
                                                                                         ;.
                                                                                          ,
                                                                                          y,
                                                                                           .. .. .
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 32 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 33 of 114




                                                                                                                                                                                                                                                                *




            d
            *
            '

                                                                                                               ... .. . .   . 4 '. ':..'... . .'.'.7..t
                                                                                                                                                      p2 $'
                                                                                                                      . i'.E.             1
                                                                                                                                          .
                                                                                                                                          '
                                                                                                                                          -'
                                                                                                                                           1(
                                                                                                                                           :           :'.q
                                                                                                                                                          1
                                                                                                                                                          .2
                                                                                             k1
                                                                                              ;4
                                                                                               ':
                                                                                                ,2
                                                                                                 q
                                                                                                 ':ï'
                                                                                                   1i(
                                                                                                     q
                                                                                                     rj
                                                                                                      1
                                                                                                      ci
                                                                                                       à
                                                                                                       t.
                                                                                                        ,
                                                                                                        j
                                                                                                        '
                                                                                                        k
                                                                                                        :l
                                                                                                         r
                                                                                                         .yl
                                                                                                           i
                                                                                                           ,,
                                                                                                            'i
                                                                                                             I,
                                                                                                             ..
                                                                                                              :
                                                                                                              :;
                                                                                                               ..
                                                                                                                4
                                                                                                                q
                                                                                                                :
                                                                                                                t
                                                                                                                .,1
                                                                                                                  j
                                                                                                                  i,
                                                                                                                   8                      .'
                                                                                                                                           E
                                                                                                                                           ;
                                                                                                                                           i(
                                                                                                                                            l
                                                                                                                                            siq
                                                                                                                                              -:
                                                                                                                                               -:
                                                                                                                                                4 1
                                                                                                                                                  :
                                                                                                                                                  ,1 ..F..-
                                                                                                                                           !.ë:
                                                                                                                                      ..'.,!  è.i:.4.!
                                                                                                                                              !
                                                                                   ....'
                                                                                       -N.                         '.
                                                                                                                    '
                                                                                                                    .1q'
                                                                                                                       ;
                                                                                                                       1 4
                                                                                                                         ;1
                                                                                                                          :     r
                                                                                                                                ..   -:
                                                                                                                                     .     r           à  ,;
                     ,.
                     ..:,. ,k
                           .. .'.q
                                 .             -.   .   ..s     .'
                                                                 .         . .. .,-    :?;2)j? . r'           L      i...L.
                                                                                                                          .,.
                                                                                                                          ' i'-h   .(
                                                                                                                                ..jE
                                                                                                                                   - j;tE
                                                                                                                                        ;J  '   !g
                                                                                                                                                 )..'.....:..
                '
                5
                i
                .
                :'j
                  .
                  ,k
                   '.
                    '
                    g
                    jr
                     . j
                       ;
                       !
                       r j
                         :
                         ë: :
                            :
                            .;
                             '..
                               i.j
                                 4:
                                  y.
                                   Y
                                   F
                                   1 r
                                     . )',:
                                          .':
                                            .
                                            7 -.'
                                                gh
                                                 j.
                                                  '
                                                  'm)
                                                    E
                                                    ;f
                                                     :.h
                                                       'q
                                                        . A . 7 ..
                                                                 .''L
                                                                    P
                                                                    :21J
                                                                       r
                                                                       ' '
                                                                         q
                                                                         ?nt
                                                                           s.
                                                                            ' ;
                                                                              ï x    ;
                                                                                     ;2
                                                                                      k
                                                                                      !
                                                                                                  ..
                                                                                                                     :.   'g 7.'. , ,    ''.-   .
                                                                                                                                                 .           ë-'''
                                                                                                                                                                     ,.   'y.  rj
                                                                                                                                                                                -
                                                                                                                                                                                ',
                                                                                                                                                                                 .j -,
                                                                                                                                                                                     .
                                                                                                                                                                                     I
                                                                                                                                                                                     1E,
                                                                                                                                                                                       .
                                                                                                                                                                                       r
                                                                                                                                                                                       :
                                                                                                                                                                                       '.
                                                                                                                                                                                        1
                                                                                                                                                                                        L.  . .
                                                                                                                                                                                              :. . ..
                                                                                                                                                                                                    , ,  .ïC. :, ?.,      .. j
                                                                                                                                                                                                                             .,.-';.
                                                                                                                                                                                                                                   -  .  .-,
                                                                                                                                                                                                                                           ..   .
                                                                                                                                                                                                                                                ':  . f-
                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                     --1
                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                       ,1
                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                      ,.
                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                       .Il
                                                                                                                                                                                                                                         E.    ,.dI
                                                                                                                                                                                                                                                  -'
                                                                                                                                                                                                                                                   '!
                                                                                                                                                                                                                                                   tl
                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                    -k
                                                                                            '' - -                                   .'
                                                                                                                                           1
                                                                                                                                           l: :1I
                                                                                                                                                è
                                                                                                                                                E                         .l
                                                                                                                                                                           -                        EI
                                                                                                                                                                                                    1
                                                                                                                                                                                                    q .
                                                                                                                                                                                                      E't
                                                                                                                                                                                                               l..i-'--.-'-t
                                                                                                                                                                                                                           .-J
                                                                                                                                                                                                                             I
                                                                                                                                                                                                                             .
                                                                                                                                                                                                                             - -
                                                                                                                                                                                                                               :
                                                                                                                                                                                                                               ,,:;E
                                                                                                                                                                                                                                   5
                                                                                                                                                                                                                                   E1
                                                                                                                                                                                                                                    -i
                                                                                                                                                                                                                                     --
                                                                                                                                                                           -'
                bb
                '
                ï
                .
                . i
                  é
                  l
                  ?
                  E
                  !
                  -d
                   .
                   '
                   I
                   -
                   :-
                    2
                    (
                    I
                    '
                    .
                    ;
                    -J
                     i
                     I
                     q1
                      .
                      -
                      ,1
                       :
                       t
                       '
                       !
                       .
                       1:
                        E
                        .
                        'i
                         -
                         t
                         .
                         k:.
                          #
                          - j
                            !
                            ,
                            .
                            :
                            1:
                             .
                             -
                             ..
                              t-
                              !.ë
                                .
                                '!
                                 .
                                 :
                                 -
                                 !
                                 .-;
                                   .
                                   9
                                   1
                                   .
                                   2..
                                    -
                                    '
                                    ë- 7
                                       'Ir
                                         1-..
                                          q '
                                            1
                                            I
                                            l';
                                             !
                                             . 1
                                               Iï
                                                jl
                                                 I
                                                -.
                                                  r
                                                  -q
                                                   '
                                                   I
                                                   -
                                                    .
                                                    h
                                                    -
                                                    :1
                                                     .
                                                     .:2
                                                      .'
                                                        )
                                                        1.-
                                                          :
                                                          .:
                                                           '- 1.
                                                              ,
                                                              . ,
                                                                ';
                                                                 .
                                                                 ,
                                                                 1
                                                                 :E
                                                                  .
                                                                  '1I
                                                                    )
                                                                    .1
                                                                     ,:.
                                                                       2
                                                                       :1.
                                                                         :
                                                                         '
                                                                         à
                                                                         -'
                                                                          t
                                                                          b
                                                                          ,i
                                                                           '' 1
                                                                              ;
                                                                              I
                                                                             .-
                                                                             - : l
                                                                                 :Il-
                                                                                    r
                                                                                    '.
                                                                                    -
                                                                               .... '
                                                                                -
                                                                                .E
                                                                                 -  .)
                                                                                     j
                                                                                     .'
                                                                                      ë
                                                                                      (
                                                                                      -
                                                                                      1
                                                                                      .I) I
                                                                                          l;.
                                                                                            '
                                                                                            !i I)
                                                                                               2 -
                                                                                                 ï'
                                                                                                  jbiè
                                                                                                     .
                                                                                                     ,'
                                                                                                      - 1
                                                                                                        I
                                                                                                        -
                                                                                                       r:1:1I;
                                                                                                             1lI
                                                                                                               ,'
                                                                                                                -
                                                                                                                .k
                                                                                                                 -(
                                                                                                                  I
                                                                                                                  .)
                                                                                                                   .I,-21.1
                                                                                                                        . .k.
                                                                                                                            ,
                                                                                                                            1
                                                                                                                            -
                                                                                                                            ):  2
                                                                                                                                :
                                                                                                                                1
                                                                                                                                ,t
                                                                                                                                 4
                                                                                                                                 é
                                                                                                                                 Ei
                                                                                                                                  -lil.'
                                                                                                                                    r..:-
                                                                                                                                         '
                                                                                                                                              . L1I
                                                                                                                                                  k
                                                                                                                                                  :t
                                                                                                                                                 .;
                                                                                                                                                 ..'
                                                                                                                                                   ,
                                                                                                                                                   .k
                                                                                                                                                    .Ii.
                                                                                                                                                       j
                                                                                                                                                       '
                                                                                                                                                       )
                                                                                                                                                       ' b
                                                                                                                                                         yç
                                                                                                                                                          i
                                                                                                                                                          .2
                                                                                                                                                           y'
                                                                                                                                                            ,'    N  ;1
                                                                                                                                                                     (
                                                                                                                                                                     .
                                                                                                                                                                     ,
                                                                                                                                                                        --
                                                                                                                                                                        '
                                                                                                                                                                        ri/ )
                                                                                                                                                                            j,.
                                                                                                                                                                              '
                                                                                                                                                                              -  -
                                                                                                                                                                                 '
                                                                                                                                                                                 1     .
                                                                                                                                                                                       ,.''1
                                                                                                                                                                                           :
                                                                                                                                                                                           -;-:
                                                                                                                                                                                              1
                                                                                                                                                                                              'q1
                                                                                                                                                                                                'l:1
                                                                                                                                                                                                   E
                                                                                                                                                                                                   l!
                                                                                                                                                                                                    )
                                                                                                                                                                                                    ;  1
                                                                                                                                                                                                       ' : l1
                                                                                                                                                                                                            ,I
                                                                                                                                                                                                             'ë!
                                                                                                                                                                                                                 '                 -
                                                                                                                                                                                                                                        --ù
                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                          .,
                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                           l
                                                                                                                                                                                                                                           -:
                                                                                                                                                                                                                                            'i!
                                                                                                                                                                                                                                            ---i
                                                                                                                                                                                                                                               (   t .
                                                                                                                                                                                                                                                        '
                                                                                                                                                       ., - .                  ,...--... g.-. i.----y                               ,
                                                                                            .                                                                                                                                              .
                                                                                                                                                                                                      ,;.-p.
                                                                                                                                                                                                           .-;-
                                                                            ..                             ;                                                     jë
                                                                                                                                                                  .,
                                                                                                                                                                   .-s
                                                  -                        .-               .                                                          -                                                       J                  -              .-
                                                                                                                                                                                                                                                 . -
                                                                                                                             p-. j2-..,  ï.-..,
                                                .       .                     ..         ..   -.   .-         .        ..                                             ,.-.k   .-                                                   .
                                            .. ...      .                              ...         .     ,  .               ,-                 ..
                                                                                                                                                y
                                                                                                                                                ,     ?j
                                                                                                                                                    ;,.
                                                                                                                                                   .-  . ,-   -,-E
                                                                                                                                                                 .
                                                                                                                                                                 ,  g,-
                                                                                                                                                                     .
                                                                                                                                                                     -.,)
                                                                                                                                                                        .   .. -                    rà;
                                                                                                                                                                                                    -                      .       . .

                                 r
                                 l
                                 'I'
                                   q
                                   @
                                   I
                                   .i--ë!I)
                                     '
                                     '    .-.
                                            '
                                            N,:.'.' ,-..18!.1.k'.
                                                         .
                                                          '
                                                                rl
                                                                ë r '
                                                                  !.E
                                                                  -
                                                                 ,.
                                                                  . !
                                                                    Ik,.
                                                                     .
                                                                       '
                                                                       y
                                                                       ,
                                                                       7,:
                                                                        :@
                                                                         ë
                                                                         .1j
                                                                          (-
                                                                           )1?
                                                                            . h
                                                                              q-1
                                                                                .y
                                                                                 :
                                                                                 - j'L'
                                                                                  -.
                                                                                   1  y
                                                                                      j
                                                                                      )
                                                                                      -
                                                                                      .
                                                                                      ')
                                                                                      ..k
                                                                                        'i.lLj
                                                                                             '   jq$
                                                                                              .. .
                                                                                                  '  ..y
                                                                                                       ,.s  jr
                                                                                                             g
                                                                                                             '
                                                                                                             ..C  ..t. yy  L
                                                                                                                           4:
                                                                                                                            y
                                                                                                                            (
                                                                                                                            :
                                                                                                                            .1: g.j
                                                                                                                                1
                                                                                                                                .       uyy
                                                                                                                                        l
                                                                                                                                        '      ,
                                                                                                                                               :jjjpjgj
                                                                                                                                               ...
                                                                                                                                                       .      ..... p  jy
                                                                                                                                                                        ,.-rj
                                                                                                                                                                            g.yjx          ;.y.; g
                                                                                                                                                                                                ..y. jj, . =z:;
                                                          '
                                                        oA
                                                          fz
                                                           v.'s
                                                           )

                                                                                                                                                                                                                                                            *
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 34 of 114
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 35 of 114
    *




*




*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket
                                                    @      09/20/2023 Page 36 of 114

                        *




 e




     <
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 37 of 114




                                            :
                                            q
                                            ;
                                            j
                                            k
                                            '
                                            :
                                            1
                                            '
                                            t
                                            'j
                                            j:
                                            .iE
                                             .4
                                               ;' :r:h'
                                                 :AQ
                                              .<..
                                                      :
                                                      k
                                                      . j
                                                        '(
                                                         ,).
                                                           q
                                                           :
                                                           .
                                                          -,
                                                      ::'!r
                                                      .    ;
                                                           +1
                                                            $
                                                            '
                                                            ;
                                                            ï
                                                            h!
                                                             .t
                                                           ..,
                                                             '.')
                                                                  :jyi
                                                                     ';
                                                                      $
                                                                      '
                                                                      )
                                                                      t
                                                                      f
                                                                .'..:.h
                                                                      .
                                                                      <i4)
                                                                         '
                                                                       ...
                                                                             (j
                                                                             j:
                                                                             '..
                                                                               jt
                                                                                u
                                                                             'j
                                                                             J:j
*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 38 of 114




                                                                        r
                                                                        t
                                                                        '
                                                                        #:
                                                                        : k       *




                                                                                       *
                             t
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 39 of 114




     *




o




*
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 40 of 114




o




    *
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 41 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 42 of 114
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 43 of 114




     P'




*




    *
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 44 of 114




             j.,
               F'
         y
         .
*

    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 45 of 114




     @'




                            @
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 46 of 114


                                                                                  99.57




    p'




E
        Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 47 of 114




        *'




    œ




         @'




    @




*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 48 :)of
                                                                                :.. : 114
                                                                                .  1 ':'i!; .''
                                                                                                !
                                                                                           v..: . '' $
                                                                                              .'' 9@
                                                                                                      ';.L..
                                                                                                           'q.
                                                                                                             :.
                                                                                                              L:       .

                                                                                l
                                                                                .pt$                j
                                                                                                    '
                                                                                                    g
                                                                                                    '
                                                                                                    )K
                                                                                                     j
                                                                                                     t
                                                                                                     k*
                                                                                                      1
                                                                                                      z - '.'     ..
                                                                                 ..-$jjj
                                                                                       j
                                                                                       -
                                                                                        j
                                                                                        ,
                                                                                        ;.            . .
                                                                                                      .. !/
                                                                                                          .
                                                                                                          j
                                                                                                          .
                                                                                                          ,.:
                                                                                                           y
                                                                                                           ?
                                                                                                           ,
                                                                                                           ,
                                                                                                           .
                                                                                                           ,
                                                                                                           .
                                                                                                           j$
                                                                                                            ,.
                                                                                                            .
                                                                                                            .
                                                                                                            -,:
                                                                                                             ,
                                                                                                           t.l
                                                                                                              ,..
                                                                                                              - ,.
                                                                                                                 -
                                                                                                                 ,
                                                                                                                 .
                                                                                                                 -
                                                                                                                 s.
                                                                                                                  q
                                                                                                                  j
                                                                                                                  ,
                                                                                                                  y
                                                                                                                  .
                                                                                                                  j-
                                                                                                                   ;
                                                                                                                   ,
                                                                                                                   ;
                                                                                                              .,--,-
                                                                                                             k:
                                                                                                                    y .jj.,,),
                                                                                                                   i'.:7''.,
                                                                                                                       '..j.
                                                                                                                               ..
                                                                                                                               g
                                                                                                                                    .#
                                                                                                                                       .
                                                                                                                                         .
                                                                                                                                     , .,.




 @




 *'
Case
  *  0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 49 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 50 of 114




                         %




                         1
        Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 51 of 114




*




*




    e
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 52 of 114




                                                                                                                                                                                                                                                     1




                                                                                                                      1:
                                                                                                                      k                               .                        . .).                                         ..'::
                                                                                                                                                                                                                                 2w
                                                                                                                                                                                                                                  m.
                                                      r:.<.z        q>
                                                                    .
                                                                    .
                                                                     y v!y4.;y,1-
                                                                                :..::/Sk.....z t ..p .'f'
                                                                                  :.                    t:..;:.
                                                                                                              !Ekki.-.z)1.g...:o.'.                                                   '/2'G:/<*œ?4?;w'/9' 4:9.!. jjjj,j;:jry ,;.',.'.i7?.
                       . .'.
                  ...N.'                '..'., ;     z:.>*a
                                                         . .
                                                           '
                                                           q
                                                           ';
                                                            6
                                                            .;
                                                             g
                                                             .
                                                             ,:
                                                              <.é.' ï7
                                                                     $!
                                                                      8j''1
                                                                       '  ,
                                                                          y
                                                                          j
                                                                          <j
                                                                           '
                                                                           a g
                                                                             .
                                                                            '.jg
                                                                               w.
                                                                                ç tk
                                                                                  y
                                                                                 .u jgjj jg,
                                                                                       ..'..
                                                                                            ;
                                                                                            j
                                                                                            .
                                                                                            .
                                                                                            :;
                                                                                             .
                                                                                            .;
                                                                                             ;.'
                                                                                              .y
                                                                                                .
                                                                                                .s
                                                                                                 '.=:
                                                                                                ;.L,.
                                                                                                      j*
                                                                                                      , jy>
                                                                                                         q ;.   g
                                                                                                                j'j
                                                                                                                  *(y
                                                                                                                    'Er
                                                                                                    ;kp..2.2J,xq...y;'
                                                                                                    s
                                                                                                                         j
                                                                                                                         g
                                                                                                                      ;.e.g
                                                                                                                           g
                                                                                                                           kj
                                                                                                                           '.'
                                                                                                                              '
                                                                                                                              j
                                                                                                                              h.rr7-
                                                                                                                              'ar
                                                                                                                                    g;..j..
                                                                                                                                    .
                                                                                                                                    '
                                                                                                                                    .
                                                                                                                                   .i.
                                                                                                                                           j
                                                                                                                                           ,
                                                                                                                                          k.
                                                                                                                                           ,;
                                                                                                                                           .
                                                                                                                                             (j j
                                                                                                                                              k'.
                                                                                                                                             iq
                                                                                                                                            j.
                                                                                                                                                 yjtj
                                                                                                                                                    ,
                                                                                                                                                    .
                                                                                                                                                '',,r
                                                                                                                                                     gjj
                                                                                                                                                    .....
                                                                                                                                                         j
                                                                                                                                                        .vk.
                                                                                                                                                          , ..
                                                                                                                                                           .''172JJtij'jg
                                                                                                                                                                       .  j
                                                                                                                                                                     '.'<.7
                                                                                                                                                                     ss    .
                                                                                                                                                                          j)
                                                                                                                                                                            g
                                                                                                                                                                           2$
                                                                                                                                                                            r2
                                                                                                                                                                             .k.
                                                                                                                                                                               k.
                                                                                                                                                                                )'.
                                                                                                                                                                                  '
                                                                                                                                                                                  $
                                                                                                                                                                                  .;<.
                                                                                                                                                                                   )  .
                                                                                                                                                                                      ; '
                                                                                                                                                                                        y
                                                                                                                                                                                       .:
                                                                                                                                                                                        é j
                                                                                                                                                                                          j   j
                                                                                                                                                                                             ))y
                                                                                                                                                                                               . )
                                                                                                                                                                                                 j
                                                                                                                                                                                                 '
                                                                                                                                                                                                 ..
                                                                                                                                                                                                  E j
                                                                                                                                                                                                    x.aj)  jr
                                                                                                                                                                                                            j
                                                                                                                                                                                                            .  (
                                                                                                                                                                                                              :xj
                                                                                                                                                                                                                '>;
                                                                                                                                                                                                                  r
                                                                                                                                                                                                                  '
                                                                                                                                                                                                                  jJ;
                                                                                                                                                                                                                  '
                                                                                                                                                                                                                  . )
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                    :
                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                    E
                                                                                                                                                                                                                    j
                                                                                                                                                                                                                    (
                                                                                                                                                                                                                    '
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                    :
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                    .,
                                                                                                                                                                                                                     j
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                     . r
                                                                                                                                                                                                                       .s.,);
                                                                                                                                                                                                                      .4
                                                                                                                                                                                                                      .     .1:
                                                                                                                                                                                                                            .  r'
                                                                                                                                                                                                                               .G'::' ëj
                                                                                                                                                                                                                                       (ph.)M'
                                                                                                                                                                                                                                          :'       ..
                                                                                                                                                                                                                                                   E''..
                                                                                                                                                                                                                                              .q::1?   t'
                                                                                                                                                                                                                                                        .'j
                                                                                                                                                                                                                                                          .'
                                                                                                                                                                                                                                                           rj
                                                                                                                                                                                                                                                           , ,.'.,,........
                                                                                                                                                                                                                                                                          yy..
                                                                                                                                                                                                                                                                             ,
                                                                     ::.,.,.:....,....,                                   a. 'o    x                                         .j                     =.. '. .,. .:,i...R1
                                             i.,..r,ik'
                                                      ..
                                                       k.-'.'k:,...','                       .:                       :
             '*
              S
              P*1;. . ...:. .,....:.z.c
                *.                                                                    .(
                                                                                                                                                                                        l.z,f'iq)pg.,.k,8.'-;..yg: uw.. ''J! j;
                                                                                                                                                                                                                              1j.%0:
                                                                                                                                                                                                                                   .   J
                                                                                                                                                                                                                                       :p
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                        l'rj, 1
                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                              r1kjrj
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                   1r !
                                                                                                                                                                                                                                                      lj)jI.
                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                           y
                                                                                                                                                                                                                                                           kj.i
                                                                                                                                                                                                                                                            .  '
                                                                                                                                                                                                                                                               .   .
                                                                                                                                                                                                                                                                   .:.....   j
                                      :..
                                      . k..,..                                         ,, .         ,                                                                           k1)kkl
                                                                                                                                                                                    . l,.
                                                                                                                                                                                       ?  jljs,
             .j
              j
              .j
               (.      , f:.'d.      -Q..1   (k
                                              .l
                                              )  ./11 lï' W: J!
                                                              /
                                                              .
                                                              'T!  11 )1
                                                                       :r
                                                                        Al
                                                                        k h1
                                                                           .:7
                                                                             518:1r
                                                                                  1l16 11 .:R..11
                                                                                               E  )y
                                                                                                   ?:
                                                                                                    ë
                                                                                                    t1
                                                                                                     .
                                                                                                     '!i'l1û. '!l(Y:.' 1.
                                                                                                                       .  'Il
                                                                                                                          t   'k
                                                                                                                               '
                                                                                                                               .1. 1m..      'C ë.'5r) .
                                                                                                                                                       ';
                                                                                                                                                        ,,o...;yï
                                                                                                                                                                  ' 'j
                                                                                                                                                                       .:
                                                                                                                                                                 ......,
                                                                                                                                                                          u
                                                                                                                                                                          ;q',,
                                                                                                                                                                             . ,..i
                                                                                                                                                                                  I)
                                                                                                                                                                                   F;l.
                                                                                                                                                                                    ..ir                                      u
                                                                                                                                                                                                                              ;e  bt
                                                                                                                                                                                                                                   4%'.1:
                                                                                                                                                                                                                                        K
                                                                                                                                                                                                                                        '  ':i.4
                                                                                                                                                                                                                                               . '''
                                                                                                                                                                                                                                                   .%*'
                                                                                                                                                                                                                                                      %
                                                                                                                                                                                                                                                      . **  .  .'...         .
                                                                                                                      :
                                                                      !.
                                                                       (:
                                                                        .'
                                                                         :
                                                                      i
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 53 of 114




 p




                        %




*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 54 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 55 of 114




 @
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 56 of 114




 *




 *
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 57 of 114




     *'




*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 58 of 114




 p



                         @
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 59 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 60 of 114




                                                                                       *




                                                                                       *'
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 61 of 114
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 62 of 114




*
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 63 of 114




                                                                                       @'




                                                                                  <$




                                                                                       *
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 64 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 65 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 66 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 67 of 114
                         o


Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 68 of 114




                         1




 *
  Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 69 of 114
Filing # 27202143 E-Filed 05/12/2015 04:17:46 PM


                          Ix THEclRcul'rcouR'r& THsELEVENTHJuolclAtcmcul'r
                                     lx AxD F'
                                             OR M IAM I-DADE couxTv ,
                                                                  G      FLORIDA
                                     %
           U.S.Bank,NationalAssociation,asTrusteefor         GENERAL JURISDICTION DIVISION
           Rltsc 2005A:1L3
                                                             CaleNo.2010-61928-CA-01
                      Plaintift
           VS.

           Leroy W illiams';d aI.,

                      Defendants.

                                          NOTICE OF DROPPG G PARTY

                  PursuanttotheyrokisionsofFloridaRulesofCivilProcedure,Rule 1.250(b),Plaintië U.S.
           Bank,NationalAssociatlon,as Trustee for RASC 2005AH1,3,by and lhrough its undersigned counsel,
           hereby gives notice ofdropping W ELLS FAR/O BANK,NATIONAL ASSUCIATION,AS SUCCESS9R BY
           M ERGERTO W ACHOVIA BANK,N XTIONAL ASSOCIATION aspartiestotheabove styled action. '
                                                                                             /    .



                                            CERTIFICATE OF SERVICE
                                             J
       -
           .              1HEREBY CERTIFY thk atrueandcorrectcopy oftheforegoingNoticeofDropping
           Party,wasinailedeleckonielly orviaU.S.M ailonM ay l2,2015toallpersonsshownonthefollowing
           servicelist.                                       '                                       '

                                                       BROCK & SCOW ,PLLC
                                                       Attorney forPlaintiF
                                                       1501N .W .49thStreet,Suite 200
                                                       Ft.Lauderdale,FL 33309
                                                       Phone:(954)618-6955,ext.6152
                                                       Fax:(954)618-6954
                                                       Ftf ourt ocs brockandscot com


                                                       By                       .
                                                         J nath n W ilin ky,Es .
                                                           oridaBarNo.4520

                                                  SERVI           ST

           The followinspersonswere servedbv e-mail:

       -
           M iami-DadeCounty,Florida
           c/oThomasH.Robe> on,Esq, '
           11lNW 1stStreet         :
           Mjami,FL 33128
           robert@miamidade.zov




       CastNo.20l0-61928zCA-01                             1of2                         File# 13-F02868
 Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 70 of 114

Filing # 180112787 E-Filed 08/21/2023 12:29:24 PM


                                                     IN THE CX CUIT COURT OF THE
                                                     ELEVENTH JU DICIAL CIRCUIT IN Ar
                                                     FOR M IAM I-DADE COUNTY ,FLORD A

                                                     CASE NO .:2021-CA -012227
         M ICAH IEL M CHLOSON,

                Plaintiff,


         LAN CA STER M ORTGA GE BANK ERS
         LLC,etal.,

                D efendants.


                             DEFENDANTS'M OTIO N TO STRIK E LIS PEN DEN S

                Defendants, DEUTSCHE BANK NATIONM                 TRUST COM PANY AS TRUSTEE
         UNDER THE POOLFNG Ar SERVICING AGREEW NT SERIES RAST 2006-A8 (CSFB)
         (&EDB-A8'')andDEUTSCHE BANK NATIONAL TRUST COM PAW ,AS TRUSTEE OF Tl'
                                                                             lE
         RESIDENTIA L A SSET SECURITIZATION TRU ST 2006-A8 M ORTGAGE PA SSTHR OU GH

         CERTIFICA TES SERIES 2006-11UNDER THE POOLING Ar                  SERVICIN G A GREEW NT

         (KDB-H''I(collectively,çdDefendantsn),through undersigned counsel,hereby filesthisM otion to
         StrikeLisPendensand ask the Courtto striketheNoticeofLisPendensfiled by PlaintiffM icahiel

         NichlosonCNichloson'')inthisactiononAugust18,2023.
                                             1.     BA CK G RO UND

                         Nichloson and otherrelated partieshaveGled countlesslaw suits,frivolousm otions,
         appeals and bankruptcies relating to the property comm only described as 1977 N.
                                                                                        E 119tb Road,

         M iami,FL 33181(thel<propery 'l.Theentirebasisfortheinstantlawsuitsurroundsaforeclosure
         actioninvolvingthesubjectProperty,whichNichlosonandotheraffiliatedpartieshavespentwell
         overten (10)yearschallenging.Ultimately,theinstantlawsuitfailsbecausejudgmenthasbeen



         140383.06834/132732332v.1
*   Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 71 of 114




          entered in favorofDB-A 8 in theunderlyingforeclosure,which thereby stripped Nichloson ofany

          interest he m ay have in the Property.A lthough N ichloson and other parties named in the

          underlying foreclosure have attempted to challenge the validity ofthe claims asserted therein by

          DB -A 8 in the form offrivolousm otions,appealsand collaterallaw suits,every courthasoutright

          rejectedthesechallenges.
                  2.       On or about October 20, 2005, Leroy W illiams (it
                                                                           Borrower'') executed and
          delivered a Note (the RNote'')to LancasterMortgage Bankers.On thatsame day,Borrower
          executed and delivered aMortgage (the ttMortgage'')to LancasterMortgage Bankers,which
           secured the Note.On Novem ber16,2005,the M ortgage w asrecorded in OfficialRecordsBook

          23966,Page 3465 ofthe PublicRecordsofM iam i-Dade County,Florida.

                           On June 18,2007,DB-A 8 filed a foreclosure action againstBorrowerbased on the

           sam eNoteandM ortgageCToreclosure'').1ThecopyoftheNoteattachedtoDB-A8'scomplaint
          contained a specificendorsem entfrom the originallenderto lndyM ac Bank,F.S.B.,and then from

          lndyM ac Bank, F.S.B.to blank. On April 8, 2008,DB-A8 was granted leave to am end its

          complaint.It should be noted thatN ichloson was not a party to the Foreclosure since he had

           absolutely zero recorded interest in the Property. On April 28, 2008, a Final Judgment of

          Foreclosure Ctludgmenf')was entered in favorofDB-A8,which scheduled therelated sale for
           June 12,2008.

                  4.       Notwithstanding the entry of Judgment,associates of N ichloson filed countless

           post-judgmentmotions,appealsandbankruptcies,al1ofwhichwerefrivolous,inaconcertedeffort
           to stallthe Foreclosure and sale oftheProperty.Evenm ally,the related foreclosure sale washeld



           1 The Prior Foreclosure was styled Deutsche Bank National Trust Company as Trustee under the Pooling and
           servicing AgreementseriesA 'B'F 2006-.
                                                48 v.Leroy Williams,etal.,M iami-Dade county circuitcourtcase No.
           2007-CA-18226.


           140383.06834/132732332v.1
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 72 of 114




          on June22,2017,which wasninevearsafterthe entn ofJudem ent,and theProperty wassold

          to DB-A8.On June 27,2017,the Clerk ofCourtsGled a CertifscateofSalethatm em orialized the

          foregoing.Although N ichloson'sassociatescontinued to t5le frivolousm otionsand appealsin an

          attem ptto stop theForeclosure,the Clerk ofCourts issued a CertificateofTitle on Septem ber28,
i
!
          2017.Regrettably,the Certificate ofTitle m istakenly indicated the Property w as sold to DB-H.

          U ltim ately,on M arch 13,20l8,theClerk ofCourtsentered anAm ended CertifscateofTitle,which

          correctly stated the Property w as sold to D B-A8.Although N ichloson's associates continued to

          takem eritlessaction in theForeclosurethrough June 2020,theJudgm entand Am ended Certificate

          ofTitlewere notvacated oroverturned through any oftherelated appellate litigation.

                           On M arch 20,2023,Nichloson filed fsled the m ostrecentcom plaint.lmportantly,
          them ostrecentcom plaintdoesnotcont in a countforRforeclosure.''z

                   6.      On August 18,2023,m orethan six yearsafterthe foreclosure sale oftheProperty,

          NichlosonfiledaNoticeofLisPendens(theEtisPendens'').A trueandcorrectcopyoftheGled
          LisPendens isattached hereto asExhibitA .

                           N ichloson has never had an interest in the Property.Further,the Lis Pendens is

          facially deficient.A sshow n below ,theLisPendensisim properand m ustbe stricken.

                                                 H.     ARG UM ENT

                   8.      OurSuprem e Courthasrecognized thattheim properfiling ofa 1ispendenscan be

          damaging to otherparties.M ed.FacilitiesDev,Inc.v.fittleArch Creek Props.,fnc.,675 So.2d

          915,917 (Fla.1996)Ctthewrongfulfiling ofanoticeof1ispendenscan bedamaging'');seealso
           Wiggins v.Dojcsan,411 So.2d 894 t
                                           'Fla.2d DCA 1982)(holding a complaintwhich willnot




          2OnJune30,2023,Nichloson filed an additionalcomplaintwithoutleave.
                                                            3

           140383.06834/132732332v.1
     *
         Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 73 of 114
4,




               supporta claim againstthe specifsc property atissue cannotprovide a basis for tying itup by a

               filingofnoticeoflispendens).
                        9.      A plaintiffm ay record a notice oflispendenson property asa m atterofrightifthe

               1ispendensisfounded on aproperly recorded instrument(suchasamortgageorquitclaim deed
               recordedinthecounty'spublicrecords).Seej48.23(3),Fla.S<t.;LBJudgmentHoldings,LLC v.
               Boschetti,271So.3d 115,118-19 (Fla.3d DCA 2019).Here,thereisno instrumentthatpennits
               Nichloson to record a 1ispendens.

                        l0.     Even iftherew assuch an instrum ent,theLisPendensisfacially deficientbecause

               itfails to meetthe requirements of j 48.23(2).It states thatthe claim isforRforeclosure of
               m ortgage''butthereisno such claim pled in them ostrecentcom plaint.Norcould therebebecause

               Nichloson doesnothave a security instrum entthatencum berstheProperty,nordoeshehave any

               otherinterestin the Property.

                        11.     A 1ispendens isused only to show othersthatthere isapending suitinvolving title

               to acertainpieceofrealproperty.Seligmanv.N W?n.M ortg.Co.,781So.2d 1159,1163 (Fla.4th
               DCA 2001)(citingDepassv.Chitty 90Fla.77,105 So.148,149 (F1a.1925)(discussinghow the
               term lispendens literally im pliesapending suitand how the doctrine oflispendensisdeGned as

               thejurisdiction,power,orcontrolwhichcourtsacquireoverpropertyinvolvedinasuitpending
               thecontinuanceoftheactionand untilfinaljudgmenttherein).Thereisnonon-frivolousaction
               thatinvolvestitle to the Property.Nichloson'sm ostrecentcom plaintis clearly frivolousand the

               LisPendensisfacially deGcient.A ccordingly,the LisPendensisunwarranted and improper- the

               LisPendensm ustbe stricken.

                        W HEREFORE,D efendants,DEUTSCHE BANK N ATION AL TRUST COM PAN Y A S

                TRU STEE UNDER THE POOLING Ar               SERV ICING A GREEW NT SERIES RAST 2006-


                                                               4

                140383.06834/132732332v.1
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 74 of 114




      A8(CSFB)andDEUTSCHE BANK NATIONAL TRUST COM PAN Y,ASTRUSTEE OF THE
      RESIDEN TIAL A SSET SECURITIZATION TRU ST 2006-A8 M ORTGA GE PASSTHROUGH

      CERTIFICATES SERIES 2006-H IJNDER THE PO OLING Ar               SERVICFNG A GREEW N T,

      respectfully requestthattheCourtenteran orderstriking theNoticeofLisPendensfiledon August

       18,2023,and perm itD efendantsto record the orderto serve asnotice thatthere is no pending

      litigation thatinvolvestitleto theProperty.

                                     CERTIFICATE O F SERV ICE

              IHEREBY CERTIFY thatatrue and correctcopy oftheforegoing w aselectronically filed

      thisAugust21,2023,with the Clerk oftheCircuitCourtusing theFlorida CourtsE-Filing Portal.

      1also certify that,in accordancewith FloridaRuleofGeneralPracticeand JudicialA dm inistration

      2.516,theforegoing docum entisbeing served on a1lpro se partiesidentified below by U .S.M ail:

      M icahielNichloson,15020 S.RiverDrive,M iam i,FL 33167 and 1977 NE 119th Rd.,M iam i,FL

      33181.

                                                        BLANK ROM E LLP
                                                        100 S.A shley Drive,Suite 600
                                                        Tam pa,FL 33602
                                                        Telephone:(813)255-2324
                                                        Facsimile:(813)433-5352
                                                        E-service:BltFlweservice@Blanldkome.com
                                                        /s/M i.
                                                              chaelR.Esnosito
                                                        M ICHAEL R.ESPOSITO
                                                        FloridaBarN o.37457
                                                        Michael.Esposito@BlanG ome.com
                                                        M COLE R.TOPPER
                                                        FloridaBarNo.558591
                                                        Nicole.rfoppertr lanklkome.com




                                                    5

       140383.06834/132732332v.1
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 75 of 114




                  Y xi ibit 1îX îî
 Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 76 of 114

Filing # 180036012 E-Filed 08/18/2023 08:31:07 PM


               J& IXEClljtXlsCDt.
                                X 1':
                                    UrAIHVTVLCVENIX lttbtclitCIVCUtT 1* AX$ FUR
                               MJA.
                                  M IP4m E CCIVNTX PLIIINDA CIYW ACTIQN


           MICAHIEI?NJCJW QSQN
           Blaihuft
                                                                        CASE &0,2U71.9;
                                                                                ,     1Q27'(CA 9:
                                                                                                1)
           V;

           LA. NCASV RMQFTQAGEVVC CO.,
           DEXTjCHEBAVK NXTIIJNAL TRUjT Ct7.
           AS' TIIJS'
                    TEE UNDXR TIV POOLING Ar
           Crk'
           '
              IB qcm G AC> EMENT S:RIESI/AST
           2()()ù-.
                  ?u.(cjFB)#
                          .

           betkapanttà
                                     N OTICE OF L1S PENDEN S
                  O TZYAXUVCCNXVED SEIYXDANX'(j)WIO M AXbALE/OYIVRSWVOVIT
           MAY?  CONCE> :YQUAM HEN MYNOTTV #C          TM T'SUITWASE  W STJN EDBY THE
           ABIA C MzNvso ptim rfwr,AGATNST n'tm ABi      ovv NxNfcp pt>7ENpAN't$) U&
           5/24/2û21 IN YHE ABOVE NAM VD PLAINYIR AGAINST '         CtIE AàQW NAMYD
           P:FENDANTIS)UN 5/24/2,     021 IN XX: ABOVE S'FYTAD CAVSC,JNVOLVW G Tl4E
           tr
            citlx wm d btgdltlvtb PRIA kW ;#I1YArftb/LYING AND,BEW G IN VIA511-
           DADE COIJNTY rLQINPA,TO WIT:LEQAL:W SCV TION LOT 107 BJO CK 14 QF
           SAN: $47UC1ESI-AIYVjACCUO W G TU 'I71E PLAT TIIVREUV,AS XEUURUEU IN
           PtA TBU()1L5b,XT P.   iG2 86,OFTT4t FUBLIP REX RDS(IFM IM 4IMDADE,/U'(7*
                                                                                  7W ,
           rtolllpy.3:77NE 1(#RD MIW I'FLA.$3181.FLORIDA M JJI;F SUUGHT AS SUCH
           PRIA RTY IX'FdR FUV CLUSUREOFV UXTUAGEHELD BY D'          ZFENDANTAGAINST
           THEPREMISMS
           Folso//tb627:N 011:14:0                            k ..'
                                                            ,     ..-
                                                                                    ,y ..
                                                     xp
                                                     t.
                                                     ,'..
                                                            . .

                                                                  W                          y.
                                                                                            ..
                                                                                                 JVX J
                                                     M ICAHIELNN HLOSON
                                                            111* M/k
                                                                   'ii'
                                                                      li.
                                                                        b'à)
                                                                           (
                                                                           17.
                                                             MIAMIFL.3)
                                                                      YtB1
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 77 of 114
                                               +                                          v


       %

                                                    *




                                          '
                                                                      j
           Loan No:
           Mortgagee: LEROY WILLIAMS

       Address: 15:20 SOCTH RIVER DRIVE
                MIAMI, FL'33167
           Loan Amount rs 418,o0o.co


                                                        AT.LONGE TO N OTE


       *
           PAY TO THB ORDER OF:                                                                                             ;

                         DO A FUNDINGA                        To

       WITHOUThRECOURSE
                   %/I'$-N 1 ..-.---.œ' '*
                   '
                      ..,.....             .
                   . j                    ,'N,
                   :
                   .     .                     j'                                                                               .
       Asslstani sbcretary                     t
      'Axiom Fint n'lal services
                                      @




                                                        U.8.l ?kpsat
                                                                 Avi
                                                                   ropjrgu
                                                                    o.     a oy
                                                                w *.         .e T                                                   :
                                                                              '   *   .


       -                                                    Je F4* .
                                                                   efj                                                              '
                                                                     $. œvtosfoet,
                                                                          .
                                                                                                                                r

                                                                                                                                I.


       MIN # 10:176105Q62733202                                    WILLTAM:                   'LOa
                                                                                                 '
                                                                                                  n # 0506273320
                                                                                                    I                   1
       AHL 6200:7.:FF                 *                         Page 1 of l                     .   '                   :       .

                                                                                                                   ..
                                                                                                                        y           J
                                                                                                                                l
                                                                                                                                l
                                                                                                                                ;
                                                                                                                            J
i
I
i       Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 78 of 114
I


    *


I                        IN THE CIRCUV COURT OFTHE ELEVENTH JIJDICIALCIRCUITIN AND FOR
                                   M IAM I-DA DE COUN TY FLORIDA CIV IL ACTION




            U .s.BAN K N A TION AL A SSO CIATION
            A S TRU STEE FO R RA SC A HL3
            MORTGAGEELECTRONICREôISTM TION
            SYSTEM S(M ERS),AM OM FFNANCIAL
            SERV ICES,RESID EN TIA L FUN D IN G
            COFPORATION               '
            Plaintiff,
                                                                 CA SE:2010-61928-CA 01
            V.


            MWCK w ELLS              1

            Defendants,


                                          C O N SE N T T O R EM O V A L

                     1. DefendantLeroy W illiam sisfam iliarwith theterm softhe N otice of
                        Rem ovalofD efendantM ack W ells.

                     2. W ithoutconeeding thatservice w asproper,the undersigned D efendant
                         hereby conseùtsto the rem ovalofthisaction to thisCourtofCom m on
                         Pleas ofD ade County.

                     3. By filling this C onsent,the D efendantdoes notw aive and expressly
                        reserves a11defenses,including w ithoutlim itation any defense oflack of
    *                    personaljurisdictioh.
                                     %
                     D ated:July 26,2023                 By:                                 .
                               .
                                                                  tasp o y w ltatalx '
                                                                                     us




    t
                 .
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 79 of 114




                     IN THE CIRCG T COURT OF THE ELEVENTH JIY ICIAL CIRCUIT IN AND FOR
                               M IAM I-DAD E COUN TY FLORIDA CIW L ACTION




        U .S.BAN K N A TION A L A SSO CIATION
        As TRJJSTEE FOR RASC AHL3
        MORTGAGEELECTRONICREJISTM TION
        SYSTEM S(M ERS),AXIOM FINANCIAL
        SERVICES,R ESIDEN TIA L FUN D IN G
        CORPOM TION         '.

        Plaintiff,
                                                            CA SE:2010-61928-CA 01
        V.


*       k xCltN LLS
                                 %
        Defendants,


                                     CONSENT TO FEM OVAL
               1. DefendantHoke W illiam sisfam iliarwith thetennsofthe N otice of
               ' R em ovalofD efendantM ack W ells.

               2. W ithoutconçeding thatservice wasproper,theundersigned Defendant
                     hereby consentsto the rem ovalofthis action to thisC ourtofCom m on
                     Pleas ofD ade County.

               3. By filling this Consent,the D efendantdoesnotw aive and expressly
                  reserves alldefenses,including w ithoutlim itation any defense oflack of
                     personaljurisdiction.
*
                                 t
               D ated:July 26,2023                  By:
                                                             H O K E W ILLIA M S       '
      Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 80 of 114



; *
                       IN THE CIRCUiT COURT OF THE ELEVENTH JLIDICIAL CIRCUIT IN AND FOR
                                 M IAM I-DA DE COUN TY FLOIUDA CIW L ACTION




          U .S.BAN K N A TION A L A SSO CIATION
          AS TRU STEE FOR M SC AHL3
          MORTGAGEELECTRONICRV ISTRATION
          SYSTEM S(M ERS),AXIOM FINANCIAL
          SERVICES,RESIDENTIAL
          CORPO M TION      ,
                              FUNDING
          Plaintiff,
                                                                CA SE:2010-61928-CA 01
          V.


  *       VACK M LLS
                                   %
          Defendants,



                                       CONSENT TO FEM OVAL
                 1.DefendantJamesLittlejolm isfam iliarwith theterm softhe'Noticeof
                 ' R em ovalofD efendantM ack W ells.

                 2. W ithoutconçeding thatservice wasproper,theundersigned Defendant
                       hereby consentsto therem ovalofthisaction to thisCourtofCom m on
                       Pleas ofD ade C ounty.

                       By filling thisC onsent,the D efendant doesnotw aive and expressly
                       reserves a1ldefenses,including w ithoutlim itation any defense oflack of
  *
                       personaljurisdiction.
                                   1
                 D ated:July 26,2023                   By:
                                                              JA G S LITTLEJOH N            '
             o''- o0:23-cv-61804-AHS
              Case  v-ic     ?           WVFAFFWFY
                                     Document        WGRonX=W
                                              1-2 Entered        OW/OGM-W
                                                           FLSD Docket         WWGWGXVWO
                                                                       09/20/2023 Page 81 of 114
                                                                                                                                                          :
                       - - *.                           *
                   >     .       *              .
                                                .


                                                                                                       '* .                                     .


                             î
                             t .                                *
                             1
    '-        iè                                                                                                                                             :                                                  *

                             l
                                                                                                                                                         .ag*o .
     *                       .                                              *                                                                       p+4* '
                                                                                                                                                         W*v l
                                                                                                   .                                        4+
                                                        -                                                                                   # ,
                                                                                                                                              .. x
                                                                                                                                            x   j +*œ .
    Q                                                                                                                                                   *w                                              *
                                                                                                                                                                         -
                                                                                                                                                                         ?j
                                                                                                                                                                          Ik                                .
                                                                                                                                                                                                            .




                                                                                                           '
                                                    *                                                                                       tfX -R -



               œ -4               #- * -                '
                                                                        **                         e                            *                   R W- M                             - -
                                 > -                                                                   .
                                                                                                                    - -                                          - *- 1- e I
                                                                        .                                           '
                                                                                           ,
                                                                                                                                wf                  .                    .            >-. .                     ,
         4n'a -
              > .                                                                                                           .
                                                                                                                                    .

               œ
               -jr-''*ee-T                                  .
                                                                                     s
                                                                                               ;- -z
                                                                                               ,               --
                                                                                                                                '* .                                         >         .p
                             i                      .                                '                                                          -                                                      xg
                                      >
                                      - .* . *+> e z
                                                                                                                                                                                       >                        '
                                                                *                                  * .              < ,..                                            -
                                                                                                                                                                               -      p-                .



                                                                                      *
                                                                                     *.        z
                                                                                                                                            .
                                                                                                                                                    *            .
                                                                                                                                                                             - #-y.>&*.    o
                                                                                                                                                                                         r .
                                            *
                                                            +                              '
                                                                                                                                        .                    #                                                       @
                                                                                               . .                                                                                                          *

                                                                                                                                                                     .             p. . * :.î, *

               * %                                                                                                              *                                        ,
                                                                                                                                                                             -      #*         w
                                                                                                                                                                                                   .
                                                                                                                                                    - - . .- --       A


                             !
                             l                                  e
                                      'e        .                   %       * . A'
                                                                                                                        .
                                                                                                                                                                 *y
                             i                                                                                                                                               #
                             l
                         --  l                                                                                                                                                                 .


b1#37
.
   -r'D*   - * M
                l
                '
                  x o * e i+
                           -**
                             -a - -   - -
                                                                                '                                                                                                                               *'
      Mx3c, , '
         ,
                                                    -       -   -           -             --           -
'
                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                               J
                                                                                                                                                                                                                                               ..
                                                                                                                         *                                                                                                                                      *.
                                                                                                 .                   .           .                                                                                         j                        .                    e
                       Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 82 of 114
                                                                                                                                                      ,                                                                                                                                    ,   *
                                                                   .       .                j'                               t                                            '               f               #                                                          I
          @                    *                                                   '#                                            4                                                                                    @            *       .
                                                                                            '
                                       y
                                                                                   *                     @                                                                                                                     .                                              #&
                                                                                                                                                                                              x.
                                                                                                                             @                                                                                                                  .           =        @        :%
                                                                                                                                                                                                                      ..                                                      4
                                                                                                                                                                                                                                                                             j,
                                                                                                                                                                                  '
          j
          l.                                   .           '.
         :                                                                     .
                                                                                                                                                          .       .

                                                                                                                                                                                              .
                                                                                                                                                                                              .
                                                                                                                                                                                                                   I)::
                                                                                                                                                                                                                   x
                                                                                                                                                                                                                  .p. .
                                                                                                                                                                                                                    -.v.
                                                                                                                                                                                                                       .
                                                                                                                                                                                                                        .'. j*j.

         j                                                                                                                                                                                            x
                                                                                                                                                                                                      , ..,y
                                                                                                                                                                                                           o .                                                                     4, 1
         a
         >
         4                                 .
                                               .                   .
                                                                       .
                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                  ' K.x
                                                                                                                                                                                                                  ,   -
                                                                                                                                                                                                                        :. : .
                                                                                                                                                                                                                           .
                                                                                                                                                                                                                             w
                                                                                                                                                                                                                               ,j
                                                                                                                                                                                                                                .                       .
         .                                                                                                                                                                                        *                   7                    .
         ;                                     .'
         1
         )   .'.                                                                                                                                                                                                  # k
                                                                                                                                                                                                                    xj j , x .
         4 .  '..                                                                                                        e                                                ,                                           V '
         . ..
         o
                                                                                                                             , '                                                                                   &j .
%
         4.                                                                        ,                                             .
                                                                                                                                                                                                                                       y                         y
                                                                                                                                                                                                                                                                Y k
                                                                                                                                                                                                                                                                                   k
                                                                                                                                                                                                                                                                                   &   +
                                                                                                                                                                                                                                                                                                   ,
         3                             .                       '                                                                                                              '       .
                                                                                                                                                                                                              *
                                                                                                                                                                                                                                                                y                 *v .
                                                                                                                                                                                                                                                                                     ,%
         n                                                                                                                                                            ,
                                                                                                                                                                                  .                                                            x                 y                                 !
         j
         F                                                                                                                                                                                .
                                                                                                                                                                                                          .x
                                                                                                                                                                                                                            : .j
                               .       #                                                                                                                                                                                   .l                                                                  .
         .
         k
         7
                                           -                                                                                                                                                  .
                                                                                                                                                                                              G#              .
                                                                                                                                                                                                                           :j
                                                                                                                                                                                                                            *
                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                   a
         x                                                                                                                   .                                                                                                         -
         Y                                                                                                                                   :1
         4                                                                                                                                    -
                                                                                                                                                                              V                                   Y* i j i                                                         -V
         @
         x                                                                                                                                                                                -                           ,.               I1lr
                                                                                                                                                                                                                                       w
                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                lr'
                                                                                                                                                                                                                                                                @
                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                               .
         4                                             '
                                                                                                                                                                              %           ,
                                                                                                                                                                                                                               .#
                                                                                                                                                                                                                                y                               j ,l
               ,

                                                           '                                                                                                  '                                                            !.:                              .)                             j.
                                                                       '                                                                 -                                                                                             @
                       '
                           .                                                            ,
                                                                                                     .
                                                                                                                                                  ,


                                                                                                                                                      (
                                                                                                                                                                                                      '   .
                                                                                                                                                                                                                                       .: j
                                                                                                                                                                                                                                        - +
                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                   ,
                               @                                                                                                                                                                                                                        N
    ..
         7
         y...m: .                   -----
                                                                                                                 .                                                                                                                                                           -
                           .



         j.:.j
             -                                             '                                                     ..                               ,                                                               l                            j
                                                                                                                                                                                                                                               m                             .
         .
         )
                                               .
                                                                                                                                     .        .                                                                .
                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                               .w j
         *                                                                                                                                                                                            '                                                                                *p
         4         .
                                                                                            ,
                                                                                                                                                                                                                           N           '                                 .
                                                                                                                                                                                                                                                                                   .   1
                                                                                                                                                                                                                                                                                       .

                                   .                                                                                                     a                                                                                         *
                                   .               *           :                                             p
                                   ' a. . .                                                                                              '
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 83 of 114

                                                                                                    :, ..eTu... ,r:
                                                                                                                  .'
                                                                                                        s. .
                                                                                                                   ',;
                                                                                                                       ).




        :2
        :: )
           .
           ..
         1@7
           '.y.                                                                        ;
                                                                                       L(
    The2022 Florida Statutes(including 2022 SpecialSession A and 2023 Special
    Session B)
                           Titte V4                                 chapt
                                                                       *
                                                                         er65               View Entire Chapter .  .
                                   *
            .
                CIVILPRACTICEAND PROCEDURE                      QUIETING TIyj.E
      65.041 Realestate;iemoWng clouds;defendants.-No person nota partytotheaction isboundby any
    judgmentrenderedadverse to hisorherinterest,butanyjudgmentfavorabtetothe personinuresto that
    person'sbenefitto the extentofhisorhertegatorequitabte titte.
      Hfstory.-s.2,ch.10221,19259CGL 5007;s.20,ch.67-254;s.345,ch.95-147.
      Note.-Formers.66.13.

*                                  j                                                                                     .   '
                         Copyright (
                                   0 1995-2023 The Ftorida Legistature .Privacy Statement . ContactUs




                                       %
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 84 of 114
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 85 of 114
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 86 of 114



               '                                                       h
               Becausesom ething strangehasHappened outofnowhere!Judq
                                                                    geValerie
               Mannoschurr'ss'
                             zGvA.wtA â'andNAMEshowsup ontheYISMISSAL UTTH
                                                              '        (
           .   PREJUDICE thatwt'a
                                çdoneà.yJudgeZABEL'SOrderofDismissaiWith

               PREJUDICE04/07/2010THEYEARAFTERJudgeValerieMannyShurr
               BECOMESJUDGERIGHT BEFORE SHEm istereouly doseanotherDism issalwith
               Prpjudice04/07/2010'èxactlyoneyearafterJudgeZabel's              Order
               ofDism issalw ith prejudicetè takeoverourcajeto savetl.s.BANK FROM Us

           .
               andsaveluocEZXBEL,THEIRLA- ERSFROM THEw RATH OFTHEIRBOSS
                                                                      *




               GM A C /& # RA N KIT PLO HADALFEADY PAID THEM T0 SAVEU.S.BANK

               FROM US.JUDGEVALERIEMANNO SHURR iswbowe'rejustnowfnding out
*              thatTHEBANKSPAID HER T0 TRICK USINTO BELIEVINGTHAT W EW ERE SAFE
               FROM usBANKW ITH THE DlsMlssALw lTH PREJUDtCEAND THEN THREE

               M ONTHSLATERJUDGEVALERIE MANNO SHURR CHANGESITTO DlsMlssAl-
               W ITHOUT PREJUDICE IN AN ILLEGALEXPARTE HEARING W ITHOUT US
               KNOW INGS0 THAT USBANK COULD AND STARTTHESAMECASEOVER

               W ITHOUT NOTICETO US!W HY DlD GM A C fUS FX X XJPAYJUDGE

               VALARIE MANNO SHURR T0 AKE OVER 0UR CASEW AS BECAUSEJUDGEZABEL

               DISMISSED WITH PREJUDICEUSBANK'SCASE / /2009ASSEEN 0N THE
               DOCKET CASE NUM BER 2007-12407-CA-01 LINE 10,Exh.C.And FORD M OTOR
*                                   .

               co.z cAzzowAvtAvsAlunGEcAx'vcuAxGEAxoruERlunGE'soRnERso,
               JUDGEVALARIE MANNO SHURR FILED HER DUPLICATE DISM ISSALW ITH
               PREJUDICE SAMPLEZABEL'S ORDER HLED         /       AND SHCRR'S
        Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 87 of 114




                      DUPLICATE ORDER FILED 04/07/2010ASïEEN 0N THE DOCKET CASE NUMBER
                      2007-12407-CA-01LINE 10 AND 11,Exh.C.ALLDONES0 THAT SHE CUULD IN
                        e                                                                  .


                      AN ILLEGAL EXPARTE HEARING IN VIOLATION 0.
                                                               F FLORIDA STAT.702.07 W ITH

                      THE PLAINTIFF US'BANK CHANGE HER 0W N ORDER T0 DISM ISSALW ITHOUT

                      PREJUDICE,Exh.F.T0 HELP GM A C fJF BA N K).#rfAZ sO THEYCAN

                      ALL M AKE Y /N' F OFF XF HELPLESS FZA JXS. MSIN G ##/ BA D J&X f#
                                                 @
    *         .       ANp LAW YERSITYePrpofthatJUDGEVALARIE MANNO SHURR m adeMONEY
                                       %
               '
                      to help them ison her Form 6 FUIIL AND PUBLIC DISCLOSURE 0F FINANCIAL .

                      INTEREST SW ORN AFFIDAVIT OATH of2008 thatshow s on PartC.Liabilities

                      section thatalshehas$995,000.00 and $9'1#498.00froniGMACwhich isthe
                      Servicerand ow ner RESIDENTIAL FUNDING CORPOM TION in theirnotice of

                      transfer said they w ere controlling ourpaym ents as Servicerfrom atleast
'
                  .   1/1/2007 ontheM'
                                     ortgage PaymentCoupon atthebottom oftheTransfer
                      Letter,EXh.S.and $129,000,00 from W ellsFargowhich isUSBANK NATIONAL
                      ASSOCIATION ASTRUSTEE F0R RASC 2005AHL3,Exh.(DD).And JudgeShurr
                                                 J
    .                 has$129,000,00 from W ells Fargo w hich isUS BANK NATIONAL ASSOCIATION
                                             .
                                       %             '

                  'ASTRUSTEEF0R RASC 2005AHL3,Exh.(DD )then in 2009 form 6itshows
                      GMACM ORTGAGE of$410,000.00 and Creditlinewith GMAC,and $128,000
                      w achoviawhichisW ellsFargowhichisUjBANK,Exh.(EE)andthensheallows
                      an.IllegalExparteHearing with USBank NationalAttorneysto changeher

                      orderwhich 2.
                                  çreallkiudgeZabel'sOrderfrom DISMISSED WITH PREJUDICEin
'                     April6th,2010Exh.'(F3)tochangetheDismissedwith Prejudice3monthslater
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 88 of 114




            in June 27th 2010 into DISMISSED W ITHOUT PREJUDICE In thisExParte

            hearing Exh.(F).which isonly supposed tobedonewith onlytheDefendants
            thatare aboutto lose their hom e to the Foreclosure Sale and this m ustbe done
*

            befqrethesaleoftileHo'
                                 useaccordingtoFl.Statute107.67,(duringtheinterim
            GMACalsohadaFlorida DefaultEetterastheServicer)andafterthat
            wonderfulgiftJudgem enttoUSBank NationalAssociation and helpingJudge
            Zabeloutofthem e4sfordoing a Judgm entwithouta Docketed Com plaint,Note,
            Alionge,MortgageoranAssignmentfrom theRecordswhichwasliterally
            Crim inal,Thievervofourhouse.Then suddenly ln her2010 Form 6 Disclosure

           '0fFinanciallnterest,Exh.(FF),itshowsa $400,000.00 giftfrom' GMACand
            shows$1,000,000.00 from W ellsFargo which isUS Bank,Exh.(EEE).Allofthis
            ispayto Play RICO Conspidracy to StealBlack PeoplesHousesw hich they're also

            doing to W hite European Gentiles!US BANKS only lawfulRem edy wasto Appealthe

            Dismissalwith Prejudicewithin 30daysaccording to FloridaAppelateRule4
            (a)(1)(A).Butnow acasethatwasDismissedwithPrejudicewasgivenlifeagainby
           JudgeValerieMannoSchurr'
                                  sillegalExpartehearing and changing theDismissal

            with Prejudiceto DismissalwithoutPrejudicewhichallowedUSBANK tosecrètlyfile
            anotherForeclosurçCaseagainsttheHouseat15020South RiverDriveMiami

           'Florika33167andUSBankdidfileanothercasewhichwasacontin
                                                                 'uanceofthe
            sam eCase from 2007 which iscalled Case Num ber2007-12407-CA01thatwas

            DismissedwithPrejudiceaqdSecretlychangedtoDismissedwithoutPrejudiceand
            withoutany notice* usifl2010 called Casenum ber2010-61928-CA01this2010
'




     Case 0:23-cv-61804-AHS Document
           '                      #
                                     1-2 Entered on FLSD Docket 09/20/2023 Page 89 of 114
                       .

    Filing # 170283973E-Filqd 04/04/2023 11:09:35AM

                                  %
                                           IN THE CIRCUTT COURT OF THE
                                           SECPND JUDICIAL CIRCUIT. IN
                                           AND FOR LEON COUNTY , FLORIDA

                                           CASE NO.:: 19CF1022



                  STATE OF FLORIDA

                  V.

                  JAsoN BEMBRQ..
                           Defendant.




                                  %
                  PROCEEDINGS:             JURY TRIAL (Excerpt of Testimony)
                  BEFORE:                  THE HONORABLE STEPHEN EVERETT

                  DATE:                    March 8, 2023
                  TIME:                    commencing at 8:30 a-m.
                                           concluding at 1:50 p-m.
                  LOCATION :               Leon county cogrthouse
                                           Tallahassee, Florida
                              ,   @
                  REPORTED BY :.           DARLA WINN, RPR
                                           Notary Public in and for the
                                           State of Florida at Large




                                             DkRbA WINN, RpR .
                                          official court Reporter
                                      Leon County Courthouse, Room 341
                                          Tallahassee; FL 32301
    Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 90 of 114
                                                                                  2



           l                                AP/EARANCES
           2   REPRESENTING THE '
                                STATE:

           3                 ANDREW PENEEN, ASSISTANT STATE ATTORNEY
*                            OFFICE OF THE STATE ATTORMEY
           4                 LeON COUNR COURTHOUSE
           .                 TALLAHASSEE. FLORIDA 32301
           5

           6
           7   REPRESENTING THE DEFENDANT :

           8                 LOLIA FERNANDEZ , ASSISTANT PUBLIC DEFENDER
                             KASEY LACEY . ASSISTANT PUBLIC DEFENDER
           9                 OFFICE OF T HE PURLIC DEFENDER
                             LEON COUNTY COURTHOUSE
          10                 TALLAHASSEE, FLORIDA     32301
          11
          12                                  INDEX

          13
               WITNESSES :                                                    PAGE :
          14
                              %
          15   CHARZETTA FELTON

          16         Direct Examination By Mr. Deneen                            4
                     cross-Examination By Ms. Fernandez                        19
         17          Redirect Examination By Mr. Deneen                        21
          18

          19 'CHENIKA WMITE
          bo         Direct Examination By Mr. Deneen                           22
                     voir Dire Examination By Ms. Fernandez                     26
          21         cont. Direct Examination By Mr. Deneen                     27
                     cross-Examination By Ms. Fernandez                         50
          22         Redirect Examination By Mr. Deneen                         60

          23

          24   MICHAEL DILMORE
          25         Direct Examînation By Mr. Deneen                           63
                     Cross-Examinatîon By Ms. Fernandez                         66
                             DARLA WINN, R/R, OFFICIAL COURT REPORTER
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 91 of 114




       *1                            INDEX CONT INUED
                                      â

       2
       3    CHARZETTA FELTON

       4         Direct Examination By Mr. Deneen                           70
                 Cross-Examlnation By Ms. Fernandez                         81
       5         Redirect Examination By Mr. Deneen                         85

       6
            MAURICE SYMONEU E
                 Direct Examination By Ms. Fernandez                        86
       8         Cross Examination by Mr. Deneen
       9
      10                            INDEX 0F EXHIBITS
                        1
      11    STATE IS'

      12    7                                                               11
            14                                                              15
      13    5                                                               31
            6                                                               33
      14    8                                                               34
            9                                                               35
      15    10                                                              36
            15                                                              $0
      .6
      1     17                                                              75
            16                                                              79
      17
      18    CERTIFICATE OF REPORTER                                        A08
      19
      20
      21

      22
      23
      24

      25

                        DARLA WINN . RPR. OFFICIA L COURT REPORTER
        Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 92 of 114
                                                                                      4



                                                 PROCEEDINGS

              .2                (Excerpt of testimony on1#.)
               3                TH-E COURT : Everyone can be seated. Members of the
               4           jury, we are going to continue with'the state's case this
               5           morning.

               6                Mr. Deneen,
                                        2
                                            you may call your next Witness.
              -7                M%. DENEEN: State calls Charzette.Felton.
               *j!;             THE COURT : Sergeant, please raise your right hand.
                                    .         #


               9      Whereupon,
              10                               CHARZETTA FELTON
              11      was called as a.witness, having been fîrst duly swèrn, was
              12      examined and testîfiqd as follows:
              13                THE COURT : You may take your seat. Please speak

              14           loudly and clearly.
              15                              DIREUT EXAMINATION
              16      BY MR. DENEEN:

*
              17
               +
                           Q.   Good mo/ning- Would you please introduce yourself
                                    %
              18      to the jury?
              19           A.   Good morning. 'My name is Charzetta Felton, and I
              20      work for the Tallahassee Police Department as a sergeant.
              21           Q.   How long have you been with the Tallahassee Police
              22      Depaétment?

              23           A.   Since 2009/
              24           Q.   20D9?
              25          A.    Yes.

                                   DARLA WINN, RPR , OFFICIAL COURT REPORTER


*              e                                                     '
    .   *                           *.   -          ---   . ---- -             '   --      '   -'
      Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 93 of 114



         by Defendant,DBM G,such asthe SubjeciEvent;denied
         failing select a reasonably safe anddsecure Iocation atw hich to hostthesubjectEvent;denied
         impeding Deçedent,CODY CLAVVILLE'S, ability to escape from tileshootingincident;denied
         failing to provide forpropeî patrolsofthe Sukject Property during the
    w. SubjeétEvent;denied           -
    x. failingto provideappropriatesecurity measupestoensurethesafetyofthe
         SubjectEvent'sattendees,includingDecedent,CODY CLAYVILLE;denied
         failing to protectDecedent,CO DY CLAYVILLE,from harm ;denied
        failingtowarnofconcealeddangerswhichwereknowno/shouldhake been                               .

    aa. known to Defendant, DBM G,.but which were not discoverable by Decedent, GODY CLAYVILLE,;
         and/orsuc'hothernegligentactsind/oromissionsasdiscoveryortheevidencemay-show.denied



     Checkthisvideoout(VideoH on'Godsz.com)becausewedon'tbelievethathe'sdeqd.Becausehecnme
     back to the gate and acted like he wasa'roofer.And ifhe isdead it'snotourfaultbecausenobody was

     supposed to be here at the house,because every one w ho was here w as Trespàssing and w as told that

     they had to leave.
     *




                                                           M AURICE SYM O NEU E
                                                             15020 S.RIVER DR.
                                                             M IAM IFL.33167




#
*
       Case 0:23-cv-61804-AHS Document
                               %       1-2 Entered on FLSD Docket 09/20/2023 Page 94 of 114

                                                        â

                                               i
            byDefendant,DBMG,suchasthiSubjectEvent;denied
            failing select a reasonably safe and secure Iocation atWhich to hostthesubjectEvent;denied
            im peding Decedent, CODY CLAYVILLE'S, ability to escape from theshooting incident;denied
     v. failing to Jprovide for proper patrols ofthe Subject Property during the
     w . SubjectEvent;denied
        .
            failingto provideappropriate security m jasuresto ensure tjje.safety ofthe
            SubjectEvent'sattendees,ingludingDecedent,CODY CLAYVILLE;denied
          failing to protectDecedent,GO DY CLAYVILLE,from harm ;denied
          failingkowarnofconcealeddangerswhichwereknownorshouldhavebeen
     oaa. known t   o Defendant, DBM G,but Which were not discoverable by Decqdent,CODY CLAYVILLE,;
            and/orsuchothernegligentactsand/promissionsasdiscoveryortheevidencemayshow.denied            '


*
       Checkthisvideoöut(VideoH oaGodsz.com)becausewedon'tbelievethathe'sdead.Becausehecame
                 *                         w
       back to the gateand acted likehe wasa roofer.Aud ifheisdead it'snotourfaultbecausenobody Was
            '
       supposed to be here atthehouse,because every one who washere wasTrespassing and wastold that

       they had to leave.




                                                              M AURICE SYM ONEU E
                                                                15020 S.RIVER DR.
                                                                M IAM IFL.33167


.*
         Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 95 of 114


                                        @

            byDetendant,DBMG,suchajtheSubjectEvent;denied                                 .
            failing select a reasonably safe and secure Iocation atwhi
                                                .                     ch to host thesubjectEvent;denied
            im peding Decedent, CO DY CLAYVILLE'S, abili ty to escape from theshooting incident;denied
            failing to provide for proper patrols of the Subject Property during the
            SubjectEvent;denied
            failing to provide appropriate security m easuresto ensure the safety ofthe
            SubjegtEvent'sattendees,includlnyDecedent,CODY CLAYVILLE;denied
        failingto protectDecedent,êODY CLAYVILLE,from harm;dçnied
        failinglow arn ofconcealed danm rsw hich w ere know n orshould have been             ,

    aa. know n to Defendant, DBM G, but w hich wele not discoverable by Decedent, CODY CLAYVILLE,;
            and/orsuchothernegligentactsand/oromissionsasdiscoveryortheevidencemayshow.denied             '

    '                                                                                         *
                                            .

        Checkthisvitleoout(VideoH onGodsz.com)becausewedon'tbelievethathe'sdead.Becausehecame
        bâck to tkegate and acted like hewasaroofèr.And ifhe isdead it'snotolzrfaultbecause nobody was

        supposed to be here atthe housé.because every one who washere wasTrespassing and wastold that
                  .                                                                       *


        they had to leave.




                                                               M AURICE SYM ONEU E
                                                                 15020 S.RIVER DR.
                                                                 M IAM IFL.33167




*
        *                               %
                                                                              $'.
                                                                                0'
            Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD
                                                           . J
                                                             '  Docket 09/20/2023 Page 96 of 114

                                                      .
                  IN.
                    I'
                     HEclRcul'
                             rcoU ToFTHE                                                                                           +
        '         X VEN#HJUDICIAL lRculTIN AND
                  FOR M IAM I-DADE Cœ NTY, FLO RIDA

    ,             cAsENo.2007-0235 9                  .



                  HSBCBANKUSA NAT NALASSOCIATION, AS
                  TRUSSTEEFORTHEC RTIFICATE HOLDEM OFTHE
                  NOM URA HOM EEQ W LOAN,HOM EEQUITY LOAN
                  TRUST,SERIES2007-

                  PLAINTIFF                                                                                       W <R
                                                              .                                           so
                                                                                                           z/ ,. . y+ jo.
                                                                                                                        lq
                 M.                               .
                                                                                                          4.  f-c;. V.% .o
                                                                                                             -,
                                                                                                          :()-J% ' !-a +
                                                                                                          '
                 MAURICESYMON andKURTMARIN                                                                 y
                                                                                                           :
                                                                                                           ' t
                                                                                                             .tg.  ko. .
                                                                                                                       ::.. +* l,o
                                                                                                             r)
                                                                                                           .

                 Defendants                                                                                 ..
                                                                                                                 .
                                                                                                                   '
                                                                                                               :.-,.;.y':
                                                                                                                        .
                                                                                                                        c.
                                                                                                                         . t- -
                                                                                                                          -.  ,
                                                                                                                              :;
                                                                                                                               !
                                                                                                                               kj
                                                                                                                                I
                                                                                                                                t
                                                                                                                                -. ,
                                                                                                                                   :::
                                                                                                                                     ;
                                                                                                                                     :
                                                                                                                                     ),
                                                                  .   .                                        j:;
                                                                                                                 )c.
                                                                                                                 s
                                                                                                                   yr
                                                                                                                    )t,
                                                                                                                      j.
                                                                                                                     ..Lc
                                                                                                                        ti' v:
                                                                                                                             a. +
                                                                                                                                d7
            .       -                                     /                                           .          yn.u.
                                                                                                                     .
                                                                                                                                  qj
                                                          .
                                                                                     .
                                                                                                                   J.
                                                                                                                    gû   .   LP

                                                              M OTION TO COM PEL
                                                  %
                                                                                                                                          '




                 COM.ES 'Defendant aurice Symonetteand Kurtmarinwith motionto com pelcompliance with m anditory
                 Disclosure ofthe rea estate investmentTrust. Defendantreqqests the Courtto dism issthe Plaintifs
                 complaintpursuantt Rule 1.210(a),1.130(a)and 1.140(b)(7)oftheFl
                                                                               oridaRulesofClvilProcedure                                     '
                becausethe Plainti
                                 ft HSBC BankUSA,NationalAssociation. AsTrustee ForThe Certificate HoldersUfThe
                Nomura Home Equi Loan, Home Equity Loan TrustSeries 2007-1 isdoing business ih Fl
                                                                                                orida as an
                 unregistered trustin iolation ofFlorida Iaw . The Plaintiffclaimsto be ading on behalfofa m odgage trust.
                                                                                          '

                Thq modgage trusth s i   ssued cedificates to investors as publicsecurities. lthas issued certificates to                 ;
                investorssecured by Flori    da m odgage. Itis notan express trustunderthe Florida TrustCode
                                                                                                                  . The Trusti
                                                                                                                             s
                a com mon Iaw decla tion oftrustunderSedion 609 ofthe Florida Statutes. The Trusti
                                                                                                 s an associationof
                 two ormore persons rthe purpose oftransading business in Florida. Sedion609.01ofthe Florida Statutes.
                 Sedion 609.02 ofthe Florida Statutes states;''
                                                              609.02 Filing a declaration oftrust-Everysuch organization
                organized forthe pur ose oftransading business in thisstate, ororganized in thisstate forthe purpose of
                transading business lsewhere, which intends to sellorofferforsale any units shares,contracts,notes,
                                                                                               ,
                bonds,m odgages,oiorm ineralleases orothersecurity öfsuchassociation shal        l, priorto transading any
                such business,5le wi the DepadmentofState a true and corred copy ofthe declarati       on oftrustunderwhich
.               the association propo es to condud its business, which copy shallbe sworn to, as being atrue and correct
                copy,bythe chairoft e board oftrustees named in such declaration oftrust. W hen such copyshallhave '
                been5led withthe D artm entofState itshallconsti   tute public notice as to the purposes and mannerofthe




                                                                                              , bl .2 -
                                                                                              .
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 97 of 114
      businesstobee agedinbysuchassociation.The Depadmèniofstate,priortothe issuance of
    c'Ye c:dificate by ,shallcollectfrom the said association a filing fee of$350, w hich fee shallbe
     paid by itinto the eneralfund ofthe state. ''

     Section 609.3 of e Florida Statutes states:

     ''Upon the filing of he copy ofthe declaration oftrustand the paym entofthe filing fee, in com pliance
     withs.609.02,the DepadmentofState shall:issue to the trustees named inthe said dedlaration of
     trusta certificate howing thatsuch declaration oftrusthas been duly filed in its office;whereupon,
     *uch association hallbe authorized to transactbusiness in this state'
                                                                         , provided thataIIother
     applicable laws h ve been complied with''

    Thus,the trust,b ore offering securities in the form ofcedificates to investors, w as required to file
    with the Secretary ofState a true and correctcopy ofthe Declaration ofTrustunderwhich the trust
    proposes to cond ctits business.Itdoes notappearthatthis has been done.
      Moreover,the t thas fail    ed to file its declaration oftrust, notpai
                                                                           d the $350.00 fee and not
    obtained a certific te from the Departm entofState and has com m enced to transactits business in
    Florida.According ,the TrustIacks standing to have this m otion enforced in the courts ofFlorida
    and the personso eratingthetrusjinviolation ofChapter609 havecomm i
                                                                      tteda third degreefelony
    underFlorida law. ed ion 609.06 ofthe Florida Statutes. Arguably ifitregistered the security w ith
    the Securities and xchange C om m ission,the trustand its om cials are exem pted from the
    requirem ents ofS tion 609.05 ofthe Florida Statutes to obtain a perm itto sellsecurities by the
    preem ption create by Securities and Exchange Commission authoritiesand otherrelated Federal
    authorities.Howev r,such an exem ption does notexem ptthe trustfrom the otherrequirem ents of
    Chapter609 ofthe loridaStatuteswithwhich thetrusthasfailedto comply. Florida law requires the
    filing.Accordingly, lainti
                             f lacks standing to seekforeclosure on behalfofa trustdoing busiiess in
    R orida thathas notcom plied with the registration requirem ents ofFlorida law . O'Hanlon v.Herndon,
    5So.3d723(FIa.A p.2 Dist.2009).Consequently,Plaintiff,HSBC BankUSA,National
    Association,As T       tee forThe Cedificate Holders OfThe Nom ura Hom e Equity Loan Trust, Series
    2007-1Complaint ustbedismissedwithprejudice,

     Ihereby cedify th tA true and correctcopy ofthe forgoing was sentby us m ailTo :
     AlbedelliLaw P. .Box 23028 Tam pa,FI. 33623 Ph:813 221-4743
     RESPECTFULLY SUBM IU ED,


                       :       zr



      M AURICE SYM NE'
                     ITE                               KURT

        10290 SW 58TH T.                             10290 SW 58T11ST.

               FLA.33 73                             M IAM I,FLA . 33173
CF         '

        Case 0:23-cv-61804-AHS Document                  ?
                                                         @
                                        1-2 Entered on FLSD Docket(().(E'.09/20/2023 Page 98 of 114
                                                                                                                                                                              .

                                <                        j.
                                                                                                                  '
                                             .                                                                       j                     )      .             .
                                                 '
                                                            -                      t'e e--.sl.f   i% .'
                                                                                                      i'
                                                                                                       ari'
                                                                                                              .
                                                                                                         *qtbo. yuwr,èt
                                                                                                                     , odu,
                                                                                                                            ufncr meorzarv'j
                                                                                                                                           îj
                                                                                                                                            ./r-'
                                                                                                                                            p   s,ofiret
                                                                                                                                                       ïirl
                                                                                                                                                          e.Orar-aihact
                                                                                                                                                                      mmf
                                                                                                                                                                        ete
               .        ktsrxssiar..sqpaisuxfur.    cqaoaamukt'i
                                                               rtttgfnvoi
                                                                        îi
                                                                         avu
                                                                           iaw/
                                                                            i'!'iq
                                                                              la tlw2 r.
                                                                                       ç-sc-
                                                                                           hedbtrze,ark
                                                                                                      d.as,
                                                                                                          u-    entssi
                                                                                                           ,ez'r.    .k
                                                                                                                      sltr
                                                                                                                         aave. detlactr   i:aisooxivoraccou'taomtaisheroro
                                                                                                                                       mysr
                        '
                        c
                        ' opy o  tfoa 2:%  feibr v
                                                 .l
                                                  .ihc
                                                     e.om.
                                                       la't
                                                         w.:x
                                                          q/-r
                                                             s
                                                             /etu
                                                              k-t'rnfs
                                                                     i,
                                                                      tc
                                                                    hesh
                                                                       e.c'ociape  nisf'eposlo
                                                                                   e             .
                                                                                               tso ,i
                                                                                                    7
                                                                                                    .errrmvitcwrm-
                                                                                                            ,      vz ï
                                                                                                                      s'vbsi ;
                                                                                                                             re.      .    ,
                                                                                                                                           i)
                                                                                                                                            . .
                        atbasmi
                              . .nsyoqr.xtty/k:.asrts
                                                    ..
                                                             .
                                                               I                 .           .
                                                                                                                     y .                   ,k                              .
                                         . . ,                                                                       ..
                        o,'' ..pieou
                                   t
                                   e
                                   ,k.tRq
                                        .
                                          -
                                          ,c
                                           .- :r,my.
                                                   i
                                                   mJt
                                                     ,
                                                     ttquiva'i
                                                             '.pcoo.
                                                                   wtak'rk'
                                                                          turs,o,
                                                                          .
                                                                                'rk'wzs.sqbeuaes-ay,
                                                                                 di                      .merzs, '!
                                                                                                   d.oqach
                                                                                                      .
                                                                                                                  L
                                                                                                                  ,
                                                           .àc@# c.op
                                                                    yo'  .your.
                                                                              k-o'
                                                                                 ,dï
                                                                                   sz.s
                                                                                      et
                                                                                       qm.foà
                                                                                            'nièu-r
                                                                                                  micoor' lk
                                                                                                           pcti,
                                                                                                               e'emaitt
                                                                                                                      d.ksb.i.,'c'.
                                                                                                                                  )
                        .                ''
                             '                            ''
                              ws,uc,..%
                             'I       .xt pis.
                                             o
                                             .
                                                xa'wd...',t'
                                                 '
                                                                                                           k                k;
                                                                                                                             j
                        el
                         utv  lYsoulkce:
                                        .
                                         sSFINd    bMEfs4'     olbltructl tmxonpave5/)                     (
                                                                                                           1
                                                                                                           j               ,yj
                                                                                                                             -
                                                                                                                             .
!               -
                         NY EoFsoupxx ov.
                           .                   .mcos     œ lxccEç
                                                              ..    hlhlc,slsctlc.           AnoRt 'ta oizjSOORC
                                                                                                           L     .EEOFîuoojas
                                                                                                                         ''r-
                                                                                                                             ,                                                                                          svovsv
                                                          .       . ..
                                                                                                  '           '                                           .                   r        ...(.          .q..                        j
                                                                                                                                                                                                                                  .
                        .
                                 .
                                         :            .       .
                                                                  . .' ? 4/ j . .
                                                                           .                                          .         ...
                                                                                                                                              .. '.
                                                                                                                                                  -                          'k.
                                                                                                                                                                               .
                                                                                                                                                                               k        '.           .(.
                                                                                                                                                                                                       '
                                                                                                                                                                                                       : ' '        ' '
    *
                                     -..                              .                                                    .      .                               ,
                                                                                                                                                                        yzaq
                                                                                                                                                                           y
                                                                                                                                                                           j qy.                      r
                                                                                                                                                                                                      j.,
                         VIIONtIARY'XCI
                                      Rte:CIFI
                                             NA
                                              '. ME'Najolçvsmibers.ot
                                                          '''       l
                                                                    ents.atc:,oft'
                                                                                 thsE
                                                                                    ntr-
                                                                                       ''
                                                                                       ssz'
                                                                                          .
                                                                                          aqon# brrvpprti
                                                                                                  '     ngpeaon%eeins'
                                                                                                                     nlcli
                                                                                                                         oizàoap:t
                                                                                                                                 le51:
                                                                                                                                 .
                                                 tqxtteött                                                                NAM:d#UAJ- sotetss.                                 'AflD/b.O               t,     PRINCCPALBtJ&.
                                                                                                                                                                                                                          NeO
               .                                  tmtisck-riw                                                               di
                                                                                                                             xtltlst
                                                                                                                                   sïss''t
                                                                                                                                         icovt                                loF'sci
                                                                                                                                                                                    tmt:              :
                                                                                                                                                                                                      C      Att#pu
                                                                                                                                                                                                                  q7.
                                                                                                                                                                                                                    Yo/souijct:
                                         .   stlst                                                                                                                            y
                                                                                                                                                                              j .                     j
                                                                                                                                                                                                      .   .
                                                                                                                                                                                                          .
                                                                                                                                                                                                          ..                  ,
                                     .                                                                                                                                       ,                        ,j
                                                                                                                                                                                                       .
                                                              .                                                                                                               V    -                  Y '
                                 ,                                ,            ..                                                                                       '     ('
                                                                                                                                                                              .7
                                                                                                                                                                              *
                                                                                                                                                                              .                . k':y:r.ë.
                                                                                                                                                                                                        .E
                                 .                                            .
                             .                                . .                     .                                          .        .   .       '           ..   . .    ê        L       ' j
                                                                                                                                                                                                 tjyj
                                                                                                                                                                                                    . .'
                                                 '.
                                                                      .                           iwtk-
                                                                                                      t'15- t'
                                                                                                             NT.EItEST'
                                                                                                                      S1$SPE.fJ
                                                                                                                              .IFIt
                                                                                                                                  k
                                                                                                                                  m BI-
                                                                                                                                      YINESSESIliuoz
                                                                                                                                                   uitinp.fà
                                                                                                                                                           /
                                                                                                                                                           jjtI
                                                                                                                                                              zt
                                                                                                                                                               lg:f4                                              '
                                                                                                                                                                                                       N:sssxyj.j:ytz
                                                                                                                                                          .
                                                                          ..
                                                                                                                      Busf
                                                                                                                         neâstN'
                                                                                                                               rfrYf
                                                                                                                                   r1. .                               Btl
                                                                                                                                                                         'i
                                                                                                                                                                          vrklr.
                                                                                                                                                                               o E'NIII'
                                                                                                                                                                                       Y#2 .. t.f
                                                                                                                                                                                                J . E
                                                                                                                                                                                                    St
                                                                                                                                                                                                     JSI
                                                                                                                                                                                g      7. .
                          sAfhEtm ,                    .   .              .. .
                                                                                                                                                                                r              'j
                                                                                                                                                                                                .
                          B(JSIISSSSENTIW .                      .      ' '.                                                                                                    l      '       'r
                           A DDRES3GF . *                                      '                                                                                                1
                                                                                                                                                                                j             i!::         -
                          9USI
                         ,t' NESSENTI          TY.             ..    ''*.                                                                                 .                     r.
                                                                                                                                                                                '             lE'
                                                                                                                                                                                                h
                        eftNlr.  lcfr>At..MLISINESS.   '           '            '                                                                 .                             à      '      t:'
                          ACX9I'     I
                                     -Y                      .                                                                                                                  )              )
                           Fpsl'  fION i#Ekb . '                                                                                                              '         '     f                       ''
                          Wl1  7tfQMrtrf,'      u.r. . '                        -                                                                 '                          i ..                    )
                                                                                                                                                                                                     '
                                                                                                                                                                                                     ,
                          tl (
                            t'
                             l1*9
                              Tfsp$1eMt
                                     B'.
                                       )
                                       rR1t
                                          .1T
                                            'th
                                              Hsé
                                                tZf
                                                  -
                                                  ll
                                                   '
                                                  BUiS5I'
                                                        $
                                                        JIESS'                                                                                                              . )
                                                                                                                                                                              '.
                                                                                                                                                                              .
                                                                                                                                                                              '                      1
                                                                                                                                                                                                     J
                                                                                                                                                                                                     z
                          IQATOREOFV'/ '.                       .                                                                                                             $        .             '
                                                                                                                                                                                                     )
                            OWMFRSH.1/II
                                       RGEi'
                                           T . ..                                                                               ..        ..                                 t                 . .
                                                                                                                                                                                                 )                      '. .            '
                                     .. ..                    ). .                                                             .y         j..agyqjy.tyjj4ajxjxG j
                                                                                                                                                              . j                      ,             .ttj)..        .
                                                                                                                                                                                                   ..j ;y .. .
                                                                  .                                       .                    . , ..

                                                                                                                       cstra'iréng Itl
                                                                                                                                     .
                                                                                                                                         tlan...
                                                                                                                      ''
                                                                       .      F*rof.
                                                                                    l
                                                                                    jdek:regtli
                                                                                              red.
                                                                                                           e afmualêth.l
                                                                                                   tùcomplet                         tlfs.     ltf
                                                                                                                                                 àsettl
                                                                                                                                                      ti
                                                                                                                                                       a
                                                                                                                                                       p 112-3142,f'
                                                                                                                                                                   --&
                                                                                  ,
                                                                                           '
                                                                                     . lCERTI
                                                                                        .
                                                                                               '    .  '       .
                                                                                               FY THAT lHAVE'COMPLETED THE REQUIREDE !                 $
                                                                                                                                                       ). INING.
                                                                                                                                                       ;
                                                                                                                                                       ,        ''

                                                                                  .:                          ,.               .               ::'rAT:oFrtoni
                                                                                                                                                            ohy                                ,     y
                        'l$tttit'p. t'fs-érlwh
                                             cmfr
                                            $1
                                                  otne'appeat'
                                                             g
                                                             i,'
                                                               4it le        '                    'woay'
                                                                                                  s        yo:  tc,r.
                                                                                                                    kr
                                                                                                                     lzmf
                                                                                                                  .z. i . E ' :
                                                                                                                                aj     'inds         qjzscrxe:lefci                 m).,    thi s'''- ';,dayr            zf -*'
                         tieg iracgofl
                             . ..            sfoim,':odèèrksè'on.ipamorafjitick,dfthit
                                                                                     ,        . -
                                                                                                         ,
                                                                                                          ?
                                                                                                          c.- -ê       .-
                                                                                                                          -.  .---
                                                                                                                                 ,  ..,'
                                                                                                                                       ,  -., ...-      ,,.
                                                                                                                                                          '-
                                                                                                                                                           Ei
                                                                                                                                                            '.k
                                                                                                                                                              -')-,. ,..     +
                                                                                                                                                                              è
                                                                                                                                                                              ,.'.' '
                                                                                                                                                                                    ' - .
                                                                                                                                                                                         .  .  .  -
                                                                                                                                                                                                  '
                                                                                                                                                                                                  ,k.
                                                                                                                                                                                                    -. .
                                                                                                                                                                                                          ,
                                                                                                                                                                                                          ..
                                                                                                                                                                                                           .
                                                                                                                                                                                                           --f#  .     -r -
                                                                                                                                                                                                                          :
                                                                                                                                                                                                                          ;k.-,
                                                                                                                                                                                                                              . .
                           Rn4.:r
                                $4vthidthtt'  i
                                              àf ymna,i nf/disrltedx   or
                                                                        j,lhisr .
                                                                                ttmii                . (  j               .                  .                            .             h k  '
                          pl'
                            fif1'
                                î
                                9,)j,ë?lp)
                                         ;r
                                          (
                                          î
                                          1t
                                           ;k
                                            ,
                                            /,l
                                              ki
                                               !tfi'ii
                                                     f,f
                                                       yz
                                                        pi(7
                                                           .99.
                                                              tw'#
                                                                 ,#'
                                                                   j9F
                                                                     r:f
                                                                       :?
                                                                        -
                                                                        ,rù,$4
                                                                             ,,               ' . s
                                                                                                  ,;
                                                                                                   y
                                                                                                   :
                                                                                                   ,
                                                                                                    -
                                                                                                          (.
                                                                                                            t r,
                                                                                                           j,,qz.
                                                                                                                     ,.,,.
                                                                                                                         -.
                                                                                                                          ty.
                                                                                                                            ,,-,.-
                                                                                                                                 ,z....
                                                                                                                                      ;.
                                                                                                                                       g-.
                                                                                                                                         1,,
                                                                                                                                         ,; ;y:k
                                                                                                                                               j.
                                                                                                                                                ;:
                                                                                                                                                 '
                                                                                                                                                 à)..jj.
                                                                                                                                                       :t
                                                                                                                                                        v
                                                                                                                                                        b
                                                                                                                                                        ;f
                                                                                                                                                         sj
                                                                                                                                                          ),
                                                                                                                                                          ..
                                                                                                                                                           y ,jv.(kj;;jq.t
                                                                                                                                                           -,-               ytl'k-+.,..s...J('u
                                                                                                                                                                                               -
                                                                                                                                                                                                .
                                                                                                                                                                                                jj
                                                                                                                                                                                                 -.
                                                                                                                                                                                                  -
                                                                                                                                                                                                  ..-.
                                                                                                                                                                                                     ,
                                                                                                                                                                                                     .
                                                                                                                                                                                                     xp1k,!
                                                                                                                                                                                                          k
                                                                                                                                                                                                          jj1k.
                                                                                                                                                                                                              1jj
                                                                                                                                                                                                                1. a
                                                                                                                                                                                                                   /7p: -d    )t!I
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                 jl
                                                                                                                                                                                                                                  pt
                                                                                                                                                                                                                                   :I
                                                                                                                                                                                                                                    p-
                              cicomyete.''                      '          ' '                     .              ' . !' r . , v' i'
                                                                                                                  .                                                          lk y.         :-  .i'C W G wM'ssx> .          :F1:*,  ::44
                          aq                                                                   '' C
                                                                                                   .
                                                                                                   xr'
                                                                                                            +v
                                                                                                     îrtf--f'
                                                                                                                 z+f .lg
                                                                                                            ;?r,:,-t,zetzitzx-'
                                                                                                                                  .jr
                                                                                                                                 xasj'
                                                                                                                                           s, z. L      .
                                                                                                                                                        a..:(y--4>-/-k-9-;.
                                                                                                                                         r't:).&rrk?rll1)
                                                                                                                                                        ,''-,.
                                                                                                                                                                           )
                                                                                                                                                                          *f
                                                                                                                                                                          r
                                                                                                                                                                             .t
                                                                                                                                                                           2-ï'
                                                                                                                                                                                -y2t
                                                                                                                                                                              6;è-4  t
                                                                                                                                                                                        .xyo.
                                                                                                                                                                                       *V?'
                                                                                                                                                                                                r. .:x;
                                                                                                                                                                                                      us.-..
                                                                                                                                                                                                         >scs . j ,
                                                                                                                                                                             .f8- ..hj
                                                                                                                                                                                     ..q
                                                                                                                                                                                       ...$9
                                                                                                                                                                                           .:,4'
                                                                                                                                                                                               j
                                                                                                                                                                                               ,-
                                                                                                                                                                                                ;.lvliàl ij
                                                                                                                                                                                                          vz----,..'--'
                                                                                                                                                                                                                      -
                                                                                                                                                                                                                      .-
                                                                                                                                                                                                                       .---
                                                                                                                                                                                                                          .--v yyq
                                                                                                                                                                                                                                 s ''
                                                                 '
                                           . ar
                        ''
                                .             .. .'                               . ,            il
                                     .
                            ,                   . . .
                                            .. . . .                            .                 ptvflo/jfalfyjjwwn . zE                j...a...- . tpfl     . pr          l.tmjyfjktjxclmcmjutj
                                                                   '         ..                                                   . '  !'f
                                                                                                                                         E                                      '
                          'l'Nh-
                          s        ftwlneo:.eeeosmNe     .
                                                               og rjc
                                                                  .. .
                                                                       l
                                                                       Ak   ort  cA so y
                                                                                       o v
                                                                                      .. .
                                                                                           u'    T y pEt e f Id  r
                                                                                                                 ih ti
                                                                                                                     l
                                                                                                                     i c vx  io   r t  p
                                                                                                                                       ( .
                                                                                                                                            fo u u  ce u    .                 ,
                                                                                                                                                                              r
                                                                                                                                                                             j;                                           .-.... .
                        .l
                         fô
                         #i
                           *Afiedpiïb
                                    'yclo
                          emuGtcimiplettyt
                                           ouarw
                                         heft
                                                antl
                                             . .,
                                               t
                                               li
                                                    k
                                                    ie
                                                xvinl
                                                      mawd
                                                     ak telièunc.erc.h
                                                              . ..
                                                             ené'    ar
                                                                      aer47:
                                                                           .
                                                                           3'()rattor
                                                                           .
                                                                                    .r
                                                                                     fvi
                                                                                       b'
                                                                                        gtmd.stanjl
                                                                                              .
                                                                                                  tngk
                                                                                                     /i
                                                                                                      th,t
                                                                                                         h0'Flêxet
                                                                                                                 da.
                                                                                                                   .à
                                                                                                                    y.aipr
                                                                                                                    >    qpqt6'
                                                                                                                              dthl
                                                                                                                                 sformforyouwheot
                                                                                                                                          -                   .


                                             .,
                                                                              ..          .             jr
                                                                                                         g
                                                                                                        ..
                                                                                                          ,     .          j)
                                                                                                                            ?
                                                                                                                            k.tt.1I.,          .
                         1%                   .
                                                                      ,-,
                                                                        -,.a--. xp,repel  '
                                                                                          p:the.çf'Fcrm S
                                                                                                        .iini
                                                                                                            le-
                                                                                                              cz
                                                                                                               ozd/ncflwi
                                                                                                                  '      ttf
                                                                                                                           t l      Sec,.
                                                                                                                                        :.Fl
                                                                                                                                           .
                                                                                                                                           oridaCeasntut
                                                                                                                                                       ion,
                         St
                        'anj
                           dcl,ch
                              imfI
                                 >'
                                  1
                                  r
                                  e12.-3144'
                                   cl      .F
                                            'l
                                             orid.aERalutu',aad..t
                                                                 btiinstructtonsto
                                                                                 'tfèftlrm.Ugtmmy'reasc'p
                                                                                                        .
                                                                                                        Jableki-
                                                                                                               owl edt'
                                                                                                                      ek3rd1Ye
                                                                                                                             '  l
                                                                                                                                ftf,thodiscl
                                                                                                                                           t
                                                                                                                                           lsuroherêi
                                                                                                                                                    nlstftlû
                               .                                                                        t                   L
                                                                                                                            ,
                   -
                        -            .
                                         -    .                            .                            )
                                                                                                        l                  k
                                                                                                                           )
                    .    .
                                                                                                                            ,,
                                                                                                                                                                             è                      .,
                                                          '        '
                                                                          .
                                                                            N'l
                                                                              g.fature                                -               .                                      l
                                                                                                                                                                             )'
                                                                                                                                                                                                     9 '
                                                                                                                                                                                                     ,..
                                                                                                                                                                                                             oate
                                                                          ,.                                                                                                                          .
                            P#ep
                               ''
                                arat'
                                    lfm.
                                       oftln',fcrx byftf-
                                                        ',
                                                         P:
                                                          Anra'
                                                          ,   ttfjikqtydio nntrelitvtitlleller(
                                                                                              è
                                                                                              lftll:roppflsihi)''tthsi'
                                                                                                                      m tllvferm qpdt,raath.
                                llrAxvro:fiksia-kA' rtuaotlcku.
                                                              eARs.tctm - irlxessoxAyspwt     gzvfltsljspm pskas'ccanllccltI.  !c,Rs ra
               *.        t
                         !;f!F.
                            : ';'
                                RM'  #!-ëflts
                                            r
                                            ,
                                            -
                                            lp
                                             ldlh    j
                                                     iu
                                                      ar
                                                       kqa20l$   )                                                                                    ,                      (         .            'jr'.                      e/koq2
                         *xeAyçqktzqzilpjvmtlerifz..Aqgvb:
                                                         tt'pf.tkiriv,).bAt).                                                                                                j                       .E
                                                                                                                                                                                                     ;
                                                                                      .
                                                              .
                                                                          .                                                                                                  t                        ,




                                                                                                          %
*
'

                                                                                                                                                                                                                                                                                                        .                            '

                             Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 99 of 114
                                                                                                                  SE                                                  IC           17,                           IT
                                                                                                                     ST                      B                    TaE C                        SE            F                 IT                                1)                         .                1/3
               (x)Adult                       ArrestDatetime ArrestLoc
                                                                    .
                                                                      ation                                                                                        ''r                      AgencyReporW                        OBTS#                            SPN# .C
                                                                                                                                                                                                                                                                       .ourtCase#
               I lzuvem-le 03.
                             /24
                               ./1923.47
                                       . 87sB MAoR                                                                                   -           ..- ' .                                        2c19-(*:44000 q.. o: o lt!'                                                        . ..-. ..
               Defendant'gFMIlName(La
                                 . .
                                     styFirst,MidoS.umx
                                                    j
                                                       ) . ..    .
                                                                                                                         '                                                         :
                                                                                                                                                                                           b.O.B..               Race Sex He
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                            izllt W eicht Hair Eve
                                                                                                                                                                                                                                       .              ..                                                                 AI
                                                                                                                                                                                                                                                                                                                             .
    11         BE            RY. r?J
                                   .A'
                                       SON 'B                            . , z.
                                                                              %-'                        .           .
                                                                                                                     .       .       .                                                     03/05
                                                                                                                                                                                               ./198..
                                                                                                                                                                                                     1
                                                                                                                                                                                                     .. B
                                                                                                                                                                                                        *
                                                                                                                                                                                                                          'M           603
                                                                                                                                                                                                                                         l -
                                                                                                                                                                                                                                           :.
                                                                                                                                                                                                                                            T-b 300                            BL.K
                                                                                                                                                                                                                                                                               '  . . BRO                                '' u
                                                         ''                  . :..t'..                                                                                             .                    .                 ... .. ...       ..r..
                                                                                                                                                                                                                                               .i
                                                                                                                                                                                                                                                ../                                                 .           :
                                                                                                                                                                                                                                                                                                                '             '
               Allases . '                                                               .                           DL Number                                            DL State SSN.#                                       PlaceofBl
                                                                                                                                                                                                                                       'rth                                            PatrolZone
                       .a                                                                                            8516422810850                                        FL                                                   FL
               LocalAddress                                          '           -,z                                                 ', '                                 LacalHome#                         LocalW ork#                    Oceapationc mployer/school

           PermanentAddress                      ,                                                                                                                        Perm nt.H ome Scarw Tattoos..Uni'
                                                                                                                                                                                                          qaePhysicalFeatures '                                                                                                  '
                                                                                                                                                                                            '
         . 875 BANAM A DR TALLAHAS
                                 .SEE,FL 32305.'   . .                                                                                                                                                                    .                          -                                  .                   ..       .

i
!                                '                                       I
.
                     j*                                              * .                                                                                                                                .                 @                 . .                  .                      @ @
                                                                                 ..X '
                                                                                     '                                           .                                g                                                                                 L,'t
                                                                                                                                                                                                                                                    .                                                                                    $

                     2                                                               '                                                                                                                                '                              '                .                             '
                     3                                                                                                                                                                                                                                                             .                '
                     4                                                                                                                                                                                                                                       .                                                                           .
                                          '
                                             i-- ,..1lt
                                                      -
                                                      1-2
                                                        rk
                                                         '
                                                         t
                                                         $
                                                         k
                                                         r-.-
                                                            ..$rfr
                                                                 h
                                                                 '.
                                                                 lq
                                                                  z1
                                                                   .
                                                                   t
                                                                   ,
                                                                   '
                                                                   l -:
                                                                      -!
                                                                       -1
                                                                        :Ez1
                                                                           :k
                                                                                                '' ,t-.' '. -. !, .-: j.,.,.,. -k!- ;'  i
                                                                                                                                        -ïk
                                                                                                                                         .Ji?'. t- i -.. .. - ,- . , .
                                                                                                                                          #'                                     .'' -
                                                                                                                                                                                ;ç                  -- .          ' - ' -.   '
                                                                   ,q
                                                                    ,$
                                                                     ,                                                                                                                                                         .
                           -'           '- -r
                                                                            t1
                                                                             :)
                                                                              ,;(
                                                                                1,-
                                                                                  r
                                                                                  .,
                                                                                   '.!k4
                                                                                     lr4,
                                                                                        yt
                                                                                         ,l
                                                                                          ,1
                                                                                           )tIlê                                                                      .                                 ..                                                                                                               .
                                                                                             tjq
                                                                                               'i
                                                .-                                                                                                                                                                                                                                          .               .

                   '-
                    #t .''
                         L,.às
                            :a
                              .
                               .. î
                                  .v .        .               j  ,  .                       ,y  .                .     ,              .
                                                                                                                                                          .
                                                                                                                                                          ,     :
                                                                                                                                                                , .
                                                                                                                                                                         .
                                                                                                                                                                           . .
                                                                                                                                                                             . .       .   :
                                                                                                                                                                                           .
                                                                                                                                                                                           i;
                                                                                                                                                                                            !
                                                                                                                                                                                            :
                                                                                                                                                                                            4.-
                                                                                                                                                                                              ,2
                                                                                                                                                                                               ... k;       ..    , -, ,,
                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                          g . , i           ..
                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                      . ,,
                                                                                                                                                                                                                                                                                            .

                     Vl.<.
                         œe-i
                            l
                            yvkst
                             a.    At
                                -+%'
                                   u  tn
                                     œ+lnt%eg
                                          b-(.
                                             R
                                             w*..
                                                w.
                                                r '.w-vjuh
                                                         iw C
                                                            zh-I
                                                             %    =Zk
                                                                    y-
                                                                     u,
                                                                     . '
                                                                       rvsgrlxoxl rk.p-.xw twe- . 'Lce  -ha
                                                                                                        o   r.
                                                                                                         -w,-gé '
                                                                                                                I
                                                                                                              .4.
                                                                                                                *lw
                                                                                                                ww
                                                                                                                 -l.
                                                                                                                   tx
                                                                                                                   pew
                                                                                                                    '
                                                                                                                    wr.
                                                                                                                      a.
                                                                                                                      u-l4
                                                                                                                         tu
                                                                                                                          ';eaaw
                                                                                                                               ...'J/,,,t
                                                                                                                                  f   '
                                                                                                                                         kk%   .i
                                                                                                                                                zi
                                                                                                                                                 .k. a-'
                                                                                                                                                       .!.':
                                                                                                                                                           ?).'
                                                                                                                                                              .'tels
                                                                                                                                                                   't
                                                                                                                                                                    ,
                                                                                                                                                                    >.-
                                                                                                                                                                      3
                                                                                                                                                                      uJ-
                                                                                                                                                                      '
                                                                                                                                                                      . ),'.,'
                                                                                                                                                                             t..' i.-B .f
                                                                                                                                                                                        %.n
                                                                                                                                                                                          .--
                                                                                                                                                                                            d.f.
                                                                                                                                                                                               a-.a
                                                                                                                                                                                                  x.-J.u
                                                                                                                                                                                                      kC
                                                                                                                                                                                                       >ata.
                                                                                                                                                                                                          -nxa..Wj
                                                                                                                                                                                                                .
                                                                                                                                                                                                                k&ê-.a.w
                                                                                                                                                                                                                       ot
                                                                                                                                                                                                                        4C aa
                                                                                                                                                                                                                            6
                                                                                                                                                                                                                            h
                                                                                                                                                                                                                            .-
                                                                                                                                                                                                                             lpw
                                                                                                                                                                                                                               l
                                                                                                                                                                                                                               .
                                                                                                                                                                                                                               x
                                                                                                                                                                                                                               gwq
                                                                                                                                                                                                                                 s
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                 l
                     1' 94.0112A ' 2694 FC                                                                       EX ASSAULT BY 18YOA OLDBR SEX BAW BRY W CT                                                                               ER '
                                                                                                                                                                                                                                             ;                            . 1               (x) (' )
                                                                                                             12 YOA
    t
                     2 800.044A                              4007 FS                                             EX OFFENSE-AG                                ST CHILD-FONDLW O VIC                                       12YOA IJ.
                                                                                                                                                                                                                                  P                                       . 2               Ex)             ()                    p'
                            .                                                                                    o '16YOA
                     3                                                                                                                                                                                                                                                    '
    1'                 *                                     .                                                                                                             .e-                                                                                            '




                     5 ,         .
                                                                 .               .                       .   .                                                                                                                             sf(
                                                                                                                                                                                                                                             ,8
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                              ,.
                                                                                                                                                                                                                                               -                               .-               .               .                        .
                                                                                                                                                                                                                                               ..
                                                     .                                                                                                                                                                                     -.% '
                                                                                                                                                                                                                                               an
                                                                                                                                                                                                                                                   ya j;ae',
                                                                                                                                                                                                    .                                                    .c..
         -           6                          '                .               .                           .                           J                                                                                                  .i  >:1a%    . . . .- .                                             .
         * ,                              '
                                                                                                                                 .                                                                                                         '
                                                                                                                                                                                                                                               >  =            -.
                                                                                                                                                                                                                                              .* .-: .t                                                     -
                     7      *                                    .               .                           .:                      -                                                                                                     *.
                                                                                                                                                                                                                                           .*'(.
                                                                                                                                                                                                                                               2D7: ,- t . .    .                                               .
                                                                                                                                                                                                                                           - 'W
                                                                                                                                                                                                                                              <t70,
                                                                                                                                                                                                                                                 =ls
                                                                                                                                                                                                                                                   6
                                                                                                                                                                                                                                                   :.y/
                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                   '                            *
                     8                                           .               .                                                               .                                                                        .                         5.;
                                                                                                                                                                                                                                                      1.xu
                                                                                                                                                                                                                                                      .                   . . '-. . '
                                                                                                                                                                                                                                                                                    !                           .
                                                                                                                                                                  $                                                                              .'23''-
                                                                                                                                                                                                                                                 C                             ' '              .
                                                                                                                                                                                                                                           ** l- -
                     9               e,                          .               .                           .                               .                                     .                                  '                             fw
                                                                                                                                                                                                                                                     rl               ,
                                                                                                                                                                                                                                                                          .*'
                                                                                                                                                                                                                                                                            .. '                . '              .
                                                         .
                                                                                                                                                                           '                                                                        NJ                    .        e

!                    10                                                                                                                                                                                                                                              '         '
                     1l                                          .               -                           .                                                        .                                                                                                   ..   .                .                .                       I



                    13 .                        .                .               .                           .                                   -                .                                      . . '            .    ....        .          .          . ...
                                                                                                                                                                                                                                                                               .        .
                                                                                                                                                                                                                                                                                                . .              .
                                                                                                                                                                                                                                                                                                            . . ..               .


                     14                                      '                                                         '                                                      '
    x
                   ,.; , -.;.
                       v..  '.
                             ;.>
                               .
                               -.
                                :,
                                 ..-..
                                     e ..- ,...
                                              :.e.,
                                                  :... ..
                                                        %..
                                                          e.r
                                                            'w-
                                                              v.
                                                               '
                                                               .. o.
                                                                   v!q'.-
                                                                        ;:,
                                                                          %$
                                                                           .1..
                                                                              w...t
                                                                                  vr.
                                                                                    q, ..
                                                                                    ,   2 % ..'...,:. .j .....i
                                                                                                              '..'
                                                                                                                 s....
                                                                                                                     ,.
                                                                                                                      ç..v,
                                                                                                                          .
                                                                                                                          ,
                                                                                                                          a%..e.
                                                                                                                               w..
                                                                                                                                 ,'.,,.
                                                                                                                                      u..,
                                                                                                                                         .
                                                                                                                                         l
                                                                                                                                         ...
                                                                                                                                           '
                                                                                                                                           <.k,.-..
                                                                                                                                                  ,1
                                                                                                                                                   .,
                                                                                                                                                    c..
                                                                                                                                                      /..
                                                                                                                                                        @.. .
                                                                                                                                                        '   -..
                                                                                                                                                              -a...zi
                                                                                                                                                                    vj.g.
                                                                                                                                                                        ).w..
                                                                                                                                                                        '   z
                                                                                                                                                                            $.
                                                                                                                                                                             ;r
                                                                                                                                                                              y
                                                                                                                                                                              N,
                                                                                                                                                                               h.aa-.
                                                                                                                                                                                    ,.,....
                                                                                                                                                                                          '
                                                                                                                                                                                          *
                                                                                                                                                                                          .
                                                                                                                                                                                          kl.
               *                                                                     . ...       ... .                                                                                                                                         .
               @                                     *                                                                               *                        @                                     '                                               C...v *. .                                               .
                   lfRelease*lsApprove; DefendnntShouldbeEleckomcnllyMonltored?
'
                                                                                                                                                                                           S        . '>                              .             .
                                                                                                                                                                                                                                                    ,                .'                                                      k'
                       .                               *'          .                         .                                                       '   .>                                                                   %I!          @                     .                                              l.vp;:gVL. '
               :
                   jfl. .ss
                          >.
                           ' .
                             u9f'
                             ,  .'
                                jpl
                                  r.1.
                                     1q11.1:y'rvj,,.
                                      .!
                                       ,
                                       .
                                       '           1-
                                                    Ry
                                                     ... , .(
                                                            -
                                                            '.
                                                             'x
                                                              ''
                                                           .. x
                                                               ej
                                                                'l -y
                                                                    Fyvo!,,. .kN,...s,r - ...,..z.:.m.:.x.,..-.-,.&...r-s.-.butf,!, .....-1...,,.-.p..,$!, '. kr.w!sKx.kw.-.et
                                      J * '*'''-- - *'''F . ''--' - ''*' ...
                                                                 ''''
                                                                                                                                                                            ,
                                                                                                                                                                              siqwq!-
                                                                                                                                                                                    ,v
                                                                                                                                                                                    .
                                                                                                                                                                                     -
                                                                                                                                                                                       .%.4x .-z.uo..xkll
                                                                                                                                                                                                        ,k.;ytyu!.,..-.kw?,k1.',. ;.au.,.,.I..
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                              4uv..q'k.i,..'
                                                                                                                                                                                                                                                        . .
                                                                                                                                                                                                                                                           ;zu.v,s.
                                                                                                                                                                                                                                                                 .


                   AlrnntS' nature                                       ''                         Arrestm
                                                                                                          ' gOm c
                                                                                                                'erNam e/ld#                                                                     Arregtm
                                                                                                                                                                                                       ' gAgency/om #                                                                               '                .
                                                         .                   .
                                                                                                    N/AG R                                                                                       TALLAHASSEE POLICB DEP
         *
                                                                     .                              M                                                                                             FL0370300
                                                                                                    559           J              .                                                                                                                                                                              .
         *                                                                           .
                   03/25&019 00*45                               ' '                                             %                   -                                         .                        '                                                                                   .
             *..                                             .

                                                                                                                                                              l           .'     $ !
.                                                                                                                                                             '                                                                                                                    --                                                .   i
                  Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 100 of
                                        SECO O JUDICAL 114 CG CUIT
                                                          ARREST/PRO BABLE CA USE A FFIDAW T                                                                         2/3
    Defendant'sNamq                                                               Itae:    Sex                   P.O.B..            .AgepcyReport#
    BBM BRY,JASON B                                                               B        M                     03/05/1981
                                                                                                                        ......-
                                                                                                                                     2019-00044000
                                                                                                                                  - .- .       .   -             '
*             -           *       ' .....
    Theaàdersiglied certmesand swearsthatY /shehàsjùstàndreasap '                                        ndstobilieve,auddoesbelievethattheaboyenained .
    DefeàdantxoéSuadayMareh24TH 2019,atapjrtYmately23:47,at                                                          didthifoll@wingviolationofIam .   '   * '
                     %'       .                                                           s.. ' . . ..     . .      .
    On 03/25/20.19 atapproxim atley .11:47 PM ,Irespondedeto                                                      in rbferenceto asearch warrantat
    thelocation.'l'hesearch warrantwassir ed glong with three a/ejtwarrantsby Judge Sm ii .Responding'
    offkérsH ocked on the doorwM ch wasimm ediately answerëd by thesuspect,Jason Bem bly.Bembry was
    placedunderarrestandtransportedtoLCJwithoutincident.Mjbödyworncamerawasactiveatthetimeof
    Brembry'sarrestand transporttoLCJ.

     CourtCale:N/a(1nhandsi> edwagants)
     Date:03/24/1019
     Charge:SexualBattery(W ctim <12 Offender18<)                  @
     FS
     BoS:
       nd:794.011(
           FAR   '2J
                   1(p)               .
         *

     CourtCase:N/a(fnhandsir edwarrants)
     Date:03/24/2019
     Charge:LewdOrLasciviousBat'
                               tery(2Cotmts)
     FSS:800.04(4)(a)                     @
* Bonœ FAR                                                         :

     Afth nt 'gnatur                                       S     restingOm cerName/ld#                            Arresting Agency
                                                           '
                                                               WA
                                                                'GNER                                             TAI,LAIIASSBE POLICE DEPARTM ENT
                                                  '            A4                                                 FL0370300
                                             v.
                                             .
                                                      .        559                               *
                                            z'                                                                                             '

     SworntoandsubscribedbtforemethisM ondayofM arch25TH 2819                                                               'fyingOmter .

     Detentipn faeility                                        '                                                        restDatem m e
     Leon CotmtyJail535Ap leyardDrive,Tallahassee,FL 323b4                                                        03/24/1923:47
     Boo ' Offcer                    BondA mount Aggravalng Factors

                      j                                                '.




    .*fJx/x:..-*''
                   Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 101 of
                                          sEcoND JubïcAt114 zCI ACUIT
                                                                      VICTN INFO RM ATIO N                                                                                                   3/3

      # FDLE StatuteVictha'sNam e                                              Victim 'sAddress
                                                                             '. ..
                                                                                                                                                      'Homq#               W ork#
                           .'       '           '            .. ' .                               .'    .. ' ' ' . ' . '     ' .
                                              ' .
      1 94.01.
             12.
               A, ''EI. è
                     %
                     .
                     '    .ttë
                          '.  .
                             ..
                              p
                              .,.'
                                 . )2
                                 E  .. ' : . ,
                                             .               ..       .. .    . :.
                                                                               .  = .:.r(,....,. . ,j,.
                                                                                     .   .
                                                                                                      '-... (
                                                                                                            ,,;.,
                                                                                                          . .     t ,(... L
                                                                                                                .).  .
                                                                                                                          '<E
                                                                                                                            .t,,, .''      ,.
                                                                                                                                         : .
                                                                                                                                    ,,k.,.
                                                                                                                                         .  ..t
                                                                                                                                              .u'                                                .
                                                                                                                                                                                 '   '
      1. 94.0112A           LORD A STATB.
                                        OF                                          CAPITOL,400 S.M ONROE ST., .-                                     .   .
                                                                                                                                                              .   :.'.:.             ::,
                                                                                                                                                                                       . ' .
                                                                                                                                                                             .       .       .
          ;        .   '
                                                                                                        ''
      2 800.044A            '
                                    .
                                        . .
                                        ... . .   r
                                                  !
                                                  77
                                                   '.''ES
                                                        '.'.-'.                      ë.
                                                                                      :E
                                                                                       -L
                                                                                        . 'F
                                                                                        i.. sL''.'
                                                                                                 . .. -    j
                                                                                                           '.
                                                                                                          .- .   .
                                                                                                                         '
                                                                                                                                             ..
                                                                                                                                              ïè.?
                                                                                                                                                 L
                                                                                                                                                 q
                                                                                                                                                 -
                                                                                                                                                 '
                                                                                                                                                 ï
                                                                                                                                                 kL
                                                                                                                                                  .               '                      .
      2 800.044A '          LOY DA STATE 0F* *                                       I.
                                                                                      m CH ITOL,400 S.M ONROE ST.,'                            ''.                ,, '               .
               '                                    '    '
  o                                                                                  AI. L'
                                                                                          AHASSEE FL 32399                                                          ' .


 Aflant 'gna.ure                                        'Arrese gOfseerName/ld#                                                    Airese gAgency
      '                         '
                                    W AGNER                                                                                        TALLAHASSEEPOLICE DEPARTNG NT
            .             .,,l      M     . .                                                                                      11 0370300
 '
                                  .  559                                      .
                                                                                                                                   A geucy Reporg: 2019-00044000
*                              .       .               .
   Detnlon facility                      :       '                                                                                 ArrestDale/Tim e
   LeonColmtyJail5.3 AppleyardDrive,Tallahassee,FL 32304                                                                           03/24/19 23:47
 Booking f5 er                      I
                                    1
                                                         Btmd Amount AggravatingFactors
              ..



                                                                                                                                     !                                                   *




                                                                  %
            Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 102 of
                                                 114


              j                                               j                    j
                                                                                   myjp
                                                                                      jy
                                                                                       .k
                                                                                        s
                                                                                        e.
                                                                                         s
                                                                                         r
                                                                                         .j
                                                                                          u SPDfAyy
                                                                                                  jj:jg.
                                                                                                       ,
                                                     YI
                                                      -                   zjjjljjk2..
                                                                                    5 pjj
                                                                                        .j .arraut#z jp                             gj
                               .   .     #           -.-                               (;.
        *                                    %                                            uy.       gsgkgcyo ge#: jn-jz
                                                                                                                      s gc
                                                                                t
                                                                                -l:'f71)4;.
                                                                              cLL          FsM.
                                                                                              >t
                                                                                               .
                                                                                               'ib m.rI.o.#: s6)
                                                                               .

                                                                              Lgf
                                                                                -.
                                                                                 -
                                                                                 ai
                                                                                  kp
                                                                                  v.t'
                                                                                    cft
                                                                                      l.
                                                                                       cc
                                                                                       tl
                                                                                        qt
                                                                                         . #
                                                                                          F'
                                                                                           yt3
                                                                                             t
                                                                                             ''
                                                                                              n
                                                                                              '
                                                                                              Lu
                                                                                               .17i
                                                                                                .
                                                                                                  .
                                                                                                  a g#
                                                                                                     . e: sevuxlBauee (via m <1c
                                                                                                            Olemder18<
                   STATE O F FLO QTIIA                                                              Dev eeofflharge: cy
                                   vs.                                                              statateNots): 794.c11(2)(a)
                    Jason Bernard Bem bry                                  W AQ RAN T               DoB: (B/ps/1981 '
                                                 .                                                  dexz   M ile
                        875 Baham a Drive                                                           RaO    Black
                                                                                                    Heiglm 623
                       Tallahassee,FL 32305                                                         w ejgu
                                                                                                    na,-r.
                                                                                                         . black
                   .                                                                                Eyes: brown
               '
     IN TH EN AM MAND BY TH E AW H ORIW OFTH ESTATE Or FD RIDA:                                     SSN
                                                                                                    DL#z 8516-4224 1-081



    Beforeme,theunderaignedypersonallyappearedIxlvestiN torC-reltone tevens,whobeing*rstduly swornsaysthatontbe1. dayof
                               .   #
        *                                            .,

    Januarp2015,inLeonCotmty,Florida,tleaforesaiddefendantdidunlawfullycommittasexualbatteryupo                              aperson
    1- thantwelveyearsofageabypexli,tovaginapenetrationaaqd thedefendantwas18yearsofageoroldc,




                                                                                                :rzmtrazytoSection-a7@4.011(2)(a)ES.
    contrarytotlk statuteyrule,regulationorotherprovisionoflawu sucltcw madeandprovided,andagaine thepe:ceanddiplityofthe
    StateofFlorida

    d         THESE ANE,THRREFORR tocommandyoutoanwtinstante f
                                                             heaforesaiddefendantandbtin/hl
                                                                                          'm oriv beforemetobe
    ealtW th accordingtolaw.

               Give.nunderm yhand andsealthis                     dayof
                                                                                                       .

                                                                                                            2019.
                                                                                                                              .xk%y%%
                                                                                                                              .
                                                              -                                                              çz
                                                                                                                              %M%
                                                          d
.                                                                                         ,
                                                                                                                             (sEAL)
                                             %   County'/ r lt            t        e                         Cotm ty

                                                                     ,                                                 W AkIG NT

             W EIEv- dlte --                                       FloridaOnly




                                                              *                                                                          .... ......--
'

                                                                              &   .                                                                   #
            Case
               * 0:23-cv-61804-AHS Document 1-2 Entered on* FLSD Docket 09/20/2023 Page 103 of                                                                        @

            @                                    114 e                                                                                                            '
                                                                                                                                                                  @

    :                             - ....r- .:-'- '                        @                                                                       *


    IN 'PH E C O U N TY C O U R T                                                                                                       .
             LEON
              .
                  CflUNI'Y,R ORm A                                    .               Reoeived the W srranton the                             .                       .
                                                     '
                                  .   .                                               dav of                            . . .2019
    TITR STA TE OF FL O RD A ,PLM NTX
                                                                                       .                                       >
                                                                              '
                              Vs.                                                     and served sam e on the                      '
                                                                                                                                   day of             '               .
               .
                                                                                                                          ,    x jp, yy
                   Jason Berm rdBembry                                                delivering atnle copy ofsame Y thewithin
                   '
                       '                           Defendant              *                                 '                                     -
                                          '
                                                                                      nameddefendalW                      .                                           '
                        875 Bo am a Drive                                 Y
                                                                            '                  '
                                                                                                                         .
                                                                                                                         '                        %
        .
<                      Txllshassee,FL 323:5                       <
                                                                             .              '                                                             .   '
                                                              .

                                                   Jkddress                                                     .




                           AR R A                                                                  Sherië                    ComltyaFlorida


                                                                          .           By:
                                                                                                                             Deputy sherie
        S,='%IBatterytvirt-
                          z='<12Offender18<                                                                         '

                                                                                       Asskn toTallahassee#/llee.De#- - /'
                                                                          '           Invesltkatorc FeltonGtevens (891-455T

    TsTE AM O UNT O F BAH ,IN Tm S CA SE
    IS HERERY SET IN 'PHE svUM or .                                                                                                           .
                                                                                                                    N                                                 s

    s                         C W V .-J , .) p                                                                                      '
                                                                                                                                                  t               A g/
              ïc   *          .
                                  .ç'     .* ' *   .<                             '                     *
             Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 104 of
        ID#:18158
                                                                         114
                                                                                       D lq & lC 'z-
                                         Tallahassee Police DepadmentCase #2019-44000
                                                                                                                        eo                 eeeR
                                                                                                                                             Kv&w
!                 (l)To be5Iedwith theClerk çfCourt                                                                          W*              ..q'?e
                                                                                                                                                  A.
                                                                                                              c> ,                &&            x v
                               APPLICATIONANDAFFIDAVITF.ORSEARCHWAppwxv
                                                                     -.
                                                                      -c
                                                                       ..
                                                                        '
                                                                        J
                                                                        .L
                                                                         ..
                                                                          (
                                                                        )?.
                                                                           ). x
                                                                          , ; rt
                                                                                 ,
                                                                                 .a ç&
                                                                                     <
                                                                                                                   .
                                                                                                                   rb.y.
                                                                                                                       .- .
                                                    Imnoundedltems, F.S.933.02
                                                        '-
                                                                                                               ,u;,,a,;
                                                                                                               .   .
                                                                                                                       (y
                                                                                                                      -,-,.
                                                                                                                         ,
                                                                                                                          - ..
                                                                                                                             o
                                                                                                                             a.
                                                                                                 4g.
                                                                                                   )
                                                                                                   -
                                                                                                   ..
                                                                                                    yO-F;,
                                                                                                         y e' s:
                                                                    .                    .          . ... .    .
                               .  ..
                            A LL VICTIM .1N).FO
                                             .                  .
                                                                        A TION IS CON FID EN TIA L,.ry   Z
                                                                                                         qFP,  0.             ,
                                                                                                                              ,
                                                                                                                                            .

                        '        IN THF, CIRCG T COURT O IiT'IE SECOND JUDICIAL CIRCUIT                                î.
                                                                                                                        r4-,
                                                                                                                           <
                                            IN AND FoR LEON COUNTY                                                       ,> e
                                                                     I FLOI
                                                                          O A                                             bh+
                  '                                     *
                                                .
                        1,*gtCka-g.tta Felton,oftheTallahassx PoliceDepartment atterhavgng beenpmperly
                  swom by aperson atithorizedby l&w to adm lnioteroaths,do mspectfullysubmk thisApplication
                  alldAmdavitelece nically.ankIyerebyswearoramnn,underpenaltyofperjury,that1am aduly
    %             enipowemd 1aw enfoxementol cer,and baseduponmyknowledgeofthefactsandlnfo= ation
                  comprisingpx fslnthezatterp- ned,therelsProbabl:Caux toestablishthatFloridalaw hRs
                  * 0 violakd by thecommisslon ofafelony orstailtorlly specised ofrense,tlœ offensebeing
                  speciscallydescribed below,thattbex arepmperlegalgm undsforissuanceofaSeamlkW armni,
                  and thatthe particularly described property to be sehed shallbt found in nron thz padictllarly
                  desçribed itemsts)hnpounded ettht Tallahqssee Pnlice Dçp.dmentlocated at234 E 7* Ave.
                  Tallahassx ,FL 32303,to bedearched asevldenceofsuch oFense,asrollows:                                                *

                                              FLORIDA LAW H AS BEEN W OLATED:
                             Sexu:lBattery(Vlctim undor12andO/enderover18),FloridaStatute794.0i1GXa).
                                           LEGAL GROUXDS PURSUANT T0 F.S.O3.0Z:
                               The pm pelly conptitutesevldence relevanttoprovingthata felony has% en co-mitted.

                      PARTICULAR DESCRIPW ON OF PRO PERTY TO BE SEARCIIED:
                      Cc> #:2019-44000
                      Item II.IJ
                      Item Deacr/p//ozrElectlonlcs(Kodak& l+ Shttti Camera'& ?$t)aSureSht)?Camera,'
                                                                                                  sklglfe
                      Harddêlw.Iphonê.% Ipo4 fe-m ?uFlashdriw

    4                 PARTICULAR BESCIdFIXWN OF PROPERTY TO BE SEIZIID)
                  '

                      Infomwtiontobeseladfrom cellulnrdevicesfînsideofitem #11l9?eJt?âoe):
                      Digitqlinformatlen llwluding?buthotlimited to:Subscriberldentity Modulets),mass media
                      storagedevicessm edlad:tatomcludepictux and vldx contgnt,Textand/ormultim edlamessages
                      (ShortMessage Service (SMS),Muitimeia Message.Service (MMS)smobile thatmes:ages.
                      iM:ssagp third paltz communioation appllcation messages), emails, contact/phonebook
                      informatlon. inx mlng and outgoing call informatioa, doçqmçnts/lmtes, dea/riyen data
                                                    .

                      iuformation. calendat entrles, passwords, phone applix tion information, wilxlc s network
                      informl on,stored Iocatlondata,audio flles(intluding voixmailseitheraudio ortmnscribed),
                      l:temetactivity(toincludeIntemethls'tory,Internetsearcbqueries,and lntemetsearchxsults),
                      third-pzrty applicatlon conknttnd information,and the information xgarding the xpeciflc eell
                                                 *
                      phoneto includesub-
                                    .       qcriberand eqpipmentidentity.
                                                            '
                        g



                  .   PD 314Rev10/22
    1> -
       .iCase
         81s80:23-cv-61804-AHS
              '                Document 1-2 Entered on FLSD Docket 09/20/2023 Page 105 of
                                     @                  114
                                Tallahassee Police DepartmqntCase#2019-44000


              lnformatlon* beseizxdfrom computerequipnwnt(ltuideofttem #11lz.
                                                                            v/e#lâryve):
              Digh linformation including,butnotlimizd to,medi:datato includepidure,audlo,andvideo
              conten:Toxtand/ormultlmedigte suges(ShortMesjageServica(SMS),MultjmediaMessage
              Serdtt(M Msl.mobile/lv*rnetmhatmessqges,iM essages,tbirdpgrtycommunioatlonapplication
              mpxges),emallgyconlct/phonebook lnfbrmalion.any andalIdoçpmentino- alatd * the
              speclfled trlmelistedbdew.data/meu dqalnformatlop,uvlendarentrles,passwords,wkele=
              network infnnnation. stoxd Iox tion datw third-party applitation content and inFormation, '
              op- ting systtm information (to include Re istry tllts and Syskm Event 10> ),and any
              bnformationusedtoidentifytheperson/sthathRddominlonandcontroloverlheltemtsllisted.
              PROBARLE CAUSE:                                                            .

              Tlw fpttsand infownttlonibteinedbyyourAmantwlthlvgad tothismRttercomprisepronfs*
              establlsllPmbebleCause,aspcctfkllysubmltted % follows:
              ***Thebelow Jll/@l'>lfl//@?l*/,
                                            çs.bmltted ln 2819/41.tltexee/'c/lefilterez/#eareœa#l/e-:of
              o//e/le:aelzedfkom f/le*stdènce.T/le?tew tlte#/:/e-ell/#wltldnl'e/el whRt*/:
              Itqppenltq @/thattlm elx'2#J#.***
      k..
              '%OnMarch24,201% om cersregpondedtotlw TallahasseePolicçDe artmentlvgardihga.
                                                                                          m pet
              ofsexnalbattvry.tlm cersmadecontattwlth tlw Rvporting Peraons                  and
                     . 80thqomplaltwntswereiccompenied by theirdaughtet# vidlm,                    and


                           isthemotjerof               (hqmaoerIvfgnvd toa:Vlctim I).
             'istheed-glrlfriendofthçsuspect(Jsson'
                                                  Bembry).Sus- ctBvmbrystlllxsidesatthehomeat
                             aqd thoy donothaveany ehildx :i:common.SuspectBembry and
                    sleep inseparatelvom:vnd               iscu= ntlypr:gn:nt(SuspeotBembryIsthe
              fatheroftheuôborôchlld).             IsthesisterQf             ,           isthg
              motlwfQf                (hexaherxlkrr4dtoasVidim 2).Victim 2dœ snotresideatthe
              aboveRddmsslowever,shevisitslwrqovsltt(Vlctlm 1)maybeontqamonlhof:Y:? other
              month,Botb thevictimsgm 14yegrsofage-
              AqçoidlqgtoVlctlm !,guspectBembryhagbeetlsexq.llybatteringhersinx shewasinthe;AlI
              grade.M ogtofthesw incidentshaveoccutx dAtthelrshared homeat                     .Priorto
              thesexnalbattery,Victlm lstatedthatSuspectB@mbrywouldtouçhher(botbontop:nd
              tmderlwathherclothlngl.-ldewouldtouchherbuttotks,htrvaginaandwouldmakv:stgtementj
              :%Tàlsratpussy ismine-''Vidlm 1dtscribcd xveralMxualbatltrita.Shcstqted.thqtmpstoftbe
              svxuRlbatterieswould besimllar,Susm ctBembry would nnrm allym.
                                                                           essageheronInstagram
              anda:kVicîim ltc come in* his bedroom .Hc wouldnonnally messageherè'PuIlUp''.Or,
              somdimeshewoulduseemojis,/tthetongueo;tvmojimeansomlsexandthemaçhemoli
              meansxxualintettpursm''Lqstweek,SuspectBembly messqged Viçtim 1tocome into his
              bedlx m.Oltte intheba m om,hetookofrherclothesandbesactouchlngheron hetbqtttmks,
              vaglng,EndbxasttbothbeforpandaEçrtlltclothe,çqmeoff).Htthenltd hertobedEndhe
ë             walked overto tlw çloselto getacoqdom .Onceheputôltthetondem.he y netmted hervagina


              PD 314 Rev 102 2
     '
    *a
     '
.
    *i> .1Case
         .
          :1s:0:23-cv-61804-AHS Document
                                      @ 1-2 Entered on FLSD Docket 09/20/2023 Page 106 of
             *                        :                 114

                                  Tatlâhasee:PollceW partmentCase* 019-44000
!                e hh1:m nis.Thislâsted forvboutan hoar.Onc*he snislled,shewgnt* hûrbed-'m andD t
;                jnbH .
                 Vleflm 1mclld o otherltident'hmtotcurmdo,Fridqp Marqh22,2419.VlgtM 1siatd tlwt
                 Sepeë Bembv wahttdto<'h.vexx''witil
                                                   aerandsbqdidnotwant* doit-As:v ult,Sqspu
                 Bembl Sçmadeherm rform orRl= ophlm.vidlm lstatedsheN orme oralsexonS> ed
                 éembe =tllheelatulgtH lnlterm-tth.Sltemtallithllw we teing* lnxu hetswallow lt
                 ho- versla did not Shesw tthesemtnoutontherobeth tSuspu Bembly wovldhormalfy
                 placeunderhisO dy so thathuldewould notgetonhisbH ,
                 ltshouldbennted.Vidim ldiscloe xveralrœ o:swhy she lsreN rtinp Shwstate
                 dizclosedlohermotherabout:y> ragohowevqrsshmdidnotbdievehûr.(Hermolor
                 waslateràsked,.nd!heO nflrmH this).Wllatplln>zlhe totvportage isthatAereare for
                 herllyea- ldse r.Shedidlot- ntth:xafn:thinytobap entolmr.*1ltenextr- en,she
                 sœedthatshelsjusttixdofitatthisN int-lnA'Mition,+@lixtd thev entblace all(Susmet
                 Bembv th- tening * *llhc mothtraboutmessagesviastxlalmedlo.Victim ldlsdosedto
                 llw Childan'sH- eSocletyCopdlnator(S= hChristowich),1* shehadsuieldalldeatlonsin
                 tlè m st--
                          rhiswould aormally occueontethezexualbattery hadconoludedandsherttemedto
                 1. room.                               '
                 Vidlm 1gts:disdosed thqtSuspectBembry 1- o rdedthçstxu/ h ttery onblsphone.ln
                 addltioa,hel,assenttbevid:oaadphotostoM rvigIpswgl%m.Hewasabletodvltlethe
                 mesmo showeverynotbeforeVlctim 1waséblotoscttellshotaphoto.Vidim 1sl-edthephoto
                 gMwssuspxtBembry'sp:nislnllervh* (noratts).Viotlm i'sInstagram is '
                 .           andae- rdingftVidim 1,Susm d Beme 'sInstamam namels
                 Gbuuhe - n.Dqrlng V ttim 1',intvrviep,:lw addqdo tshehas.1:: e aived
                 photo#- sa- fmm Sumu BembryviaS-pehat.Vletlm 1'ssna> 1:                     ed
                 suspvqtBeme 'sgpam'lotismobY ssifdayqyo(aex
                                                           zvkedlpgtoViotlm 1).
                 DkringVlctim 2*sYterview,.hedisclosd thztSm o tBqmbrybeNn''touo fnghereaM uta
                 yearago.Sus- Bvmbl wouldtomtintot1w room i11whidhshewasaleepingO dbegintomb
                 herleg.Viotim 2sfatedtbatSqspvctBembryneverwentbeyondhefItgbecaux :1w would
                 move.However,Sulp/tBembe wouldattempttoblackmailViMlm 2aldViçtim 1.lnoderto
                 eagqgçin x xualact-
                                   tv* x wltlvhim .ActordingtoVlcîim 2,SuspectBembv h- thepassx d:*
                 Vldim 1'ssocialmediRa= Mnts.d  M amsùltmlperm- acrosslnstapa- me- gestvgaTdingb0t11
                 vidimstllkinsabnutbnys.SuspxtBembrytllenusd tlm meKxagvsgndmx    e-O y madlp
                 statenwnttoVidlm 2M ng,*1'm Imldlngasetretfnryoubutl*m ndo        gelzytllingin
                 lf*m .''Svqy d Bembry hasmessaged Vldim 2on Inshgmm askklgl rsexualf:x l'
                                                                                         :.Vlçtim 2
                 Alsom *dthatSusp- Rembe sent1< (vi:lnm gmm)aphotoorh: ptnis.Vldlm 2m tqd
                 sue tBeme ':lxtagram 'Isebussherowa''.Lastlw vfdl
                                                                 'm lakolppmachedVlctim 2ae ut
                 I/vingsc withSus- Bembry.Vlctim zadvleedGatVktim 1toldhqr,''YoushouldjuKdelt
                 aM getltovefwlth sothathewoqtd s% pllamssing meon lnslegwm'svictim 2 gdvisedher
                 Inskm m namels            '
                 ltshgqld % note .ln 2010,Sespœ Bembry h;d been tEe RAlIegH Ferpetmtor'*ln atleast2
                           tprcàildm nand Fam rlle,Case ln Dâde/Browal'
                                                  .
                                                                      d Cm ntyl

                 PD 314Rev 1A 2       -                                                              3
    1* -
       . 1:15:
          Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 107 of
                                                                  114
                                      Tallaham- Pollce Depaft- ntGa:e#2M 9d 4* ;
                                            @
                                            ''                                                 . . .    .
                     .                  .        .
                '
                    * Vldim 9 yems ofazW DCF C.- #2011 24693: and t11@ sadiag,we> K'No Indie m''.
                      n enoe sle Suspx.tB- bl hadb- a>''.* oflwvlng- with                      .
                    * DCF 0.- #2010-246M Sus- Bembryhu bxnhavingsexw11 child
                      shx shewa: 12 y= JId ald themetherd- nd *11- tlteallegatiœ aN nsthlm
                      (Fiqding#NùtsvY antiatd l.''
              Basqd on tlle.lafo- tlon Rbuvp?x lw ldvntlatw arctxwarmptwassoughtand execut:d œlth*
              e dente of                    m
                                            ' 2019.A:av ultofthe sqamh warran: multlpleitem ,we>
              iëpvundedtoinclul tllesesw d'stellularphonl.Itshouldbtnotvd:WdeosofSuspœ Bembq
              enogd ln -x..a1actswlth V1wero- awerd fmm 11:*susp- 'stellularphone-lnaddltiok
              = mhwa> ntstov l'sand SuuyettBvmbry'ssocialmediaatcotml alsopm ducedimages/video:
              ofchild,xxualgbw ematorlaltinvolvl:gV1and Sus- tBembtyl.
              Asav ùlt,thereisa llkdiltood thatthe itemsO ntailpd wilin Item #.
                                                                              1l(Kodék Easy Shaee
              Camen.Canon SuY ShotG m vra,Seaga* Hald drive,IPàûl1eS.lpod,ï- arFlashdtl
                                                          ,                               ve)may
               store image:which conhins ehild Kxualabux matena
                                                              'l.'llwm am cxl- ently no copims of the
              cop- tsoflhx e im - nA d iwms.ItsKoul
                                                  d% noted,thecontentsefitetn#1lhasbeeninthe
                                                              .

              iue dyofthtn llahlqqeePollx Department*ssecureProl- y & Evldenceroom zlnœ tlw date
              oftl/ sore warrant(M> h24,2019).n erefom anyO ntœ thatwa p- entonthtdevktat
              $betime ofimpoundmepy.wîllbethere now.ln sum,thlssearchwarrantisbcing sougbtin oe r
              tdqondud apxjx.re echofth@itemsandto *pytheoontentsoftl- eltemabntoaCD-


               ThvmderslgnedamantisRSerieantwithth:n llaha%ePoliceDepartmtntçurmntlyassired
               to the Burglo crimes Unit AfllM thas G n a - rn ollicer w1* tho Tallahg- .e Pollœ
               Dty M e:tfor10 yearx.Am anta e                     asa Svrg- tfbrthepast2y= .
                         .   *                   w,




-*W
  sbH
    ow
     Ai
      M
      ngOR
        gvl
          dt
           E
           nxl
             vl
              ak!t
                 ot
                  hes
                    ptdf
                       kal
                         t
                         y4
                          '
                          evf
                            i
                            hedoens
                                 ,
                                  e. yourAm antre> ctfully zequestsasqarchW aerantbpi%uezl,comm qndingaéd
               dire ng Tallahassx PoliceChs
                                          'efLawxnceRevell (# tCharze/aFe1t@a)of11. Tallab-tee
               Policesor tlw SheriF of l,etm County,or the Dlretter ef the Florza DepaO ent of Iaw
               Enroxc ent,and the.irduly audlorlze.d omcers,derutlvs,snd speolalagents.orothœ p- qa
               emN wee by I:w tovxtçutepmoeu intheleriw ictionwleretKisseamh :halltak.plaœ ,willt
               PrON *xd -            * @ assisf8v e ofrellow oë cers orRpproprle advisea * = mh'th@ afox-
               dee bd plgceortheperx nnamed,forth@pro- specifle .Itisfurtlv rqqu- e Ahat>p-
               lutholizatonbe
                         ' givpn fortblswvrmnt.  tobeexecutqddtherintlw dayl' lm:orinthenlgl,ttimo,and
               oa any dRy lncluding Sue y,asthe exigelwl> oftl:eocc- lottmgy 4em*3# prM ltia.
                                            @

                                                                            .   .   * vg   .
                                                                        SgtCha- ttaFdten/G l

               swoM ANp s'lxqcm plp'beroretntby(SgtcharzettaFdton)ywllo k pçr- allyk- wn
               to me,and uN R beîng duly plâx d underoath by m..a - on gutllorv
                                                                              'M by law * administer
                                                      J                                                     '

*                            .

               PD 314 Rev 1n& 7                                                                        4
l* -
   . 1:,
       1b:0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 108 of
      Case
                                                 114
                           Tallahassm Police DepartmentCase#2019-44000
                               %

          oaths.doesswxrorvmrm,u:deiE  penaltyofpei-
                                                   ivlyrthatt%eProbgbleCéeàerecitedIwministrue
          andconmctandbas.subscribedhidorhersignaturgabovw this27*dayofJmiuary,2#i3.
                                                                              eG î J
                                                            :.   J

                                                           %rzyrl#JJà-

          Reviewedandapprovedbyn llqhasxePolitigepadmentIagalAdvlsèrThcmsaFlul thisX *
          dayofJanuam 2017                                       '


                u c>uu p wxo Acw; ow u pcsp thk ..-                      dayof        1/27/ 023 , =  -        - .




                                                                 .                    ...


                               %                                 #s                   jg     -*
                                                                                                 g       jj
                                                                     '    .     . .
                                                                                            >.
                                                            teolCountyludge,
                                                                           gonl
                                                                              queRiehard:on
                                                       setontlzutl#cialClm ult




    @                          %




           PD 314 Rev 10/72                                                                                         j
          Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 109 of
     ID#:1:15:
                                                         114
                                  Tallahaqs- Pollœ Depaftm entCase #20194 4000

               (1)TobeQom/ldedRnd1eh Wishdefend:nt,or.inhi</herAbsqtme,uponthepxmise somhod.
!.             (2) Tob:xtul'ne * ClerkoftheCourtwlthlnten(1û)dlysofigsuance.
                                              V ARCH W ARRANT
                                            Impounieiltems.A:x p34.:2
                        INTM Um CUITCOVR%ioFTHEsEcoo JUIMCIALCIRCUIT
                                        IN ANBO R LEON COUNTY,FLORIDA

                     PURSUANTTO$lc AUTIIORGY():*CHAIW R933,FL@RmASTATUTKS
                     TO ALLANp SINGULAQ:TallavsseePcliçeChiefLawlvnteRevtll,Oflkersoftlte
               TallahxseePollceDepartmtatFloddaP pgrtmentofLzw EnforqementCtmmlsionerM:rk
               Glas:.AgtntsortheFloridqDepvrtmeqtof(zaw EnforuemtaqLeonCoulo SheriffWaltMcNeil,
               R dDzputi> ofthmLeon County SlAerllrsOl11ce.
                                                                                                 '
                                                                                             .


                     WHEIGAS lcldliz*ttaFeltfm)yoftlïe'NllahgsxtPoliceDçpadment,LeonCounty,
               StatqdfFlorid,.hasttûsA y madeApplicationfora SearchW arrant.suppoA dbyAfsantwlth
               mquird plw fsubmlœ d eleotronlelly,whtreupcn ithq,N en ostRbliledthatFlorid:1:w h s
               beenvioletvdbylu tommiuionnfafelonyorspx medoFens.andthvtthereisahirpmbabllity
               thepartkularly d- rlbed-plvm rtyjo b:seia dshallbefound lnorontheparticulrlydocfiN d
               it:mds)impoundedvttlléTallahasseePollctDvpe entlpcRtedat234E 7th.Avt.TéI1gI1&>:%
               FL 723:3 to be s--hed asevldencenfsuolloA nx.andthatpropvrlvgylgroundsqxistupon
               whichaSeaxh W grm wtshallissqvs,a:fpllows:

                                  .     FLORIDA LAW HAS BEEN VIDLATEDt
                    ScualBattery(Victim under12andO% nderovtr18).Florid:Statute794.01142X0.
                                                                     '
                                              z

                                      LFT AL GROUNDSPIO UANT'110 F.S.933.:2t
                      Thepropbrtytoastitotesevidencexlevanttoprovlngthat.&felonyhasileeiqommitta ,
               PARTICULAR PM CRIFIION OF PROPERTY T0 BE SEAZCRRDt
               Case #;2#;#-44p*
               Itqm #?11
               i/e?zlN xriptlon:slec/m a/w,l(KodqkEasyx
                                                      vAare* Ctmonafre&èhotCamera.Selgl/eHat%l
               â /-,Iphone9  % lpodifext!rFlttaklrîw
               PARK CTJ.AR DESCRIN II)N OF PROPERTY TO BE SEIZEIX
               DeztW& thepot.tlnular/ll
                                      /orlllfr/la?lto.be,'e!*w'e#J*- eachîtetnl/a/e#abovn.
               InformationtobeNulzedf*m cellulardevieqs(insideo/#e> 1211#4'
                                                                          /eJ4> ):
               D.igitallnfermatiea inolfdiagjbutnotllmhl-d*:Subscl'ib:rldentity Modplets),mas,media
                s*fagçtvvlces,mediadatatomelvdepictua andvldeotontent,Textaniormultimediamessage
                (SbpItMessage Servlc: (SMS),Multimedi:Medsage Serviçe(MMS).mobilg chatmneqages.
                IMe-qxages, thl, party commtmicatlo: appllOtlon megggg-), vmalls, contac#phpne* ok
                information, incoming and ogtgoing qall informatlon, dotumvntz/lwtew datim eta data

                PD 314 R> 10/ 2                                                                      6
    1U1b:
     Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 110 of
                                                    114

                           Tallahasseerolltenipartmentcase#zolg-uonn
         Information.cslendkr envies,pa%words.phone applie ion intbrmatlon,witvless netwQrII
         infonnation,sorel lctatlon datw audio Gles(inçlqding vcicemailseltberaudlo ortmnscribed).
         lntemetxtivity(t:#nclud,Inkt-nethistoty:Mternetseamhqqeri-,andlnternets-rçhasultsj.
         tlufu-palty Applicauon conetttand infû= vtiqn,.nd the Infonxatlon regad ing the s'px lsc.x ll
         phone* ilwludesubzcriberand eqelpmentidentiœ.
         Informitlontobesola dfrom oomputereqtllpment(/>.
                                                        ##eplltem #JJlisteda& -):
         Dlglwlinroemation intludlàg.butnotllmittd t;.mediadqtato hwludepicture,audio?and video
         conteHtyTvxtand/ormultlme iameK.qhgvs(Sl1odMèssageService$MS),MultimediaMessage
         Se
          .
           rvlce (
                 M MS ),mdbll
                            dln t
                                ernetçha
                                       t me ssages.iM qssqges,thid partytommunicationapplicatiun
         m-ae s).zmalls,contact/phonebook Snformalion,qny and alldotumentknotesmla/d lo th:
         sm clstd crlme litted '
                               bzbw,datèmbtq datq SnformMion,calendarentrlps.passwords.wim kss
         nqtwnrk inform:tlon,atowd locatlon data,thil:-party applicatlon coatent and lnfolln:tlon,
         opemting syskm lafènnatlon (tp ictlude Registry tlle: and Sp t#m Evetk lcg,),and any
         lnf- gtiolesedto jdentify thepèl'
                                         son/sthathaddominipnandconttolpverfheitemtâ)listtd.
         wHtkkFolm .ptpuantto lis.933.07,upon exgmlngtlon Dftheappllcttlon gnd plpefs
         submitud bdng duty satissodtltutProbablqCauseexistsfortheissulng ofthis Sem llW vrt'
                                                                                            atïl,
         thisordtrllshemby * :
*

         COMMAND a118 4Imcj (Sgt-Chamz.tta #eIt:n) nf the 3atlllâxdee Pol
                                                                        .lx ûepaltmenl,
         Tillahassv: Pollç: ClxigfLawmmce Rtvtll,tlte Sherlf ofLee: C()uns
                                                                         ty,and theD lfedornfthe
         FlorldaDom re entofLg* Enfnmement,#ndtheirdvly avthoriaddgpatit.
                                                                        s.apeclalggpn* V d
         oftlceo,ôeotherpersonsemp- adbyIawtoexetutepxo- inthejurlk lctionwhem this--n-h
         shalltakeplvçe,with properând nex ssaryassistance offellop om çel? orappropriateadvix fs.
         fae wilh to seaxh*epmpefty dvycribed intbiswarmntirthepersoltM med,forth*pxpe#
         speoiied,and* bdng:th:pmpçrtyand anypersonarmstedlncolmedt   iqltlkerqwlth bsxfox +is
         Judgeor:omeptberCoulllwv:Juri,dictlo: offhe olo-e,asmqulmd by statùte crlawrully
         difx tkd;and further:
         éURgUANT to F.S.933.10 andF.S'.933.101,expressauthorizatiou ishoteby given'forth:
         wanxntto be executed by H ing served eîther in the daytimc or ln.lbe nigbttimp ofany dgy,
         Inçluding on sunday,astheexlgoBciesoftheocoasionmay demandoraqtlire;
         POM UANT to F.S..933.1I,whûn the om qer R rves thià wal'
                                                                m tlt.h: Qr she shalldqlivee :
         duplkatecopytotheperstm namd inthewanxm,lfsonamG orinhisorherabstnc:tosom:
         pvrspnlnchargeofipelivlngonthepremises.W henplvperty,
                                                             1staltentmdortlw warranttheom oer
         shqlldtlivertosuphptrsonawritteninvvntoryoftheprope takvnandAreoeiptoforthesame,
         xpecifyle the >me -
                           m detail,andaifno pelw a lsfound Ih possesslon pfthepremisqswher:sx h
         pxm lly isround,âh:llloavet114sagd rx eipton thçprem ixs;
                                 A.
         W JRSUANT * F,S.#33.05,thewarralx shallbemturnêdtotheCkrkofChi:CimuitCourlwlthln
          t*,(10)daysO erl:seancehemoflgqd '                                                        '
          PURSUANT to F,S.933.12,aptm lvtut'ltnfthewarmntth#olïkerdiv ted shallRttachlhetttoor
          thvrçon atru@ invtntory ofthe property taken qndefth:wqrmnt,.nd atthe footof1he Inventov

          PD R14 Re# 10/22                                                                          1



4                                 *
                                                                q
'




            I> . Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 111 of'
               -18458
                                                                                114                                                                      @


                                                 TaIlahasseè Poliœ rM pârttnentka:e#2019-44000 '

                            sh llv'eify flte sa-: by afRd>vit'lken before Ktxrne ox cerauthorize to admiqim roatbsyror
                            G roretl:eiuulg ma
                                             'giqlmte.                  .
                            Olm lR>m ilp     .
                                                     Lepn               Countykyl
                                                                                orida- tlus 27th o yor- Jahuaw                                       .           .
    t
                            r
                            y
                            &
                                                       *                                                                       '
            o



                                                                                          q       .
                                                                                                                  .
                                                                                                              .       P>
                                                                                                                      .


                                                                                                  v                   wa           (j       (
                                                                                              (       '   .                         ..          ..
        .                                                           d                     jguxarx sçyxo uùnkx qa raaa
        .
                    .
                                     .   .
                                                       ,        .                     seam: Judtch jcim ult.

                                                                            #         .



                                                                                                                                                         *




                        %                                               .




    q                                                  *
            @                   @                                                                                              '




        .                                                           d
        *                            .   .
                    o                                  :        -




                                                                                                                                                         *




                                                                                                                           '            *
                                                            .




                                                       @
                                                                                                                                                                 *
    <                                                   *
                                                                                                                               '
            *                   .


                *

                                                 .
                            PD 314 Rev 1Q/2g                    .                                                                                    8

        .                                                           J                                                                                        '


                    *                                  %
Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 112 of
                                     114


                       Tallahassee Poli
                                      ce DepartmentCase #2019-44000

      Receivedljgsse ohwarranton t
                                 /znlz'
                                      s                               ,ao
                                                                        ..-zôcsanaexecutedsame
      on   '1-* 1,                    '             '                   , A.D., 2025, at             ...
      * -b         1                                       .         bydeliveringatruecopythereof
      tp             ?; kt e-.            c                             and attlm sametimeslmwing.
          <(                          .                .- thisorlginalsearch warrantand reading to
                                               andexplainingto         ê-                      the
      contentsthereof,and.mymakingdiligentsearch qsherein described,upon whioh svarch lfnund:


          7E'tr4,nq'dYV /bit- u                                                                      -
                             @




                                                                                                              o
                                                                                    ....-,-.j                 N
                                                                                      7 '*
                                                                                      ...,
                                                                                    '..                                   -e-- ,0- ..
                                                                                    -
                                                                                    Az.                                          A
                                                                                    ' .-
                                                                                       14. -J
                                                                                           vf
                                                                                            w                 X                  k'
                                                                                     ,
                                                                                     r     4..v'  ..
                                                                                                   v. a       m           w m.w-.
                                                                                     1.*.....v7g$,7A''*,...               j.
                                                                                                                           xw,wy
                         .                                                                                                 rj
                                                                                      .a;...y,.e:j.,i,r.?
                                                                                                        ..                 !$
                                          .
                                          ?                                           -
                                                                                      ..
                                                                                       --
                                                                                        -,
                                                                                         ,!
                                                                                          -::
                                                                                            !
                                                                                            :=.q 0
                                                                                                 p
                                                                                                 .
                                                                                                 <
                                                                                                 .,
                                                                                                  .
                                                                                                  ;
                                                                                                  )                          .    x
                                                                                                                                  -
                                                                                                                                  n
                                                                                         -.
                                                                                                 -
                                                                                                 .                         l jj
                                                                                       ..'...*
                                                                                             '*)*t.'                             '
                                                                                        &
                                                                                        GN W
                                                                                           fm#
                                                                                             vTW                          @ ' #RX
      *
                                                                                             Q rœC
                                                                                             .                    e*
                                                                                        Yp=                       -




      1,
      the 'Cl-
             bi          l-                   ,theoft
                                                    uerbywhomthiswarrantwasexecutedvdoswearumt
          above inventory contains a truç and detailed account of al1 the proptrty, appliances,
      paraphernaliaand devicestakenbymeonsaidwarrant.



                                                        A.$    /g?w/rr,andD-dlkit

      SWGX dd '
              bedbef# meihis                        RyOf                   .
                                                                           A.D.
                                                                              :202
                                                                                 4
                                 3,
      Om cèradmlnî rlngoathtoA' Jaftf3-digît

                             %




      PD 314 Rev 10/22                                                                                                9
      Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 113 of
                                           114
                            '
             .

                                                       '                          '

    IRl:e aqR      eu                                                                            sp- ash'/:s                        w




    leeRcaqnl
            *y. ll
                 '
                 1
                     -
                   enda          .                         .
                                                                                                 RE-F
                                                                                                 w  ,Z
                                                                                                     --, 269
                                                                                                         o 49> ?ô-7
                                                                                                           &t
                                                                                                 Agencycasek 19-44000
                                                                                                                        .'l
                                                                                                                      'p'
                                                                                                 Oo cer1.D .A            561                              .

                                                                                                 Charge: &- 1a1Batteay (Wttim <12 '
                                                                                                               Offende 18<
                     STA TK O F FL O RIDA                                                     . DegreeofChargel CF
                             vs.                                                          N     Statute'
                                                                                                       Nots): 794.n11(a)(a)
                     Jason Bernard Bem bry                                  CO M W A IN T
                                                                                      ,
                                                                                                 DOB: 03/05/1981
                        .
                                               '                                                 sa      w te
                       875 Baham a Drive                                                         Race:' Black
                                                                                                                 y                                                '
                                                                                                 Heiglzt: 603
                     Tallahassee,FL 32305                                                        wejg:t:
                                           @                                                     Hair: black
                                                                                                 Eyes: krolvn
    W THENAMEAND BYTHEAUTHORITY OPTHESTATEUFFLORIDAZ                                             SSN
.                                                                                                pja,: ssj6gm j-o
                                                           .
                                                                                                                                                              I


    Beforemeyietmdersigned,per:onallyappeaqd Ie estigatorC.Felton-stevensywlm '
                                                                              lwqng& stdulyswom sap thatonthe1stdayof
    Jxrmary,2015,inLeon '
                        CountyyKoridw tV aforeikiddefenzlxntdidlmlawfullycommittasexualbatteryupon                                          aperson
    lessthantwefveyeazsofage.by> istovagidapenetmdom andthedefendantwas18yearsofageorolder,
                                                                        ,                                                       .           <
                                                                                                                                    eQqo.         '?
                                                                                                                                      to
                                                                                                                                        a




                                                                                               :contrarytoseceon..794.(n1(z)(a)F.s.
 cqntrazytotliesto teyrttle,reguhtionorotherprovisionoflawinsuchcasemadeandprovi
                                                                               dedaandagainsttbem aceanddijnityofthe
 Stateo      o a.                          j
                                           .



 Investigato M ttm-steveas                                                                                                      M
                                                                                                           '                    o
                                                                                                           r'o
'Com plainant                                                                                              M .t*
                                                                                                           CY1X1W**D            =           * yl%x '
                                                                                                           x .-%.
                                                                                                           u       p. eNz                       ':
                                                                                                                                                 .'$4
                                                                                                                                                    j4e
                                                                                                           f=-Ck.Y
                                                                                                                 œs*
                                                                                                                   n-l-q=       >
 TallahaueePoliceDepartm ent                                                                                       >
                                                                                                                   e
                                                                                                           Ikg*0. -..
                                                                                                                       V>
                                                                                                                        C       =
                                                                                                           C
                                                                                                           < )J
                                                                                                              UUJ  - X-4.. '/   N
 234E. 7tlïAve.Tallaha eekFL32303
                                '                                                                          >w 0. w2 T                       jm-v
                                                                                                           .
                                                                                                           . .-
                                                                                                              ec1.:.
                                                                                                                   rx.
                                                                                                            w =. .:t
                                                                                                                      .e  e
                                                                                                                          .j
                                                                                                                           .
                                                                                                                           p
                                                                                                                           ,
                                                                                                                       ./ho.z
 Addre%                                            d                                                                       ..   Y
                                                                                                               e rt*4zm'
                                                                                                                      '                     j-t j
                                                                                                                                            .

                        Sworn toandsubscdbedbefortmethis24thdayofMarch,2019.                                   F''*W Q'*
                                                                                                               U...x o.=  .                 f.**v*%
                                                                                                                                             &kw èt'
                                                                                                                                             '     $
                                                                                                               p,  ..r- rg.     r**
                                                   K                                                            o...m.
                                                                                                               >=
                                                                                                                                sq
                                                                                                                                 :kk'b
                                     N%   qD                            >
        '
            Juda AssistantStateAttom eyorNo                    Public
                 -              > w eewx                                                                                                               *
            SE A L
       Case 0:23-cv-61804-AHS Document 1-2 Entered on FLSD Docket 09/20/2023 Page 114 of
Filing # 87359015E-Filed 04/02/20.19 04:27:01 114
                           '
                                              PM            .
                                                    e
   .                                        %
                                                                m THE CIRCUIT COURT OF THE SECOND
                                                                JUDICIAL CIRCUIT,IN Ar FOR LEON
                                                                COUNTY,FLORIDA.
        'STATE OF FLORIDA
                                                                CASE NO. 19CF01022
                                                                SPN 259195
         VS.
                                                                *AINFORM ATION*#
         J% on 3.Bembry
         B/M ,03/05/1981
         SSN
                               Defendantts).
                                            *       /

         INFORM U ION FOR:

         1)
                   SEXUAL BAW ERY VICTIM UNDER 12,OFFENDER OVER 1s(CF) (rqf.#2694)
         2)        SEXUALBATTERY VICTIM OVER 12,OFFENDER OVER 18(F1)(ref#7686)
                                                        @
         IN Tl!B NAM E OF Ar BY THE AUTHORIW OF THE STATE OF FLORD A :
                                            %       *
               .
                   JACK CAM PBELL,Statq Aûorney forthe Second JudicialCircuit ofthe State of Florida,charges
         thatinLEON County,Floridw theabove-nameddefendantls):
        - COUNT 1:On diversdates on orbvtween Janual,
                                                    y 1,2015 through M ay 21,2016,did unlawfully comm ita
          sexuz balteryuponJ.
                            B.,apersonlessth% twelveyearsofage,bypenetration and/orunionofvictim'svagina
         apddefendant'spenis,andthedefendantwaseighteenyearsof,agtorolder,contro toSectiûn794.011(2)(a),
         FloridaStatutes.
         COUNT  2: OndiversdatesonorVtweenMay,22,2016throughMarch24,2019,didunlawfullyçommita
         sexualbatteryuponJ.B.,aperson twelveyearsofageQrolderbutundereighteen yearsofage,bypenekation
         and/orunion ofvlctim'svaginaand defenrb'nfspenis,andthedefendantwaselghteen yearsofageorolder,
         contrarytûSection794.011(5)@(a),FloridaStattes.
          STAW OF FLORD A
          COUNTY OF LEON
          JACK CAO BELL,STATE ATTORSEY
          SBCOND JUD                CIRCUIT


          Jm esA R
          Design AssistantState Ae nwy '
          n e foregoing instrumentwas ace owledged before me on April2,2019,by Jlm es A Rogers,Designated
          AssistantState Attomey by Jack'Cnmpbell,Stale Attûmty forthe Second JudicialCircuitofthe Staie of
          Floridw who is known to me and did take aj oath stating goûd faith in lnstim ting the prosecuticn and
          ce ' ng that testlmony was received lmder ûath f1.
                                                           * the material wltness or witnesses for the ofensq
          pur           t F.R.Cr.P.3.1404 ),
                                                                        '          .
                                                *
                    .                           .                           7?4y GG QBX'WIIY
               OTARYPUBLIC                                                 $# .Nxrjxxwaf
                                                                                       lpwwzf
                                        -                               R,J;L. j
                                                                        (      .;' pxyy
                                                                                 !sp
                                                                                   tmpjj
                                                                                       mj
                                                                                        yxo- sooygjj
                                                                                         syl
                   /CMC 4/9/281* inCourtroom 2B ASA lmesA Rogers        .'
                                                                         .
                                                                         $$jo4 -
                                                                               .
